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            1                    UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEVADA
            2           BEFORE THE HONORABLE MIRANDA DU, DISTRICT JUDGE
                                           ---o0o---
            3

            4    AMARIN PHARMA, INC., and          :
                 AMARIN PHARMACEUTICALS            :
            5    IRELAND LIMITED,                  :
                                                   :   No.   2:16-cv-02525-MMD-NJK
            6                    Plaintiffs,       :
                                                   :   January 14, 2020
            7             -vs-                     :
                                                   :   Reno, Nevada
            8    HIKMA PHARMACEUTICALS USA         :
                 INC., et al.,                     :   Volume 2
            9                                      :
                                 Defendants.       :
           10                                      :

           11

           12                        TRANSCRIPT OF BENCH TRIAL

           13   APPEARANCES:

           14   FOR THE PLAINTIFFS:            MEAGAN P. KEANE, CHRISTOPHER N.
                                               SIPES, MICHAEL KENNEDY, JEFFREY
           15                                  ELIKAN, JOSEPH KENNEDY, ELAINA M.
                                               WHITT, BARBARA KURYS, HAN PARK,
           16                                  DANIEL J. FARNOLY and ERIC R.
                                               SONNENSCHEIN
           17                                  Attorneys at Law,
                                               Washington, D.C.
           18

08:37:23   19   FOR DEFENDANT HIKMA:           CHARLES B. KLEIN and
                                               CLAIRE A. FUNDAKOWSKI,
           20                                  Attorneys at Law
                                               Washington, D.C.
           21

           22   Reported by:                   Kathyrn M. French, CCR #392, RPR
                                               Official Reporter
           23                                  U.S. District Court
                                               Reno, Nevada
           24

           25   (Appearances continue on next page.)
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            1   APPEARANCES CONTINUED:

            2

            3   FOR DEFENDANT HIKMA:         ALISON M. HEYDORN
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            4                                Chicago, Illinois

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            8                                Las Vegas, Nevada

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08:37:38   10   FOR DEFENDANT DR.            CONSTANCE S. HUTTNER and
                REDDY'S LABORATORIES:        JAMES BARABAS
           11                                Attorneys at Law
                                             Madison, New Jersey
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                                             MICHAEL D. ROUNDS
           13                                Attorney at Law
                                             Reno, Nevada
           14

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            1            RENO, NEVADA, TUESDAY, JANUARY 14, 2020, 8:30 A.M.

            2                                 ---o0o---

08:33:18    3

08:33:18    4                    THE COURT:   Good morning.   Please be seated.

08:33:20    5                    All right.   Counsel, did you resolve the issue

08:33:26    6   with respect to Mr. Klein's demonstrative exhibits yesterday?

08:33:32    7   Is there any objection to the Court attaching them as minutes

08:33:35    8   to yesterday's hearing -- yesterday's trial, I mean?

08:33:37    9                    MS. KEANE:   Good morning, Your Honor.     Meagan

08:33:41   10   Keane.

08:33:42   11                    Your Honor, we did have a chance to review the

08:33:46   12   demonstrative.    In our view, there is an error that's in the

08:33:50   13   demonstrative with respect to a couple of patents that are

08:33:53   14   actually listed both for the REDUCE-IT indication as well as

08:33:59   15   for MARINE.    So we don't think the slide is accurate as it's

08:34:02   16   depicted.

08:34:02   17                    What we would propose is that we are willing to

08:34:05   18   work with defendants' counsel to come up with a compromise

08:34:08   19   version that we can agree on and attach that as a

08:34:13   20   demonstrative.

08:34:13   21                    THE COURT:   You're referring to DX 2699.

08:34:18   22                    MS. KEANE:   To the summary slide with respect to

08:34:20   23   the list of patents, yes, Your Honor.

08:34:23   24                    THE COURT:   And that approach sounds agreeable

08:34:26   25   to me.    What I was asking, though, is that with the entire set
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08:34:30    1   of exhibits that I admitted into evidence but that Mr. Klein

08:34:38    2   had referenced during his cross-examination where he would

08:34:43    3   show the exhibit and then highlight certain portions of the

08:34:47    4   actual exhibit and reference DDX and then the number.         That's

08:34:50    5   what I was concerned about.

08:34:52    6                  MR. SIPES:    We apologize, Your Honor.      This is

08:34:53    7   Christopher Sipes.

08:34:54    8                  What we thought might make sense, since

08:34:57    9   demonstratives usually wouldn't be attached, would be for

08:35:00   10   defendants to prepare just a chart that correlates the DDX

08:35:04   11   number to the DX number and page.      So it would be a simple

08:35:08   12   chart, and that would make the record clear without having the

08:35:11   13   argumentative parts of the demonstrative in, and we could just

08:35:15   14   review that to make sure that it was accurate.

08:35:15   15                  THE COURT:    I think that would address my

08:35:17   16   concern.   All I want is to make sure that there's notation in

08:35:21   17   the record as to whatever the reference is to DDX and then the

08:35:24   18   specific slide number.

08:35:25   19                  MR. SIPES:    And the advantage of that, that

08:35:26   20   would be a short compact thing that we just would provide the

08:35:29   21   reference, Your Honor.

08:35:29   22                  THE COURT:    Mr. Klein?

08:35:30   23                  MR KLEIN:    Your Honor, we can put together that

08:35:32   24   chart if you would like, but there was no argument in any of

08:35:35   25   the demonstratives.    You might be thinking of the opening
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08:35:38    1   statement.   But it was just call-outs.

08:35:40    2                  THE COURT:    I think the chart serves my purpose.

08:35:43    3   All I want is to make sure that -- there were times when I

08:35:46    4   thought that you didn't note the actual page of the exhibit

08:35:49    5   but you noted the DDX number for certain exhibits that you

08:35:53    6   were showing, that it's clear for the record which page of the

08:35:56    7   actual exhibit you were referring to.

08:35:58    8                  So the chart will suffice, and the chart will

08:36:00    9   then be attached to yesterday's trial minutes.

08:36:03   10                  MR KLEIN:    Okay.    Thank you.

08:36:04   11                  THE COURT:    All right.

08:36:04   12                  And then on Exhibit 2299, I'm pretty sure that's

08:36:09   13   the one that's left that I need to resolve; is that right?

08:36:12   14                  THE CLERK:    Yes.

08:36:15   15                  THE COURT:    That the parties will confer and let

08:36:17   16   me know if you are able to reach a resolution.

08:36:20   17                  MS. KEANE:    Okay.   Thank you, Your Honor.

08:36:21   18                  THE COURT:    All right.    Let's proceed with

08:36:23   19   Amarin's next witness.

08:36:26   20                  MR. M. KENNEDY:      Your Honor, this is Michael

08:36:30   21   Kennedy for Amarin.    Amarin calls Dr. Matthew Budoff.

08:36:34   22                  THE COURT:    Thank you.

08:36:37   23                  MR. M. KENNEDY:      Your Honor, we have some

08:36:39   24   demonstratives with this witness as well as a witness binder.

08:36:42   25   Permission to approach to distribute the binder, and if Your
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08:36:45    1   Honor would like a copy of the slides as well.

08:36:48    2                  THE COURT:    I do not, but I don't want to have

08:36:50    3   the same problem with reference to the page number of the

08:36:53    4   slides.   So if the slide is referenced as an exhibit, then you

08:36:55    5   need to reference the actual page number of that exhibit.

08:36:59    6                  MR. M. KENNEDY:     Understood, Your Honor.

08:37:01    7                  THE COURT:    Thank you.
08:37:01
08:37:01    8                        MATTHEW BUDOFF, M.D.,
08:37:01               called as a witness on behalf of the Government,
08:37:01    9                 was sworn and testified as follows:
08:37:10
08:37:10   10                  THE CLERK:    Please be seated.

08:37:14   11                  State for the record your full name and spell

08:37:27   12   both your first name and your last name.

08:37:30   13                  THE WITNESS:    Matthew Budoff; M-a-t-t-h-e-w,

08:37:34   14   B-u-d-o-f-f.

08:37:48   15                  MR. M. KENNEDY:     Good morning, Dr. Budoff.

08:37:52   16                  THE WITNESS:    Good morning.

08:37:52   17                            DIRECT EXAMINATION

08:37:53   18   BY MR. M. KENNEDY:

08:37:53   19    Q   Are you currently employed?

08:37:54   20    A   Yes.

08:37:54   21    Q   Where are you employed?

08:37:54   22                          (Discussion held off the record.)

08:37:54   23   BY MR. M. KENNEDY:

08:37:57   24    Q   Dr. Budoff, where are you employed?

08:37:59   25    A   I'm employed at the David Geffen School of Medicine at
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08:38:04    1   UCLA, formerly known as the UCLA School of Medicine, as well

08:38:09    2   as the Lundquist Institute which is a research institute at my

08:38:13    3   home institution.

08:38:14    4    Q   At a very high level, please describe your job

08:38:16    5   responsibilities in those roles.

08:38:19    6    A   Yes.   So my primary responsibility is teaching.        I am the

08:38:23    7   program director for the Division of Cardiology, which means I

08:38:27    8   teach all of the cardiology fellows, those people who are

08:38:30    9   doing three years of advanced training in cardiology, on how

08:38:34   10   to practice cardiology.

08:38:36   11               I also have the opportunity to teach residents,

08:38:38   12   medical students, and other clinicians.

08:38:42   13               And then, when I'm not teaching, I'm either doing

08:38:45   14   clinical work, seeing patients directly, or doing clinical

08:38:49   15   research.

08:38:50   16    Q   Were you retained as an expert by a party in this case?

08:38:53   17    A   Yes.

08:38:53   18    Q   Which party?

08:38:55   19    A   Amarin.

08:38:55   20    Q   So at a very high level what were you asked to do in this

08:38:59   21   case as an expert?

08:39:00   22    A   Yes, I was asked to opine on the patents and understand

08:39:06   23   if there would be infringement in this case if a generic

08:39:10   24   version of a product was brought to market.

08:39:12   25    Q   Do you specialize in a particular area of medicine?
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08:39:15    1    A   Yes.

08:39:16    2    Q   What area?

08:39:16    3    A   It's called cardiovascular medicine or commonly known as

08:39:22    4   cardiology.

08:39:23    5    Q   What is cardiology?

08:39:25    6    A   Cardiology is the practice of evaluating the heart.

08:39:28    7    Q   Do you have a subspecialty within cardiology?

08:39:32    8    A   Yes, I'm a preventive cardiologist.

08:39:34    9    Q   What is a preventive cardiologist?

08:39:37   10    A   So a preventive cardiologist works to try to prevent

08:39:41   11   either the first heart attack in those patients at high risk

08:39:45   12   of heart disease, or the second heart attack, what we call

08:39:50   13   secondary prevention, in those patients who have already

08:39:52   14   suffered a cardiovascular event.

08:39:54   15    Q   Are there other subspecialties within cardiology that

08:39:57   16   you're familiar with?

08:39:57   17    A   Yes.

08:39:57   18    Q   Such as?

08:39:59   19    A   There's imaging, there's invasive cardiology, those

08:40:02   20   people who spend most of their time putting in stints and

08:40:05   21   bypass and other devices, and then there's general cardiology

08:40:10   22   as well.

08:40:10   23    Q   How long have you characterized yourself as specialist in

08:40:13   24   preventive cardiology?

08:40:15   25    A   About 20 years.
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08:40:16    1    Q   How long has the field of cardiology recognized

08:40:20    2   preventive cardiology as a subspecialty?

08:40:23    3    A   It's been about ten years since it was formalized as a

08:40:26    4   subspecialty.

08:40:27    5    Q   So what did you call yourself before preventive

08:40:29    6   cardiology was formalized as a subspecialty?

08:40:32    7    A   So if there was no check box that said preventive

08:40:35    8   cardiologist, then I generally -- I would have to refer to

08:40:38    9   myself as a general cardiologist.

08:40:41   10                   MR. M. KENNEDY:    Mr. Brooks, can we have

08:40:43   11   Plaintiffs' Exhibit 1161, please.

08:40:43   12   BY MR. M. KENNEDY:

08:40:55   13    Q   And, Dr. Budoff, you should have this document on your

08:40:58   14   screen as well.

08:40:58   15    A   Yes.

08:40:59   16    Q   Do you recognize this document?

08:41:00   17    A   Yes.

08:41:01   18    Q   What is it?

08:41:01   19    A   It's my curriculum vitae or CV.

08:41:06   20    Q   What does your curriculum vitae contain in general?

08:41:10   21    A   It goes through my education, training, my current work

08:41:15   22   and prior work opportunities, and then it lists all of my

08:41:19   23   manuscripts and abstracts.

08:41:22   24    Q   Does Plaintiffs' Exhibit 1161 accurately summarize your

08:41:26   25   professional and educational background?
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08:41:28    1    A   Yes.

08:41:30    2                   MR. M. KENNEDY:    Your Honor, we would like to

08:41:31    3   admit Plaintiffs' Exhibit 1161 into evidence.

08:41:34    4                   MR KLEIN:    No objection.

08:41:35    5                   THE COURT:   1161 is admitted.

08:41:35    6                           (Plaintiffs' Exhibit 1161 received in
08:41:35                                 evidence.)
08:41:35    7   BY MR. M. KENNEDY

08:41:38    8    Q   Dr. Budoff, have you worked with us to prepare slides to

08:41:42    9   aid your testimony today?

08:41:43   10    A   Yes.

08:41:44   11    Q   Or I should say to illustrate your testimony today?

08:41:47   12               Have you prepared one such slide that summarizes

08:41:50   13   your educational qualifications?

08:41:53   14    A   Yes.

08:41:53   15                   MR. M. KENNEDY:    Mr. Brooks, if we could have

08:41:56   16   PDX 2-2.

08:41:56   17   BY MR. M. KENNEDY:

08:41:58   18    Q   And, Dr. Budoff, is this that slide?

08:42:01   19    A   Yes.

08:42:01   20    Q   Could we focus on the last two items on this slide

08:42:06   21   starting with the internship and residency in internal

08:42:10   22   medicine.   Could you describe what that involved.

08:42:12   23    A   Yes.   So, my internship and residency is three years of

08:42:20   24   training to become an internist or a primary care physician.

08:42:23   25               So I spent three years at Harbor UCLA Medical Center
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08:42:28    1   affiliated with UCLA School of Medicine under that training.

08:42:33    2    Q   What does it mean -- what does doing an internship in

08:42:36    3   this context involve?

08:42:37    4    A   So it's basically on-call every third or fourth night,

08:42:42    5   taking care of patients in the hospital, seeing patients in

08:42:45    6   clinic, just basically learning how to practice general

08:42:49    7   medicine.

08:42:50    8    Q   I would like to move to the cardiology fellowship at

08:42:54    9   Harbor UCLA Medical Center.      What it did that involve?

08:42:58   10    A   So that's another three years of commitment.         This is

08:43:00   11   just focused on learning how to be a cardiologist, so I'm

08:43:04   12   specializing in cardiovascular medicine and learning all of

08:43:08   13   the aspects, including imaging and how to treat patients and

08:43:13   14   how to do the invasive procedures.

08:43:15   15    Q   And so am I correct that starting in 1997 or so you were

08:43:18   16   a full-fledged cardiologist?

08:43:20   17    A   Yes.

08:43:20   18    Q   So you testified that you're a professor of medicine.

08:43:27   19   What are your responsibilities in that role?

08:43:29   20    A   So my primary responsibilities as a professor of medicine

08:43:33   21   is to teach and do research.      There's still an adage of

08:43:38   22   publish or perish, so I still publish quite a bit as far as my

08:43:41   23   academic career.

08:43:42   24               But I spend most of my time teaching, and I'll teach

08:43:46   25   everybody from the primary care specialists, family medicine
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08:43:50    1   doctors, and internal medicine doctors, the cardiology

08:43:56    2   fellows, the interns and residents, and then the medical

08:43:59    3   students who are also rotating through different rotations

08:44:02    4   with me.

08:44:03    5    Q   How long have you been teaching?

08:44:05    6    A   Oh, I became a -- I started my professorship series in

08:44:09    7   1997 so I've been teaching full time since July 1997.

08:44:14    8    Q   And am I correct that you teach practicing physicians?

08:44:17    9    A   Yes.

08:44:17   10    Q   Could you go into a little more detail about what you

08:44:21   11   teach them.

08:44:22   12    A   Yeah.    So I spend a lot of time -- I get invited to a lot

08:44:27   13   of different academic meetings, so I'll present at large scale

08:44:31   14   meetings where there will be anywhere from dozens to hundreds

08:44:35   15   of practicing physicians, and I will give lectures on --

08:44:38   16   usually on things related to lipids or things related to

08:44:44   17   cardiovascular imaging to these different groups.

08:44:47   18    Q   Do you have an understanding of why people ask you to do

08:44:51   19   these lectures?

08:44:52   20    A   Well, I've been told that I'm fairly clear when I

08:44:56   21   lecture, and they find it educational so they invite me back.

08:45:01   22   So I usually end up doing these on a regular basis.

08:45:04   23    Q   Are you involved in any other physician education

08:45:07   24   activities we haven't already covered?

08:45:09   25    A   Well, I do a lot of publishing, and some of that is in
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08:45:14    1   the form of guidelines.     So I'll publish medical guidelines

08:45:18    2   I'll write on behalf of different societies, different

08:45:22    3   guidelines to help educate physicians in the field on how to

08:45:26    4   practice cardiology or how to use certain tools in their

08:45:31    5   practice.

08:45:32    6    Q   What drew you to preventive cardiology?

08:45:36    7    A   Yeah, so, I mean, the long-standing relationships with

08:45:40    8   the patient, the ability to try to help them, enable them to

08:45:45    9   prevent a catastrophic event was very rewarding for me, and

08:45:49   10   I've enjoyed it in my clinical practice, so I've stayed with

08:45:53   11   it over the many years since I started.

08:45:56   12    Q   You mentioned you conduct research.        What kind of

08:45:59   13   research do you conduct?

08:46:00   14    A   Yeah, so most of my research revolves around looking at

08:46:04   15   the effect of different therapies on atherosclerosis, plaque

08:46:14   16   build-up in the arteries, to see if drug X improves the

08:46:16   17   arteries or if drug Y causes more problems in the arteries.

08:46:18   18               I also do a lot of research on clinical trials so

08:46:22   19   I'll work with other investigators to perform clinical studies

08:46:27   20   to see if a drug has its desired affect, be it anything from

08:46:32   21   lowering the blood pressure to improving the cholesterol

08:46:37   22   panel, to improving the triglycerides.

08:46:37   23    Q   What is an investigator in the context of clinical

08:46:40   24   trials?

08:46:40   25    A   Yeah, so an investigator is the person who is principally
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08:46:43    1   responsible for the local site, and the primary investigator

08:46:49    2   or the principal investigator is responsible for the overall

08:46:53    3   performance of the trial, everything from making sure the

08:46:55    4   patients stay in the study and are appropriately treated, to

08:46:59    5   ensuring their safety, and then to make sure that we capture

08:47:02    6   all of the desired endpoints so that the trial can be

08:47:06    7   published and hopefully advance science.

08:47:09    8    Q   How long have you -- or how many times have you been a

08:47:12    9   principal investigator at the national level?

08:47:14   10    A   Probably around a dozen or so.

08:47:18   11    Q   How many times have you been the principal investigator

08:47:21   12   on a clinical trial at a local site?

08:47:24   13    A   Oh, probably about a hundred times.

08:47:27   14    Q   Can you give a few examples of clinical studies you've

08:47:32   15   been involved in recently?

08:47:33   16    A   Yes, I'm currently performing a multicenter trial that

08:47:36   17   I'm the overall principal investigator on called EVAPORATE.

08:47:39   18   That's actually using the product in question here, Vascepa,

08:47:44   19   to look at plaque over time.

08:47:46   20              So I'm in charge of all of the sites in the trial

08:47:48   21   and the overall performance of the trial, and I recently

08:47:52   22   presented some of the interim data at the largest meeting of

08:47:56   23   cardiology in the United States called the American Heart

08:47:58   24   Association Meeting on a very large scale.

08:48:02   25    Q   What do you hope to show in the EVAPORATE trial?
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08:48:06    1    A   So EVAPORATE is -- the target of EVAPORATE is to

08:48:10    2   demonstrate whether Vascepa reduces plaque in the coronary

08:48:15    3   arteries as compared to placebo, so to see if some of its

08:48:19    4   cardiovascular benefits that we've seen in the REDUCE-IT trial

08:48:23    5   actually translate into plaque reduction at the coronary

08:48:28    6   level.

08:48:28    7    Q   Can you tell us how EVAPORATE is going so far?

08:48:31    8    A   Yeah.    It concludes in February.     Hopefully by the end of

08:48:35    9   the February we'll have our last patient, last visit.

08:48:38   10                So hopefully we'll be -- we plan on presenting this

08:48:40   11   at the European Society of Cardiology Meeting in July or

08:48:44   12   August which is the largest meeting in the world of

08:48:47   13   cardiologists.

08:48:48   14    Q   Why do you do so many clinical trials?

08:48:51   15    A   Well, clinical trials have, I feel, a great purpose.          We

08:48:55   16   have to remember that about half of what we discover in -- at

08:48:59   17   least in fields like cardiology, are based on these clinical

08:49:04   18   trials.

08:49:04   19                These clinical trials show us whether a drug works

08:49:08   20   and in whom they work.     So, for example, if we just go back to

08:49:11   21   the REDUCE-IT trial, it affords us a great opportunity to

08:49:14   22   understand that we can reduce cardiovascular events in

08:49:19   23   patients who have certain clinical criteria.        So participating

08:49:24   24   in those studies help us treat patients better.

08:49:26   25    Q   You mentioned REDUCE-IT.      Did you have a role in the
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08:49:29    1   REDUCE-IT clinical trials?

08:49:30    2    A   Yeah, I was local principal investigator so I was

08:49:33    3   responsible for my local site, and then I was a co-author on

08:49:37    4   one of the recent papers describing the results in the United

08:49:40    5   States population of REDUCE-IT.

08:49:41    6    Q   So I think you mentioned earlier that you publish so that

08:49:44    7   you don't perish.    Have you prepared a slide that lists some

08:49:49    8   of your publications?

08:49:50    9    A   Yes.

08:49:51   10                    MR. M. KENNEDY:   Mr. Brooks, can we please have

08:49:52   11   PDX 2-3.

08:49:52   12   BY MR. M. KENNEDY:

08:49:56   13    Q   And are these some selected publications from your

08:50:00   14   curriculum vitae, PX 11671?

08:50:04   15    A   Yes.

08:50:04   16    Q   Could you tell us a little bit more about number 1103.

08:50:09   17   Is that the paper about REDUCE-IT that you just mentioned?

08:50:12   18    A   Yes.    So it's very important to understand how the U.S.

08:50:17   19   population behaves in a clinical trial.       Sometimes it's a

08:50:20   20   little bit different than the overall clinical trials that are

08:50:24   21   done with a worldwide influence.

08:50:26   22                So Dr. Bhatt and I put together this paper to look

08:50:32   23   at the results of the -- of the 3,000 plus patients who were

08:50:37   24   United States participants in the trial to see how they

08:50:40   25   performed.
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08:50:40    1    Q   And if you could tell us a little bit more about 783.         Is

08:50:44    2   that also related to EPA?

08:50:46    3    A   Yes.     This was a review article.    As I was preparing my

08:50:52    4   research and preparing for the EVAPORATE trial to see how we

08:50:57    5   wanted to perform that study and writing it up, we came across

08:51:01    6   a lot of information related to the effects of both EPA and

08:51:05    7   DHA on lipoproteins on lipids.      So we wrote a little review

08:51:12    8   article to help clarify that part of the science.

08:51:14    9    Q   Who is the intended audience for these publications that

08:51:21   10   you author?

08:51:22   11    A   Yeah, so, generally, it depends on where we publish it.

08:51:27   12   For example, the first publication that we discussed was

08:51:30   13   published in Circulation.      That's the Journal of the American

08:51:34   14   Heart Association, so it generally goes out to all

08:51:37   15   cardiologists in the United States and obviously has a bigger

08:51:42   16   circulation than just the U.S.      It goes around to

08:51:46   17   cardiologists in the world.      So that paper was more focused on

08:51:50   18   getting the word out to cardiology.

08:51:50   19    Q   So I would like to ask you a few more questions about

08:51:53   20   your clinical practice.     How long have you been seeing

08:51:56   21   patients?

08:51:56   22    A   I've been seeing patients since 1990 when I started my

08:52:01   23   internship.    We had what's called a continuity clinic, and I

08:52:05   24   would see patients in my clinic starting in 1990, and I've

08:52:09   25   continued since then.
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08:52:10    1    Q      How many patients do you see in a typical month?

08:52:13    2    A      So I see approximately 200 patients in different venues.

08:52:19    3    Q      Are there -- do you have different -- do you have

08:52:23    4   different places where you practice?

08:52:24    5    A      Yes, and it depends on my rotations at the time.      For

08:52:30    6   example, right now I'm supposed to be in the intensive care

08:52:33    7   unit, in the cardiac care unit.      So tomorrow morning I will be

08:52:37    8   rounding in the CCU and taking care of more acute patients.

08:52:41    9                I also have a private clinic where I see my own

08:52:44   10   patients.    And I supervise fellows as well in the cardiology

08:52:48   11   clinic where they will see a patient, and then I will go

08:52:52   12   discuss the patient with them, go in and discuss the case with

08:52:55   13   the patient, and see the patient as -- in a more supervisory

08:52:59   14   role.

08:53:00   15    Q      Now, in your own practice how do those patients find you?

08:53:03   16    A      Yeah, I have a pretty typical preventive cardiology

08:53:08   17   practice.    My practice entails getting referrals from primary

08:53:12   18   care physicians.

08:53:13   19                So a doctor may see somebody with high

08:53:16   20   triglycerides, or may see somebody with very high LDL

08:53:20   21   cholesterol, or a bad family history of heart disease and

08:53:23   22   refer them directly to me, or I get patients directly from

08:53:28   23   word of mouth.    Some patients, some of my patients refer me,

08:53:32   24   and their colleagues or friends or family members will come to

08:53:36   25   see me as well.
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08:53:37    1    Q   What are the common medical problems that patients face

08:53:40    2   in your practice?

08:53:41    3    A   Yeah.   So my private practice, it's fairly focused on

08:53:45    4   preventive cardiology.     So, in other words, I try to take

08:53:47    5   patients who are high risk and try to work with them on risk

08:53:51    6   reduction.   So that could be anything from diet and exercise

08:53:54    7   to drug therapy, to other types of interventions to help

08:53:59    8   prevent them from ever suffering a cardiovascular event.

08:54:04    9    Q   Do you see patients with elevated triglyceride levels?

08:54:07   10    A   Yes.

08:54:07   11    Q   How often?

08:54:08   12    A   Very frequently.     Elevated triglyceride levels are part

08:54:12   13   of a mixed dyslipidemia, so they're part of -- people come in

08:54:18   14   with high cholesterol and high triglycerides, and then I also

08:54:21   15   see patients with isolated high triglycerides.

08:54:25   16    Q   Do you see patients with severe hypertriglyceridemia?

08:54:29   17    A   Yes.

08:54:30   18    Q   How often?

08:54:31   19    A   So it's a less common disease.       I don't have a lipid

08:54:35   20   clinic, I have a general preventive cardiology clinic, but I

08:54:38   21   do see patients regularly with severe hypertriglyceridemia.

08:54:44   22    Q   Do you see patients with elevated LDL-C levels?

08:54:46   23    A   Yes.

08:54:46   24    Q   How often?

08:54:46   25    A   So that's most the common disorder that I see and the
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08:54:50    1   most common disorder that I treat.

08:54:52    2               And, again, those patients with elevated LDL, or bad

08:54:57    3   cholesterol, oftentimes have abnormal triglycerides as well.

08:55:01    4   So we call that a mixed dyslipidemia.

08:55:04    5    Q   Beyond your teaching, research, and clinical obligations,

08:55:09    6   do you engage in other professional activities?

08:55:11    7    A   Yes.

08:55:12    8                   MR. M. KENNEDY:    Mr. Brooks, could we please

08:55:14    9   have slide PDX 2-4.

08:55:14   10   BY MR. M. KENNEDY:

08:55:18   11    Q   And can you just briefly explain what you've depicted on

08:55:21   12   this slide.

08:55:21   13    A   Yeah, so these is just some of my recent memberships or,

08:55:25   14   rather, affiliations with large organizations, national or

08:55:29   15   international organizations, where my expertise was -- I was

08:55:34   16   asked to be on the executive committee or be the chair of the

08:55:38   17   steering committee for different groups.

08:55:41   18    Q   Have you ever received any awards from your peers?

08:55:44   19    A   Yes.

08:55:46   20                   MR. M. KENNEDY:    Mr. Brooks, can we please have

08:55:50   21   PDX 2-5.

08:55:50   22   BY MR. M. KENNEDY:

08:55:52   23    Q   Are these some of the awards that you've received that

08:55:54   24   are reflected in your curriculum vitae?

08:55:57   25    A   Yes.
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08:55:58    1    Q   Could you tell us about one of these awards that may be

08:56:01    2   particularly meaningful to you.

08:56:02    3    A   Yeah, the one that's bolded is, I think, the most

08:56:06    4   prestigious is to be named an Endowed Chair.

08:56:09    5              That comes with some financial support because

08:56:12    6   there's an endowment that supports your position, but, also,

08:56:16    7   more importantly, you're recognized among your peers as being

08:56:19    8   at the highest level of that field.

08:56:21    9              So this is the Endowed Chair of Preventive

08:56:24   10   Cardiology that I was awarded in 2015.

08:56:29   11                   MR. M. KENNEDY:    Your Honor, at this time Amarin

08:56:31   12   offers Dr. Budoff as an expert in the clinical treatment of

08:56:35   13   patients with lipid disorders, including severe

08:56:42   14   hypertriglyceridemia, and as an expert in cardiology.

08:56:44   15                   MR KLEIN:    No objection.

08:56:46   16                   THE COURT:   The request to certify Dr. Budoff in

08:56:49   17   the clinical treatment of lipid disorders, including severe

08:56:55   18   TG, and just preventive cardiology?

08:56:59   19                   MR. M. KENNEDY:    Cardiology in general.

08:57:01   20                   THE COURT:   Cardiology in general.      That request

08:57:02   21   is granted.

08:57:03   22                   MR. M. KENNEDY:    Thank you, Your Honor.

08:57:03   23   BY MR. M. KENNEDY:

08:57:05   24    Q   So, Dr. Budoff, just to orient ourselves, I would like to

08:57:08   25   go over a little bit of scientific background.        I know some of
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08:57:12    1   this was covered yesterday.

08:57:14    2                    MR. M. KENNEDY:   Mr. Brooks, if we could pull up

08:57:16    3   slide PDX 2-6.

08:57:16    4   BY MR. M. KENNEDY:

08:57:19    5    Q   So, Dr. Budoff, what have you shown on this slide?

08:57:21    6    A   Yeah, so this is a lipoprotein.       A lipoprotein -- I know

08:57:26    7   Dr. Ketchum touched on this yesterday, but a lipoprotein is a

08:57:31    8   kind of a way that we transport both cholesterol and

08:57:36    9   triglycerides around the body.

08:57:38   10              If they are heavily containing both cholesterol

08:57:43   11   and/or triglycerides, the bad lipoproteins, they're designated

08:57:48   12   as apolipoprotein B, so you can see that in purple.         And you

08:57:52   13   can see within the content of that lipoprotein, that bad

08:57:57   14   lipoprotein, that has both cholesterol in yellow and

08:58:01   15   triglycerides depicted in red.

08:58:03   16    Q   What are triglycerides?

08:58:05   17    A   So triglycerides are basically how we store energy and

08:58:09   18   how we then given energy to different organs when needed.

08:58:13   19    Q   Are more triglycerides better?

08:58:15   20    A   Well, up to a point.      We need triglycerides, they are an

08:58:19   21   energy source, but most commonly, especially in the United

08:58:23   22   States, we have excess.     We -- we have too many -- we eat too

08:58:28   23   many calories, we store that as triglycerides, and

08:58:32   24   triglycerides then build-up in the bloodstream which can cause

08:58:37   25   plaque build-up, blockages in the arteries that then
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08:58:40    1   subsequently cause heart attacks and death.

08:58:42    2    Q   What purpose does cholesterol serve?

08:58:45    3    A   Cholesterol is very important.       It's a precursor for

08:58:49    4   vitamins as well as for hormones, so it's a very important

08:58:52    5   precursor.

08:58:54    6                But, again, in the United States we tend to run an

08:58:56    7   excess of cholesterol, and that can, again, start to block up

08:58:59    8   the arteries, gets converted into malignant cells that can

08:59:04    9   then cause plaque buildup and heart attacks and strokes.

08:59:09   10    Q   And what purpose does apolipoprotein B serve?

08:59:11   11    A   So the apolipoproteins are divided into the good, those

08:59:17   12   apo A, and bad lipoproteins, the ones that contain lot of

08:59:21   13   cholesterol and triglyceride, are designated apo B.

08:59:25   14                So apo B -- I think of B as bad, so apo B is the bad

08:59:29   15   lipoprotein that, when in excess, carries around too many

08:59:33   16   triglycerides and cholesterol and can cause excess heart

08:59:36   17   attacks, strokes, and death.

08:59:38   18                    MR. M. KENNEDY:   Mr. Brooks, can we have

08:59:43   19   PDX 2-7.

08:59:43   20   BY MR. M. KENNEDY:

08:59:44   21    Q   Dr. Budoff, what have you shown on this slide?

08:59:46   22    A   Yeah, so this is just showing the natural -- the natural

08:59:52   23   progression of what happens to the lipoproteins in our body.

08:59:57   24                When the liver first processes the food and creates

09:00:00   25   these very low-density lipoproteins, they are very rich in
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09:00:06    1   triglycerides.    Then, via lipoprotein lipase and other

09:00:13    2   enzymes, we deliver some of the triglycerides to organs.

09:00:16    3               And the lipoprotein gets smaller and denser, so it

09:00:21    4   goes from very low-density to intermediate density.         It's now

09:00:26    5   a smaller lipoprotein, has less triglycerides and relatively

09:00:30    6   more cholesterol, because the cholesterol is still there, and

09:00:33    7   then further delivered to LDL cholesterol.

09:00:38    8               LDL cholesterol is what we commonly call bad

09:00:42    9   cholesterol.    This is a cholesterol-rich particle that is most

09:00:47   10   associated with heart attacks and strokes and of great concern

09:00:52   11   when we think about a patient's cardiovascular risk if they

09:00:56   12   have too much LDL cholesterol.

09:00:59   13    Q   Again, something we covered a little bit yesterday, but

09:01:03   14   what is hypertriglyceridemia?

09:01:06   15    A   So hypertriglyceridemia is simply hyper, too much,

09:01:10   16   triglycerides, and then emia is in the blood.        So too many

09:01:14   17   triglycerides in the blood, and, again, that's what we call

09:01:17   18   atherogenic.    It causes atherosclerosis, and it causes

09:01:23   19   cardiovascular events.

09:01:25   20    Q   And what is severe hypertriglyceridemia, which I may also

09:01:29   21   refert to STG?

09:01:30   22    A   So severe hypertriglyceridemia is a less common disorder.

09:01:35   23   It's an extreme state of hypertriglyceridemia mostly caused by

09:01:40   24   genetics, so we know it as a chronic condition that is

09:01:45   25   lifelong.
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09:01:46    1               And when the triglycerides are very high, there are

09:01:49    2   different risks as compared to when the triglycerides are only

09:01:52    3   moderately elevated.

09:01:54    4    Q   Is severe hypertriglyceridemia a condition recognized in

09:01:59    5   medical literature?

09:02:00    6    A   Yes.

09:02:01    7    Q   Could you give me example of the type of medical

09:02:04    8   literature in which it's recognized?

09:02:05    9    A   Yes, so it's been discussed in the cholesterol

09:02:07   10   guidelines, guidelines that talk about lipids and how to treat

09:02:12   11   lipids, for decades.

09:02:13   12    Q   Now, you've mentioned guidelines a couple times.         What

09:02:16   13   are guidelines in this context?

09:02:17   14    A   So guidelines are very simply the -- to establish the

09:02:21   15   medical standard of care.      So they instruct clinicians who are

09:02:26   16   practicing in the field on the best practices and what they

09:02:30   17   should do when encompassing a certain condition.

09:02:33   18    Q   Do you use medical guidelines in your own practice?

09:02:36   19    A   Yes, every day.

09:02:37   20    Q   Do you have experience writing guidelines?

09:02:39   21    A   Yes.   I've been involved in probably around 13 or 14

09:02:43   22   guidelines, sometimes as the first author, sometimes as a

09:02:47   23   member of the writing group.

09:02:49   24                   MR. M. KENNEDY:    Mr. Brooks, could we have

09:02:51   25   Plaintiffs' Exhibit 989.
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09:02:53    1                   And, Your Honor, I believe this is one the

09:02:55    2   exhibits that has already been preadmitted in this case.

09:02:55    3   BY MR. M. KENNEDY:

09:03:01    4    Q    Dr. Budoff, do you recognize this document?

09:03:03    5    A    Yes.

09:03:04    6    Q    What is it?

09:03:04    7    A    So this is a cholesterol guideline.       We commonly refer to

09:03:09    8   it as the Adult Treatment Panel III or ATP III report.

09:03:16    9    Q    What role does the American Heart Association have in

09:03:19   10   these guidelines?    I see that this document has its logo on

09:03:24   11   it.

09:03:24   12    A    Yes, so this is -- this is a primary -- they are one the

09:03:29   13   primary writers of the guidelines and sponsors of the

09:03:33   14   guidelines.    They are signed off by many organizations, but

09:03:37   15   they are co-led by the American Heart Association and often

09:03:41   16   the American College of Cardiology.

09:03:44   17    Q    What role does the ATP III guideline play in medical

09:03:48   18   practice?

09:03:48   19    A    Yeah, so this was a very widely used and established

09:03:52   20   guideline in the field.     It really helped us -- directed

09:03:57   21   physicians to be very aggressive with LDL or bad cholesterol

09:04:01   22   control, and it also helped define some of the treatments and

09:04:05   23   definitions of hypertriglyceridemia.

09:04:10   24                   MR. M. KENNEDY:    Mr. Brooks, could we go to

09:04:12   25   page 190 of this exhibit, PX 989.       Also try page 33 -- yep,
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09:04:21    1   there we go.    If we could look at the table on the left-hand

09:04:25    2   side.

09:04:25    3   BY MR. M. KENNEDY:

09:04:27    4    Q      So, Dr. Budoff, what does this table show?

09:04:30    5    A      So this table demonstrates the guidelines,

09:04:36    6   recommendations for how we would categorize triglycerides.

09:04:40    7   These are still used today and have been republished in many

09:04:44    8   guidelines since 2002 when the ATP III came out.

09:04:58    9                You can see normal triglycerides is considered less

09:04:59   10   than 150 milligrams per deciliter, so we are looking at

09:05:00   11   concentrations of triglycerides in the blood, and these are

09:05:03   12   always taken in the fasting state.

09:05:05   13                And then you can see borderline high triglycerides

09:05:10   14   goes up to 199, high triglycerides are over 200 up to 499, and

09:05:15   15   then very high triglycerides, which we also now call severe

09:05:20   16   hypertriglyceridemia, is defined as greater than or equal to

09:05:25   17   500 milligrams per deciliter.

09:05:26   18    Q      You mentioned something about the fasting state.      Why is

09:05:30   19   it important to test triglyceride levels in the fasting state?

09:05:34   20    A      Yeah, so triglycerides can vary throughout the day and

09:05:38   21   can vary based on our diet.      So there are small changes from

09:05:43   22   hour to hour.    And if we had a fatty meal or a high

09:05:46   23   carbohydrate meal, our triglycerides may go up a little bit,

09:05:51   24   so there are variabilities.

09:05:54   25                So to accurately assess a patient's baseline, where
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09:05:57    1   they're starting with their triglyceride, we do it in the

09:06:01    2   fasting state so after I treat a patient, be it with diet and

09:06:06    3   exercise, or be it with a drug, I can then follow that value

09:06:09    4   in the fasting state to see what the net effect was of my

09:06:13    5   treatment.

09:06:13    6    Q   Are these classifications still used by clinicians today

09:06:17    7   in 2020?

09:06:18    8    A   Yes, these are the -- to my knowledge, the only commonly

09:06:21    9   used classifications for hypertriglyceridemia.

09:06:25   10    Q   Now, do you treat patients differently depending on which

09:06:28   11   category of triglyceride level they fall into?

09:06:40   12    A   Yes.

09:06:41   13                    MR. M. KENNEDY:   Mr. Brooks, could we please

09:06:41   14   have PDX 2-8.

09:06:41   15   BY MR. M. KENNEDY:

09:06:44   16    Q   Dr. Budoff, what does this slide depict?

09:06:44   17    A   Yes, so this is based on -- you can see the ATP III are

09:06:50   18   recommendations, that's the reference at the bottom or the

09:06:51   19   source at the bottom.

09:06:53   20                And it basically breaks up the groups into high

09:06:56   21   triglycerides, what are described here as 200 to 499, and then

09:07:01   22   very high or severe hypertriglyceridemia, which is greater

09:07:05   23   than 500 milligrams per deciliter at the top.

09:07:08   24    Q   So a patient has a baseline fasting triglyceride level

09:07:14   25   over 500, am I correct your primary concern at that point is
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09:07:18    1   pancreatitis?

09:07:19    2    A   Yes.

09:07:20    3    Q   What is pancreatitis?

09:07:22    4    A   So pancreatitis, as was described yesterday, is a severe

09:07:27    5   life-threatening condition where the pancreatic enzymes -- the

09:07:32    6   pancreas creates enzymes that are supposed to digest food.

09:07:37    7               If they have too many triglycerides, and the

09:07:39    8   triglycerides block up the ducts, and the pancreas can't

09:07:40    9   perform properly, those enzymes can leak out, dissolve the

09:07:45   10   pancreas itself, that's inflammation of the pancreas, thus the

09:07:49   11   term pancreatitis, and can also actually get into the

09:07:53   12   abdominal cavity and cause much more problems.

09:07:56   13    Q   Does the patient's LDL-C level affect their treatment?

09:08:01   14    A   Yes.

09:08:01   15    Q   How so?

09:08:02   16    A   Well, so our first concern when the triglycerides are

09:08:07   17   above 500 is pancreatitis because this is an acute, short-term

09:08:12   18   life threatening illness.      So pancreatitis can kill somebody

09:08:19   19   fairly quickly, so we want to get the triglycerides below and

09:08:23   20   maintain them below 500.

09:08:25   21               Once we've done that and brought them down from

09:08:28   22   severe hypertriglyceridemia to -- to high triglycerides, 200

09:08:36   23   to 499, we can then further assess them to decide whether or

09:08:41   24   not they're at cardiovascular risk.

09:08:43   25               If their LDL cholesterol is elevated, if they have
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09:08:48    1   diabetes, if they have other risk factors, we would then

09:08:51    2   consider further therapy such as a statin.

09:08:54    3    Q   What causes severe hypertriglyceridemia?

09:08:57    4    A   So hypertriglyceridemia is primarily a genetic disorder,

09:09:02    5   so we're born with it.     We don't have -- we don't process --

09:09:05    6   we don't have certain enzymes, or we have deficiencies in

09:09:08    7   certain enzymes.

09:09:10    8               So when -- that original picture that I showed, when

09:09:13    9   there's the VLDL, that VLDL, that very low-density

09:09:17   10   lipoprotein, that big one, can't get brought down towards LDL

09:09:21   11   cholesterol, so it stays in the bloodstream carrying too many

09:09:26   12   triglyceride around the body, and that increases our risk of

09:09:30   13   pancreatitis.

09:09:31   14                   MR. M. KENNEDY:    Mr. Brooks, could we have

09:09:33   15   Plaintiffs' Exhibit 269.

09:09:33   16   BY MR. M. KENNEDY:

09:09:38   17    Q   Dr. Budoff, do you recognize this document?

09:09:41   18    A   Yes.

09:09:41   19    Q   What is it?

09:09:42   20    A   So this is another guideline by the American Heart

09:09:46   21   Association published in the same journal as ATP III,

09:09:50   22   Circulation, and this is a guideline specifically focusing on

09:09:56   23   triglycerides and cardiovascular disease.

09:09:59   24    Q   Is this a guideline that you've used in your own

09:10:02   25   practice?
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09:10:02    1    A   Yes.

09:10:03    2    Q   Is this a document you relied on in forming your opinions

09:10:06    3   in this case?

09:10:06    4    A   Yes.

09:10:09    5                   MR. M. KENNEDY:    Your Honor, I would like to

09:10:10    6   enter PX 269 into evidence.

09:10:13    7                   MR KLEIN:    No objection.

09:10:14    8                   THE COURT:   269 is admitted.

09:10:14    9                          (Plaintiffs' Exhibit 269 received in
09:10:17                                evidence.)
09:10:17   10                   MR. M. KENNEDY: Mr. Brooks, could we go to the

09:10:20   11   table on page 12 of this document.

09:10:20   12   BY MR. M. KENNEDY:

09:10:25   13    Q   Dr. Budoff, what does this table depict?

09:10:28   14    A   So this is demonstrating the -- as the table is titled,

09:10:34   15   Causes of Very High Triglycerides That May Be Associated With

09:10:39   16   Pancreatitis.

09:10:40   17    Q   And the first category appears to say Genetic.         Can you

09:10:44   18   tell us a little bit more about that category.

09:10:47   19    A   Yeah, so that's the largest and most common cause of very

09:10:52   20   high triglyceride, thus it's listed first.

09:10:54   21               They list the six most common genetic disorders --

09:10:59   22   seven most common genetic disorders here, but there are others

09:11:03   23   as well that are listed in the document.

09:11:06   24               There are many genetic causes of severe

09:11:10   25   hypertriglyceridemia.     These are again the most common ones
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09:11:14    1   that are listed in this table.

09:11:16    2    Q   What's the second category on the list, Acquired

09:11:19    3   Disorders of Metabolism?     What does that involve?

09:11:22    4    A   Yeah, so, you know, genetic causes are lifelong, we're

09:11:27    5   born with them, they stay with us forever and require

09:11:30    6   long-term therapy.

09:11:31    7              Acquired disorders of metabolism are short-term

09:11:35    8   causes, what we call secondary causes of high triglyceride.

09:11:39    9              So, for example, one of the -- one of the things

09:11:42   10   listed here is poorly controlled diabetes.        So if a person

09:11:46   11   with diabetes goes into a very high diabetic state where their

09:11:52   12   blood sugar runs really high, the triglycerides can

09:11:55   13   transiently, temporarily go high.

09:11:58   14              So we would eliminate this prior to medical therapy

09:12:02   15   for high triglycerides because the cause of their high

09:12:06   16   triglycerides is not genetics.      The cause of their

09:12:09   17   triglyceride problem is diabetes.       So you treat the root

09:12:13   18   cause.   You would treat the diabetes and not treat the high

09:12:18   19   triglycerides first.

09:12:21   20                   MR. M. KENNEDY:    Your Honor, I'm advised that

09:12:23   21   there's a technical issue with defendants' screens.         I was

09:12:26   22   wondering if we might take a brief break to try to fix it, if

09:12:31   23   they want to take a break.

09:12:32   24                   MR KLEIN:   Yes.

09:12:34   25                   MR. M. KENNEDY:    Okay.
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09:12:34    1                   THE COURT:   Yes, and Miss Clerk will alert our

09:12:37    2   IT staff and see if he can help.      We'll take a brief recess.

09:38:39    3                           (A recess was taken.)

09:38:39    4                   THE COURT:   Please be seated.

09:38:39    5                   How did we resolve the issue of the monitors?

09:38:43    6   Are the monitors working now?

09:38:45    7                   THE CLERK:   No.

09:38:45    8                   MR KLEIN:    They are not, but we are able to

09:38:48    9   review it on the big screen.

09:38:49   10                   THE COURT:   Do you have hardcopies of the

09:38:51   11   demonstratives?

09:38:52   12                   MR KLEIN:    We do, but the issue really is the

09:38:55   13   call-outs from the hot seat person.

09:38:59   14                   MR. M. KENNEDY:     Your Honor, may I proceed?

09:39:00   15                   THE COURT:   Yes.

09:39:00   16   BY MR. M. KENNEDY:

09:39:02   17    Q   So, Dr. Budoff, let's go back to Plaintiffs' Exhibit 269,

09:39:07   18   table 5 which was on the screen when we --

09:39:09   19                   THE COURT:   I'm sorry, now my screen is not on.

09:39:09   20                           (Discussion held off the record.)

09:39:44   21                   THE COURT:   Do you have an extra copy?

09:39:45   22                   MR. M. KENNEDY:     Of the slides, your Honor?

09:39:45   23                   THE COURT:   Yes.

09:39:45   24                   MR. M. KENNEDY:     We do.

09:39:45   25                   THE COURT:   Or I can my staff make a copy.
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09:39:45    1                   MR. M. KENNEDY:    No -- although, Your Honor, I

09:39:46    2   would say we are going to be going to particular portions of

09:39:49    3   exhibits, and that's what we don't have hardcopies of is like

09:39:52    4   exactly --

09:39:52    5                   THE COURT:   I have the exhibits.      If you

09:39:54    6   reference the exhibit number, I can pull up the exhibit

09:39:57    7   number.

09:39:57    8                   MR. M. KENNEDY:    I can reference exactly where

09:39:59    9   we are.   I'll make sure to do that.

09:40:01   10                   THE COURT:   If we -- I'm not able to get the

09:40:03   11   monitor to work over the noon break, we may need to move to

09:40:07   12   the courtroom across the hall until we can get outside vendors

09:40:12   13   to come in and fix the monitors, but that's going to require

09:40:15   14   lot of changes.

09:40:16   15                   MR. SIPES:   Your Honor, we do have an extra copy

09:40:19   16   available of the exhibits.

09:40:19   17                   THE COURT:   I have the exhibits.      Thank you.

09:40:21   18                   MR. M. KENNEDY:    Your Honor, I'll make sure to

09:40:23   19   identify precisely where we are in each exhibit.

09:40:25   20                   THE COURT:   Thank you.

09:40:27   21                   MR. M. KENNEDY:    So we're currently at

09:40:30   22   Plaintiffs' Exhibit 269, table 5.       Your Honor, that's in PX

09:41:00   23   269, that's page 2302.

09:41:08   24                   THE COURT:   2302.   If you'll give me one minute,

09:41:15   25   let me pull up the exhibit.      So, it's Exhibit 269.
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09:41:24    1                   THE CLERK:    Your Honor, I'm going to try a small

09:41:28    2   experiment and hopefully everything won't crash.

09:41:54    3                   THE COURT:    All right, 269.

09:41:56    4                   MR. M. KENNEDY:    Yeah, the pagination on the top

09:41:58    5   left is 2302.    There's also pagination associated with the

09:42:02    6   exhibit number, and that's 12.

09:42:03    7                   THE COURT:    Thank you.   You just need to give me

09:42:08    8   the pagination associated with the exhibit number.

09:42:11    9                   MR. M. KENNEDY:    Understood, Your Honor.

09:42:22   10                   THE COURT:    I have it.   Thank you.

09:42:22   11   BY MR. M. KENNEDY:

09:42:23   12    Q   So, Dr. Budoff, we've been discussing the causes of very

09:42:27   13   high triglycerides that are listed on PX 269, the guidelines.

09:42:31   14              Let's turn to the third category listed here which

09:42:34   15   is Drugs (medications).      How can medications cause severe

09:42:40   16   hypertriglyceridemia?

09:42:41   17    A   Yeah, so patients who already have a predisposition,

09:42:44   18   already have high triglycerides, they're in the high

09:42:47   19   triglycerides category, if they go on certain drugs, could

09:42:51   20   push them up into the very high triglyceride category.

09:42:54   21              So it would be what we would say exacerbates or

09:42:57   22   makes worse their underlying condition.       So these are -- these

09:43:00   23   are a list of the most common drugs that are associated with

09:43:04   24   elevations in triglycerides.

09:43:05   25    Q   And then the fourth category here it says Diet.         How does
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09:43:12    1   diet cause very high triglycerides?

09:43:14    2    A   Yeah, so diet, very similar to drugs, can make worse an

09:43:20    3   underlying disorder.

09:43:22    4              So patients who already have a problem with

09:43:25    5   triglyceride metabolism, if they have too much alcohol, if

09:43:32    6   they have a very bad diet, imagine somebody may be going from

09:43:37    7   buffet to buffet eating too much, drinking too much, that

09:43:42    8   could make worse an underlying condition.

09:43:44    9              But I just want to make it clear that if we were to

09:43:48   10   do blood draws of most of the people who are eating too much

09:43:51   11   and drinking too much at any given moment, very, very few of

09:43:55   12   them would have severe hypertriglyceridemia.

09:43:58   13              This is not a common cause of severe

09:44:00   14   hypertriglyceridemia, and, certainly, if you don't have an

09:44:04   15   underlying problem, you don't get to that level.         This is a

09:44:07   16   very unusual state to see in clinical medicine.

09:44:12   17    Q   So in your years of treating patients with lipid

09:44:15   18   disorders, how often would you say that you see a patient who

09:44:19   19   has very high triglycerides solely because of diet?

09:44:22   20    A   Yeah, so that would be extremely rare.        That would

09:44:27   21   invoke -- once I corrected their diet, their triglycerides

09:44:30   22   came down to 150 or below, came back down to normal, and I've

09:44:35   23   never seen that happen.

09:44:35   24              I've seen patients who have gone from very high to

09:44:39   25   high, so they've come down by 10 or 20 percent, but I've not
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09:44:43    1   seen a three or four-fold reduction in triglycerides just by

09:44:47    2   improving diet.

09:44:48    3    Q   So a new patient walks into your office, has very high

09:44:52    4   triglycerides, what's your first step in trying to treat them?

09:44:57    5    A   Yeah, so my first step is always to assess what their

09:45:01    6   current state of health is.      So I would start with just simple

09:45:04    7   questions about their current diet, how much alcohol they're

09:45:09    8   drinking, do they exercise.

09:45:10    9               Then I would find out about some of these reversible

09:45:14   10   causes of high triglycerides such as thyroid disease and

09:45:18   11   diabetes.

09:45:18   12               And when I've eliminated all of those, let's say I

09:45:22   13   have somebody who is already a good healthy patient, they're

09:45:26   14   already eating well, then I would consider starting a lipid

09:45:31   15   lowering therapy.

09:45:32   16    Q   So if you've eliminated what you call reversible causes,

09:45:36   17   and you've determined that the patient has very high

09:45:39   18   triglycerides, what -- what's the next step?

09:45:42   19    A   Right.    So I counsel them on diet.

09:45:46   20               Unfortunately, most of us in clinical practice do

09:45:50   21   not have dieticians associated with our practice.         The

09:45:53   22   healthcare system just does not support that.        We just don't

09:45:57   23   have the resources, and we don't get reimbursed for those

09:46:00   24   visits.   So I don't have a dietitian in my office.

09:46:04   25               I see the patient.    I counsel them on diet and
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09:46:07    1   exercise.    I send them to resources to help them achieve a

09:46:11    2   good diet and exercise assuming that they're already not doing

09:46:16    3   something well.

09:46:17    4                And then, if they're not on a good diet and

09:46:20    5   exercise, I would see them back in a few months to assess how

09:46:24    6   well diet and exercise worked.

09:46:27    7                If they're already on an exceptional diet, which a

09:46:30    8   lot of my patients who come to see me are already on a good

09:46:33    9   diet, then I might start therapy at that time.

09:46:36   10    Q   By therapy you mean medication.

09:46:38   11    A   Yes.

09:46:39   12    Q   What kind -- what medications have you used in your

09:46:41   13   career to treat very high triglycerides?

09:46:44   14    A   Yeah, so there are a few that -- that we've used

09:46:48   15   commonly.    Fibrates were the most commonly used historically,

09:46:55   16   then Lovaza came out, and then finally now Vascepa is

09:46:59   17   available.

09:46:59   18    Q   So let's take these one at the time.        What are fibrates?

09:47:03   19    A   So fibrates are a therapy that specifically were designed

09:47:11   20   to lower triglycerides so they've been around for decades.         To

09:47:15   21   my knowledge, all of them are now generic although there's a

09:47:19   22   new one in development.

09:47:20   23                But they basically lower triglycerides dramatically.

09:47:24   24   We get about a 50 percent reduction in triglycerides.         So 600

09:47:29   25   will go to 300 when you institute an fibrate on average.
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09:47:33    1    Q   So do fibrates have downsides?

09:47:36    2    A   Yes.   Unfortunately, the downside of fibrates is while

09:47:39    3   the triglycerides come down dramatically, the bad cholesterol,

09:47:44    4   the LDL cholesterol, goes up dramatically.

09:47:48    5               So literally we get a 50 percent drop in

09:47:52    6   triglycerides, and on average in that population we get a

09:47:55    7   50 percent rise in bad cholesterol.       So you're basically

09:47:59    8   trading one problem for another.

09:48:01    9    Q   So do you have medications available that could address

09:48:04   10   the LDL-C rise?

09:48:07   11    A   Yes.

09:48:07   12    Q   Like what?

09:48:08   13    A   So, at least up until 2016, if I put somebody on a

09:48:16   14   fibrate, let's say, and their triglycerides came down but

09:48:19   15   their LDL went up, let's say from 100 to 150, so now they're

09:48:24   16   at a very high risk of having a heart attack because their bad

09:48:28   17   cholesterol is high, I would then have to institute a statin

09:48:32   18   to lower that LDL by 50 percent back down to a hundred.

09:48:36   19               So I would have to use a high potency statin to

09:48:39   20   counteract a side effect of fibrates, which is something that

09:48:43   21   we always try to avoid in medicine, because now I'm putting

09:48:47   22   them on two drugs instead of one.

09:48:49   23    Q   Can you characterize how often you describe fibrates to

09:48:55   24   STG patients earlier in your career compared to now.

09:48:58   25    A   Yeah, so earlier in my career they were the primary
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09:49:01    1   treatment of severe hypertriglyceridemia in my practice.            They

09:49:05    2   were widely used, and they were, again, generally -- there

09:49:09    3   were generic versions of them so they were low cost, so I used

09:49:13    4   them quite widely.

09:49:14    5                After 2016, the Food and Drug Administration opined

09:49:18    6   that you cannot use a fibrate and a statin together.

09:49:22    7                So now I can't use fibrates in most cases of severe

09:49:27    8   hypertriglyceridemia because, if I get that 50 percent rise in

09:49:30    9   LDL, I then lose my primary way of reducing it.

09:49:34   10    Q   But when you do prescribe fibrates to a patient with STG,

09:49:39   11   for how long did you prescribe them?

09:49:41   12    A   So I would put them on a therapy for life, and with all

09:49:47   13   of our chronic conditions, high cholesterol, high blood

09:49:51   14   pressure, high triglycerides, those are chronic conditions,

09:49:55   15   those are lifetime treatment.

09:49:57   16    Q   So I think you mentioned Lovaza.       What is Lovaza?

09:50:01   17    A   Lovaza is a fish oil derivative.       We heard a little bit

09:50:05   18   about it yesterday.     It is a mixture of EPA and DHA.

09:50:12   19    Q   What -- does it lower triglycerides, and to what extent?

09:50:16   20    A   Yeah.    So it's another dramatic reduction of

09:50:21   21   triglycerides.    Triglycerides come down by 50 percent.           So

09:50:26   22   literally we see a 50 percent drop in triglycerides on average

09:50:31   23   when we put a patient with severe hypertriglyceridemia on

09:50:35   24   Lovaza therapy.

09:50:36   25    Q   Is there anything wrong with Lovaza?
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09:50:38    1    A   Yeah, Lovaza has the exact same problem as fibrates in

09:50:44    2   that the average LDL rise, bad cholesterol rise, is

09:50:48    3   approximately 50 percent.

09:50:51    4                   MR. M. KENNEDY:    I would like to call up PX 566,

09:50:59    5   and, Your Honor --

09:51:00    6                   THE COURT:   I'm able to see it on my screen now.

09:51:03    7                   MR. M. KENNEDY:    Of, terrific.

09:51:03    8   BY MR. M. KENNEDY:

09:51:06    9    Q   So, Dr. Budoff, what is PX 566?

09:51:11   10    A   This is the package insert for Lovaza.

09:51:14   11    Q   Does the package insert go by other names?

09:51:17   12    A   Yes, label or package insert or prescribing information.

09:51:25   13    Q   Can we use those three terms interchangeably today?

09:51:28   14    A   Yes.

09:51:29   15    Q   Is this label for Lovaza a document you rely on in your

09:51:33   16   own clinical practice?

09:51:35   17    A   Yes.

09:51:35   18    Q   Is this a document you relied on in forming your opinions

09:51:38   19   in this case?

09:51:39   20    A   Yes.

09:51:40   21                   MR. M. KENNEDY:    Your Honor, I would like to

09:51:42   22   move PX 566 into evidence.

09:51:44   23                   MR KLEIN:    No objection.

09:51:45   24                   THE COURT:   PX 566 is admitted.

09:51:45   25
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09:51:45    1                           (Plaintiffs' Exhibit 566 received in
09:51:45                                 evidence.)
09:51:45    2   BY MR. M. KENNEDY

09:51:50    3    Q   We talked about this a little bit yesterday, but can you

09:51:54    4   just explain at a high level what is the purpose of a

09:51:57    5   prescribing information for an FDA approved drug?

09:52:00    6    A   Yes, so this informs and instructs physicians on when to

09:52:03    7   use the drug, when it's indicated, how to use the drug, and

09:52:08    8   then, if you choose to use the drug, what you would expect to

09:52:12    9   happen both from the positive side of things, what benefits

09:52:16   10   you will get, and also what side effects or warnings you

09:52:20   11   might -- you might need to be careful of when using that drug.

09:52:23   12    Q   Do you use prescribing information in your own clinical

09:52:27   13   practice?

09:52:27   14    A   Yes.

09:52:28   15    Q   How do you use it?

09:52:29   16    A   So when I'm new to a drug and I'm not very, very familiar

09:52:34   17   with it, I always refer to the prescribing information, and I

09:52:37   18   read the prescribing information to understand the context of

09:52:40   19   that drug, when I should be using it, how I should be using

09:52:44   20   it, and what to look for if I choose to use it.

09:52:48   21                   MR. M. KENNEDY:    Mr. Brooks, could we pull up

09:52:50   22   table 2 of PX 566.

09:52:50   23   BY MR. M. KENNEDY:

09:52:55   24    Q   Dr. Budoff, what is the function of this portion of the

09:52:58   25   Lovaza label?
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09:52:59    1    A   Yeah, so here you can see the randomized clinical trial.

09:53:06    2               These are how we establish what we call

09:53:08    3   evidence-based medicine.     We basically do these randomized,

09:53:14    4   placebo-controlled trials.      These are the highest level of

09:53:17    5   trials that can be done in clinical medicine.

09:53:20    6               And this is the trial that demonstrated the effects

09:53:22    7   of Lovaza in patients with very high triglycerides or what we

09:53:28    8   call severe hypertriglyceridemia.

09:53:30    9    Q   What is Lovaza's indication?

09:53:32   10    A   Lovaza is indicated to reduce triglycerides in the

09:53:36   11   setting of severe hypertriglyceridemia.

09:53:40   12    Q   You mentioned the term evidence-based medicine.         What is

09:53:44   13   evidence-based medicine?

09:53:45   14    A   Yeah, so evidence-based medicine is basically how we look

09:53:49   15   at evidence to understand what the best science is, and then

09:53:53   16   we formulate them into manuscripts, those get incorporated

09:53:58   17   into guidelines, and those get percolated and taught to

09:54:02   18   practicing physicians.

09:54:04   19    Q   Do practicing physicians practice evidence-based

09:54:07   20   medicine?

09:54:08   21    A   They are supposed to.

09:54:09   22    Q   Now, looking at table 2, what's your take away from the

09:54:15   23   clinical data that's shown here for Lovaza?

09:54:18   24    A   Yeah, if you just look at the top line data, literally

09:54:23   25   the triglyceride results, that's our primary thing that we're
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09:54:26    1   using it for, so that's the primary interest.

09:54:28    2                And you can see on the far right what the net effect

09:54:30    3   is if I were to put somebody on Lovaza with severe

09:54:36    4   hypertriglyceridemia as compared to somebody who got put on a

09:54:39    5   matching placebo, and you can see a 51 percent reduction in

09:54:44    6   their triglyceride levels.

09:54:46    7    Q   Is there any other data here that is of particular

09:54:50    8   interest to you as a cardiologist?

09:54:53    9    A   Yes, I think the most important thing -- there was two

09:54:57   10   things.    One, if you look at the placebo category for

09:55:01   11   triglycerides, you see a plus 6 percent rise in triglycerides.

09:55:05   12                And this is very common that over time, if you don't

09:55:09   13   treat severe hypertriglyceridemia with a therapy, and you just

09:55:12   14   use diet and exercise, you do not get a net benefit, and the

09:55:16   15   triglycerides remain elevated.      In this case, they went up by

09:55:20   16   7 percent.

09:55:22   17                Also, looking at the LDL-C at the bottom, what

09:55:25   18   happens to the LDL cholesterol, I mentioned that it goes up by

09:55:29   19   approximately 50 percent, on the far right you can see the

09:55:33   20   average increase was 49.3 percent.

09:55:37   21                So LDL went up from a baseline here in Lovaza of

09:55:44   22   about 90 to about 130, so they went from low risk, from a

09:55:49   23   cardiac perspective, to high risk because I put them on Lovaza

09:55:54   24   therapy.

09:55:55   25    Q   Does that data affect your -- does that affect your
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09:56:00    1   analysis in terms of whether to prescribe Lovaza to your

09:56:04    2   patients?

09:56:04    3    A   Yes.    I mean, this is a very serious problem.

09:56:08    4                Our number one cause of death in men and women in

09:56:11    5   the United States is heart attacks.       So while pancreatitis is

09:56:16    6   a life-threatening condition that we need to treat more

09:56:19    7   acutely, heart disease is something that's more likely to

09:56:24    8   claim lives.

09:56:25    9                And if I raise somebody's LDL bad cholesterol by

09:56:30   10   50 percent, I am literally doing harm and now have to figure

09:56:34   11   out a way of counteracting that harm.

09:56:36   12    Q   Is there anywhere else in the Lovaza label that discusses

09:56:39   13   the effects Lovaza has on LDL-C of a severely

09:56:45   14   hypertriglyceridemic patient?

09:56:45   15    A   Yes, so it's mentioned in the table and in the text below

09:56:49   16   the table.    It's also mentioned in the warnings and

09:56:51   17   precautions section of the label.

09:56:54   18                    MR. M. KENNEDY:   Mr. Brooks, could we go to the

09:56:56   19   bottom of the right-hand column on table -- sorry, bottom of

09:57:02   20   the right-hand column on table -- sorry, that's right.             I

09:57:08   21   apologize, this is the correct place.

09:57:08   22   BY MR. M. KENNEDY:

09:57:10   23    Q   So, Dr. Budoff, is this the area of the Lovaza label you

09:57:13   24   were just referring to?

09:57:15   25    A   Yes.
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09:57:15    1    Q     In particular, the discussion at the bottom that begins

09:57:19    2   "in some patients," is that the warning you were referring to?

09:57:23    3    A     Yes.   So literally here it says,

09:57:31    4                    "Lovaza increased low-density lipoprotein...

09:57:35    5          levels in some patients.    LDL levels should be

09:57:39    6          monitored periodically during Lovaza therapy."

09:57:42    7    Q     Now, could you characterize how often you prescribe

09:57:47    8   Lovaza to your STG patients earlier in your career compared to

09:57:47    9   now.

09:57:50   10    A     Yeah, so before Vascepa became available, I used this a

09:57:54   11   fair amount.     The -- it was increasingly being used.

09:57:58   12                 Again, there was a competition between should I use

09:58:01   13   a fibrate or should I use Lovaza.       They both had robust

09:58:06   14   reductions in triglycerides, 50 percent.        They both had that

09:58:10   15   adverse or negative side effect of raising LDL cholesterol.

09:58:14   16                 So depending on the patient and their coverage, I

09:58:17   17   would use one of these two therapies quite frequently.

09:58:21   18    Q     So when you did use Lovaza, for how long would you

09:58:24   19   prescribe it?

09:58:25   20    A     So, again, it was always prescribed -- I always

09:58:27   21   prescribed things as a one year initial prescription because

09:58:31   22   that's the longest I can legally prescribe it, but my intent

09:58:34   23   was always, once I deemed that they needed the Lovaza, it was

09:58:37   24   for lifetime treatment.

09:58:38   25    Q     Now, in the period before Vascepa was available, were
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09:58:43    1   clinicians concerned about the LDL-C effects of fibrates and

09:58:47    2   Lovaza?

09:58:47    3    A   Yes.

09:58:48    4    Q   Did clinicians nonetheless prescribe fibrates and Lovaza?

09:58:53    5    A   Yes.   They were the only drugs available, basically,

09:58:57    6   widely available.    There is niacin as well, but niacin came

09:59:01    7   with a lot of flushing, and that would usually limit its use.

09:59:05    8               So I would say a vast majority of clinicians -- we

09:59:09    9   had to get the triglycerides out of the severe range.         Diet

09:59:12   10   and exercise already failed by definition before we would

09:59:16   11   start a therapy, so now these patients have a genetic cause, a

09:59:20   12   lifetime problem, and need to be treated long-term with either

09:59:23   13   Lovaza or fibrate therapy.

09:59:26   14                   MR. M. KENNEDY:    Sir, I would like to turn to

09:59:28   15   Vascepa now.    And, Mr. Brooks, could I have PX 1186 which has

09:59:33   16   already been admitted into evidence.

09:59:33   17   BY MR. M. KENNEDY:

09:59:37   18    Q   And, Dr. Budoff, do you recognize this document?

09:59:39   19    A   Yes.

09:59:39   20    Q   What is it?

09:59:40   21    A   This is the prescribing information or label for Vascepa

09:59:45   22   as of December 2019.

09:59:48   23    Q   Is this a document you relied on in forming your opinions

09:59:51   24   in this case?

09:59:52   25    A   Yes.
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09:59:53    1    Q   So I would like to turn to page 11 of this document,

09:59:57    2   which should be table 2.     I think we looked at this yesterday.

10:00:02    3               But, Dr. Budoff, do you have an understanding of

10:00:06    4   where the data in table 2 of the Vascepa label came from?

10:00:10    5    A   Yes, the MARINE study.

10:00:12    6    Q   So before we go on, were you in the courtroom yesterday

10:00:14    7   when Dr. Ketchum testified?

10:00:16    8    A   Yes.

10:00:16    9    Q   So I would like to turn to a question that the Court

10:00:19   10   asked and have you address it, and I believe the question was

10:00:24   11   how do you know that the effects shown in table 2 are

10:00:27   12   attributable to Vascepa and not to diet and lifestyle

10:00:31   13   improvement.

10:00:32   14               Do you remember that question from yesterday

10:00:34   15   morning?

10:00:35   16    A   Yes.

10:00:35   17    Q   So are the effects shown in table 2 attributable to

10:00:39   18   Vascepa and not diet and lifestyle?

10:00:42   19    A   Yes.   So the way that the MARINE trial was done is

10:00:45   20   concordant with how the prescribing information is written

10:00:49   21   that first you try and you implement diet and lifestyle, and

10:00:54   22   in the MARINE trial that's how it was done.

10:00:57   23               For six to nine weeks before they started -- got

10:01:07   24   randomized, they were put on diet and lifestyle treatment, so

10:01:07   25   the effect of diet and lifestyle already came into play.
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10:01:09    1                Then we measured their baseline variables, and you

10:01:13    2   can see the word baseline here.      That's after the effect of

10:01:17    3   diet and lifestyle.

10:01:18    4                So the first way we know this is not due solely to

10:01:21    5   diet and lifestyle is that that has already been implemented

10:01:25    6   and continued throughout the trial.

10:01:27    7                So these baseline variables are then, if they still

10:01:30    8   had severe hypertriglyceridemia -- so it's very important to

10:01:33    9   understand because we've eliminated all of those patients, as

10:01:38   10   we are supposed to before prescribing Vascepa, we've

10:01:42   11   eliminated all of those patients where diet and lifestyle

10:01:46   12   fixed the problem.

10:01:47   13                In other words, I put them on diet and lifestyle if

10:01:50   14   I was investigator in MARINE, their triglycerides dropped to

10:01:54   15   450, they're no longer able to get randomized in the trial

10:01:59   16   because they do not have severe hypertriglyceridemia at the

10:02:02   17   time of the randomization.

10:02:05   18                So the other way we know that this is not due to

10:02:08   19   diet and lifestyle is that both the Vascepa group and the

10:02:11   20   placebo group both are getting diet and lifestyle throughout

10:02:16   21   the trial.    So the effect on diet and lifestyle would be

10:02:20   22   neutral because it's -- it's reflected in both groups.

10:02:24   23                And the only difference between group A, Vascepa,

10:02:28   24   and group B, placebo, is the drug itself.        So the effects are

10:02:32   25   only from the drug and not due to the diet and lifestyle
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10:02:36    1   influence.

10:02:37    2    Q   So at a high level, how does the data in table 2 for

10:02:42    3   Vascepa compare to the data we just looked at for Lovaza?

10:02:46    4    A   Yeah, so, again, the primary reason, the indication for

10:02:52    5   Vascepa is to lower triglycerides in the setting of severe

10:02:56    6   hypertriglyceridemia.

10:02:57    7                So we look at the triglyceride results at the top,

10:03:00    8   and at the far right you can see the difference.         The net

10:03:05    9   effect is minus 33 percent, so not quite as robust as Lovaza,

10:03:11   10   not quite as robust as fibrates, but it does nicely reduce

10:03:17   11   triglycerides by about a third.

10:03:19   12                If we look at the placebo group, and look at the

10:03:23   13   percent change, it's plus ten percent.       Just like we saw with

10:03:27   14   the Lovaza group, Lovaza was plus seven percent, that the net

10:03:31   15   effect of continuing diet and exercise once you've employed

10:03:35   16   it, does not generally reduce triglycerides in most patients.

10:03:39   17                The average increase was -- there was an actual

10:03:42   18   average increase over time if they were just maintained on

10:03:46   19   diet and exercise.     Remember, placebo is placebo plus diet and

10:03:50   20   exercise.    Vascepa, is Vascepa plus diet and exercise.

10:03:55   21    Q   So moving to the LDL-C row, how does the LDL-C data shown

10:04:00   22   here compare to the data we saw with Lovaza?

10:04:03   23    A   Yeah, so the LDL-C -- and this is dramatically different

10:04:08   24   than both fibrates and Lovaza.      Now, instead of plus

10:04:12   25   49 percent, it's minus two percent.
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10:04:15    1                The net effect of putting somebody on Vascepa is

10:04:19    2   that LDL-C does not go up.      So this is much different with

10:04:23    3   much different cardiovascular implications for a patient

10:04:28    4   because their LDL is not going up by 50 percent.

10:04:32    5    Q   So how did this clinical data affect your treatment

10:04:35    6   decisions for your patients with severe hypertriglyceridemia?

10:04:41    7    A   So now this became the preferred agent when it was

10:04:44    8   available.

10:04:45    9                Remember, there are still formulary issues.       There

10:04:48   10   are still cost issues because this is not generic, and Lovaza

10:04:53   11   had a generic alternative at this time.       But this would be a

10:04:57   12   very compelling reason for clinicians to use Vascepa.

10:05:02   13                And I would argue in the setting of severe

10:05:05   14   hypertriglyceridemia, the only reason to use it, because it's

10:05:09   15   not as good a triglyceride lowering agent as Lovaza, so the

10:05:14   16   reason you would pick a branded drug over Lovaza is going to

10:05:20   17   be almost solely due to the LDL-C drop.

10:05:24   18    Q   But how do you know what other clinicians are doing in

10:05:27   19   response to the Vascepa data?

10:05:28   20    A   Well, I spend quite a bit of time lecturing.         Literally

10:05:34   21   this afternoon I was supposed to be lecturing to the family

10:05:37   22   medicine doctors at my institution on hypertriglyceridemia and

10:05:42   23   hyperlipoidemia.    I had to move that lecture.

10:05:47   24                But I literally interact with primary care doctors

10:05:50   25   on a daily basis.    I educate them on this, and I know what
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10:05:54    1   they're doing in practice, and try to direct them to guideline

10:05:59    2   evidence-based medicine of what the best practices are at this

10:06:03    3   point in time because obviously that continues to change over

10:06:06    4   time.

10:06:06    5    Q      When you do prescribe Vascepa to your STG patients, for

10:06:11    6   how long do you typically prescribe it?

10:06:13    7    A      So, again, once I've already eliminated the short-term

10:06:17    8   causes, I've made sure they're not a diabetes person out of

10:06:20    9   control, I make sure that their thyroid disease is controlled,

10:06:23   10   I've put them on good lifestyle and diet, and all of that has

10:06:28   11   failed, as per the label, I then institute Vascepa, and I

10:06:32   12   institute Vascepa for life, because the only people left are

10:06:35   13   people with genetic abnormalities that cause permanent

10:06:40   14   elevations in their triglycerides.       So it's always a lifetime

10:06:44   15   treatment.

10:06:45   16    Q      Sir, are you familiar with the proposed labels that will

10:06:49   17   accompany defendants' ANDAs in this case?

10:06:51   18    A      Yes.

10:06:52   19                    MR. M. KENNEDY:   Mr. Brooks, could we please

10:06:53   20   have Plaintiffs' Exhibit 1203 which I believe has been

10:06:57   21   pre-admitted in this case.

10:06:57   22   BY MR. M. KENNEDY:

10:07:03   23    Q      Dr. Budoff, do you recognize this document?

10:07:05   24    A      Yes.

10:07:06   25    Q      What is it?
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10:07:06    1    A   So this is the package insert or label for the generic

10:07:13    2   proposed alternative to Vascepa.      I believe this is the Hikma

10:07:17    3   version.

10:07:19    4                    MR. M. KENNEDY:    Okay.   Could we pull up

10:07:22    5   Plaintiffs' Exhibit 1209 -- I'm sorry.

10:07:22    6   BY MR. M. KENNEDY:

10:07:25    7    Q   Dr. Budoff, did you rely on Plaintiffs' Exhibit 1203 in

10:07:29    8   forming your opinions in this case?

10:07:30    9    A   Yes.

10:07:30   10    Q   Okay.   So let me ask you about Plaintiffs' Exhibit 1209.

10:07:34   11   Do you recognize this document?

10:07:36   12    A   Yes.

10:07:36   13    Q   What is it?

10:07:37   14    A   So this is the label, or proposed label, for the generic

10:07:45   15   alternative to Vascepa.       I believe this is the Dr. Reddy's

10:07:48   16   Labs' version.

10:07:50   17    Q   Is this a document you relied on in forming your opinions

10:07:53   18   in this case?

10:07:54   19    A   Yes.

10:07:55   20                    MR. M. KENNEDY:    Your Honor, we would like to

10:07:56   21   admit PX 1209 into evidence.

10:07:58   22                    MR KLEIN:    No objection.

10:08:00   23                    THE COURT:    1209 is admitted.

10:08:00   24                           (Plaintiffs' Exhibit 1209 received in
10:08:00                                 evidence.)
10:08:00   25
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10:08:00    1   BY MR. M. KENNEDY:

10:08:05    2    Q   Dr. Budoff, how do the proposed labels for Hikma's ANDA

10:08:08    3   product and DRL's ANDA product compare to one another?

10:08:12    4    A   They are very, very similar.

10:08:14    5    Q   Are there any differences between those two labels that

10:08:18    6   are material to your infringement opinions in this case?

10:08:22    7    A   No.   The only difference is I think one is proposing a .5

10:08:27    8   gram dose and one is not.

10:08:28    9    Q   Is that difference material to any of your opinions you

10:08:31   10   will be giving today?

10:08:32   11    A   No.

10:08:33   12    Q   How do the Hikma and DRL labels as of today compare to

10:08:38   13   the Vascepa label PX 1186 that we looked at earlier?

10:08:42   14    A   It is very, very similar.      I think the only material

10:08:46   15   difference is every time the word Vascepa appeared in the

10:08:49   16   Vascepa label, the word icosapent ethyl appeared in the

10:08:54   17   icosapent ethyl in these generic proposed labels.

10:08:58   18    Q   Does that word substitution affect any of your

10:09:01   19   infringement opinions in this case?

10:09:03   20    A   No.

10:09:03   21    Q   Does the Vascepa label as it exists today have the same

10:09:07   22   indications as the DRL and Hikma labels as they exist today?

10:09:13   23    A   The indications here are only for severe

10:09:17   24   hypertriglyceridemia.     They do not appear to have the

10:09:21   25   REDUCE-IT indications listed in the generics, but my opinions
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10:09:26    1   are based on the infringement of severe hypertriglyceridemia

10:09:29    2   so the indications read word for word the same between the

10:09:34    3   three labels.

10:09:34    4    Q   So if I asked for your opinions today regarding the

10:09:37    5   Vascepa label, PX 1186, would your opinion be the same if I

10:09:43    6   had asked you about the Hikma label, PX 1203, or the DRL

10:09:48    7   label, PX 1209?

10:09:50    8    A   Yes.

10:09:51    9                   MR. M. KENNEDY:    So, Mr. Brooks, could we go

10:09:53   10   back to PX 1186, the current Vascepa label.

10:09:53   11   BY MR. M. KENNEDY:

10:09:58   12    Q   And let me just kind of go through some of the key

10:10:02   13   portions we will be looking at today, starting with the

10:10:04   14   indications and usage section.

10:10:07   15               And, generally, what's the purpose of the

10:10:09   16   indications and usage section?

10:10:11   17    A   You know, so this is, I think, you know, a very important

10:10:15   18   part of the label.

10:10:16   19               This is where we decide whether or not my patient

10:10:19   20   fits into the type of patients that are indicated.         In other

10:10:24   21   words, does this go along with the approved use of the drug,

10:10:27   22   is my patient indicated to be on this therapy.

10:10:31   23    Q   And let's go to the dosage and administration section.

10:10:35   24               At a high level, what's the purpose of the dosage

10:10:38   25   and administration section in the label?
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10:10:41    1    A   Yeah, so once I've established that the patient is

10:10:44    2   indicated to be on the drug, I then have to read about how to

10:10:47    3   initiate or prescribe the therapy.       So this tells me what to

10:10:52    4   do prior to initiation of Vascepa and then how to prescribe

10:10:58    5   Vascepa specifically.

10:11:00    6                   MR. M. KENNEDY:    Let's go, Mr. Brooks, to the

10:11:02    7   warnings and precautions section which cuts across pages 2 and

10:11:06    8   3.

10:11:06    9   BY MR. M. KENNEDY:

10:11:07   10    Q   What do you get as a physician from the warnings and

10:11:10   11   precautions section?

10:11:12   12    A   So this is another very important section of the label.

10:11:15   13   This warns me about things I need to be aware of, things I

10:11:19   14   might need to inform my patients about when prescribing this

10:11:23   15   therapy.

10:11:24   16                   MR. M. KENNEDY:    Mr. Brooks, we already looked

10:11:26   17   at the clinical study section which is 14, so let's go to the

10:11:30   18   patient counseling information, section 17.

10:11:30   19   BY MR. M. KENNEDY:

10:11:36   20    Q   And, Dr. Budoff, what is the purpose of the patient

10:11:38   21   counseling and information section?

10:11:40   22    A   As you can see here, and this is pages 11 and 12 of this

10:11:44   23   label, that it basically tells us what we should inform our

10:11:49   24   patients when prescribing this therapy.

10:11:52   25              So it gives us a list of things that we should do,
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10:11:55    1   things that we should inform our patients about, things that

10:11:58    2   we should advise our patients about when starting Vascepa

10:12:03    3   therapy.

10:12:04    4    Q   So when you talk to your STG patients, is the advice that

10:12:08    5   you give them consistent with what's in section 17 of the

10:12:13    6   Vascepa label?

10:12:14    7    A   Yes.

10:12:15    8                    MR. M. KENNEDY:   Mr. Brooks, if we could go to

10:12:17    9   the patient information portion.

10:12:17   10   BY MR. M. KENNEDY:

10:12:23   11    Q   Now, Dr. Budoff, what is the purpose of the patient

10:12:26   12   information section?

10:12:28   13    A   Yeah, so this is literally a handout that you can give

10:12:32   14   patients.   I do sometimes, depending on the patient.        But when

10:12:36   15   I prescribe a new therapy, the pharmacist may give this out to

10:12:40   16   the patient when they first give them a new treatment.

10:12:45   17               This is information for the patient.       It's written

10:12:48   18   in lay language, and it goes through a lot of the same

10:12:51   19   sections, but it's all lay language on what should the patient

10:12:56   20   do, how should the patient take the medicine, how should the

10:13:00   21   patient store the medicine.

10:13:01   22               So it has slightly different information.       It's all

10:13:04   23   based on the patient's -- what the patient needs to know when

10:13:07   24   starting Vascepa.

10:13:07   25    Q   Now, we've looked at several sections of the Vascepa
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10:13:11    1   label, PX 1186.     I think you testified that the generics are

10:13:15    2   not seeking the new Vascepa indication.

10:13:19    3                 Aside from that, are there any differences in any of

10:13:21    4   the sections we've just looked at between the Vascepa label on

10:13:25    5   the one hand and the proposed Hikma and DRL labels on the

10:13:29    6   other hand?

10:13:30    7    A     There are no material differences that affected my

10:13:32    8   opinion in this case.

10:13:33    9    Q     Were you instructed about the legal standard to be used

10:13:36   10   in evaluating whether a patent claim has been infringed?

10:13:39   11    A     Yes.

10:13:40   12    Q     Have we prepared a slide summarizing your understanding

10:13:44   13   of that standard?

10:13:45   14    A     Yes.

10:13:45   15                     MR. M. KENNEDY:   Mr. Brooks, if we could have PX

10:13:48   16   2-9.

10:13:48   17   BY MR. M. KENNEDY:

10:13:50   18    Q     Dr. Budoff, does this slide, PX 2-9, represent the legal

10:13:57   19   standard that you've been given?

10:13:58   20    A     Yes.

10:13:59   21    Q     And so what is the first step in determining

10:14:01   22   infringement?

10:14:02   23    A     So, that a -- what a person of ordinary skill in the art

10:14:08   24   would understand or from the claims at the time of the

10:14:12   25   invention.
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10:14:13    1    Q   And you understand the Court's already performed step one

10:14:16    2   of this analysis.

10:14:17    3    A   Yes.

10:14:17    4    Q   And then what's step two of the infringement analysis?

10:14:21    5    A   So step two is to compare the claims and then determine

10:14:26    6   whether, if you followed the label, would you infringe on the

10:14:31    7   patent itself.

10:14:32    8    Q   And have you been instructed about the legal standard to

10:14:37    9   be used in evaluating whether a defendant is inducing

10:14:40   10   infringement of a patent claim?

10:14:43   11    A   Yes.

10:14:44   12                    MR. M. KENNEDY:   Mr. Brooks, could we please

10:14:45   13   have PDX 2-10.

10:14:45   14   BY MR. M. KENNEDY:

10:14:48   15    Q   I'm sorry, one more question about the previous standard.

10:14:50   16   Did you apply the standard for infringement that we just

10:14:54   17   looked at in forming your opinions in this case?

10:14:56   18    A   Yes.

10:14:57   19    Q   So let's look at PDX 2-10.

10:15:01   20               Could you just give your understanding of induced

10:15:04   21   infringement.

10:15:05   22    A   Yes.   So, this is -- inducement is when the label

10:15:10   23   encourages or recommends or instructs a clinician to meet the

10:15:18   24   limitations or elements, each of the elements in the claim.

10:15:21   25    Q   And from what point of view are the labels interpreted?
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10:15:25    1    A   So the labels are interpreted from a practicing clinician

10:15:30    2   in the field or a person of ordinary skill in the art.

10:15:32    3    Q   And which portions of the label do you look at in this

10:15:36    4   analysis?

10:15:37    5    A   So the label is taken in its entirety.

10:15:40    6    Q   I would like to move on to the infringement issues in

10:15:43    7   this case.    Are you familiar with the patents-in-suit?

10:15:46    8    A   Yes.

10:15:47    9    Q   Oh, sorry one more question about PDX 2-10.

10:15:52   10                What is your understanding of .2 here under the

10:15:56   11   induced infringement standard?

10:15:58   12    A   That it would be at least some clinicians would

10:16:05   13   inevitably infringe on the label if they -- if they -- if they

10:16:11   14   followed the methods or if they were encouraged by the label

10:16:16   15   to meet all of the elements.

10:16:17   16    Q   Okay.    Now let's move on to the patents-in-suit in this

10:16:21   17   case, and I would like to start with PDX 21, which is on the

10:16:26   18   list of pre-admitted exhibits.

10:16:29   19                Dr. Budoff, do you recognize this document?

10:16:32   20    A   Yes.

10:16:32   21    Q   What is it?

10:16:33   22    A   This is patent '728.

10:16:36   23    Q   And the full number being patent 8293728?

10:16:41   24    A   Yes.

10:16:42   25    Q   Is this a patent you relied on in forming your opinions
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10:16:46    1   in this case?

10:16:46    2    A   Yes.

10:16:46    3    Q   Now, again, in performing your infringement analysis,

10:16:52    4   were there any relevant differences between the Vascepa label

10:16:55    5   and either of the defendants' label?

10:16:57    6    A   No.

10:16:58    7    Q   So that being the case, if I asked you about the Vascepa

10:17:01    8   label, would you have the same opinion if I had asked you

10:17:03    9   about the Hikma or DRL labels?

10:17:06   10    A   Yes.

10:17:06   11    Q   So have you prepared a slide reproducing each element of

10:17:10   12   claim 1 of the '728 patent?

10:17:13   13    A   Yes.

10:17:13   14                    MR. M. KENNEDY:   So, Mr. Brooks, can we have

10:17:16   15   PDX 2-11.

10:17:16   16   BY MR. M. KENNEDY:

10:17:19   17    Q   Is this the slide I just referred to?

10:17:21   18    A   Yes.

10:17:21   19    Q   And there is a notation here that says stipulated.            What

10:17:25   20   does that mean?

10:17:26   21    A   So my understanding is that the -- both sides have

10:17:30   22   already agreed that this claim element would be met by the --

10:17:34   23   by the labels.

10:17:37   24                    MR. M. KENNEDY:   So, Your Honor, let me just

10:17:38   25   note for the record the stipulated facts associated with this
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10:17:41    1   particular stipulation are paragraphs 204 to 209 for Amarin's

10:17:47    2   Vascepa product and label, 216 to 221 for Hikma's product and

10:17:54    3   proposed label, and 228 to 234 for DRL's proposed label.

10:18:02    4                    THE COURT:   Thank you.

10:18:02    5   BY MR. M. KENNEDY:

10:18:04    6    Q   So, Dr. Budoff, reviewing the claim elements for claim 1

10:18:08    7   of the '728 patent, do you follow the steps here when you use

10:18:12    8   or when you administer Vascepa to treat patients with severe

10:18:17    9   hypertriglyceridemia?

10:18:18   10    A   Yes.

10:18:18   11    Q   In your view, would other clinicians do the same thing?

10:18:21   12    A   Yes.

10:18:22   13    Q   Would somebody following the labeling of the Vascepa

10:18:25   14   product follow every element of claim 1 of the '728 patent?

10:18:30   15    A   Yes.    The label encourages these steps to be taken and

10:18:34   16   all of these elements to be met when prescribing these

10:18:37   17   therapies.

10:18:37   18    Q   So let's take these elements one at a time.

10:18:40   19                Have you formed an opinion concerning whether the

10:18:42   20   contents of the Vascepa label encourages clinicians to

10:18:46   21   prescribe Vascepa to a subject having a baseline

10:18:51   22   triglyceride -- a fasting baseline triglyceride level of 500

10:18:55   23   milligrams per deciliter to about 1500 milligrams per

10:18:59   24   deciliter as required by claim 1 of the '728 patent?

10:19:03   25    A   Yes.
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10:19:03    1    Q   What is that opinion?

10:19:05    2    A   So the indication for these therapies is for severe

10:19:10    3   hypertriglyceridemia, to lower triglycerides, so literally

10:19:13    4   this is the indication, the literal indication of the drug to

10:19:16    5   reduce severe -- to reduce triglycerides in a subject with

10:19:21    6   severe hypertriglyceridemia, and that's greater or equal to

10:19:26    7   500 milligrams per deciliter.

10:19:27    8                    MR. M. KENNEDY:   Mr. Brooks, could we have PX

10:19:30    9   1186, the indications and usage section, and I would like to

10:19:35   10   look at the second bullet point.

10:19:35   11   BY MR. M. KENNEDY:

10:19:37   12    Q   Dr. Budoff, is this the indication you just referred to?

10:19:41   13    A   Yes.     Yesterday, I think they called this the MARINE

10:19:45   14   indication, and this is the literally almost word for word of

10:19:48   15   that first element.

10:19:49   16    Q   And does each defendants' proposed label have the same

10:19:52   17   indication?

10:19:53   18    A   Yes.

10:19:53   19                    MR. M. KENNEDY:   Could we go to the clinical

10:19:55   20   study section, table 2.

10:19:55   21   BY MR. M. KENNEDY:

10:20:00   22    Q   Is there anything in the clinical study section relevant

10:20:03   23   to your opinion that the first element of claim 1 of the '728

10:20:08   24   patent is met?

10:20:09   25    A   Yes.     I mean, this, again, is in patients with severe
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10:20:12    1   hypertriglyceridemia, and it demonstrates that use of the drug

10:20:15    2   will reduce triglycerides here by an average of 33 percent.

10:20:21    3    Q      Do you understand that the other asserted claims in this

10:20:23    4   case have the same or very similar claim language to the

10:20:27    5   element we just looked at concerning the 500 to

10:20:32    6   1500 milligrams per deciliter patient?

10:20:35    7    A      Yes.

10:20:36    8                      MR. M. KENNEDY:   Mr. Brooks, could we have PX

10:20:40    9   2-12.

10:20:40   10   BY MR. M. KENNEDY:

10:20:42   11    Q      And, Dr. Budoff, what does this slide depict?

10:20:44   12    A      So this basically just shows two slightly different claim

10:20:50   13   languages and which claims use those specific claim languages.

10:20:54   14    Q      And the opinion you just expressed with respect to the

10:20:57   15   version of this element that appears in claim 1 of the '728

10:21:02   16   patent, would those opinions apply with equal force with the

10:21:05   17   same or similar claim language that appears in the other

10:21:08   18   asserted claims?

10:21:09   19    A      Yes.

10:21:09   20    Q      So let's move on to PDX 2-13, and this is the claim

10:21:21   21   limitation requiring administration of the drug for a period

10:21:24   22   of 12 weeks.

10:21:24   23                  Have you formed any opinions concerning whether the

10:21:27   24   contents of the Vascepa label encourage clinicians to

10:21:31   25   prescribe Vascepa to their severely hypertriglyceridemic
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10:21:35    1   patients for a period of 12 weeks as required by claim 1 of

10:21:39    2   the '728 patent?

10:21:42    3    A   Yes.

10:21:42    4    Q   What is that opinion?

10:21:43    5    A   That physicians, the average clinician practicing in the

10:21:49    6   field will prescribe Vascepa for long-term therapy which will

10:21:55    7   encompass a period of 12 weeks.

10:21:57    8    Q   And would you have the same opinion if I'd ask you about

10:22:00    9   the Hikma label, PX 1203, or the DRL label, PX 1209?

10:22:06   10    A   Yes.

10:22:07   11    Q   So let's go to the indications and usage section of the

10:22:10   12   Vascepa label.

10:22:12   13               And, again, I would like to look at what we're

10:22:15   14   calling the MARINE indication, which reads,

10:22:17   15                  "As an adjunct to diet to reduce TG levels in

10:22:21   16        adult patients with severe, over 500 milligrams per

10:22:25   17        deciliter, hypertriglyceridemia."

10:22:28   18                    Does the indications and usage by itself tell

10:22:31   19   you anything or tell a clinician anything about the duration

10:22:35   20   for which you should prescribe Vascepa?

10:22:38   21    A   Yes.

10:22:39   22    Q   What does it tell you?

10:22:40   23    A   Well, clinicians in the field will know that severe

10:22:45   24   hypertriglyceridemia is largely a genetic problem, a lifelong

10:22:50   25   problem, and requires lifelong therapy.       So when the
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10:22:53    1   indication lists a chronic disease, then the treatment is

10:22:58    2   long-term.

10:23:00    3    Q   Is there anything in the indications and usage of the

10:23:04    4   Vascepa label that tells you a maximum length of time for

10:23:10    5   prescribing Vascepa?

10:23:11    6    A   No, there's no limit put here as there would be if this

10:23:15    7   was a short-term treatment for an acute condition.

10:23:19    8    Q   Are the words adjunct to diet relevant to the length of

10:23:24    9   time for which a clinician should prescribe Vascepa according

10:23:28   10   to the label?

10:23:29   11    A   Yes, and it's brought out again in the dosage and

10:23:32   12   administration section talking about lifestyle and nutritional

10:23:39   13   intake and physical activity, that it's maintaining this --

10:23:45   14   maintaining this therapy over the long run because you've

10:23:48   15   already eliminated the short-term problems of a bad life style

10:23:53   16   or a bad diet or too much alcohol use.

10:23:56   17                So after diet, you then -- and they still have high

10:24:00   18   triglycerides, then Vascepa is indicated.        So you've

10:24:03   19   eliminated short-term and now you're left with only the

10:24:07   20   chronic genetic patients.

10:24:09   21    Q   So let's go to the dosage and administration section

10:24:13   22   which is immediately below.      I would like to ask you about

10:24:16   23   section 2.1 prior to initiation of Vascepa.        What does it mean

10:24:20   24   to initiate Vascepa?

10:24:22   25    A   So prior to starting or prescribing Vascepa, they give
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10:24:27    1   you some steps that you should take and accomplish prior to

10:24:32    2   implementing treatment.

10:24:33    3    Q   Let me just back up just for a second.        What does the

10:24:37    4   word initiation mean in this context?

10:24:39    5    A   Oh, to start the therapy or to prescribe the therapy.

10:24:42    6    Q   So let's talk about the first bullet point under the

10:24:46    7   words "Prior to Initiation of Vascepa."       What is this first

10:24:52    8   bullet point of the label telling you to do?

10:24:54    9    A   So it specifically tells you to identify other causes,

10:24:59   10   and we talked about the short-term or the secondary causes

10:25:03   11   that can cause transient elevations in triglycerides, such as

10:25:09   12   poorly controlled diabetes or low thyroid disease, and manage

10:25:13   13   those as appropriate first.

10:25:15   14               And if there's still a problem where the

10:25:17   15   triglycerides are still above 500 and they still have severe

10:25:21   16   hypertriglyceridemia, then you can go on to the next step.

10:25:24   17    Q   So you mentioned transient causes.        Is that the same

10:25:27   18   thing as -- I think you mentioned reversible causes earlier?

10:25:30   19    A   Yes.

10:25:31   20    Q   So let's say you follow the first bullet point under 2.1,

10:25:37   21   you identify these other reversible causes such as diabetes,

10:25:47   22   hyperthyroidism, and medications, and you manage them as

10:25:48   23   appropriate, and let's say you successfully manage them.           At

10:25:51   24   that point would those patients get Vascepa?

10:25:54   25    A   No.    Just like the MARINE trial, if they don't still have
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10:25:57    1   severe hypertriglyceridemia, they would never be implemented

10:26:00    2   on treatment.

10:26:01    3    Q   And then let's go the second bullet point under

10:26:07    4   section 2.1 which reads, quote,

10:26:09    5                   "Patients should engage in appropriate

10:26:11    6        nutritional intake and physical activity before

10:26:14    7        receiving Vascepa which should continue during

10:26:17    8        treatment with Vascepa."

10:26:18    9                    So what -- you've probably touched on this

10:26:19   10   earlier, but what does this involve?

10:26:21   11    A   So, again, this is what I talked about earlier.         The way

10:26:24   12   the MARINE trial was literally done, you first counsel them

10:26:27   13   and get them to engage in a good diet and exercise.

10:26:30   14              If good diet and exercise fail, then you would

10:26:35   15   initiate Vascepa.    If good diet and exercise is successful,

10:26:41   16   you don't use Vascepa.     It would be off-label use to use

10:26:45   17   Vascepa before implementing diet and exercise.

10:26:48   18    Q   So if it's one of those patients who you can counsel them

10:26:54   19   on diet and lifestyle, and that gets them under 500 and keeps

10:26:59   20   them there, would that patient get prescribed Vascepa if the

10:27:03   21   clinician were following the label?

10:27:05   22    A   No.

10:27:05   23    Q   So would -- so if you back out the patients who have what

10:27:13   24   you are calling reversible causes, and you're backing out the

10:27:17   25   patients who have diet and lifestyle related issues that get
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10:27:22    1   them over 500, who is left?

10:27:24    2    A   So left -- as we saw in that table from the scientific

10:27:30    3   statement from the American Heart Association, the only

10:27:32    4   category that's left is genetic causes.

10:27:35    5    Q   And do those people get Vascepa if a clinician is

10:27:39    6   following the labeling, the people with genetic causes?

10:27:42    7    A   Yes.   They have a lifetime problem, and they're going to

10:27:45    8   develop pancreatitis, their risk of developing pancreatitis is

10:27:50    9   high, so they would get Vascepa as encouraged by the label

10:27:54   10   here in dosage and administration.

10:27:56   11    Q   Would a clinician following the label prescribe Vascepa

10:27:56   12   to somebody whose cause of STG was addressed by something

10:28:04   13   mentioned in section 2.1 of the label?

10:28:06   14    A   I'm sorry, can you repeat that?

10:28:07   15    Q   Would somebody whose STG was adequately addressed by one

10:28:13   16   of the issues mentioned in 2.1 of the label be prescribed

10:28:19   17   Vascepa by a clinician following the label as a whole?

10:28:19   18    A   No, they would be eliminated from being a candidate for

10:28:22   19   Vascepa.

10:28:23   20    Q   So let's turn to the clinical study section of the

10:28:26   21   Vascepa label.    And, Dr. Budoff, does the clinical study --

10:28:35   22                    MR. M. KENNEDY:   Mr. Brooks, can we have the

10:28:37   23   verbiage above table 2 as well this time?        Sorry.

10:28:37   24   BY MR. M. KENNEDY:

10:28:42   25    Q   Dr. Budoff, does the clinical study section of the
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10:28:45    1   Vascepa label tell you anything about the duration of

10:28:49    2   treatment that the label is calling for, for Vascepa?

10:28:51    3    A   Well, yes.    I mean, the study designed specifically calls

10:28:56    4   out that patients were enrolled in this study for 12 weeks.

10:28:59    5    Q   Why is that meaningful?

10:29:01    6    A   Well, because, in clinical practice, we -- we try to

10:29:08    7   follow the prescribing information, and if the prescribing

10:29:12    8   information was done at 12 weeks, then that informs the

10:29:15    9   physician, that instructs the physician that you should wait

10:29:19   10   12 weeks to reassess lipids to see what the full effect of

10:29:23   11   your treatment is, because my goal, when putting them on

10:29:26   12   Vascepa, is to achieve the results in table 2.

10:29:30   13              In other words, I want to see a 33 percent drop on

10:29:34   14   average in triglycerides.      I want to see no rise in LDL

10:29:39   15   cholesterol.

10:29:39   16              So those become really important, and the only way I

10:29:42   17   can compare my patient to the label and what's being

10:29:47   18   encouraged is to follow the instructions that are given, and

10:29:51   19   the instructions here are to treat for 12 weeks.

10:29:57   20    Q   Does the Vascepa label contain any clinical data

10:30:00   21   concerning treatment of Vascepa for any duration other than

10:30:04   22   12 weeks, like, for example, four weeks?

10:30:05   23    A   No, there's no other mention of any other duration of

10:30:09   24   treatment other than 12 weeks.

10:30:10   25    Q   So if you, for some reason, decided to prescribe Vascepa
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10:30:14    1   for four weeks to a severe hypertriglyceridemic patient, what

10:30:19    2   would the label tell you about what lipid effects you would

10:30:23    3   expect to achieve?

10:30:24    4    A   So there are none listed here, so the label would not

10:30:27    5   inform you at all on what to expect at four weeks.

10:30:30    6    Q   And, again, just to -- the clinical studies data in

10:30:36    7   table 2 of the Vascepa label, does the same data appear in the

10:30:38    8   DRL and Hikma labels?

10:30:38    9    A   Yes, the same exact language for 12 weeks exists.

10:30:42   10    Q   The same data as well?

10:30:43   11    A   Yes.

10:30:43   12    Q   Dr. Budoff, is there any background information a

10:30:47   13   clinician in this field would bring to bear when reading the

10:30:52   14   Vascepa label?

10:30:53   15    A   Yes.    I mean, physicians who are treating patients with

10:30:56   16   severe hypertriglyceridemia are generally either going to be

10:31:00   17   primary care physicians, largely, may be endocrinology or

10:31:04   18   cardiology, and they will be familiar with other therapies in

10:31:08   19   the class.   They're supposed to be familiar with the

10:31:10   20   guidelines, and they are supposed to follow the label when

10:31:14   21   prescribing these therapies.

10:31:15   22    Q   So the clinicians who would be reading the Vascepa label,

10:31:19   23   they would already know what severe hypertriglyceridemia is?

10:31:23   24    A   Yes, I would hope so.      Usually the physician who starts

10:31:27   25   therapy understands the disease well enough to implement
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10:31:31    1   treatment for that disease.

10:31:32    2                    MR. M. KENNEDY:   Mr. Brooks, could we have PX

10:31:34    3   288.

10:31:34    4   BY MR. M. KENNEDY:

10:31:39    5    Q     Dr. Budoff, do you recognize this document?

10:31:42    6    A     Yes.

10:31:43    7    Q     What is it?

10:31:44    8    A     So, this is a review article written by Dr. Karalis, he's

10:31:51    9   a professor and cardiologist in Pennsylvania.

10:31:56   10    Q     Generally what's the subject matter of this article?

10:31:59   11    A     So this is a review of all of the clinical guidelines for

10:32:03   12   how to manage hypertriglyceridemia, and in this paper he

10:32:09   13   focuses more on the treatment with the 4-gram doses of omega-3

10:32:15   14   fatty acids, the high dose treatments that are available.

10:32:18   15    Q     And the omega-3 fatty acids, that refers collectively to

10:32:20   16   Vascepa and Lovaza?

10:32:22   17    A     Yes.

10:32:22   18    Q     Is this a document you relied on in forming your opinions

10:32:25   19   in this case?

10:32:29   20    A     Yes.

10:32:29   21                    MR. M. KENNEDY:   Your Honor, Amarin moves PX 288

10:32:32   22   into evidence.

10:32:33   23                    MR KLEIN:    No objection.

10:32:34   24                    MR. M. KENNEDY:   Or seek to move 288 --

10:32:34   25                    THE COURT:   288 is admitted.
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10:32:34    1                           (Plaintiffs' Exhibit 288 received in
10:32:34                                 evidence.)
10:32:38    2                    MR. M. KENNEDY: Mr. Brooks, could we go to

10:32:39    3   page 309 of this article, the right-hand column, the section

10:32:44    4   that starts "Patients with very high TG levels."

10:32:44    5   BY MR. M. KENNEDY:

10:32:48    6    Q   And in particular, Dr. Budoff, I would like to ask you

10:32:51    7   about the sentence that begins "If an individual with very

10:32:55    8   high TG."

10:32:59    9                Dr. Budoff, what is this sentence telling you about

10:33:02   10   what to do with somebody who falls into one of the very high

10:33:07   11   TG groups?

10:33:08   12    A   Yes, so this describes what we call step-wise care.           So,

10:33:12   13   and that's how every physician that I'm familiar with

10:33:15   14   practices.

10:33:16   15                In other words, you do step one.     In this case,

10:33:20   16   let's say we put them on Vascepa therapy.        That's step one.

10:33:25   17   Then you see what happens after step one, and you decide if

10:33:29   18   you're going to go to step two.

10:33:31   19                So this is describing the considerations of going to

10:33:34   20   step two, "consideration should be given to adding a statin to

10:33:39   21   their triglyceride-lowering therapy."

10:33:41   22                So it's not saying stop step one and start over,

10:33:44   23   it's saying you've already put them on Vascepa, should I add a

10:33:49   24   statin to further reduce their cardiovascular risk.

10:33:52   25    Q   So this passage is talking about somebody who had very
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10:33:56    1   high TGs, was put on an omega-3 fatty acid, and now they fall

10:34:02    2   into a lower category of TG level?

10:34:05    3    A   So now they're at lower level of TG level, but now

10:34:09    4   they're at an enhanced level of cardiac risk so now my focus

10:34:15    5   shifts.

10:34:15    6                I've treated -- I've successfully treated their high

10:34:18    7   triglycerides.    I maintain that, I continue that as outlined

10:34:22    8   here, I continue the Vascepa, and now I say, oh, I've gotten

10:34:26    9   you out of the risk of pancreatitis, but now you're at risk of

10:34:30   10   a heart attack, I better do something else.

10:34:32   11                In this recommendation the something else, based on

10:34:36   12   the 2013 cholesterol guidelines, is to add a statin to their

10:34:40   13   regimen.

10:34:42   14    Q   And just to be clear, Dr. Budoff, we're still talking

10:34:46   15   about a patient with severe hypertriglyceridemia?

10:34:50   16    A   Yes, the paragraph starts with "patients with very high

10:34:54   17   triglyceride levels."

10:34:55   18    Q   So --

10:34:55   19    A   So that's literally the population that they're

10:34:58   20   describing in this article.

10:35:00   21    Q   And I --

10:35:01   22                    THE COURT:   Mr. Kennedy, may I interrupt for a

10:35:03   23   moment?

10:35:05   24                    MR. M. KENNEDY:   Sure.

10:35:05   25                    THE COURT:   Earlier, Dr. Budoff, there was a
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10:35:08    1   chart shown showing a patient with TG equal to or above 500 mg

10:35:16    2   per deciliter, and then you -- I think the chart says the goal

10:35:20    3   was to reduce their TG, and then the next category is between

10:35:24    4   two something, 200 to 499.

10:35:28    5                   THE WITNESS:    Yes.

10:35:28    6                   THE COURT:   There's cardiovascular risk.          Are

10:35:31    7   you referring to that category of patient?

10:35:35    8                   THE WITNESS:    Yes.   So now we've basically

10:35:37    9   lowered their pancreatitis risk so now we now assess their

10:35:41   10   cardiovascular risk.

10:35:43   11                   THE COURT:   Thank you.

10:35:43   12   BY MR. M. KENNEDY:

10:35:44   13    Q   And, Dr. Budoff, I would like to turn to the last passage

10:35:47   14   in this section here that starts, "If the TG levels fall to a

10:35:52   15   normal or borderline level," and what is this passage saying

10:35:56   16   about how to treat patients who started with severe

10:36:03   17   hypertriglyceridemia?

10:36:04   18    A   Yeah, so this is now the scenario that the patient who

10:36:07   19   had very high triglyceride, above 500, severe

10:36:12   20   hypertriglyceridemia, we've implemented lifestyle changes,

10:36:15   21   we've implemented Vascepa or another drug and a statin, and

10:36:18   22   they say if their triglycerides fall to normal or borderline,

10:36:23   23   consideration can be given to discontinue the nonstatin,

10:36:28   24   triglyceride-lowering medication.

10:36:29   25    Q   And what is normal or borderline?
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10:36:32    1    A   So that would be less than -- so normal is less than 150,

10:36:38    2   borderline is less than 200.

10:36:40    3              So implementation in this scenario, when using

10:36:45    4   Vascepa, as an example, if you started above 500, so let's say

10:36:49    5   they're about 600, which is even less than the average in the

10:36:52    6   MARINE trial, to get to 600 to less than 200 would be a 66 --

10:36:57    7   a two-thirds reduction in their -- in their triglyceride

10:37:03    8   levels which would be double what we saw in the trials.

10:37:06    9              So I think this is an unlikely scenario.        But if you

10:37:10   10   do happen to achieve reversal of their triglycerides, and they

10:37:14   11   come down to completely normal, then it says consideration can

10:37:17   12   be given to stopping the triglyceride-lowering medication.

10:37:20   13    Q   Now, in your own practice how often do you see that kind

10:37:24   14   of magnitude of a reduction from someone who is at very high

10:37:30   15   triglycerides to normal or borderline?

10:37:32   16    A   Yes, I could say that -- I can say that I've never seen

10:37:36   17   that in my practice.

10:37:38   18              In the EVAPORATE trial, which was a prospective

10:37:41   19   randomized trial using Vascepa, no patients had a 66 percent

10:37:46   20   drop in their triglycerides using Vascepa therapy.

10:37:49   21    Q   Now, if you have a patient with very high triglycerides

10:37:52   22   who achieves a triglyceride reduction with Vascepa short of

10:37:56   23   that kind of 60 -- you know, 70 percent reduction, do you

10:38:01   24   consider taking them off of Vascepa at that point?

10:38:03   25    A   No.   So if their triglyceride levels are still in the
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10:38:08    1   high range, then I know if I stop Vascepa their triglycerides

10:38:12    2   will go back up to baseline.

10:38:15    3              Remember, we've eliminated all of the short-term,

10:38:18    4   all of the bad diets, all of the alcohol bingers, all of the

10:38:21    5   diabetics out of control.      What we're left with are the

10:38:25    6   genetic patients, and if I stop the active treatment,

10:38:29    7   triglycerides are going to go back up to where they started,

10:38:31    8   and they're going to be back at risk of pancreatitis.

10:38:35    9    Q   So the patients who we're talking about still have --

10:38:38   10   patients we're talking about who have very high triglycerides,

10:38:41   11   and you're able to lower their triglycerides with

10:38:48   12   lipid-lowering therapy, those patients are considered to have

10:38:51   13   the condition of severe hypertriglyceridemia, correct?

10:38:54   14    A   Yes, a chronic condition -- you don't take away the

10:38:57   15   diagnosis once you've controlled it.       If somebody has high

10:39:01   16   blood pressure, and I treat them, and now their blood pressure

10:39:05   17   is reading normal, I don't tell the patient, oh, you no longer

10:39:08   18   have high blood pressure, the patient has high blood pressure

10:39:09   19   still, they just are treated or have successfully controlled

10:39:13   20   high blood pressure.

10:39:15   21              I just want to point out the last sentence of this

10:39:15   22   paragraph, it says,

10:39:18   23                  "Triglyceride levels will need to be

10:39:18   24        monitored closely for any rise in triglycerides."

10:39:21   25                   So even Dr. Karalis in their review of the
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10:39:25    1   guidelines are reminding you that if you stop the therapy, you

10:39:29    2   best keep an eye on them because they're likely to go back up.

10:39:36    3    Q   Would you -- if you put some patient with STG on Vascepa,

10:39:40    4   have you ever seen them have their triglycerides lowered

10:39:44    5   before 500 in less than 12 weeks?

10:39:46    6    A   No.    I don't measure less than 12 weeks.      That's not only

10:39:51    7   a practice with Vascepa, that's a general practice with all

10:39:55    8   lipid-lowering therapies.

10:39:57    9               The statins, for example, the most common practice,

10:40:02   10   the advocated practice, the way the trials were done, is to

10:40:05   11   put them on a new therapy.      Let's say I put them on Lipitor, a

10:40:12   12   statin, I would follow them up at three months.

10:40:15   13               I don't get a lipid level at four weeks or

10:40:18   14   six weeks, so I would not know what happens in the short run,

10:40:20   15   I want to see what happens in the long run because this is a

10:40:23   16   chronic disease that's going to be needed to treat long-term.

10:40:27   17                    MR. M. KENNEDY:   Mr. Brooks, can we go back to

10:40:28   18   PX 989 which we put into evidence earlier today.

10:40:28   19   BY MR. M. KENNEDY:

10:40:33   20    Q   And, Dr. Budoff, this is the ATP III we discussed

10:40:37   21   earlier.

10:40:38   22    A   Yes.

10:40:38   23                    MR. M. KENNEDY:   Mr. Brooks, could you please go

10:40:40   24   to page 195, and there's a passage concerning very high

10:40:46   25   triglycerides.
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10:40:46    1   BY MR. M. KENNEDY:

10:40:49    2    Q   And, Dr. Budoff, what is this passage attempting to

10:40:54    3   convey?

10:40:54    4    A   So, again, this goes through -- basically these are the

10:40:59    5   guidelines, but they basically go through the same steps as

10:41:03    6   the label.

10:41:04    7                You start with looking for drugs that could increase

10:41:08    8   triglycerides and preferentially discontinue those drugs.          You

10:41:13    9   eliminate alcohol.     You make sure that their diabetes is under

10:41:18   10   good control.

10:41:19   11                And then it starts talking about diet and lifestyle

10:41:23   12   changes, and then ultimately what triglyceride-lowering

10:41:26   13   therapies you could institute if all of those first steps are

10:41:30   14   not successful.

10:41:32   15    Q   I would like to ask you about towards the end of this

10:41:34   16   passage where it says,

10:41:36   17                   "For most persons with extremely high

10:41:38   18        triglycerides, therapy can be considered successful

10:41:41   19        if it reduces serum triglycerides below 500."

10:41:46   20                    Do you see that?

10:41:46   21    A   Yes.

10:41:46   22    Q   What does it mean -- what does the ATP III mean by

10:41:50   23   successful in this context?

10:41:52   24    A   Yeah, so all chronic diseases have goals.        We always have

10:41:55   25   a goal when we're implementing therapy.       Our blood pressure
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10:42:00    1   goal is to get the blood pressure down to below 130 or even

10:42:05    2   down to below 120 millimeters of mercury.        Our diabetes goals

10:42:10    3   are to achieve a hemoglobin A1C of 6.5.

10:42:15    4               When we achieve those goals, we're considered to be

10:42:19    5   successful.    That doesn't mean that we stop therapy, that just

10:42:23    6   means we've achieved our goal, and now we continue therapy, we

10:42:27    7   maintain therapy, to keep the patient at that goal.

10:42:30    8               This is saying the same thing about severe

10:42:33    9   hypertriglyceridemia, that when you get the triglycerides

10:42:36   10   below 500, you've achieved your goal, you've lowered their

10:42:41   11   pancreatitis risk.

10:42:42   12               It says they're often not possible to normalize

10:42:45   13   triglycerides.    Going back to what Dr. Karalis talked about,

10:42:48   14   you can -- most of the time you're not getting them down to

10:42:52   15   150 and can stop therapy, you're just getting them under 500,

10:42:56   16   and now you maintain that drug to maintain your goal, so you

10:43:00   17   maintain success over time.

10:43:02   18    Q   And in this -- just to clarify, in this context extremely

10:43:06   19   high triglyceride, that means severe hypertriglyceridemia?

10:43:10   20    A   Yes.

10:43:10   21    Q   And, again, just to clarify, somebody with severe

10:43:14   22   hypertriglyceridemia who is on medication and gets below 500,

10:43:18   23   those patients are still considered to have the condition

10:43:22   24   severe hypertriglyceridemia?

10:43:23   25    A   Yes, they have the disease, they're just being
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10:43:26    1   controlled.    They're controlled for -- with severe

10:43:30    2   hypertriglyceridemia.

10:43:30    3                    MR KLEIN:    Objection real quickly.    I've given

10:43:33    4   counsel a lot of latitude, but there's a fair amount of

10:43:36    5   leading going on.

10:43:37    6                    THE COURT:   I consider the last few questions

10:43:39    7   summarizing what Dr. Budoff already testified, so to the

10:43:42    8   extent there's an objection, that objection is overruled.

10:43:42    9   BY MR. M. KENNEDY:

10:43:46   10    Q   Has FDA expressed a view on whether triglyceride-lowering

10:43:50   11   medication is needed after the patient's TG levels are reduced

10:43:56   12   below 500?

10:43:57   13    A   I'm sorry, can you we repeat that?

10:43:59   14    Q   I'm sorry.     Has FDA expressed a view as to whether

10:44:03   15   TG-lowering medication is needed after a severely

10:44:04   16   hypertriglyceridemic patient is reduced below 500 milligrams

10:44:09   17   per deciliter?

10:44:10   18    A   Yes.

10:44:11   19                    MR. M. KENNEDY:   Let's look at PX 289 which I

10:44:13   20   think is on the list of pre-admitted exhibits.

10:44:13   21   BY MR. M. KENNEDY:

10:44:20   22    Q   Dr. Budoff, do you recognize this document?

10:44:23   23    A   Yes.

10:44:24   24    Q   What is it?

10:44:25   25    A   So this was very nicely described by Dr. Ketchum
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10:44:28    1   yesterday.    This is the medical review, what the FDA publishes

10:44:31    2   to go along with their decision with the -- with the product

10:44:34    3   for, in this case, Vascepa.

10:44:36    4    Q   And I would like to go to page 40 of this document.

10:44:40    5   There's a heading called Efficacy Summary.

10:44:45    6                And, Dr. Budoff, does this passage have any

10:44:48    7   significance to your opinion concerning the duration of

10:44:51    8   treatment indicated by the Vascepa label?

10:44:53    9    A   Yes.    They talk about the indication, and then the second

10:44:58   10   sentence is,

10:44:59   11                   "Patients with very high triglycerides have a

10:45:02   12        strong genetic component to their disease and have an

10:45:05   13        increased risk for acute pancreatitis."

10:45:08   14                    So, again, genetic implies lifelong problem,

10:45:12   15   implies lifelong treatment.

10:45:15   16    Q   Does FDA speak elsewhere in this document to the need to

10:45:20   17   maintain TG-lowering therapy in patients with SHT?

10:45:26   18    A   Yes.

10:45:27   19                    MR. M. KENNEDY:   Mr. Brooks, could we go to

10:45:30   20   page 67.

10:45:30   21   BY MR. M. KENNEDY:

10:45:31   22    Q   And directing your attention to the heading 6.1.9, does

10:45:35   23   this passage from the FDA review bear on your opinion

10:45:40   24   concerning the duration of treatment for SHT patients

10:45:46   25   indicated by the Vascepa label?
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10:45:48    1    A   Yes.

10:45:48    2    Q   How so?

10:45:49    3    A   So, I mean, this talks about the four-week and the

10:45:51    4   additional 40 weeks, the one year data that was available as

10:45:55    5   described by Dr. Ketchum yesterday, and they just say that the

10:46:00    6   effect of Vascepa 4 grams occurred by week four and the

10:46:04    7   effects were maintained throughout the study.

10:46:06    8                And then the label only talks about the 12-weak data

10:46:10    9   because that's the primary target of the trial and our most

10:46:15   10   common practice when we follow-up patients.

10:46:22   11    Q   I think you've mentioned this earlier in your testimony,

10:46:24   12   but do you prescribe other lipid-lowering medications other

10:46:28   13   than TG-lowering agents?

10:46:30   14    A   Yes.

10:46:31   15    Q   Could you give some examples.

10:46:34   16    A   In what context?

10:46:35   17    Q   Like other than -- you know, anything you prescribe to

10:46:38   18   your patients other than Vascepa, fibrates, or Lovaza.

10:46:41   19    A   Yeah, now we use statins, blood pressure medications,

10:46:45   20   many therapies.

10:46:46   21    Q   Do some of those other therapies call for indefinite

10:46:51   22   treatment?

10:46:52   23    A   Yes.    I mean, the label never says treat indefinitely,

10:46:56   24   but the label talks about a chronic condition, and the chronic

10:47:01   25   condition therefore is treated long-term.
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10:47:03    1                 I think I spoke earlier to when I start a statin,

10:47:08    2   I -- the intent when I put a patient on a statin is that

10:47:12    3   they're going to take it for the rest of their life.

10:47:14    4                     MR. M. KENNEDY:   Mr. Brooks, could we have PX

10:47:17    5   277.

10:47:17    6   BY MR. M. KENNEDY:

10:47:21    7    Q     Dr. Budoff, do you recognize this document?

10:47:23    8    A     Yes.

10:47:24    9    Q     What is it?

10:47:25   10    A     This is the National Lipid Association guidelines

10:47:29   11   published in 2015.

10:47:31   12    Q     What is the National Lipid Association?

10:47:34   13    A     So the NLA, or the National Lipid Association, is the

10:47:39   14   largest body of physicians who are primarily interested in

10:47:43   15   controlling lipids, so lipids being bad cholesterol, LDL

10:47:48   16   predominantly, and triglycerides, as the two most common that

10:47:52   17   are measured and treated.

10:47:53   18    Q     Are these NLA guidelines considered authoritative in your

10:47:58   19   field?

10:47:58   20    A     Yes.

10:47:59   21    Q     Is this a document you relied on in forming your opinions

10:48:01   22   in this case?

10:48:02   23    A     Yes.

10:48:04   24                     MR. M. KENNEDY:   Your Honor, we would like to

10:48:05   25   enter PX 277.
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10:48:07    1                   MR KLEIN:    No objection.

10:48:09    2                   THE COURT:   PX 277 is admitted.

10:48:09    3                          (Plaintiffs' Exhibit 277 received in
10:48:14                                evidence.)
10:48:14    4                   MR. M. KENNEDY: And, Mr. Brooks, could we turn

10:48:16    5   to the page marked 154 at the top, and I would like to direct

10:48:21    6   you to the paragraph Follow-Up Visits that cuts across two

10:48:25    7   columns.

10:48:25    8   BY MR. M. KENNEDY:

10:48:28    9    Q   Dr. Budoff, does this passage bear on your opinion

10:48:32   10   concerning the duration of treatment indicated by the Vascepa

10:48:35   11   labeling?

10:48:36   12    A   Yes.   I mean, this -- this starting with the word -- with

10:48:39   13   the very last sentence, once goal levels have been achieved,

10:48:45   14   so this just speaks to you've now achieved your goal or your

10:48:48   15   target, you've been successful as we've described before.

10:48:52   16                  "...response to therapy should be

10:48:54   17        monitored...to confirm continued success in

10:48:57   18        maintenance of goal levels and patient adherence."

10:49:02   19                   In other words, you don't stop the therapy, you

10:49:04   20   start monitoring them at longer intervals.        You don't need to

10:49:08   21   monitor them every three months anymore, but you continue to

10:49:12   22   monitor them over time to make sure that they stay at goal,

10:49:16   23   that you can maintain the success with your therapy, and that

10:49:20   24   they remain -- the patients stay on therapy and they remain

10:49:25   25   adherent.
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10:49:25    1    Q   Adherent means that the patients are taking the

10:49:28    2   medication as prescribed?

10:49:29    3    A   Exactly.

10:49:29    4    Q   When you write a prescription, do you intend that

10:49:33    5   patients adhere to that prescription?

10:49:35    6    A   Yes, I anticipate that they will follow my instructions,

10:49:38    7   although we all know that not all patients are perfect in

10:49:42    8   following the exact recommendations of their physician.

10:49:45    9    Q   Now, are there drugs you encounter in your practice that

10:49:49   10   do have a set limited duration of administration?

10:49:52   11    A   Yes.

10:49:52   12    Q   Can you think of some examples?

10:49:54   13    A   Yes.   I mean, the most common example are things like

10:49:58   14   blood thinners like Lovenox or antibiotics.        When we prescribe

10:50:04   15   antibiotics, we give a course of antibiotics, we don't give a

10:50:09   16   lifetime of antibiotics.

10:50:11   17                   MR. M. KENNEDY:    So, Mr. Brooks, could we have

10:50:13   18   PX 285.

10:50:13   19   BY MR. M. KENNEDY:

10:50:18   20    Q   And, Dr. Budoff, do you recognize this document?

10:50:20   21    A   Yes.

10:50:20   22    Q   What is it?

10:50:21   23    A   This is the Lovenox package insert or the label for

10:50:26   24   Lovenox.

10:50:27   25    Q   And what is Lovenox used for?
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10:50:29    1    A   So Lovenox is a blood thinner.       It's used for acute or

10:50:34    2   short-term conditions surrounding surgery or for acute clots.

10:50:40    3   So we always prescribe a drug that's prescribed for acute or

10:50:44    4   short-term uses for a prescribed length of time.

10:50:48    5    Q   Is the Lovenox label a document you relied on in forming

10:50:53    6   your opinions in this case?

10:50:57    7    A   Yes.

10:50:57    8                   MR. M. KENNEDY:    Your Honor, we would like to

10:50:58    9   enter PX 285 into evidence.

10:51:01   10                   MR. KLEIN:   No objection.

10:51:01   11                   THE COURT:   285 is admitted.

10:51:01   12                          (Plaintiffs' Exhibit 285 received in
10:51:06                                evidence.)
10:51:06   13                   MR. M. KENNEDY: Mr. Brooks, could we have

10:51:08   14   section 282 of the Lovenox labeling.

10:51:08   15   BY MR. M. KENNEDY:

10:51:11   16    Q   So, Dr. Budoff, is this an example of a drug with a

10:51:16   17   limited duration?

10:51:18   18    A   Yes.   So this is the dosage section of the label, and it

10:51:24   19   specifically tells you the duration of administration in every

10:51:29   20   single scenario.

10:51:30   21               So it gives you six different indications that

10:51:35   22   Lovenox is indicated for, and in every single circumstance it

10:51:39   23   talks about duration of administration because this is an

10:51:42   24   acute drug that's not used long-term, so you are given this

10:51:48   25   information in the dosage and usage section of the label.
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10:51:52    1    Q   So I would like to talk to you a little bit about your

10:51:54    2   prescribing practices for Vascepa.       Is administering Vascepa

10:51:59    3   for at least 12 weeks consistent with your own practice?

10:52:02    4    A   Yes.

10:52:02    5    Q   So when you write a new prescription to a patient with

10:52:05    6   severe hypertriglyceridemia for Vascepa, when is the next time

10:52:11    7   you schedule an appointment with them?

10:52:14    8    A   Yeah, so the most common practice, the practice that I've

10:52:17    9   been taught, the practice that I teach, is that you follow

10:52:20   10   them up at a three-month interval.

10:52:23   11               You get a lipid value at the end of three months

10:52:25   12   which is, again, approximately 12 weeks, and then you see them

10:52:29   13   a few days after their blood draw so you can review with the

10:52:32   14   patient what the effect of that therapy was over the first

10:52:39   15   12 weeks of treatment.

10:52:40   16    Q   Theoretically would you find it useful if you could see

10:52:44   17   them more quickly than 12 weeks?

10:52:46   18    A   No.    A lot of drugs don't hit their maximum potency or

10:52:51   19   the patients may not be adherent.       Remember, I'm trying to get

10:52:56   20   them to stay on therapy long-term.

10:52:57   21               So whether or not they're successful at four weeks

10:53:00   22   or six weeks is totally irrelevant to the long game, and as

10:53:04   23   the guidelines talk about, you need to monitor them every 4 to

10:53:08   24   12 months for lifetime to make sure that they stay on therapy.

10:53:12   25               So I'm interested more in a long-term follow-up than
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10:53:16    1   an acute follow-up for my patients who have chronic diseases.

10:53:20    2    Q      When you prescribe Vascepa, how much of a supply do you

10:53:23    3   write the prescription for?

10:53:25    4    A      Yeah, so most commonly I prescribe a 3-month supply at

10:53:30    5   once.    So I will give them 360 tablets, and then I will give

10:53:37    6   them three refills so that will cover one year of treatment

10:53:41    7   with Vascepa.      That's how I implement Vascepa most commonly

10:53:46    8   when I first start it for a patient.

10:53:47    9    Q      Do you intend for the patients to take the entire supply

10:53:51   10   as directed?

10:53:52   11    A      Yes.   It's always my hope that they comply or are

10:53:58   12   adherent with my recommendations.

10:53:59   13    Q      Do you ever tell a patient to stop taking Vascepa before

10:54:03   14   the end of their supply?

10:54:04   15    A      The only time I would ever stop it, and it would never be

10:54:07   16   my intent to not have them take a long-term treatment for a

10:54:12   17   chronic disease, but the only time I would sell them to stop

10:54:15   18   it is if they had an adverse event from that therapy.

10:54:21   19                  So, for example, with Vascepa, if they developed a

10:54:21   20   bleeding problem, where they developed atrial fibrillation or

10:54:24   21   some other problem that we know could be related to Vascepa, I

10:54:27   22   might have them stop the therapy and come in and see me to

10:54:30   23   make sure that they're not suffering an adverse event from

10:54:34   24   taking that therapy.

10:54:35   25    Q      Do you understand that the other asserted claims in this
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10:54:37    1   case have the same or similar language concerning

10:54:41    2   administration for at least 12 weeks?

10:54:43    3    A   Yes.

10:54:44    4                   MR. M. KENNEDY:    Mr. Brooks, could we pull up

10:54:47    5   PDX 2-14.

10:54:47    6   BY MR. M. KENNEDY:

10:54:50    7    Q   And are these the other variations of the 12 weeks term

10:54:54    8   in the other asserted claims?

10:54:56    9    A   Yes.

10:54:57   10    Q   Do the opinions you've expressed today concerning the

10:55:01   11   claim element for a period of 12 weeks in the '728 patent

10:55:06   12   claim 1 apply with equal force to the same or similar elements

10:55:10   13   in the other asserted claims in this case?

10:55:12   14    A   Yes.

10:55:13   15    Q   And we've generally been asking -- I've generally been

10:55:16   16   asking you about the Vascepa label today.        Do the opinions

10:55:19   17   you've expressed concerning the 12-week claim elements apply

10:55:23   18   with equal force to the Hikma and DRL proposed labels?

10:55:27   19    A   Yes.

10:55:28   20                   MR. M. KENNEDY:    So, Your Honor, I'm moving on

10:55:30   21   to the next limitation.      I'm happy to keep going, but I don't

10:55:33   22   know if it's about time for the morning break.

10:55:35   23                   THE COURT:    I think we already took the morning

10:55:42   24   break.   I planned for us to go -- never mind.       I guess it's

10:55:42   25   time for our morning break.
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10:55:44    1                    MR. M. KENNEDY:     Yeah.

10:55:45    2                    THE COURT:   All right.     We'll take our morning

10:55:48    3   break at this time.

10:55:49    4                    MR. M. KENNEDY:     Thank you, Your Honor.

11:07:14    5                           (A recess was taken.)

11:21:09    6                    THE COURT:   Please be seated.

11:21:11    7                    MR. M. KENNEDY:     Your Honor, may I proceed?

11:21:14    8                    THE COURT:   Yes.

11:21:14    9   BY MR. M. KENNEDY:

11:21:16   10    Q   Dr. Budoff, I actually do have one last question about

11:21:19   11   the 12-weeks claim elements.

11:21:21   12                So, if you typically prescribe a multimonth or even

11:21:25   13   a year supply to your patients -- strike that.

11:21:28   14                Why do you prescribe a multimonth or year-long

11:21:33   15   supply of Vascepa to your patients if the clinical study in

11:21:37   16   the label only has data for 12 weeks?

11:21:39   17    A   Yes.    So my intent is that they're going to stay on it

11:21:42   18   for life.    The maximum I'm allowed to prescribe, at least in

11:21:46   19   the State of California, is for one year at a time so I give

11:21:49   20   them a full year, and then, as I'm seeing them back, I can

11:21:52   21   give them refills or give them new prescriptions after that.

11:21:58   22    Q   Okay.    Let's go -- Mr. Brooks, let's go PDX 2-15.

11:22:06   23                Moving on to the next claim element, the claim

11:22:09   24   element requiring administration to effect a reduction in

11:22:13   25   triglycerides.
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11:22:14    1               Dr. Budoff, have you formed an opinion as to whether

11:22:18    2   the contents in the Vascepa label encourages clinicians to

11:22:21    3   administer Vascepa to effect a reduction in triglycerides as

11:22:25    4   required by claim 1 of the '728 Patent?

11:22:29    5    A   Yes.

11:22:29    6    Q   What is that opinion?

11:22:31    7    A   That if physicians follow the label, that they will

11:22:34    8   effect a reduction in triglycerides and this limitation will

11:22:38    9   be met.

11:22:39   10    Q   Have you been informed that the Court has construed the

11:22:42   11   claim language "to effect"?

11:22:44   12    A   Yes.

11:22:44   13    Q   Have prepared a slide reciting the Court's construction?

11:22:48   14    A   Yes.

11:22:49   15                   MR. M. KENNEDY:    Mr. Brooks, let's half

11:22:52   16   PDX 2-16.

11:22:52   17   BY MR. M. KENNEDY:

11:22:54   18    Q   And, Dr. Budoff, does this slide, PDX 2-16, state the

11:22:58   19   Court's construction?

11:22:59   20    A   Yes.

11:23:02   21    Q   And what's your understanding of this construction?

11:23:05   22    A   That it's not only the intent, but that it actually has

11:23:07   23   to occur for the effect, the word effect.

11:23:11   24    Q   And have you been informed the Court's also construed the

11:23:14   25   related language "compared to"?
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11:23:16    1    A   Yes.

11:23:17    2    Q   And have you prepared a slide reciting that construction?

11:23:20    3    A   Yes.

11:23:21    4                    MR. M. KENNEDY:   Mr. Brooks, could we please

11:23:23    5   have PDX 2-17.

11:23:23    6   BY MR. M. KENNEDY:

11:23:27    7    Q   Does PDX 2-17 recite the Court's construction?

11:23:31    8    A   Yes.

11:23:31    9    Q   And what's your understanding of the Court's construction

11:23:35   10   of "compared to"?

11:23:35   11    A   So it just means that the change will occur -- that the

11:23:45   12   change will occur and the magnitude of the change that will

11:23:49   13   occur.

11:23:49   14    Q   Did you apply the constructions of "to effect" and

11:23:53   15   "compared to" in forming your opinions in this case?

11:23:55   16    A   Yes.

11:23:56   17                    MR. M. KENNEDY:   So, Mr. Brooks, let's go back

11:23:58   18   to PDX 2-15.

11:23:58   19   BY MR. M. KENNEDY:

11:24:05   20    Q   And how does the claim element regarding effecting a

11:24:08   21   reduction in triglycerides relate to the claim element

11:24:11   22   requiring.

11:24:12   23                  "...compared to a second subject having a

11:24:15   24        fasting baseline triglyceride level of 500 milligrams

11:24:27   25        per deciliter to about 1500 milligrams per deciliter
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11:24:31    1        who has not received the pharmaceutical composition

11:24:34    2        and a concurrent lipid-altering therapy,"

11:24:37    3   what's your understanding of how those two elements relate to

11:24:41    4   each other?

11:24:42    5    A   So this is basically describing what -- the clinical

11:24:45    6   trial section showing that there was a second subject, and we

11:24:48    7   have a comparison in how well the Vascepa worked relative to a

11:24:53    8   second subject.

11:24:54    9                   MR. M. KENNEDY:    So, Mr. Brooks, can we put this

11:24:56   10   slide alongside the clinical study section in the Vascepa

11:25:00   11   label that we've looked at today.

11:25:02   12                   And, Mr. Brooks, if you could go to section 14

11:25:15   13   of the Vascepa label, and if we could get the whole --

11:25:15   14   BY MR. M. KENNEDY:

11:25:21   15    Q   So, Dr. Budoff, does the clinical study section of the

11:25:24   16   Vascepa label relate to your opinions concerning the "to

11:25:29   17   effect a reduction in triglycerides" claim element?

11:25:31   18    A   Yes.

11:25:31   19    Q   How so?

11:25:33   20    A   Oh, the primary results that are presented here in label

11:25:37   21   two is the difference column, and the difference is comparing

11:25:43   22   Vascepa 4 grams with a second subject who is not being

11:25:46   23   treated, so, in this case, placebo therapy.

11:25:51   24    Q   Does the clinical study section of the Vascepa label

11:25:54   25   reflect a reduction in triglycerides compared to a second
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11:25:58    1   subject within the meaning of claim 1 of the '728 Patent?

11:26:02    2    A   Yes.   That difference of 33 percent is the reduction in

11:26:08    3   triglycerides compared to a second subject who is receiving

11:26:14    4   placebo, which is not receiving the pharmaceutical

11:26:19    5   composition.

11:26:19    6                   MR. M. KENNEDY:    Mr. Brooks, can we go to the

11:26:21    7   indications and usage section of the label, and you might as

11:26:24    8   well keep it alongside the slide.

11:26:24    9   BY MR. M. KENNEDY:

11:26:28   10    Q   And, Dr. Budoff, does the second indication in the

11:26:33   11   Vascepa label relate to your opinions concerning the effect of

11:26:38   12   reduction in triglycerides claim element?

11:26:41   13    A   Yes.

11:26:41   14    Q   How so?

11:26:43   15    A   So it says here as an adjunct to diet, so it's not

11:26:47   16   receiving concurrent lipid-altering therapy, just receiving

11:26:51   17   diet, so monotherapy in patients with severe

11:26:55   18   hypertriglyceridemia.     In other words, patients who are --

11:27:00   19   have triglycerides above 500 milligrams per deciliter as

11:27:04   20   required in that element.

11:27:05   21    Q   Do you prescribe Vascepa to your patients in accordance

11:27:11   22   with the label -- with the indication?

11:27:12   23    A   Largely, yes.

11:27:13   24    Q   Does the clinical study section of the label inform your

11:27:18   25   expectation of the lipid effects you achieve when you
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11:27:22    1   prescribe Vascepa to your patients?

11:27:24    2    A   Yes.

11:27:24    3    Q   Why is that?

11:27:25    4    A   So the -- I look towards the results that I'm expected to

11:27:32    5   get with therapy, so I use the clinical trial section to say

11:27:36    6   what would be my expected result, and then I see if my patient

11:27:43    7   achieved that average result that was seen in the trial, and,

11:27:45    8   if not, then I have to make changes in their regimen.

11:27:50    9    Q   What percentage of your patients who you prescribe

11:27:53   10   Vascepa experience lipid effects such as TG reduction in line

11:28:01   11   with the results recited in the labeling?

11:28:01   12    A   Yes, so about three quarters of patients will be at or

11:28:05   13   around that number.     So it's not going to be exactly minus

11:28:13   14   33.0 percent, but they will have generally about a one-third

11:28:13   15   reduction.

11:28:18   16                Of the remaining 25 percent, half of those patients

11:28:22   17   will have even more dramatic effects, and half of those

11:28:26   18   patients will have less dramatic effects.        That's just what we

11:28:30   19   call the normal distribution of results when we treat enough

11:28:33   20   patients.

11:28:34   21    Q   When you write a prescription to a patient with severe

11:28:37   22   hypertriglyceridemia for Vascepa, do you have any way of

11:28:40   23   knowing whether they're going to achieve lipid effects in line

11:28:43   24   with the MARINE label as opposed to being one the people who

11:28:47   25   don't?
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11:28:47    1    A   No, there's no good way to know in advance.         That's why

11:28:52    2   we repeat the lipid value at 12 weeks to see did they -- did

11:28:56    3   they achieve or did they not achieve those desired results.

11:28:59    4    Q   What lipid effects do you expect from a given SHT patient

11:29:05    5   when you write the prescription?

11:29:07    6    A   So I hope, I anticipate, I plan that they will achieve a

11:29:11    7   33 percent reduction in triglycerides and that their LDL will

11:29:15    8   not go up.    So, that is my goal and intent when I'm

11:29:20    9   prescribing this therapy.

11:29:21   10                I anticipate that the apo B will go down.      I know

11:29:28   11   we'll talk about that later.       But I think that those are my

11:29:30   12   goals and intent.

11:29:31   13                And then -- but some patients don't -- don't fall

11:29:35   14   into that category, and they have to be -- I have to adjust my

11:29:39   15   treatment based on the actual results in that individual

11:29:41   16   patient.

11:29:42   17    Q   Are you aware that the other asserted claims in this case

11:29:45   18   also have claim elements relating to effecting a reduction in

11:29:50   19   triglycerides?

11:29:50   20    A   Yes.

11:29:50   21    Q   Have you prepared a slide reciting those same or similar

11:29:54   22   limitations in the other asserted claims?

11:29:56   23    A   Yes.

11:29:57   24                    MR. M. KENNEDY:    Mr. Brooks, could we have

11:29:59   25   PDX 2-18.
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11:29:59    1   BY MR. M. KENNEDY:

11:30:02    2    Q   Does PDX 2-18 recite the other claim elements relating to

11:30:07    3   effecting a reduction in triglycerides?

11:30:10    4    A   Yes.

11:30:12    5    Q   And you also have some notations on the right-hand side

11:30:16    6   concerning comparisons of various types.        What does that

11:30:20    7   denote?

11:30:20    8    A   So those are the different languages that are used in

11:30:23    9   each of the different claims.

11:30:25   10               So sometimes the language is "to effect a reduction

11:30:31   11   in triglycerides compared to a second subject," we just

11:30:35   12   described that, that's the placebo-controlled arm of the

11:30:39   13   MARINE trial.

11:30:41   14               Sometimes it says "compared to placebo control,"

11:30:44   15   that's another way of saying a second subject not receiving

11:30:44   16   active compound.

11:30:49   17               Sometimes it says "compared to baseline" or "in the

11:30:52   18   subject," and those would imply just looking at the reductions

11:30:57   19   in line with the -- per the individual and not comparing it to

11:31:01   20   a second subject or a placebo control.

11:31:05   21                   MR. M. KENNEDY:    Mr. Brooks, can we put table 2

11:31:07   22   back up alongside this slide, and maybe blow up the table?

11:31:07   23   BY MR. M. KENNEDY:

11:31:15   24    Q   So, Dr. Budoff, does table 2 of the Vascepa label reflect

11:31:19   25   that administration of Vascepa effects a reduction in fasting
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11:31:23    1   triglycerides of at least about ten percent in the subject?

11:31:27    2    A   Yes, the average reduction is 33 percent.        For compared

11:31:31    3   to a second subject or placebo control, the average drop is

11:31:36    4   27 percent in the same subject or compared to baseline, and

11:31:42    5   both minus 27 and minus 33 are more than a 10 percent drop.

11:31:48    6    Q   And let me ask you the same question with respect to the

11:31:51    7   limitation effects reduction in fasting triglycerides of at

11:31:54    8   least about 20 percent compared to placebo control as required

11:31:59    9   by the '560 patent claim 17.

11:32:01   10    A   Yes.   Both minus 27 percent and minus 33 percent are at

11:32:08   11   least 20 percent, so that claim element would also be met.

11:32:11   12    Q   And then, finally, does table 2 of the Vascepa label

11:32:16   13   reflect that administration of Vascepa according to the label

11:32:19   14   would achieve a statistically significant reduction in

11:32:23   15   triglycerides in the subject as required by claim 4 of the

11:32:28   16   '715 Patent?

11:32:28   17    A   Yes, if you see where it says minus 33 percent, and you

11:32:32   18   see the asterisk that says the P value is less than .001, so

11:32:38   19   that is highly statistically significant change, so that would

11:32:43   20   achieve an effect that is a statistically significant

11:32:47   21   reduction in triglycerides.

11:32:49   22                   MR. M. KENNEDY:    Mr. Brooks, could we go to

11:32:51   23   PDX 2-19.

11:32:51   24   BY MR. M. KENNEDY:

11:32:56   25    Q   Now we're back on claim 1 of the '728 Patent, and I would
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11:33:00    1   like to turn to the element regarding avoiding a reduction in

11:33:04    2   LDL-C.

11:33:05    3                Have you formed an opinion concerning whether the

11:33:08    4   Vascepa label encourages clinicians to prescribe the product

11:33:13    5   described in the label to effect a reduction in triglycerides

11:33:18    6   without substantially increasing LDL-C compared to a second

11:33:23    7   subject within the meaning of claim 1 of the '728 patent?

11:33:27    8    A    Yes.

11:33:27    9    Q    What is that opinion?

11:33:29   10    A    That we have seen from the MARINE trial, and we have

11:33:32   11   discussed already, that the LDL cholesterol does not go up, it

11:33:37   12   goes down by minus 2 percent, so that is not substantially

11:33:40   13   increasing LDL, that is neutral or slightly decreasing LDL.

11:33:45   14    Q    And to recap, when claim 1 of the '728 refers to a

11:33:51   15   comparison to a second subject, what does that comparison

11:33:55   16   correspond to in table 2 of the Vascepa label?

11:33:58   17    A    So that would be the placebo column.       So that would be

11:34:02   18   looking at the difference between the active Vascepa minus the

11:34:08   19   placebo column to get the net difference which, in the MARINE

11:34:11   20   trial, was minus 2 percent change in LDL cholesterol.

11:34:15   21    Q    So you understand the Court's construed the language

11:34:17   22   "without substantially increasing LDL-C"?

11:34:21   23    A    Yes.

11:34:21   24    Q    Do you have a slide showing that construction?

11:34:24   25    A    Yes.
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11:34:25    1                   MR. M. KENNEDY:     And, Mr. Brooks, can we have

11:34:27    2   PDX 2-20.

11:34:27    3   BY MR. M. KENNEDY:

11:34:30    4    Q    Dr. Budoff, does this slide, PDX 2-20, recite the Court's

11:34:35    5   construction of "without substantially increasing LDL-C"?

11:34:41    6    A    Yes.

11:34:41    7    Q    And you see the construction is "without a meaningful

11:34:43    8   increase in LDL-C."     What does clinically meaningful mean in

11:34:46    9   this context?

11:34:47   10    A    So clinically meaningful in clinical practice, and this

11:34:51   11   was brought out yesterday as well, is a 6 percent rise.

11:34:55   12   That's typically considered a meaningful increase in LDL

11:34:59   13   cholesterol whereby we might have to react to it, and that

11:35:02   14   makes it a clinical event that I have to then react to that 6

11:35:07   15   percent rise by changing my underlying management.

11:35:10   16    Q    Did you apply the construction, the Court's construction

11:35:14   17   of "without substantially increasing LDL-C" in forming your

11:35:18   18   opinions?

11:35:19   19    A    Yes.

11:35:19   20    Q    And then there's the related construction that appears in

11:35:22   21   different asserted claims, "without effecting a statistically

11:35:26   22   significant increase in LDL-C."       What's your understanding of

11:35:31   23   that construction that's recited on the slide?

11:35:32   24    A    Yes.   So that, again, is -- basically, our definition of

11:35:36   25   statistically significant is that it's not -- it's unlikely to
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11:35:40    1   have occurred due to chance and that it's a real change.

11:35:44    2                    MR. M. KENNEDY:    Mr. Brooks, can we go to the

11:35:46    3   dosage and administration section of the Vascepa label.

11:35:46    4   BY MR. M. KENNEDY:

11:35:52    5    Q    And, Dr. Budoff, I would like to direct you in particular

11:35:55    6   to 2.1 where it says, "assess lipid levels before initiating

11:36:00    7   therapy."    Do you see that?

11:36:01    8    A    Yes.

11:36:01    9    Q    Does this relate to whether Vascepa avoids an LDL-C

11:36:08   10   increase?

11:36:08   11    A    Well, yes.    So, I mean, it doesn't say to address the

11:36:11   12   triglyceride levels, or assess triglyceride levels before

11:36:15   13   initiating therapy, it says lipid levels, and that tells the

11:36:19   14   clinician to get a full lipid panel, and a full lipid panel

11:36:25   15   includes LDL cholesterol as well as triglycerides.

11:36:29   16                So it's reminding the physician to get the full

11:36:32   17   panel so that you can see what the effect is, not only on

11:36:33   18   triglycerides, but also on LDL cholesterol.

11:36:38   19    Q    Do clinicians treating STG patients typically get these

11:36:43   20   lipid panels?

11:36:44   21    A    Yes.   It's very standard to get a standard lipid panel in

11:36:48   22   all of your patients.     I don't know how you would prescribe

11:36:51   23   any cholesterol-lowering medicine without assessing a lipid

11:36:51   24   panel before initiating therapies.

11:36:56   25                So I think this is fairly standard language for any
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11:36:58    1   drug in this general class of lipid metabolism.

11:37:02    2                   MR. M. KENNEDY:     So, Mr. Brooks, can we pull up

11:37:05    3   PDX 2-19 and put it alongside table 2.

11:37:05    4   BY MR. M. KENNEDY:

11:37:17    5    Q    And is there anything in the clinical study section of

11:37:21    6   the Vascepa label that speaks to whether the label encourages

11:37:24    7   administration of Vascepa to effect a reduction in

11:37:28    8   triglycerides without substantially increasing LDL-C compared

11:37:32    9   to a second subject?

11:37:33   10    A    Yes, so in the LDL-C column on the far right is compared

11:37:38   11   to a second subject or compared to placebo control, and that's

11:37:41   12   minus two percent.

11:37:43   13               So you can see LDL-C went down by 2 percent, which

11:37:48   14   is not a substantial increase or meaningful increase because

11:37:51   15   it's a decrease.

11:37:53   16    Q    And the second -- the -- where, in the clinical study

11:38:00   17   section, does it reflect a comparison to a second subject in

11:38:04   18   the way required by claim 1 of the '728 Patent?

11:38:07   19    A    I mean, literally, right under the table there it says

11:38:11   20   difference, and it says the median of Vascepa minus placebo.

11:38:16   21   So it literally defines that it's comparing it to the second

11:38:20   22   subject.

11:38:21   23               It also says it in the last sentence of the

11:38:24   24   paragraph, the reduction in triglycerides observed with

11:38:29   25   Vascepa was not associated with elevations in LDL-C levels
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11:38:34    1   relative to placebo.

11:38:36    2    Q    Why is that relevant?

11:38:38    3    A    Well, they're calling that out to the clinician.         This is

11:38:41    4   an emphasis to the clinician that this is an important

11:38:45    5   finding, and thus it's put in the table -- it's put in the

11:38:49    6   text below the table to further emphasize that result.

11:38:53    7    Q    Do the effects on LDL-C shown in table 2 influence your

11:38:58    8   treatment decisions for SH -- STG patients?

11:39:03    9    A    Yes, I think as we talked about before, the other agents

11:39:06   10   in the class that are indicated to reduce severe

11:39:12   11   hypertriglyceridemia, niacin, fibrates, and Lovaza, are all

11:39:17   12   associated with significant increases in LDL cholesterol.

11:39:24   13                This drug is not associated with elevations in LDL

11:39:28   14   cholesterol making it a unique opportunity to treat patients

11:39:32   15   for their triglycerides without increasing their cardiac risk

11:39:37   16   of having a heart attack downstream.

11:39:39   17    Q    So let me ask a slightly broader question not limited to

11:39:43   18   LDL-C effects, but also for the other lipid effects shown in

11:39:48   19   table 2.

11:39:48   20                Do they -- the clinical data on table 2 influence

11:39:53   21   clinicians' treatment decisions for their severely

11:39:56   22   hypertriglyceridemic patients?

11:39:57   23    A    Yes.

11:39:57   24    Q    How -- why is that?

11:39:59   25    A    So, again, triglycerides go down significantly, LDL does
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11:40:04    1   not go up.

11:40:04    2                And what we haven't yet talked about, but I think is

11:40:07    3   also important, is that apo B -- remember apolipoprotein B is

11:40:16    4   the bad lipoprotein, actually goes down significantly.

11:40:17    5                So it has three affects that are all deemed positive

11:40:21    6   for our patients with severe hypertriglyceridemia.

11:40:25    7                    MR. M. KENNEDY:    Mr. Brooks, can we go to the

11:40:27    8   warnings and precautions section of the Vascepa label.

11:40:27    9   BY MR. M. KENNEDY:

11:41:02   10    Q    And, Dr. Budoff, is there anything in the warnings and

11:41:05   11   precautions section of the Vascepa label that is relevant to

11:41:09   12   your opinion that the label encourages administration to

11:41:14   13   effect a reduction in triglycerides without substantially

11:41:18   14   raising LDL-C?

11:41:19   15    A    Yes.

11:41:20   16    Q    What about this section supports that opinion?

11:41:22   17    A    So, in all the other therapies, the fibrates, Lovaza,

11:41:31   18   there is a warning about LDL rise in the warnings and

11:41:35   19   precautions sections of those labels.

11:41:38   20                Here there is no such warning, and a doctor who is

11:41:42   21   treating severe hypertriglyceridemia would know that.          This

11:41:46   22   would be a common knowledge of the effects of the other agents

11:41:49   23   and the warnings that go with the other agents, and so the

11:41:52   24   absence of that warning is important for physicians to

11:41:56   25   understand.
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11:41:56    1    Q    Do you understand that the other asserted -- some of the

11:42:01    2   other asserted claims in this case have limitations drawn to

11:42:04    3   avoiding LDL-C effects?

11:42:07    4    A    Yes.

11:42:08    5                   MR. M. KENNEDY:     Mr. Brooks, could we have

11:42:10    6   PDX 2-21.

11:42:10    7   BY MR. M. KENNEDY:

11:42:14    8    Q    Dr. Budoff, does this slide depict the other claim

11:42:18    9   elements and other asserted claims regarding LDL-C effects?

11:42:22   10    A    Yes.

11:42:23   11    Q    And, again, the different claims have different

11:42:26   12   comparators such as second subject, placebo control, and

11:42:28   13   baseline?

11:42:29   14    A    Yes.

11:42:29   15    Q    Do the opinions you've expressed today concerning the

11:42:32   16   claim element, "without substantially increasing LDL-C" in

11:42:37   17   claim 1 of the '728 Patent, apply with equal force to the same

11:42:41   18   or similar terms in the other asserted claims?

11:42:44   19    A    Yes.

11:42:45   20    Q    For example, does -- does the Vascepa label reflect

11:42:52   21   avoidance of a statistically significant increase in LDL-C in

11:42:59   22   the subject as required by '715 patent, claim 14 patent?

11:43:02   23    A    Yes, there was a decrease in LDL-C so there was not a

11:43:06   24   statistically significant increase by definition.

11:43:10   25    Q    So does that entail that the terms about avoiding an
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11:43:14    1   increase this LDL-C in claims 4 and 17 of the '560 patent are

11:43:18    2   also met?

11:43:19    3    A    Yes.    Again, a decrease is without an increase by

11:43:23    4   definition.    So I think that those claims are all met by the

11:43:27    5   results of the clinical trials section that's put forth in all

11:43:31    6   of the labels.

11:43:34    7                    MR. M. KENNEDY:    Could we go to the slide

11:43:39    8   PDX 2-22.

11:43:39    9   BY MR. M. KENNEDY:

11:43:41   10    Q    Dr. Budoff, do you have an opinion as to whether the

11:43:43   11   Vascepa label encourages physicians to prescribe Vascepa to

11:43:47   12   severely hypertriglyceridemic patients who are not receiving a

11:44:06   13   concurrent lipid-altering therapy as required by claim 1 of

11:44:11   14   the '728 Patent?

11:44:12   15    A    Yes.

11:44:13   16    Q    What is that opinion?

11:44:14   17    A    That the majority of patients treated in the MARINE trial

11:44:18   18   and the indication itself both advocate for monotherapy.

11:44:25   19   Monotherapy by definition is without receiving concurrent

11:44:30   20   lipid-altering therapy.

11:44:31   21    Q    Do you understand that the Court previously construed the

11:44:34   22   phrase "concurrent lipid-altering therapy"?

11:44:37   23    A    Yes.

11:44:38   24                    MR. M. KENNEDY:    Mr. Brooks, could we have

11:44:40   25   PDX 2-23.
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11:44:40    1   BY MR. M. KENNEDY:

11:44:44    2    Q    And, Dr. Budoff, is this the Court's construction?

11:44:46    3    A    Yes.

11:44:47    4    Q    Did you apply the Court's construction of "concurrent

11:44:51    5   lipid-altering therapy" in forming your opinions in this case?

11:44:54    6    A    Yes.

11:44:55    7                    MR. M. KENNEDY:    Mr. Brooks, can we go to trial

11:45:00    8   Exhibit 1186, the Vascepa label, the indications and usage

11:45:00    9   section.

11:45:00   10   BY MR. M. KENNEDY:

11:45:06   11    Q    And, Dr. Budoff, is there anything about the indications

11:45:10   12   and usage that is relevant to your opinion that the label

11:45:14   13   encourages administration to severely hypertriglyceridemic

11:45:20   14   patients who aren't receiving concurrent lipid-altering

11:45:24   15   therapy?

11:45:25   16    A    Yes.

11:45:25   17    Q    What -- what about the indications and usage section

11:45:28   18   supports your opinion?

11:45:29   19    A    So you can see the MARINE indication literally says as an

11:45:34   20   adjunct to diet to reduce triglyceride levels.         So diet is not

11:45:39   21   considered concurrent lipid-altering therapy.         The Court

11:45:43   22   construed that that's a medication.

11:45:45   23                So this is literally advocating for Vascepa to be

11:45:51   24   used as monotherapy without concurrent -- it's not requiring

11:45:56   25   concurrent lipid-altering therapy.
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11:45:59    1    Q    Do you -- so with respect to your severe

11:46:03    2   hypertriglyceridemic patients, do you sometimes prescribe

11:46:07    3   concurrent lipid-altering therapy and sometimes not?

11:46:11    4    A    Yes.

11:46:12    5    Q    Could you describe the type of patient who has severe

11:46:15    6   hypertriglyceridemia to whom you would prescribe Vascepa as a

11:46:18    7   monotherapy?

11:46:19    8    A    Yeah.    So a very common scenario is -- and triglycerides

11:46:24    9   tend to affect women more than men, hypertriglyceridemia.

11:46:29   10                 So a very common scenario would be a young,

11:46:33   11   otherwise healthy woman gets referred to me because their

11:46:37   12   triglycerides are very high.

11:46:38   13                 When I meet her, I ask her questions about her diet

11:46:41   14   and exercise.     She's already adhering to a good diet, she's

11:46:45   15   already exercising regularly.       I can see that she's not very

11:46:49   16   overweight so I know she's an over -- overwhelmingly healthy

11:46:55   17   person.

11:46:57   18                 I check for diabetes and thyroid disease, and if she

11:47:00   19   doesn't have any of those things, then my primary therapy is

11:47:03   20   going to be Vascepa.     She's on it, it's an adjunct to diet and

11:47:07   21   exercise.

11:47:08   22                 Now I'm going to prescribe Vascepa monotherapy.

11:47:11   23   After I prescribe monotherapy, I'll see her back, and I'll

11:47:15   24   assess her lipid profile in three months.

11:47:18   25                 But a lot of these young, healthy people only have
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11:47:20    1   triglyceride abnormalities.      Her LDL cholesterol could be nice

11:47:28    2   and low, and if her LDL cholesterol is nice and low, and she's

11:47:31    3   otherwise healthy, then she doesn't qualify for concurrent

11:47:33    4   lipid-altering therapy.      I don't need to put her on a statin,

11:47:37    5   she wouldn't benefit from such therapy, and I would just

11:47:40    6   continue Vascepa monotherapy in that patient.

11:47:43    7    Q    Is there anything about the Vascepa labeling that gives

11:47:45    8   you comfort that Vascepa would be appropriate as a monotherapy

11:47:49    9   in the patient you just described?

11:47:51   10    A    Yes.

11:47:51   11    Q    What -- what part of the label?

11:47:53   12    A    So the clinical trial section also speaks to the utility

11:47:58   13   of this therapy as monotherapy.

11:48:00   14    Q    Could you describe the type of severely

11:48:04   15   hypertriglyceridemic patient that you might prescribe Vascepa

11:48:08   16   along with a concurrent lipid-altering therapy?

11:48:13   17    A    Yes.   So take another patient walks into my office, this

11:48:16   18   time they have underlying heart disease so they might have

11:48:22   19   already suffered a heart attack or maybe have a stint.          Their

11:48:26   20   triglycerides are over 500.

11:48:28   21                I implement diet and exercise, have them come back.

11:48:32   22   They're still above 500.      I now need to use Vascepa therapy in

11:48:39   23   that person.

11:48:39   24                They might already be on a statin, so that would be

11:48:43   25   concurrent lipid-altering therapy or, after I put them on
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11:48:47    1   Vascepa and see that their LDL, their bad cholesterol, is

11:48:52    2   still too high, I would then implement statin therapy.

11:48:57    3                We discussed the guidelines advocate for that

11:49:00    4   step-wise care that is so important when we assess patients

11:49:04    5   with high triglycerides.

11:49:07    6                    MR. M. KENNEDY:      Mr. Brooks, could we go to

11:49:10    7   table 2.

11:49:10    8   BY MR. M. KENNEDY:

11:49:14    9    Q    So is there anything about the labeling that encourages

11:49:17   10   you as a clinician to administer Vascepa -- I'll start -- I'll

11:49:22   11   just start without concurrent lipid-altering therapy, the

11:49:27   12   young woman, for example.

11:49:28   13    A    Yes.   Mr. Brooks, could you expand it to the top

11:49:30   14   paragraph real quickly?      Sorry.

11:49:33   15                So this is the full clinical trial section, and you

11:49:36   16   can see there's a sentence fairly far down in the first

11:49:40   17   paragraph starting with 25 percent of patients were on

11:49:44   18   concomitant statin therapy.

11:49:47   19                So that literally tells you that this -- this trial,

11:49:51   20   one fourth of the patients were on a statin plus Vascepa, or

11:49:59   21   statin plus placebo, and 75 percent were not.

11:50:02   22                So the vast majority of the patient results in table

11:50:06   23   2 reflects Vascepa monotherapy.        That literally reflects

11:50:11   24   75 percent of the results of the patients randomized in this

11:50:15   25   trial.
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11:50:15    1                So the study definitely encourages physicians to

11:50:20    2   prescribe Vascepa as monotherapy, and because 25 percent of

11:50:25    3   patients were on statin, concomitant statin therapy, it also

11:50:31    4   encourages patients to use it with concurrent lipid-altering

11:50:37    5   therapy when appropriate.

11:50:38    6    Q    I'd like to look at the verbiage underneath table 2.           Is

11:50:41    7   there anything about that portion of the clinical study

11:50:44    8   section that encourages clinicians to administer Vascepa

11:50:53    9   without concurrent lipid-altering therapy?

11:50:53   10    A    Well, again, so two-thirds, three-quarters of the

11:50:56   11   patients achieve these results without statin therapy.          So

11:50:59   12   this largely reflects Vascepa reduced triglycerides with

11:51:02   13   without elevating LDL-C, that largely reflects the placebo,

11:51:07   14   the statin -- I mean, the Vascepa monotherapy arm rather than

11:51:12   15   patients who are on concomitant therapy.

11:51:15   16    Q    Do you understand that some the other asserted claims

11:51:18   17   have the same or similar claim language concerning

11:51:21   18   administering Vascepa to STG patients without concurrent

11:51:27   19   lipid-altering therapy?

11:51:28   20    A    Yes.

11:51:28   21                    MR. M. KENNEDY:    Let's look at PDX 2-24.

11:51:28   22   BY MR. M. KENNEDY:

11:51:37   23    Q    Dr. Budoff, does this slide, PDX 2-24, recite the other

11:51:42   24   similar claim language?

11:51:43   25    A    Yes.
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11:51:44    1    Q    Do the opinions you've expressed today concerning the

11:51:47    2   claim language "who does not receive concurrent lipid-altering

11:51:52    3   therapy" in claim 1 of the '728 Patent apply with equal force

11:51:56    4   to the same or similar claim elements in the other asserted

11:52:00    5   claims that have these limitations?

11:52:01    6    A    Yes.

11:52:02    7    Q    And, again, the opinions -- when you've answered

11:52:05    8   questions about the Vascepa label, do your opinions concerning

11:52:08    9   the concurrent lipid-altering therapy claim elements apply

11:52:12   10   with equal force to the Hikma and DRL labels?

11:52:15   11    A    Yes.

11:52:16   12                    MR. M. KENNEDY:    So, Mr. Brooks, can we go to

11:52:18   13   PDX 2-26.

11:52:18   14   BY MR. M. KENNEDY:

11:52:23   15    Q    And I would like to do the last two elements of this

11:52:25   16   patent together.     These require administering orally to the

11:52:31   17   subject about 4 grams per-day of a pharmaceutical composition.

11:52:36   18                Have you formed any opinions concerning whether the

11:52:39   19   Vascepa label encourages clinicians to administer orally to

11:52:44   20   the subject about 4 grams per day of a pharmaceutical

11:52:48   21   composition as required in claim 1 of the '728 Patent?

11:52:51   22    A    Yes.

11:52:52   23    Q    What is that opinion?

11:52:53   24    A    Multiple times throughout the patent physicians are

11:52:56   25   encouraged to administer this medicine.        The only way it can
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11:53:00    1   be administered is orally, and the only dose is 4 grams per

11:53:05    2   day, so these two are automatically met by using the

11:53:08    3   prescription the way it has to be prescribed.

11:53:11    4    Q    So I think in your last answer you said the patent

11:53:15    5   requires, did you mean the prescribing --

11:53:17    6    A    The label requires.

11:53:18    7    Q    So do you understand the Court previously construed the

11:53:24    8   orally -- the "administering orally" claim language?

11:53:27    9    A    Yes.

11:53:28   10                   MR. M. KENNEDY:     And, Mr. Brooks, can we go to

11:53:30   11   PDX 2-27.

11:53:30   12   BY MR. M. KENNEDY:

11:53:34   13    Q    And, Dr. Budoff, is this the construction you applied in

11:53:38   14   forming your opinions?

11:53:40   15    A    Yes.

11:53:40   16    Q    And so what's your understanding of the Court's

11:53:43   17   construction of "orally administered" or "administering"?

11:53:47   18    A    That the doctor is the one prescribing the medicine, and

11:53:50   19   the medication is being taken by the patient at the doctor's

11:53:53   20   direction.    So this is a doctor-directed oral administration.

11:53:57   21    Q    So writing the prescription constitutes administering?

11:54:02   22    A    Yes.

11:54:02   23    Q    And do you understand the parties also reached an

11:54:05   24   agreement about the construction the claim term

11:54:08   25   "pharmaceutical composition"?
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11:54:11    1    A      Yes.

11:54:11    2                    MR. M. KENNEDY:    And, Mr. Brooks, can we have

11:54:13    3   2-30.

11:54:13    4   BY MR. M. KENNEDY:

11:54:17    5    Q      And, Dr. Budoff, do you see the stipulated construction

11:54:21    6   of "pharmaceutical composition"?

11:54:24    7    A      Yes.

11:54:24    8    Q      Is this the construction you applied in forming your

11:54:27    9   opinions?

11:54:27   10    A      Yes.

11:54:29   11                    MR. M. KENNEDY:    Mr. Brooks, could we go back to

11:54:32   12   slide 2-26 and put it alongside the description section of the

11:54:39   13   prescribing information, section 11.

11:54:39   14   BY MR. M. KENNEDY:

11:54:45   15    Q      And, Dr. Budoff, I don't think we've seen this section of

11:54:48   16   the labeling today.     In general, what's the purpose of the

11:54:50   17   description section of a label?

11:54:52   18    A      This describes the medication so that the physician knows

11:54:56   19   and the patient knows what it's going to look like and how --

11:54:59   20   what it constitutes.

11:55:00   21    Q      And do the Hikma and DRL labels contain identical

11:55:08   22   descriptions?

11:55:08   23    A      Yes.

11:55:09   24    Q      Except they're not called Vascepa, they're called

11:55:12   25   icosapent ethyl.
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11:55:13    1    A    Yes.

11:55:13    2    Q    So what in the description section informs your opinion

11:55:17    3   that the label encourages administration orally to the subject

11:55:21    4   about 4 grams per-day of a pharmaceutical composition?

11:55:26    5    A    Well, the description says it's for oral use.

11:55:29    6    Q    And what does it say about 4 grams?

11:55:32    7    A    I don't think it says 4 grams here.       I think in the

11:55:35    8   dosage and administration section it speaks to 4 grams as the

11:55:39    9   dose that's to be given.

11:55:42   10                    MR. M. KENNEDY:    So let's go to the dosage and

11:55:44   11   administration section.

11:55:44   12   BY MR. M. KENNEDY:

11:55:47   13    Q    And what about the dosage and administration section of

11:55:50   14   the Vascepa label informs your opinion that the label

11:55:55   15   encourages administering about 4 grams per day of a

11:55:57   16   pharmaceutical composition?

11:56:00   17    A    Under 2.2, dosage and administration, the daily dose of

11:56:03   18   Vascepa is 4 grams per day, and then advise patients to

11:56:07   19   swallow whole and take it with food.

11:56:11   20                Both of those imply -- the only way you can swallow

11:56:14   21   it or take it with food is an oral administration.         So this

11:56:14   22   covers both oral and 4 grams.

11:56:20   23    Q    And what does the dosage and administration section say

11:56:22   24   about the dosage form in which Vascepa is delivered?

11:56:27   25    A    So it's a capsule, so, again, given orally.
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11:56:30    1    Q    And are you aware that other claims at issue in this case

11:56:33    2   have language similar to about 4 grams per day that appears in

11:56:38    3   claim 1 of the '728 Patent?

11:56:40    4    A    Yes.

11:56:41    5                   MR. M. KENNEDY:     And can we go to slide

11:56:43    6   two-dash, PDX 2-31?     PDX 2-31?    Oh, sorry.

11:56:43    7   BY MR. M. KENNEDY:

11:57:00    8    Q    And, Dr. Budoff, do the opinions you've expressed today

11:57:04    9   concerning the about 4 grams per day claim element in claim 1

11:57:08   10   of the '728 Patent apply with equal force to the same or

11:57:12   11   similar claim elements in the other asserted claims?

11:57:14   12    A    Yes.

11:57:15   13                   MR. M. KENNEDY:     And then, Mr. Brooks, if we

11:57:17   14   could go to PDX 2-28.

11:57:17   15   BY MR. M. KENNEDY:

11:57:26   16    Q    And do you understand that other claims at issue in this

11:57:27   17   case have the same or similar language concerning

11:57:31   18   administering orally to the subject?

11:57:34   19    A    Yes.

11:57:34   20    Q    And do the opinions you've expressed today concerning

11:57:37   21   whether the Vascepa label encourages administering orally to

11:57:41   22   the subject as required of claim 1 of the '728 Patent apply

11:57:45   23   with equal force to the other asserted claims with the same or

11:57:49   24   similar claim language?

11:57:50   25    A    Yes.
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11:57:52    1                     MR. M. KENNEDY:   So, Mr. Brooks, can we go to

11:58:00    2   PDX 2-32.      And you can take down the label for right now.

11:58:02    3   Thank you.

11:58:02    4   BY MR. M. KENNEDY:

11:58:03    5    Q      And just so sum up, Dr. Budoff, what is your opinion

11:58:06    6   concerning whether the Vascepa label taken as a whole will

11:58:09    7   encourage clinicians to admit to follow each step in the

11:58:13    8   method claimed by claim 1 of the '728 Patent?

11:58:17    9    A      Yes.   So as I've just outlined, every element will be

11:58:22   10   met, every limitation will be met, if physicians follow the

11:58:26   11   label, they will be encouraged to do all of these steps that

11:58:29   12   are listed here on the slide.

11:58:31   13    Q      In your opinion, would physicians follow the label?

11:58:34   14    A      Yes, physicians are supposed to follow the label.

11:58:37   15    Q      And, again, if I had asked you about the Hikma or DRL

11:58:40   16   label instead of the Vascepa label, would your opinions be the

11:58:44   17   same?

11:58:44   18    A      Yes.

11:58:44   19                     MR. M. KENNEDY:   So let's move on to claim 16 of

11:58:47   20   the '728 Patent, and that's PDX 2-33.

11:58:47   21   BY MR. M. KENNEDY:

11:58:51   22    Q      And, Dr. Budoff, what are you depicting on this slide?

11:58:55   23    A      So this is just the other claim that's -- that's being

11:59:00   24   contested, and it just shows that all the claim elements are

11:59:05   25   met in claim 1.
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11:59:07    1                So that refers to the previous slide that we just

11:59:11    2   went through, all the limitations are already met, and then it

11:59:14    3   describes another -- the pharmaceutical composition again

11:59:17    4   which has already been stipulated or agreed upon by the

11:59:20    5   parties.     So all the elements for claim 16 of the '728 Patent

11:59:29    6   are met.

11:59:29    7    Q    So just to sum up, would the labeling -- Vascepa labeling

11:59:33    8   encouraging -- encourage clinicians to follow each step of the

11:59:35    9   method claimed by claim 16 of the '728 Patent?

11:59:38   10    A    Yes.    For all the reasons I've previously stated,

11:59:42   11   physicians will -- following the label will meet all of these

11:59:45   12   elements.

11:59:45   13    Q    And you would have the same opinion with respect to the

11:59:48   14   Hikma and DRL labels?

11:59:50   15    A    Yes.

11:59:51   16                    MR. M. KENNEDY:    So let's move on to trial

11:59:53   17   Exhibit 26.

11:59:53   18   BY MR. M. KENNEDY:

11:59:57   19    Q    And, Dr. Budoff, do you recognize that document?

11:59:59   20    A    Yes.

11:59:59   21    Q    What is it?

12:00:00   22    A    This is the '652 Patent.

12:00:03   23    Q    And so that's U.S. patent 8,367,652?

12:00:07   24    A    Yes.

12:00:07   25    Q    Is this one of the patents you've analyzed in forming
           Case 2:16-cv-02525-MMD-NJK Document 366 Filed 02/05/20 Page 120 of 376
                                                                                    422



12:00:11    1   your opinions in this case?

12:00:11    2    A    Yes.

12:00:13    3                   MR. M. KENNEDY:     Your Honor, I believe PX 26 is

12:00:16    4   on the pre-admitted exhibit list.

12:00:18    5                   THE CLERK:    It is.

12:00:19    6                   THE COURT:    Thank you.

12:00:19    7   BY MR. M. KENNEDY:

12:00:21    8    Q    And you understand that Amarin is asserting infringement

12:00:24    9   of claim 1 of the '652 Patent?

12:00:27   10    A    Yes.

12:00:27   11                   MR. M. KENNEDY:     So, Mr. Brooks, let's just go

12:00:28   12   to PDX 2-34.

12:00:28   13   BY MR. M. KENNEDY:

12:00:33   14    Q    And, Dr. Budoff, what are you attempting to state here

12:00:38   15   where you have the notation "See Claim 1 ('728 Patent)"?

12:00:42   16    A    So these are the same or similar languages that we've

12:00:46   17   already discussed and demonstrated, that a physician following

12:00:50   18   the label will meet all of these limitations.         So the same

12:00:56   19   analysis that I applied to claim 1 of the '728 Patent applies

12:01:01   20   to claim 1 of the '652 Patent.

12:01:04   21    Q    Now, there's one element that's not filled in here,

12:01:08   22   "compared to baseline."      Do you see that?

12:01:10   23    A    Yes.

12:01:10   24    Q    Have you formed any opinions concerning whether the

12:01:14   25   Vascepa label encourages clinicians to prescribe Vascepa to a
           Case 2:16-cv-02525-MMD-NJK Document 366 Filed 02/05/20 Page 121 of 376
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12:01:18    1   subject to effect a reduction in triglycerides without

12:01:22    2   substantially increasing LDL-C compared to baseline as

12:01:27    3   required by claim 1 of the '652 Patent?

12:01:31    4    A    Yes.

12:01:31    5    Q    And what is that opinion?

12:01:32    6    A    That they would be encouraged to lower triglycerides, and

12:01:38    7   LDL will not go up when you compare that person to their own

12:01:43    8   baseline, and that was done in the clinical studies section of

12:01:47    9   the labels.

12:01:48   10                    MR. M. KENNEDY:    And let's just very quickly put

12:01:50   11   this slide alongside table 2 of the Vascepa label.

12:01:50   12   BY MR. M. KENNEDY:

12:01:54   13    Q    And, Dr. Budoff, if you could just point out, does the

12:01:59   14   MARINE data stated in the Vascepa label contain a comparison

12:02:02   15   to baseline?

12:02:03   16    A    Yes.    So in the table 2, can you see under Vascepa it

12:02:08   17   says the word baseline.      These are the changes that are seen

12:02:13   18   compared to baseline.

12:02:15   19                So to effect a reduction in triglycerides, the

12:02:19   20   change was 27 percent compared to baseline.         Two, without

12:02:23   21   increasing LDL-C, there was a minus five percent, there was

12:02:29   22   decrease in LDL-C compared to baseline.        So these elements

12:02:33   23   will be met when physicians follow the label.

12:02:36   24    Q    And when you administer Vascepa to a subject, what kinds

12:02:42   25   of lipid effects do you expect to see in that patient?          I
           Case 2:16-cv-02525-MMD-NJK Document 366 Filed 02/05/20 Page 122 of 376
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12:02:46    1   should say a subject with severe hypertriglyceridemia.

12:02:50    2    A    Right.   So, again, our intent is, in our vast majority of

12:02:55    3   patients, that our patients will behave similarly to the

12:02:58    4   clinical trial, and these are the types of results that we

12:03:01    5   will see.

12:03:01    6                So we will see a significant reduction in

12:03:05    7   triglycerides with a small decrease or no change in LDL-C.

12:03:09    8    Q    So, in your opinion, will the Vascepa labeling encourage

12:03:12    9   clinicians to follow each step in the method claimed in claim

12:03:16   10   1 of the '652 Patent?

12:03:18   11    A    Yes.

12:03:19   12                    MR. M. KENNEDY:    So let's move on to Plaintiffs'

12:03:19   13   Exhibit 25?

12:03:19   14   BY MR. M. KENNEDY:

12:03:26   15    Q    And, Dr. Budoff, do you recognize this document?

12:03:29   16    A    Yes, this is U.S. patent 8,357,677.

12:03:35   17    Q    Is this one of the patents you've analyzed in this case?

12:03:38   18    A    Yes.

12:03:38   19    Q    And have you been informed that Amarin is asserting

12:03:41   20   infringement of claims 1 and 8 of the '677 Patent?

12:03:45   21    A    Yes.

12:03:45   22                    MR. M. KENNEDY:    Mr. Brooks, can we please go to

12:03:48   23   slide PDX 2-36.

12:03:48   24   BY MR. M. KENNEDY:

12:03:54   25    Q    And, Dr. Budoff, again, can you just very briefly explain
           Case 2:16-cv-02525-MMD-NJK Document 366 Filed 02/05/20 Page 123 of 376
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12:03:57    1   what this slide shows.

12:03:58    2    A    Yes.   So for all the analyses that we've already

12:04:02    3   described for each of these claim elements, these are the same

12:04:05    4   or similar language to claim 1 of the '728 Patent, that these

12:04:10    5   elements will be met in claim 1 of the '677 Patent.

12:04:15    6                The only claim -- or, excuse me, the only element

12:04:19    7   that's not yet met in this is "compared to placebo control."

12:04:24    8    Q    And have you formed any opinions concerning whether the

12:04:27    9   Vascepa label encourages clinicians to prescribe Vascepa to

12:04:32   10   effect a reduction in triglycerides without substantially

12:04:36   11   increasing LDL-C compared to placebo control as required by

12:04:42   12   claim 1 of the '677 Patent?

12:04:42   13    A    Yes.

12:04:43   14    Q    What is that opinion?

12:04:44   15    A    So as we've talked about before, probably now a few

12:04:48   16   times, the net effect of following these elements or following

12:04:54   17   the label and prescribing Vascepa the way that the label

12:04:59   18   encourages, will effect a reduction in triglycerides on

12:05:02   19   average by 33 percent compared to placebo control, and will

12:05:08   20   lower LDL-C by 2 percent, so not without substantially

12:05:13   21   increasing LDL-C compared to placebo control.

12:05:17   22                So this element will also be met based on the data

12:05:21   23   in table 2 and in the paragraphs below, the paragraph below

12:05:27   24   table 2, which re-emphasizes all of those findings.

12:05:30   25    Q    So just to be clear, the data you just recited is from
           Case 2:16-cv-02525-MMD-NJK Document 366 Filed 02/05/20 Page 124 of 376
                                                                                    426



12:05:33    1   table 2 in the clinical study section of the Vascepa label

12:05:37    2   that we've looked at a couple times today?

12:05:40    3    A    Yes, and then two sentences below the table that

12:05:42    4   reemphasized these exact findings.

12:05:45    5    Q    Do you prescribe Vascepa with the intent to achieve in

12:05:49    6   your STG patient the effects recited in claim 1 of the '677

12:05:56    7   patent?

12:05:56    8    A    Yes.

12:05:56    9    Q    To the best of your knowledge, do other clinicians

12:06:00   10   prescribe with the attempt to achieve those lipid effects?

12:06:05   11    A    Yes.

12:06:05   12    Q    Do patients that you treat actually exhibit lipid effects

12:06:09   13   in line with what's recited in table 2?

12:06:11   14    A    Yes.

12:06:12   15    Q    And with what's recited in claim 1 of the '677 Patent?

12:06:15   16    A    Yes.

12:06:16   17    Q    In your opinion, will the labeling encourage clinicians

12:06:19   18   to follow each step in the method claimed in claim 1 of the

12:06:25   19   '652 patent?

12:06:26   20    A    Of the '677 Patent?

12:06:28   21    Q    That's what I meant, yes, I'm sorry.

12:06:30   22    A    Yes.

12:06:31   23                   MR. M. KENNEDY:     So, Mr. Brooks, let's go to

12:06:34   24   PDX 2-38.

12:06:34   25
           Case 2:16-cv-02525-MMD-NJK Document 366 Filed 02/05/20 Page 125 of 376
                                                                                    427



12:06:34    1   BY MR. M. KENNEDY:

12:06:37    2    Q    And this is the other asserted claim of the '677 Patent,

12:06:41    3   and what are you attempting to show in the notation "(See

12:06:46    4   Claim 1)"?

12:06:47    5    A    So, again, based on all of the previous descriptions that

12:06:51    6   we've already given and the elements that we've already

12:06:54    7   addressed, that those elements will be met by the previous

12:07:00    8   claim 1 of the '677 Patent.

12:07:03    9    Q    Have you formed any opinions concerning whether the

12:07:07   10   Vascepa label encourages clinicians to prescribe Vascepa to a

12:07:11   11   subject to effect a reduction in apolipoprotein B compared to

12:07:19   12   placebo control as required by claim 8 of the '677 patent?

12:07:19   13    A    Yes.

12:07:20   14    Q    What is that opinion?

12:07:22   15    A    That physicians who are reading the label will be

12:07:25   16   encouraged to reduce apo B.      It occurred in the clinical trial

12:07:30   17   section, it's reemphasized in the paragraph below the clinical

12:07:35   18   trial section, that compared to placebo control, Vascepa will

12:07:42   19   effect a reduction in apolipoprotein B.

12:07:45   20    Q    What was the magnitude of the reduction compared to

12:07:48   21   placebo control in apo B recited in the label?

12:07:52   22    A    Minus 9 percent, and that was statistically significant.

12:07:57   23    Q    Dr. Budoff, do clinicians prescribe Vascepa with the

12:08:01   24   intent to achieve the apo B reductions compared to placebo

12:08:06   25   control reflected in claim 8 of the '677 Patent?
           Case 2:16-cv-02525-MMD-NJK Document 366 Filed 02/05/20 Page 126 of 376
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12:08:09    1    A    Yes.

12:08:10    2    Q    In your experience, does the data show that patients

12:08:13    3   experience those effects?

12:08:15    4    A    Yes, and we have ample experience that this occurs in

12:08:21    5   clinical practice.

12:08:23    6    Q    So will the labeling -- the Vascepa labeling encourage

12:08:28    7   clinicians to follow each step claimed in claim 8 of the '677

12:08:32    8   Patent?

12:08:32    9    A    Yes.

12:08:34   10                   MR. M. KENNEDY:      Let's go to PX 22.

12:08:34   11   BY MR. M. KENNEDY:

12:08:41   12    Q    Dr. Budoff, do you recognize that document?

12:08:43   13    A    Yes, it is U.S. patent 8,318,715.

12:08:48   14    Q    Is this one of the patents you've analyzed in this case?

12:08:51   15    A    Yes.

12:08:52   16                   MR. M. KENNEDY:      And this is on the pre-admitted

12:08:54   17   exhibit list?

12:08:56   18                   THE COURT:    Yes.   It's Exhibit 40?

12:09:02   19                   MR. M. KENNEDY:      Twenty-two.

12:09:03   20                   THE COURT:    Is this the '715 patent?

12:09:06   21                   MR. M. KENNEDY:      Yeah, I have PX 22.

12:09:08   22                   THE COURT:    On the stipulated exhibit list --

12:09:10   23   oh, sorry, I'm looking at the file history.         You're incorrect.

12:09:10   24   BY MR. M. KENNEDY:

12:09:16   25    Q    Do you understand that Amarin is asserting claim 14 from
           Case 2:16-cv-02525-MMD-NJK Document 366 Filed 02/05/20 Page 127 of 376
                                                                                    429



12:09:20    1   the '715 Patent?

12:09:21    2    A    Yes.

12:09:22    3                   MR. M. KENNEDY:     And, Mr. Brooks, let's have

12:09:24    4   PDX 2-40.

12:09:24    5   BY MR. M. KENNEDY:

12:09:29    6    Q    And could you just describe what the notations on the

12:09:31    7   right-hand side mean of this slide, PDX 2-40?

12:09:35    8    A    And, again, for the same reasons that we've already

12:09:39    9   discussed, the language is exactly the same or similar to

12:09:44   10   those elements that we've already discussed in the claim 1 of

12:09:47   11   the '728 Patent, so for the same reasons the elements will be

12:09:52   12   met for claim 14 of the '715 patent.

12:09:55   13    Q    Have you formed any opinions concerning whether the

12:09:58   14   Vascepa label encourages clinicians prescribe Vascepa to

12:10:03   15   effect a statistically significant reduction in triglycerides

12:10:07   16   and apo B without effecting a statistically significant

12:10:13   17   increase of LDL-C in the subject as required by claim 14 of

12:10:16   18   the '715 patent?

12:10:17   19    A    Yes.

12:10:18   20    Q    And what is that opinion?

12:10:20   21    A    That based on a lot of the discussion we've already had,

12:10:23   22   that they will be encouraged to have these effects occur when

12:10:28   23   they use -- when they follow the label for Vascepa or its

12:10:34   24   generic proposed alternatives.

12:10:37   25    Q    And, Dr. Budoff, do you understand the Court has
           Case 2:16-cv-02525-MMD-NJK Document 366 Filed 02/05/20 Page 128 of 376
                                                                                    430



12:10:39    1   previously construed the term "without it effecting a

12:10:43    2   statistically significant increase in LDL-C"?

12:10:47    3    A    Yes.

12:10:47    4                   MR. M. KENNEDY:     And I think we've touched on

12:10:49    5   this before, but, Mr. Brooks, if you could quickly pull up

12:10:52    6   PDX 2-20.

12:10:52    7   BY MR. M. KENNEDY:

12:10:56    8    Q    And directing you to the bottom claim term and

12:10:58    9   construction, is this the construction of "without affecting a

12:11:03   10   statistically significant increase in LDL-C" that you applied

12:11:09   11   in forming your opinions?

12:11:10   12    A    Yes.

12:11:11   13                   MR. M. KENNEDY:     Mr. Brooks if you could pull up

12:11:13   14   PDX 2-40 again and put it alongside trial Exhibit 1186,

12:11:21   15   page 2, the dosage and administration section.

12:11:21   16   BY MR. M. KENNEDY:

12:11:27   17    Q    And directing your attention to 2.1, where the label

12:11:31   18   instructs to assess lipid levels before initiating therapy, is

12:11:36   19   this relevant to your opinions concerning the claim elements

12:11:40   20   in claim 14 of the '715 Patent?

12:11:43   21    A    Yes.

12:11:44   22    Q    How so?

12:11:45   23    A    We've already discussed this, but, again, it's not just

12:11:49   24   telling you to assess triglyceride levels, it's telling you to

12:11:53   25   assess the lipid panel before initiating therapy because
           Case 2:16-cv-02525-MMD-NJK Document 366 Filed 02/05/20 Page 129 of 376
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12:11:56    1   changes may occur in the lipid panel.

12:11:59    2    Q     And if we could go to the clinical study section, and

12:12:05    3   I -- you know, obviously we've looked at this a few times, but

12:12:08    4   let me start with the claim language in this claim "in the

12:12:12    5   subject."

12:12:13    6                 Where in the clinical study section does the Vascepa

12:12:17    7   label address levels in the subject?

12:12:20    8    A     Again, that's in the baseline category that we discussed

12:12:24    9   earlier under the word Vascepa.

12:12:26   10    Q     And does the clinical study section reflect a

12:12:30   11   statistically significant reduction in TGs and apo B compared

12:12:36   12   to baseline?

12:12:37   13    A     Yes.

12:12:37   14    Q     How do you know it's a statistically significant

12:12:40   15   reduction?

12:12:42   16    A     The P values are listed there.     You see the asterisks.      P

12:12:42   17   value for a single asterisk, which is the minus 33 percent for

12:12:42   18   triglycerides, the P value is minus .001, and for the apo B,

12:12:42   19   the double asterisk, minus 9 percent reflects a P value of

12:13:06   20   .05.   Both of those are considered statistically significant.

12:13:07   21    Q     And does the clinical study section disclose an increase,

12:13:13   22   statistically significant or otherwise, in LDL-C levels of the

12:13:17   23   subject, or in the subject?

12:13:17   24    A     No, LDL-C goes down by 2 percent or by 5 percent from

12:13:25   25   baseline.     Both of those are decreases.     So a decrease is not
           Case 2:16-cv-02525-MMD-NJK Document 366 Filed 02/05/20 Page 130 of 376
                                                                                    432



12:13:30    1   a statistically significant increase by definition.

12:13:34    2    Q    And, to the best of your knowledge, do clinicians

12:13:38    3   prescribe Vascepa with the intent to achieve the lipid effects

12:13:38    4   and avoidance of the lipid effects recited in claim 14 of the

12:13:46    5   '715 patent?

12:13:46    6    A    Yes.

12:13:47    7    Q    In your own experience, do your severely

12:13:50    8   hypertriglyceridemic patients actually achieve effects of the

12:13:54    9   type recited in claim 14 of the '715 patent?

12:13:57   10    A    Yes.

12:13:58   11    Q    And what is your expectation when you administer Vascepa

12:14:04   12   to a severely hypertriglyceridemic patient in terms of the

12:14:09   13   lipid effects those patients will experience?

12:14:11   14    A    That the average patient, majority of my patients will

12:14:15   15   achieve these lipid effects when I prescribe Vascepa.

12:14:19   16    Q    So will the Vascepa labeling encourage clinicians to

12:14:24   17   follow each step in the method claimed in claim 14 of the '715

12:14:29   18   Patent?

12:14:29   19    A    Yes, for all the reasons that we've discussed.

12:14:31   20    Q    Let's go to PX 30.     And, Dr. Budoff, do you recognize

12:14:41   21   this document?

12:14:42   22    A    Yes.   This is U.S. patent 8,431,560.

12:14:47   23    Q    And is this one of the patents you analyzed in forming

12:14:53   24   your opinions in this case?

12:14:53   25    A    Yes.
           Case 2:16-cv-02525-MMD-NJK Document 366 Filed 02/05/20 Page 131 of 376
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12:14:55    1                    MR. M. KENNEDY:     Your Honor, plaintiffs

12:14:57    2   Exhibit 30 is on the preadmitted list.

12:14:58    3                    THE COURT:   Yes.

12:14:58    4   BY MR. M. KENNEDY:

12:14:59    5    Q    Have you been informed that Amarin is asserting

12:15:02    6   infringement of claims 4 and 17 from the '560 Patent?

12:15:06    7    A    Yes.

12:15:06    8                    MR. M. KENNEDY:     And, Mr. Brooks, if we could

12:15:08    9   have PDX 2-42.

12:15:08   10   BY MR. M. KENNEDY:

12:15:12   11    Q    And, again, what does the notations in the Element Met

12:15:17   12   column mean?

12:15:18   13    A    So, again, just to reiterate, these are all -- all these

12:15:22   14   elements have already been met based on our analysis of claim

12:15:26   15   1 of the '728 Patent.

12:15:28   16    Q    Have you formed any opinions concerning whether the

12:15:31   17   Vascepa label encourages clinicians to prescribe Vascepa to

12:15:35   18   patients with severe hypertriglyceridemia wherein the

12:15:39   19   administering effects a reduction in fasting triglycerides of

12:15:42   20   at least about 10 percent without increasing LDL-C by more

12:15:47   21   than 5 percent in the subject?

12:15:48   22    A    Yes.

12:15:49   23    Q    And what is that opinion?

12:15:50   24    A    As we've discussed already, the effects in the subject,

12:15:55   25   the triglyceride reductions, will be fasting triglyceride
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12:15:59    1   reductions, which is how the trials are done and how the

12:16:02    2   methods are done, in practice, the fasting triglyceride levels

12:16:07    3   will drop by 27 percent.      So that's at least 10 percent.

12:16:12    4                LDL-C will go down by 5 percent in the subject,

12:16:15    5   which is not a 5 percent increase, but rather a 5 percent

12:16:20    6   decrease.

12:16:21    7                So all three of these elements will be met when

12:16:24    8   physicians follow the label.

12:16:26    9    Q    And, again, these are -- you're referring to the data in

12:16:29   10   the clinical study section of the Vascepa label that we've

12:16:32   11   looked at?

12:16:33   12    A    Yes.

12:16:33   13    Q    When you administer Vascepa to a severely

12:16:37   14   hypertriglyceridemic patient, do you expect to achieve results

12:16:40   15   of the type claimed by claim 4 of the '560 patent?

12:16:44   16    A    Yes.

12:16:44   17    Q    When you administer Vascepa to a patient, do you achieve

12:16:51   18   effects of the type claimed by claim 4 of the '560 Patent?

12:16:55   19    A    Yes.

12:16:55   20    Q    To the best of your knowledge, do clinicians prescribe

12:17:00   21   with the intent to achieve the results -- the lipid effects --

12:17:04   22   the results of lipid effects claimed by claim 4 of the '560

12:17:08   23   patent?

12:17:09   24    A    Yes.

12:17:09   25    Q    So will the labeling encourage clinicians to follow each
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12:17:14    1   step in the method claimed in claim 4 of the '560 patent?

12:17:18    2    A    Yes.

12:17:18    3                    MR. M. KENNEDY:    Okay.   Then let's please look

12:17:20    4   at PDX 244.

12:17:20    5   BY MR. M. KENNEDY:

12:17:26    6    Q    And, again, is this asserted claim 17 of the '560 patent?

12:17:31    7    A    Yes.

12:17:32    8    Q    And what are you denoting with the notations in the

12:17:36    9   Element Met column?

12:17:39   10    A    Similar to the last few claims, again, these are the same

12:17:44   11   language that was used and elements that were met based on the

12:17:48   12   same analysis for claim 1 of the '728 Patent.

12:17:53   13    Q    Have you formed any opinions concerning whether the

12:17:56   14   Vascepa label encourages clinicians to prescribe Vascepa and

12:18:01   15   expect to achieve effecting a reduction in fasting

12:18:06   16   triglycerides of at least about 20 percent without increasing

12:18:10   17   LDL-C in the subject compared to placebo control as required

12:18:14   18   by claim 17 of the '560 Patent?

12:18:16   19    A    Yes.

12:18:17   20    Q    What is that opinion?

12:18:18   21    A    That physicians following the label will see more than a

12:18:25   22   20 percent drop in fasting triglycerides, it dropped by

12:18:30   23   33 percent compared to control.

12:18:32   24                So that element will be met when they follow the

12:18:35   25   label and look at the clinical trials section, they will see
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12:18:38    1   that there is no increase in LDL-C compared to placebo

12:18:42    2   control.     So all of these elements will be met as physicians

12:18:46    3   follow the label.

12:18:47    4    Q    Dr. Budoff, do you administer Vascepa with the intent to

12:18:50    5   effect reductions in fasting triglycerides of about 20 percent

12:18:54    6   without increasing LDL-C in the subject compared to placebo

12:18:59    7   control as required by claim 17 of the '560 patent?

12:19:02    8    A    Yes.

12:19:02    9    Q    When you administer Vascepa to patients with STG, do they

12:19:09   10   achieve results in line with those required by claim 17 of the

12:19:13   11   '560 patent?

12:19:14   12    A    Yes.

12:19:15   13    Q    Do other physicians prescribe Vascepa with the intent to

12:19:19   14   achieve the lipid results claimed in claim 17 of the '560

12:19:23   15   patent?

12:19:24   16    A    Yes.

12:19:25   17    Q    So, in your opinion, will the Vascepa labeling encourage

12:19:28   18   clinicians to follow each step in the method claimed by claim

12:19:33   19   17 of the '560 patent?

12:19:34   20    A    Yes.

12:19:35   21    Q    And then let's go to the PX 31, and this is -- Dr.

12:19:47   22   Budoff, do you recognize this document?

12:19:49   23    A    Yes, this is U.S. patent 8,518,929.

12:19:52   24    Q    And is this one the patents you analyzed in forming your

12:19:56   25   opinions in this case?
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12:19:57    1    A    Yes.

12:19:58    2    Q    You understand that Amarin is asserting claims 1 and 5

12:20:02    3   from this patent?

12:20:03    4    A    Yes.

12:20:04    5                    MR. M. KENNEDY:    And, Mr. Brooks, can we go to

12:20:06    6   slide PDX 2-46.

12:20:06    7   BY MR. M. KENNEDY:

12:20:11    8    Q    And, Dr. Budoff, what have you shown on this slide?

12:20:14    9    A    So, again, as previously stated, all of the elements will

12:20:19   10   be met using the same analysis as claim 1 of the '728 Patent.

12:20:24   11    Q    Does the Vascepa label instruct daily administration of

12:20:29   12   Vascepa?

12:20:30   13    A    Yes.

12:20:31   14    Q    Daily administration of 4 grams of a pharmaceutical

12:20:37   15   composition?

12:20:38   16    A    Yes.

12:20:39   17    Q    And will the labeling -- will the Vascepa labeling

12:20:45   18   encourage clinicians to follow each step in the method of

12:20:49   19   claim 1 of the '929 patent?

12:20:51   20    A    Yes.

12:20:51   21    Q    And then slide 2-47, this is claim -- asserted claim 5 of

12:20:59   22   the '929 patent.

12:21:01   23                And, again, Dr. Budoff, can you just very briefly

12:21:05   24   explain what this slide shows.

12:21:06   25    A    Yes.   So, again, the elements we just discussed in claim
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12:21:13    1   1 are met by the analysis of claim 1 on the previous slide,

12:21:18    2   and now there's two new elements here, "effective to reduce

12:21:22    3   apolipoprotein B in subjects."

12:21:25    4    Q    Have you formed any opinions concerning whether the

12:21:29    5   Vascepa label encourages clinicians to administer Vascepa to

12:21:34    6   patients with severe hypertriglyceridemia effective to reduce

12:21:38    7   apolipoprotein B in subjects?

12:21:41    8    A    Yes.

12:21:41    9    Q    And what is that opinion?

12:21:43   10    A    That the apolipoprotein B goes down in subjects as seen

12:21:51   11   in table 2 of the label, and physicians will be encouraged to

12:21:57   12   use Vascepa to reduce apolipoprotein B in their subjects.

12:22:04   13                   MR. M. KENNEDY:     And since we haven't looked at

12:22:08   14   apolipoprotein B quite as much today, Mr. Brooks, can we pull

12:22:12   15   up table 2 alongside this slide.

12:22:12   16   BY MR. M. KENNEDY:

12:22:16   17    Q    And, Dr. Budoff, does table 2, the clinical study section

12:22:22   18   of the Vascepa label, support your opinion that the label will

12:22:25   19   encourage clinicians to administer Vascepa to reduce

12:22:30   20   apolipoprotein B in subjects?

12:22:33   21    A    Yes, you can see that.     Compared to baseline there was a

12:22:37   22   minus 4 percent reduction in apo B, and the overall difference

12:22:41   23   compared to placebo control is minus 9 percent, and it's

12:22:45   24   called out again in the sentence below the table, Vascepa 4

12:22:49   25   grams per day reduced median TG, VLDL-C, and apo B levels from
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12:22:58    1   baseline relative to placebo.

12:23:01    2    Q    Dr. Budoff, do you prescribe Vascepa with the intent to

12:23:04    3   reduce apolipoprotein B?

12:23:07    4    A    Yes.

12:23:08    5    Q    When you prescribe Vascepa, do you observe reductions in

12:23:14    6   apolipoprotein B in your patients?

12:23:18    7    A    Yes.

12:23:18    8    Q    To your knowledge, do other clinicians prescribe Vascepa

12:23:20    9   with the intent to reduce apolipoprotein B in the expectation

12:23:22   10   that those reductions will be achieved?

12:23:24   11    A    Yes.

12:23:25   12    Q    So will the Vascepa labeling encourage clinicians to

12:23:30   13   follow each step in the method claimed by claim 5 of the '929

12:23:35   14   patent?

12:23:35   15    A    Yes.

12:23:36   16    Q    And as with all the other Vascepa label related

12:23:39   17   questions, if I ask you with respect to the Hikma and DRL

12:23:43   18   labels, would you answer be the same?

12:23:45   19    A    Yes.

12:23:50   20                   MR. M. KENNEDY:     So I have no further questions

12:23:51   21   for the witness at this time.

12:23:52   22                   THE COURT:    Thank you, Mr. Kennedy.

12:23:58   23                   MR KLEIN:    Your Honor, do you want to break or

12:24:00   24   keep going?

12:24:01   25                   THE COURT:    Well, if I had my preference, we
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12:24:04    1   would keep going, but I think we should take a lunch break at

12:24:07    2   this time, so let's take a 30-minute lunch break.         Thank you.

            3                           (The noon recess was taken.)

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            1          RENO, NEVADA, TUESDAY, JANUARY 14, 2020, 1:04 P.M.

            2                                  ---o0o---

01:04:47    3

01:04:47    4                   THE COURT:    Please be seated.

01:04:48    5                   Mr. Klein?

01:04:52    6                   MR KLEIN:    Thank you, Your Honor.

01:04:54    7                   Good afternoon, Dr. Budoff.

01:04:54    8                   THE WITNESS:    Afternoon.

01:04:56    9                   MR. KLEIN:    We obviously met at your deposition,

01:04:58   10   but, for the record, I'm Charles Klein, and I will be asking

01:05:02   11   you some questions on behalf of the defendants.

01:04:53   12                             CROSS-EXAMINATION

01:04:53   13   BY MR. KLEIN:

01:05:05   14    Q    Each asserted patent in this case requires using

01:05:11   15   icosapent for at least 12 weeks.       You understand that, right?

01:05:13   16    A    Yes.

01:05:13   17    Q    Okay.   And defendants' product labels do not specifically

01:05:21   18   encourage using icosapent for at least 12 weeks, correct?

01:05:24   19    A    No, they do.

01:05:25   20    Q    They specifically encourage using icosapent for at least

01:05:30   21   12 weeks?

01:05:31   22    A    Yes.

01:05:32   23    Q    Okay.   Let's take a look at the indication.       And for the

01:05:38   24   record, you recognize the top snapshot as DX 2248?         That's the

01:05:44   25   Vascepa MARINE indication?
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01:05:46    1    A    Yes.

01:05:47    2    Q    Okay.    And we're not going to talk about -- you

01:05:49    3   understand there's a new indication, right?

01:05:51    4    A    Yes.

01:05:52    5    Q    Okay.    We're not going to talk about that other

01:05:54    6   indication today so if I refer simply to the Vascepa

01:05:58    7   indication, can we understand that we're talking about the

01:06:01    8   MARINE indication?

01:06:02    9    A    Yes.

01:06:02   10    Q    Okay.    And then we have the Hikma indication, which is

01:06:06   11   DX 2256, and the DRL indication which is DX 2266, and I

01:06:13   12   believe on direct you testified that these three indications

01:06:17   13   are materially identical, correct?

01:06:22   14    A    Yes.

01:06:22   15    Q    All right.    Neither the Vascepa indication nor

01:06:28   16   defendants' indications is actually telling doctors to use the

01:06:34   17   drug for at least 12 weeks, right?

01:06:36   18    A    It does not state 12 weeks, that's correct.

01:06:39   19    Q    Right.   Right.   And if we look at the dosage and

01:06:42   20   administration section, and here I've got the Hikma label,

01:06:48   21   DX 2256, on the screen, but do you understand that the DRL

01:06:52   22   label is materially identical?

01:06:54   23    A    Yes.

01:06:55   24    Q    Okay.    And the dosage and administration section in

01:07:02   25   defendants' labels doesn't specify any duration of treatment,
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01:07:07    1   correct?

01:07:07    2    A    Correct.

01:07:08    3    Q    And so defendants' dosage and administration section

01:07:12    4   doesn't specifically encourage using icosapent for at least

01:07:18    5   12 weeks, right?

01:07:19    6    A    Correct.

01:07:20    7    Q    In fact, there's no explicit instruction in the Vascepa

01:07:23    8   label or in defendants' labels to use icosapent for at least

01:07:28    9   12 weeks, right?

01:07:28   10    A    No, there is explicit language.

01:07:31   11    Q    There -- listen carefully to the question, please.

01:07:33   12                 Is there -- there is no explicit instruction

01:07:37   13   anywhere in the Vascepa label or in defendants' labels telling

01:07:42   14   doctors to use icosapent for at least 12 weeks.

01:07:45   15    A    There is explicit language in the Hikma and DRL labels

01:07:51   16   instructing physicians to use Vascepa or icosapent ethyl for

01:07:58   17   12 weeks.

01:07:58   18    Q    So what language are you referring to?

01:08:00   19    A    The clinical trials section.

01:08:02   20    Q    Okay.    We'll get to that later, but the clinical trials

01:08:06   21   section is describing a 12-week study, the MARINE study,

01:08:10   22   right?

01:08:10   23    A    Well, I was just trying to answer your question.

01:08:13   24                 My understanding of the infringement is the label

01:08:15   25   taken in its entirety.      So when you ask me does the label
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01:08:20    1   state 12 weeks, and I say yes, I believe I'm correct.

01:08:23    2    Q    And we'll get to the clinical trial section later in the

01:08:27    3   examination, but just to make sure we're on the same page, the

01:08:30    4   clinical trial section of defendants' labels does not say,

01:08:34    5   doctors, you should give the drug for at least 12 weeks.            Can

01:08:37    6   we agree on that?

01:08:38    7    A    It does not say those words, that's correct.

01:08:41    8    Q    And instead, the Vascepa label, as well as defendants'

01:08:45    9   labels, leave it entirely up to the physician's discretion to

01:08:50   10   determine the duration of treatment, correct?

01:08:52   11    A    Yes.

01:08:54   12    Q    Now, so, what that means is defendants' labels will allow

01:09:02   13   doctors to tailor treatment duration to the individual

01:09:06   14   patients, correct?

01:09:07   15    A    Yes, but they have to be concordant with the disease

01:09:12   16   that's indicated.

01:09:13   17    Q    Right.   Of course.    But doctors can follow defendants'

01:09:16   18   labels and prescribe icosapent indefinitely if they want.

01:09:22   19   That's your opinion, right?

01:09:23   20    A    Yes.

01:09:23   21    Q    But a doctor could also prescribe icosapent for only ten

01:09:27   22   weeks, if that's what's called for, for the particular patient

01:09:30   23   and the patient concerns, correct?

01:09:32   24    A    I can't imagine that scenario, but if that scenario

01:09:37   25   existed, then yes, I agree.
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01:09:39    1    Q    Okay.    Then we'll come back to that.

01:09:41    2                 Either way, the labeling gives this decision, the

01:09:45    3   treatment duration, to the doctor to make, right?

01:09:47    4    A    Yes.

01:09:47    5    Q    And so it would be entirely consistent with defendants'

01:10:03    6   labels for a doctor to prescribe icosapent for less than

01:10:08    7   12 weeks, right?

01:10:09    8    A    Yes.

01:10:11    9    Q    Now, we talked about how there's no explicit instruction

01:10:21   10   in the labels that actually tells doctors you should use

01:10:27   11   icosapent for at least 12 weeks.       Do you remember that?

01:10:29   12    A    Yes.    I believe I feel there is explicit language, and

01:10:34   13   you feel there is not.      But, yes, I remember that previous

01:10:36   14   discussion we just had.

01:10:38   15    Q    Okay.    But I think you said there's no explicit language

01:10:41   16   that actually tells doctors you should use this product for at

01:10:45   17   least 12 weeks, correct?

01:10:46   18    A    Your quote is not in the label, I agree with that.

01:10:49   19    Q    Right.    You're referring to the 12 weeks term in the

01:10:52   20   clinical studies section, right?

01:10:54   21    A    Yes, which I believe instructs physicians to use it for

01:10:57   22   12 weeks.

01:10:58   23    Q    Okay.    So your opinion really is, when doctors read the

01:11:01   24   label as a whole, including the 12 weeks statement in the

01:11:05   25   clinical studies section, that will apply to doctors that they
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01:11:09    1   should go ahead and use the drug for at least 12 weeks, right?

01:11:12    2    A    Yes.

01:11:13    3    Q    On the screen is DX 2256 and, for the record, it's

01:11:24    4   DDX 3.3.     This is -- you recognize this as the indications and

01:11:28    5   usage section of Hikma's proposed label, right?

01:11:31    6    A    Yes.

01:11:31    7    Q    And, obviously, as -- the indication is for severe

01:11:36    8   hypertriglyceridemia, right?

01:11:37    9    A    Yes.

01:11:38   10    Q    And your opinion is that doctors know that this is a

01:11:41   11   chronic condition?

01:11:42   12    A    Yes.

01:11:43   13    Q    Okay.    And your opinion is that the condition, severe

01:11:48   14   hypertriglyceridemia, requires indefinite drug therapy, right?

01:11:52   15    A    Yes.

01:11:53   16    Q    Okay.    I want to make sure I understand what you're

01:11:55   17   saying.     Are you saying that doctors will read defendants'

01:11:59   18   indication as necessarily, in all circumstances, requiring

01:12:05   19   indefinite treatment?

01:12:07   20    A    No.

01:12:09   21    Q    And why do you say no?

01:12:11   22    A    Well, not everybody can tolerate therapy forever so we

01:12:16   23   never use absolutes, but I would say doctors will read this

01:12:20   24   label and say, oh, severe hypertriglyceridemia, that's a

01:12:25   25   chronic condition, I'm going to treat this chronically.
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01:12:29    1                 To say that in every case they use it indefinitely

01:12:33    2   is, obviously, not possible.      Some patients don't tolerate

01:12:37    3   therapy, some patients can't get therapy, so we can't use

01:12:41    4   absolutes when we talk about what a person of ordinary skill

01:12:45    5   in the art will do in a given situation.

01:12:48    6    Q    Okay.    And we'll come back to that concept.

01:12:51    7                 I want to direct you to paragraph 357 of plaintiffs'

01:12:58    8   proposed findings of fact, and this is ECF number 331.

01:13:03    9                 You probably haven't seen this, but I will represent

01:13:06   10   to you that this is a statement from plaintiffs' to the Court

01:13:09   11   last week, and in this proposed findings of fact, plaintiffs

01:13:15   12   propose that the Court find that clinicians will read

01:13:19   13   defendants' labeling with the understanding that severe

01:13:21   14   hypertriglyceridemia is almost invariably a chronic condition.

01:13:26   15                 Do you see that?

01:13:27   16    A    Yes.

01:13:27   17    Q    And as a matter of linguistics, almost invariably isn't

01:13:34   18   always, right?

01:13:34   19    A    Correct.

01:13:35   20    Q    Okay.    And so is this consistent with your testimony that

01:13:44   21   it's almost invariably a chronic condition?

01:13:47   22    A    Yes.

01:13:48   23    Q    Okay.    And so you're not testifying that severe

01:20:37   24   hypertriglyceridemia is always a chronic condition, correct?

01:20:37   25    A    Correct.
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01:20:37    1    Q    And do you understand that defendants' labels never

01:20:37    2   actually say that severe hypertriglyceridemia is a chronic

01:20:37    3   condition, right?

01:20:37    4    A    Yes.    I think Dr. Ketchum went through that yesterday.

01:20:37    5    Q    Yeah, I was just going to bring that up.        You were here,

01:20:37    6   right?

01:20:37    7    A    Yes.

01:20:37    8    Q    And you understood that there was a proposal to the FDA

01:20:37    9   from Amarin to characterize the Vascepa patient population as

01:20:37   10   requiring chronic care, but FDA rejected that, right?

01:20:37   11    A    Yes.

01:20:37   12    Q    But your opinion is that a doctor would see the

01:20:37   13   indication and understand that severe hypertriglyceridemia is

01:20:37   14   very often a chronic condition, right?

01:20:37   15    A    Yes.

01:20:37   16    Q    Okay.   And so what you're really saying is that a doctor

01:20:37   17   knows that severe hypertriglyceridemia can be a chronic

01:20:37   18   condition, not that it always is a chronic condition, right?

01:20:38   19    A    I think we keep changing the adjectives, but why don't we

01:20:38   20   stick with almost invariably just to be concise because we've

01:20:38   21   gone from almost invariably now to can.

01:20:38   22    Q    Okay.

01:20:38   23    A    Which I think is a pretty broad change in terminology.

01:20:38   24   So I'll stick with this language as language that I'm

01:20:38   25   comfortable with.
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01:20:38    1    Q    Okay.    Well, you agree it's not always a chronic

01:20:38    2   condition, right?

01:20:38    3    A    That's correct.

01:20:38    4    Q    So just as a matter of logic, what you're saying is it

01:20:38    5   can be.   Now, in your view, it is almost invariably, but

01:20:38    6   you're really saying it can be a chronic condition, correct?

01:20:38    7    A    It is a chronic condition in almost all cases, but not

01:20:38    8   all cases.

01:20:38    9                 I described the reversible causes earlier, diabetes

01:20:38   10   out of control, binge drinking, hypothyroidism, as other

01:20:38   11   causes that can push people up into the severe

01:20:38   12   hypertriglyceridemic range that would not be considered a

01:20:38   13   chronic condition.

01:20:38   14    Q    Okay.    Thanks.   You're getting to my next point.

01:20:38   15                 So you were here for opening statements as well,

01:20:38   16   right?

01:20:38   17    A    Yes.

01:20:38   18    Q    And did you see this testimony from Dr. Toth during the

01:20:38   19   opening statements?

01:20:38   20    A    Yes.

01:20:38   21    Q    And you know who Dr. Toth is, right?

01:20:38   22    A    Yes.

01:20:38   23    Q    You understand he's one of Amarin's experts in this case.

01:20:38   24    A    Yes, I know Dr. Toth.

01:20:38   25    Q    Yeah, you actually know him otherwise as --
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01:20:38    1    A    Yes, we are -- we are on different guidelines and

01:20:39    2   committees together.

01:20:39    3    Q    And so you saw that Dr. Toth testified in his deposition

01:20:39    4   that there would be circumstances where very high

01:20:39    5   triglycerides was an acute phenomenon, right?

01:20:39    6    A    Yes.

01:20:39    7    Q    And you agree with that?

01:20:39    8    A    Yes, for the reasons I've already stated.

01:20:39    9    Q    Right.   And that's what you meant by the reversible

01:20:39   10   causes?

01:20:39   11    A    Yes.

01:20:39   12    Q    Okay.    And doctors would know from reading defendants'

01:20:39   13   indications that sometimes severe hypertriglyceridemia can be

01:20:39   14   an acute phenomenon, right?

01:20:39   15    A    Yes.

01:20:39   16    Q    Did you also see this testimony from Dr. Peck?

01:20:39   17    A    Yes.

01:20:39   18    Q    Do you know Dr. Peck?

01:20:39   19    A    No, not outside of this context.

01:20:39   20    Q    Okay.    But you understand that Dr. Peck is Amarin's

01:20:39   21   regulatory expert in this case?

01:20:39   22    A    Yes.

01:20:39   23    Q    And so you saw that Dr. Peck said he doesn't think that

01:20:39   24   the indicated use of Vascepa is limited to chronic use, right?

01:20:39   25    A    Yes.
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01:20:39    1    Q      Okay.    And you're not an expert in FDA regulations,

01:20:39    2   correct?

01:20:39    3    A      Correct.

01:20:39    4    Q      So you agree with Dr. Peck's testimony when he says, "I

01:20:39    5   don't think the indicated use of Vascepa is limited to chronic

01:20:39    6   use."    Correct?

01:20:39    7    A      I disagree with that.

01:20:39    8    Q      You disagree with what -- so you think Dr. Peck is not

01:20:39    9   accurately characterizing the indication from an FDA

01:20:39   10   regulatory perspective?

01:20:39   11    A      I didn't have a chance to discuss with Dr. Peck.       It

01:20:39   12   would be -- I don't know, I think you guys throw around the

01:20:40   13   word hearsay -- for me to take this at face value without any

01:20:40   14   context.

01:20:40   15                   But I believe, if you're asking my opinion, that the

01:20:40   16   current indicated use of Vascepa, you're supposed to

01:20:40   17   systematically eliminate all of the acute causes, that's

01:20:40   18   clearly listed in the label, and then the resultant treatment,

01:20:40   19   the resulted indication for Vascepa is, after you've removed

01:20:40   20   all of the acute indications, you use Vascepa which would

01:20:40   21   leave only chronic use.

01:20:40   22                   So my reading of the label -- and I'm not arguing

01:20:40   23   with Dr. Peck, but my reading of the label is that the current

01:20:40   24   indicated use of Vascepa is for the resultant people who have

01:20:40   25   genetic problems, and thus it is a chronic condition.
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01:20:40    1    Q    Okay.

01:20:40    2    A    So it's only indicated to -- for chronic use.

01:20:40    3    Q    And we'll unpack that a bit.

01:20:40    4                 But what I'm getting at here is you're offering that

01:20:40    5   opinion from the perspective of a physician who will apply the

01:20:40    6   label, correct?

01:20:40    7    A    Yes.

01:20:40    8    Q    Okay.    And do you understand that Dr. Peck is offering an

01:20:40    9   opinion from the perspective of what FDA approved?

01:20:41   10    A    Yes.    Again, I wasn't there.    I didn't read Dr. Peck's

01:20:41   11   full deposition transcript.      I see it referenced here, so I

01:20:41   12   really don't think I can speak to this one sentence.

01:20:41   13                 But my opinion is I agree with Dr. Peck on this one

01:20:41   14   question.     I would answer it differently.

01:20:41   15    Q    Okay.    But you are not an FDA regulatory expert, right?

01:20:41   16    A    That's been established.

01:20:41   17    Q    And you're not expert in FDA labeling, right?

01:20:41   18    A    That's been established.

01:20:41   19    Q    So if Dr. Peck testifies from the FDA perspective that

01:20:41   20   FDA did not limit the indication to chronic use, you would

01:20:41   21   have no basis to dispute that, correct?

01:20:41   22    A    I would not argue with Dr. Peck on the FDA, but I believe

01:20:41   23   we already heard about the FDA, and it said should it be used

01:20:41   24   for acute use, and the answer was not applicable.

01:20:41   25                 So, again, my reading from yesterday, and my
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01:20:41    1   understanding of what the FDA already opined on, is that it's

01:20:41    2   not appropriate for acute use because they said not

01:20:41    3   applicable.     That was in the questions in the FDA documents

01:20:41    4   that were presented yesterday.

01:20:41    5                 But, again, I'm not going to get into an FDA

01:20:41    6   argument with Dr. Peck.

01:20:41    7    Q    And just to be clear, you're referring to the form that

01:20:41    8   was used in Dr. Ketchum's testimony?

01:20:41    9    A    Yes.

01:20:41   10    Q    You did not offer any opinions on that form in your

01:20:42   11   report, correct?

01:20:42   12    A    No.

01:20:42   13    Q    And you're not offering any opinions on that form today,

01:20:42   14   correct?

01:20:42   15    A    I'm only trying to answer your question as best I can.

01:20:42   16    Q    Okay.    But -- so you say you disagree with Dr. Peck at

01:20:42   17   least from a physician perspective, but you do agree it would

01:20:42   18   be consistent with the Vascepa labeling for a doctor to

01:20:42   19   prescribe Vascepa for fewer than 12 weeks, correct?

01:20:42   20    A    Yes.

01:20:42   21    Q    Let's go back to the indication, and, again, I'm using

01:20:43   22   Hikma's indication for simplicity, but you understand DRL's

01:20:47   23   indication is the same, right?

01:20:49   24    A    Yes.

01:20:51   25    Q    And we talked about this a moment ago.
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01:20:54    1                 You are relying on the term severe

01:20:57    2   hypertriglyceridemia in the indication as signaling to doctors

01:21:02    3   that they should use the drug long-term, correct?

01:21:05    4    A    Yes.

01:21:08    5    Q    Okay.    Now, let's focus on that term.

01:21:10    6                 The term severe hypertriglyceridemia has a

01:21:13    7   well-known meaning to doctors who treat the condition, right?

01:21:16    8    A    Yes.

01:21:16    9    Q    And the meaning of severe hypertriglyceridemia is

01:21:19   10   actually in the indication.      It means greater than or equal to

01:21:25   11   500 milligrams per deciliter, right?

01:21:26   12    A    Yes.

01:21:27   13    Q    And that's it.    That's -- that's the definition of severe

01:21:31   14   hypertriglyceridemia, right?

01:21:32   15    A    Well, no.    I mean, there's definitions of diseases.         This

01:21:37   16   is not a definition.     This is just stating the term, severe

01:21:41   17   hypertriglyceridemia.

01:21:41   18                 But, yes, it's characterized by triglycerides

01:21:46   19   greater than 500 milligrams per deciliter in the blood in the

01:21:49   20   fasting state.     But, yes, that's -- that's what I construe to

01:21:54   21   be severe hypertriglyceridemia.

01:21:57   22    Q    Right.    And that is how doctors diagnose severe

01:22:01   23   hypertriglyceridemia.     They have a blood test taken, and if

01:22:04   24   the triglycerides are above 500, then the doctors conclude the

01:22:08   25   patient has severe hypertriglyceridemia, right?
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01:22:11    1    A    Yes.

01:22:14    2    Q    Okay.    And severe hypertriglyceridemia has various

01:22:17    3   causes, right?

01:22:18    4    A    Yes.

01:22:19    5    Q    And the diagnosis of severe hypertriglyceridemia does not

01:22:25    6   turn on the cause, right?

01:22:27    7    A    That's correct.

01:22:28    8    Q    So as long as the patients have triglyceride levels above

01:22:33    9   500, regardless of why, they have severe hypertriglyceridemia.

01:22:38   10    A    Just to be concise, I would say fasting triglycerides

01:22:42   11   greater than 500, that's the definition.

01:22:45   12    Q    And that's a fair point.      And let's just assume, when we

01:22:48   13   talk about the triglyceride levels, that we're talking about

01:22:52   14   fasting levels.     I think that's a fair characterization.

01:22:55   15                 And doctors know that when patients have

01:23:00   16   triglycerides above 500, the goal is to prevent an acute

01:23:06   17   pancreatitis attack, right?

01:23:08   18    A    Yes.

01:23:09   19    Q    Okay.    And so the indication is signaling to doctors that

01:23:13   20   if the patient has triglycerides above 500, no matter the

01:23:19   21   cause, that icosapent can be used in that patient, right?

01:23:25   22    A    No, that's not how I read the label.       I read the label as

01:23:29   23   you must exclude acute causes, and then you would use Vascepa.

01:23:34   24   That's how I read the label, and that's how I believe

01:23:37   25   physicians read the label.
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01:23:39    1    Q    Okay.    And you're referring to the dosage and

01:23:41    2   administration section, right?

01:23:42    3    A    Yes.    But when you say the label, I'm taking the label --

01:23:46    4   again, my understanding of infringement is the label taken in

01:23:49    5   its entirety.

01:23:50    6                 So I don't think it would be fair to say, "Doctor,

01:23:53    7   you're only allowed to read the first line.         Now what do you

01:23:56    8   want to do with your patient?"

01:23:57    9    Q    Okay.    No.   And that's a fair point, Doctor, and we'll

01:24:00   10   get to the doseage and administration section, but for now

01:24:04   11   let's focus on the indication itself.

01:24:06   12                 A doctor looking at the indication would understand

01:24:09   13   that if the patient presents with triglycerides over 500, then

01:24:13   14   icosapent can be used in that patient subject to, you know,

01:24:17   15   other instructions in the label, correct?

01:24:20   16    A    Yes.

01:24:20   17    Q    And a doctor would understand that if icosapent is being

01:24:27   18   used, it will be used as an adjunct to diet, right?

01:24:31   19    A    Yes.

01:24:31   20    Q    And the hope is that using icosapent as an adjunct to

01:24:36   21   diet will avoid pancreatitis.

01:24:39   22    A    Yes.

01:24:39   23    Q    All doctors who treat severe hypertriglyceridemia

01:24:43   24   understand when they read the indication of Vascepa or

01:24:48   25   defendants' labels, that that's the goal of using the drug,
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01:24:51    1   right?

01:24:51    2    A    That is at least the primary goal, yes.

01:24:55    3    Q    Yes.    Well, okay.

01:25:00    4                 Let's go to the ATP III guidelines, and you talked

01:25:04    5   about this on direct, right?

01:25:06    6    A    Yes.

01:25:06    7                     MR. KLEIN:   And, for the record, this is

01:25:10    8   DX 1526, page 28, and the document has been admitted into

01:25:14    9   evidence.

01:25:14   10   BY MR. KLEIN:

01:25:17   11    Q    Now, the ATP guidelines explain that when triglycerides

01:25:21   12   are very high, greater than or equal to 500, the initial aim

01:25:26   13   of therapy is to prevent acute pancreatitis through

01:25:31   14   triglyceride lowering, and you agree with that, right?

01:25:33   15    A    Yes.

01:25:34   16    Q    Okay.    And that's the primary treatment aim regardless of

01:25:38   17   why the patient has triglycerides above 500, right?

01:25:41   18    A    Yes.

01:25:42   19    Q    If we go to the next slide, which is DDX 3.9, we're on

01:25:49   20   DX 1526, page 28, the guidelines go on to say this approach --

01:25:57   21   in other words, the aim of preventing acute pancreatitis

01:26:00   22   through triglyceride lowering -- requires very low fat diets,

01:26:05   23   weight reduction, increased physical activity, and usually a

01:26:09   24   triglyceride-lowering drug, and I omitted the parentheticals,

01:26:13   25   right?
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01:26:14    1    A    Yes.

01:26:14    2    Q    And this approach is consistent with your own practice,

01:26:19    3   right?

01:26:19    4    A    Yes, except they don't stipulate -- they don't -- this is

01:26:23    5   pre-2002, this was pre-Vascepa, so the only two choices given

01:26:27    6   here are fibrate and nicotinic acid, and now we have two other

01:26:33    7   drugs that are for this indication.       But, yes.

01:26:35    8    Q    Okay.    Yeah.   Putting aside the specific drugs, this

01:26:38    9   statement in the ATP III guidelines is consistent with your

01:26:39   10   practice, right?

01:26:41   11    A    Yes.

01:26:42   12    Q    And to be clear, the guidelines here say the approach

01:26:46   13   focuses on diet, weight reduction, increased physical

01:26:50   14   activity, and usually a triglyceride-lowering drug, right?

01:26:54   15    A    Yes.

01:26:54   16    Q    Okay.    And the guidelines don't tell doctors if patients

01:26:59   17   present with severe hypertriglyceridemia, you should always

01:27:04   18   use drug therapy, correct?

01:27:06   19    A    That's correct.

01:27:07   20    Q    And that, too, is consistent with your own practice,

01:27:10   21   right?

01:27:10   22    A    Yes.

01:27:11   23    Q    Okay.    Let's go to the next slide, and I'm just

01:27:24   24   highlighting a different sentence on the same page.

01:27:27   25                 The guidelines then say only after triglyceride
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01:27:30    1   levels have been lowered to less than 500 milligrams per

01:27:35    2   deciliter should attention turn to LDL lowering to reduce risk

01:27:39    3   for CHD, right?

01:27:42    4    A    Yes.

01:27:43    5    Q    And, in other words, once the triglyceride -- once the

01:27:48    6   triglyceride levels in a patient dip below 500, you become

01:27:53    7   less concerned about pancreatitis and your focus turns to

01:27:58    8   cardiovascular treatment, correct?

01:27:59    9    A    Yes, and I've tried to outline that today in the direct

01:28:02   10   testimony as well.

01:28:03   11    Q    Okay.   And I think you talked about this as well, this is

01:28:08   12   how the ATP III characterizes the different levels of

01:28:13   13   triglycerides, right?

01:28:14   14    A    Yes.

01:28:15   15    Q    Okay.   And high triglycerides are 200 to 499, right?

01:28:21   16    A    Yes.

01:28:21   17    Q    Okay.   And some patients are in this range, the high

01:28:26   18   triglyceride range, because of generic -- genetic factors,

01:28:31   19   correct?

01:28:32   20    A    Yes.

01:28:32   21    Q    And -- but even if a patient has triglycerides over 500,

01:28:38   22   and you're able to reduce the pancreatitis risk by getting the

01:28:43   23   triglycerides into the very high -- into the high triglyceride

01:28:48   24   range, you still want to get those levels lower, right?

01:28:51   25    A    I think we know a lot more now also given the results of
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01:28:55    1   the REDUCE-IT trial.     But, yes, I think that is -- still I

01:28:58    2   would still like to get the triglycerides lower than 499.

01:29:01    3    Q    You would like to get them lower than 200, right?

01:29:05    4    A    Yes.

01:29:05    5    Q    But that goal, that desire, is based on cardiovascular

01:29:10    6   risk, not pancreatitis risk, correct?

01:29:14    7    A    That's correct.

01:29:15    8    Q    And you understand that the goal with regard to severe

01:29:23    9   hypertriglyceridemia is not -- the primary goal is not to

01:29:29   10   reduce cardiovascular risk but to reduce the acute

01:29:33   11   pancreatitis risk, right?

01:29:35   12    A    Yes.

01:29:35   13    Q    Okay.   And defendants' products are not indicated to

01:29:39   14   reduce triglycerides in patients who have baseline levels

01:29:44   15   below 500, right?

01:29:45   16    A    Correct.

01:29:46   17    Q    And so a doctor using Vascepa or defendants' products,

01:29:50   18   should they come to market, solely to reduce cardiovascular

01:29:56   19   risk would be using icosapent off label, again, ignoring the

01:30:01   20   new REDUCE-IT indication.

01:30:03   21    A    Yes.

01:30:04   22    Q    And so you understand defendants' products are not

01:30:08   23   indicated to improve cardiovascular outcomes, right?

01:30:12   24    A    Correct.

01:30:14   25    Q    And you also understand -- although I don't think it came
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01:30:19    1   up during your direct, but you understand that defendants are

01:30:22    2   carving out this second REDUCE-IT indication from their

01:30:27    3   proposed labels, right?

01:30:29    4    A    Yes.

01:30:30    5    Q    Now, we talked about how there can be various causes of

01:30:38    6   very high triglycerides, right?

01:30:39    7    A    Yes.

01:30:41    8    Q    And most commonly severe hypertriglyceridemia is caused

01:30:45    9   by unhealthy diet and poor lifestyle choices, right?

01:30:49   10    A    No, most commonly it's caused by genetics.        We've

01:30:54   11   reviewed that, I think, a few times.

01:30:56   12    Q    Now, when you say genetics, there are really two

01:31:00   13   different types of genetic -- genetic causes of severe

01:31:05   14   hypertriglyceridemia.     For example, there are some genetic

01:31:08   15   causes that, no matter what you do with diet and exercise, you

01:31:13   16   are absolutely going to need drugs, correct?

01:31:15   17    A    Yes.

01:31:16   18    Q    And these patients generally have triglycerides well

01:31:25   19   above 500, right?

01:31:26   20    A    The more severe the genetic abnormality, the higher the

01:31:31   21   triglyceride levels will go, yes.

01:31:33   22    Q    I mean, we're talking sometime 1,000 or even 2,000,

01:31:36   23   correct?

01:31:36   24    A    Yes.

01:31:37   25    Q    Okay.   And the -- these conditions include familial
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01:31:47    1   hypertriglyceridemia; is that right?

01:31:49    2    A    Yes.

01:31:49    3    Q    And familial combined hyperlipidemia; is that right?

01:31:54    4    A    That's usually represented by -- combined implies that

01:31:58    5   multiple di -- there's multiple problems and usually the

01:32:02    6   triglycerides are not as high and their LDL, their bad

01:32:07    7   cholesterol is also high.

01:32:08    8                 So there are, again -- I mean, I listed some of

01:32:11    9   the -- I think scientific statement from the American Heart

01:32:15   10   Association talked about the seven most common genetic

01:32:18   11   abnormalities.

01:32:19   12    Q    Okay.    And another one is defects in lipoprotein lipase

01:32:23   13   or apo C-2, right?

01:32:25   14    A    Yes.

01:32:26   15    Q    Okay.    But these types of genetic disorders where the

01:32:30   16   patients have triglycerides at the 1,000, 2,000 level, these

01:32:34   17   are pretty rare, right?

01:32:36   18    A    Some of those specific ones are pretty rare, but some of

01:32:41   19   them are what we call incomplete transmissions.

01:32:44   20                 So, for example, somebody could have a triglyceride

01:32:47   21   level 550 or 600, and if we were to do genetic testing, we

01:32:52   22   might find that they have a partial -- partial expression of

01:32:56   23   that problem.

01:32:57   24                 In other words, they don't have to be pure -- kind

01:32:59   25   of like not be purebreds per se in the regard to that
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01:33:04    1   disorder.       But the patients who have pure genetic disorders,

01:33:10    2   they tend to have very high triglycerides as you're

01:33:13    3   describing.

01:33:14    4    Q      And that is rare.

01:33:15    5    A      That is rare.

01:33:15    6    Q      Okay.    Now, with regard to the patient population who has

01:33:21    7   very high triglycerides, it's less rare for patients to have a

01:33:26    8   genetic predisposition to high triglycerides, and then there

01:33:33    9   are other factors that cause them to go above 500.          Is that

01:33:38   10   fair?

01:33:38   11    A      Yes.

01:33:38   12    Q      Okay.    And that's where diet and lifestyle can come into

01:33:42   13   play.

01:33:42   14    A      Yes.

01:33:43   15    Q      All right.    Okay.    Let's go to slide DX 3.13, which is

01:33:51   16   DX 1982, and I don't believe this is in evidence, so I would

01:33:57   17   move -- do you recognize this as Amarin's website for Vascepa?

01:34:01   18    A      I don't know if I've seen this, but I would take your

01:34:04   19   word for it that it is.         It looks like it.

01:34:06   20                      MR KLEIN:    I move to admit DX 1982.

01:34:11   21                      MR. M. KENNEDY:    No objection, Your Honor.

01:34:11   22                      THE COURT:    That request is granted.

01:34:11   23                             (Defendants' Exhibit 1982 received in
01:34:14                                   evidence.)
01:34:16   24   BY MR. KLEIN:

01:34:17   25    Q      Now, here you can see that -- and I'll represent to you
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01:34:19    1   that we took this from Vascepa.com, and you'll see that the

01:34:25    2   title of this portion of the web page says what are the

01:34:29    3   causes?

01:34:30    4    A    Yes.

01:34:31    5    Q    And according to Amarin's Vascepa website, there are five

01:34:36    6   causes listed, right?

01:34:38    7    A    There are five listed here, yes.

01:34:41    8    Q    And the first one is diet.      Do you see that?

01:34:43    9    A    Yes.

01:34:43   10    Q    And I circled "especially alcohol."       You agree that diet,

01:34:48   11   especially alcohol, with be a cause of severe

01:34:51   12   hypertriglyceridemia, right?

01:34:52   13    A    Yes.

01:34:52   14    Q    Okay.   And the second one is lack of exercise, that's

01:34:56   15   also a common cause of severe hypertriglyceridemia?

01:34:58   16    A    It tends to be a contributing factor.       I think -- I don't

01:35:03   17   think lack of exercise by itself is considered a primary

01:35:08   18   cause, but I think it would contribute so we recommend

01:35:10   19   exercise to help lower triglycerides.

01:35:13   20    Q    It's normally discussed in combination with diet.         Is

01:35:16   21   that fair?

01:35:17   22    A    Yes.

01:35:17   23    Q    And then the third cause is medical conditions, right?

01:35:20   24    A    Yes.

01:35:21   25    Q    And I think you talked about that, for example, a patient
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01:35:24    1   could have diabetes and that might cause severe

01:35:28    2   hypertriglyceridemia?

01:35:28    3    A    Yes.

01:35:29    4    Q    But if the diabetes is controlled, that might address the

01:35:32    5   severe hypertriglyceridemia.

01:35:34    6    A    That is the guidelines and my recommendation, yes.

01:35:37    7    Q    Okay.    And then there's specific drugs.      I think talked

01:35:41    8   about that as well, right?

01:35:43    9    A    Yes.

01:35:43   10    Q    And we'll get back to that.

01:35:46   11                 And then genetics is the fifth cause listed on

01:35:49   12   Vascepa.com, right?

01:35:51   13    A    Right.

01:35:53   14    Q    Now, the defendants' indication and labels are not

01:36:03   15   limited to addressing the genetic issues that we talked about

01:36:09   16   that can cause triglycerides to be way up in the 1,000, 2,000

01:36:15   17   area, right?

01:36:16   18    A    That's correct.

01:36:16   19    Q    Yeah.    Defendants' labels would include very high

01:36:22   20   triglycerides caused by any of these five factors, diet,

01:36:26   21   exercise, medical condition, specific drugs, or genetics,

01:36:31   22   correct?

01:36:31   23    A    No.

01:36:31   24    Q    Okay.    So you're saying that the Vascepa.com website is

01:36:36   25   incorrect?
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01:36:37    1    A    No.   Vascepa -- this is saying what are causes of very

01:36:40    2   high triglycerides, and they list five different causes.

01:36:43    3                 The label, and, again, the label taken in its

01:36:47    4   entirety, tells you to address diet and exercise first and

01:36:51    5   eliminate those causes, to address medical conditions and

01:36:55    6   eliminate those causes, to look for specific drugs and

01:37:01    7   eliminate those causes; and then, if their triglycerides are

01:37:05    8   still high, to treat.

01:37:06    9                 So if you looked at your chart and you crossed out

01:37:09   10   those other four, the only thing left to use Vascepa on label

01:37:14   11   would be genetics.

01:37:16   12    Q    Okay.    I want to make sure I understand this testimony.

01:37:18   13                 You're saying that the indication requires doctors

01:37:23   14   to eliminate the first four causes on Vascepa.com, diet,

01:37:29   15   exercise, medical conditions, specific drugs, and use the drug

01:37:32   16   only if genetics is the sole cause.       Is that your testimony?

01:37:36   17    A    No, I'm saying that the label eliminates those other 4,

01:37:40   18   and then says if severe hypertriglyceridemia still exists, you

01:37:45   19   then prescribe Vascepa.

01:37:49   20    Q    Are you saying, Doctor, that if -- if a patient presents

01:37:55   21   to a physician, and has triglycerides of 550, and the doctor

01:38:01   22   says, "I -- I want you to go on a diet, and I want you to

01:38:05   23   exercise, and I want you to start Vascepa right away," you're

01:38:09   24   saying that's an off-label use?

01:38:11   25    A    No.   You're supposed to institute diet and exercise first
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01:38:15    1   and then Vascepa.

01:38:17    2    Q    Okay.    But it's not an off-label use if the doctor at

01:38:21    3   that first visit says, "I want you to change your diet, I want

01:38:25    4   you to exercise, and I want you to fill this prescription,"

01:38:30    5   right, sir?

01:38:30    6    A    I mean, you can interpret that as saying, well, I said

01:38:34    7   the word diet and exercise first so it preceded it, but that's

01:38:37    8   not the intent of the FDA nor the guidelines.         The guidelines

01:38:40    9   say institute diet and exercise and then prescribe Vascepa.

01:38:45   10                 So instituting, to me, is not saying, "Mr. Johnson,

01:38:48   11   you should really eat better.       Here's a prescription."

01:38:52   12                 I don't believe that meets the term institute, and

01:38:55   13   it's not how the guidelines are written.        We just went through

01:38:58   14   the ATP III guidelines.      They say to address diet first and

01:39:02   15   then prescribe Vascepa.

01:39:04   16                 And I think the label is pretty clear in that

01:39:06   17   language that you should institute diet and exercise first

01:39:11   18   before initiating Vascepa.

01:39:12   19                 There's literally a section, 2.1, that says what to

01:39:16   20   do before initiating Vascepa.       So it's telling you to do that

01:39:20   21   specifically.     That's not my interpretation.      That's got to be

01:39:23   22   the exact way that the label is encouraging physician's use.

01:39:28   23    Q    Okay.    Well, let's start with this.     The Vascepa labeling

01:39:31   24   is not limited to reducing triglycerides in patients who have

01:39:36   25   a genetic predisposition to high triglycerides, right?
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01:39:40    1    A    That's true.

01:39:41    2    Q    Okay.   And nothing in the Vascepa label discusses genetic

01:39:49    3   causes of severe hypertriglyceridemia?

01:39:51    4    A    That's true.

01:39:52    5    Q    And the cause of severe hypertriglyceridemia in most

01:39:56    6   patients is not solely genetics, right?

01:39:59    7    A    Well, again, by the time we get to -- we're talking about

01:40:03    8   on-label use, I believe it is largely genetics.         If we're

01:40:07    9   talking just about anybody who has ever had a fasting

01:40:10   10   triglyceride of 501 more, or 500 or more, that could be a

01:40:14   11   combination of factors, I agree with you.

01:40:16   12    Q    Okay.   Let's put aside whether it's on-label or off-label

01:40:20   13   now, and we'll talk turn that next.

01:40:22   14    A    Sure.

01:40:22   15    Q    Just doctors understand that when patient -- the patient

01:40:26   16   population that has very high triglycerides, a large portion

01:40:33   17   of that population has very high triglycerides for reasons not

01:40:41   18   solely related to genetics.      Fair?

01:40:46   19    A    Yes.

01:40:47   20    Q    Okay.   In fact, at least a third of the patient

01:40:51   21   population with severe hypertriglyceridemia has the condition

01:40:56   22   for reasons not solely related to genetics, right?

01:41:00   23    A    I think that would probably be correct.        Yes.

01:41:03   24    Q    And the other causes would include things like diet and

01:41:07   25   exercise are not ideal, correct?
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01:41:11    1    A    Yes.

01:41:12    2    Q    Okay.    Let's go to -- let's fast forward and go to the

01:41:19    3   dosage and administration section because that's what you were

01:41:23    4   focusing on.

01:41:26    5                 Okay.   And this is DX 2256 for the record.

01:41:30    6                 Do you recognize this as the dosage and

01:41:34    7   administration section from Hikma's proposed label?

01:41:37    8    A    Yes.

01:41:38    9    Q    And you testified that the dosage and administration

01:41:41   10   section instructs doctors to eliminate other causes of high

01:41:44   11   triglycerides before prescribing icosapent, right?

01:41:51   12    A    Yes.

01:41:51   13    Q    Okay.    Let's walk through what each section says.       The

01:41:53   14   title -- and I'm focusing on 2.1.       That's what you're focusing

01:41:53   15   on, right?

01:41:53   16    A    Yes.

01:41:58   17    Q    The title says Prior to Initiation of Icosapent Ethyl,

01:42:02   18   right?

01:42:02   19    A    Yes.

01:42:03   20    Q    And then the first thing it says to do is assess lipid

01:42:06   21   levels before initiating therapy, and I think you testified

01:42:09   22   that, you know, that's -- that just makes sense, it's

01:42:12   23   standard, you have to take a test, right?

01:42:15   24    A    Yes.

01:42:15   25    Q    Okay.    Then it says identify other causes, e.g.,
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01:42:20    1   diabetes, hypothyroidism, or medications of high triglyceride

01:42:27    2   levels, and manage as appropriate, right?

01:42:29    3    A    Yes.

01:42:29    4    Q    So this is telling doctors look to see if there are other

01:42:33    5   causes, right?

01:42:34    6    A    Yes.

01:42:34    7    Q    And if the doctors identify other causes, the label

01:42:39    8   leaves it up to the discretion of the doctor to manage as the

01:42:42    9   doctor feels is appropriate, right?

01:42:45   10    A    Yes.

01:42:46   11    Q    Okay.    The label is not telling, in this first bullet,

01:42:52   12   the label is not telling doctors don't give icosapent yet,

01:42:57   13   address those other factors first.       Agreed?

01:43:00   14    A    Correct.

01:43:01   15    Q    Okay.    And that bullet certainly isn't saying only give

01:43:08   16   icosapent if absolutely necessary and the only causes are

01:43:12   17   genetics, right?

01:43:15   18    A    That's correct.

01:43:15   19    Q    And when the label, 2.1, first bullet says manage as

01:43:22   20   appropriate, that is giving doctors wide discretion to do what

01:43:25   21   the doctor sees fit for the individual patient.

01:43:29   22    A    Yes.

01:43:29   23    Q    Okay.    Let's go to the second bullet.

01:43:47   24                 The second bullet says patients should engage in

01:43:51   25   appropriate nutritional intake and physical activity before
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01:43:56    1   receiving icosapent ethyl which should continue during

01:44:01    2   treatment with icosapent ethyl, right?

01:44:02    3    A      Yes.

01:44:03    4    Q      And what this bullet is saying is that doctors should

01:44:07    5   make sure they don't use icosapent as a substitute for diet

01:44:13    6   and exercise, right?

01:44:14    7    A      No, they're saying that patients should try a trial of

01:44:18    8   nutritional intake and physical activity before receiving

01:44:22    9   icosapent ethyl.

01:44:22   10                   It says they should engage in appropriate

01:44:25   11   nutritional intake and physical activity before receiving the

01:44:29   12   drug.

01:44:29   13                   So saying eat well, exercise, and here's a

01:44:33   14   prescription, would not be following Hikma's proposed label

01:44:39   15   because they wouldn't be engaging in any of those things

01:44:41   16   before receiving icosapent ethyl.

01:44:43   17    Q      Okay.

01:44:43   18    A      So I believe that if you don't give the patients a trial

01:44:47   19   of diet and exercise before receiving icosapent ethyl, that

01:44:50   20   that would be perceived as an off-label use of the drug.

01:44:54   21    Q      Okay.    So your opinion is that doctors should never

01:44:58   22   prescribe icosapent without first making sure that the

01:45:02   23   patients engage in diet and exercise?

01:45:05   24    A      You can vary from the label.    Doctors have discretion.

01:45:09   25   But the label specifically tells you that they should engage
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01:45:13    1   first.

01:45:13    2                   So if you are following the label, an on-label use

01:45:17    3   would be a trial of diet and exercise, we've discussed that a

01:45:21    4   few times today, and then if they fail appropriate diet and

01:45:24    5   exercise, then you prescribe icosapent ethyl.

01:45:28    6    Q      That's not how you practice, right?

01:45:30    7    A      That's how I largely practice.

01:45:32    8    Q      When a patient comes to see you and presents with very

01:45:35    9   high triglycerides, you hold off on prescribing Vascepa until

01:45:40   10   the next visit?

01:45:44   11    A      If their triglyceride are 550, like in your example, and

01:45:47   12   they have a terrible diet, yes.       I would say let's clean up

01:45:52   13   your diet and exercise and see if we don't get there without

01:45:53   14   therapy, and if we don't get there without therapy, then I'm

01:45:54   15   going to need to prescribe a medication.

01:45:56   16                   That's how we all prescribe therapy.   That's the

01:45:58   17   common use of all treatments.       Blood pressure pills are the

01:46:02   18   same.    When I see somebody with high blood pressure, and they

01:46:06   19   have a high salt diet, I say let's try diet and exercise and

01:46:07   20   see if your blood pressure comes down, and if that fails, I'm

01:46:10   21   going to have to write you a prescription for a blood pressure

01:46:13   22   pill.

01:46:14   23    Q      Okay.

01:46:14   24    A      That's the way the FDA literally says -- there's no -- I

01:46:17   25   don't think there's any interpretation here.         Patients should
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01:46:21    1   engage in appropriate nutritional intake and physical activity

01:46:25    2   before receiving icosapent ethyl.       Your company wrote a --

01:46:28    3   very clear instructions for doctors to follow.

01:46:31    4    Q    Okay.    Doctor, you prescribe icosapent the first time you

01:46:37    5   see a patient who presents with very high triglycerides,

01:46:42    6   right?   That happens?

01:46:42    7    A    Sometimes, sure.

01:46:43    8    Q    Probably most of the time, right?

01:46:45    9    A    I don't know.    I haven't looked back exactly.       But some

01:46:48   10   of my patients are already engaged in appropriate nutritional

01:46:53   11   activity and nutritional intake when they first see me.

01:46:56   12                 I described a scenario today of a young woman who is

01:46:59   13   already doing all the right things, and her triglycerides are

01:47:01   14   too high.     So she already engaged in appropriate nutritional

01:47:06   15   intake and physical activity before receiving icosapent ethyl,

01:47:06   16   and then I prescribed it.      That's my first visit, but the

01:47:12   17   patient is already doing what the label instructs me to do.

01:47:13   18    Q    Okay.    And pancreatitis can be a life-threatening

01:47:17   19   condition, right?

01:47:18   20    A    Yes.

01:47:18   21    Q    And if a patient presents to you with 650, for example,

01:47:24   22   you're not going to hold off on giving that patient Vascepa

01:47:28   23   for -- until you see the patient a second time, you're going

01:47:32   24   to prescribe Vascepa right away, correct?

01:47:34   25    A    In most cases, yes.
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01:47:39    1    Q      Yes.   And are you really telling the Court that the

01:47:42    2   Vascepa label and defendants' label will make it an off-label

01:47:48    3   use if a doctor prescribes Vascepa at the same time as the

01:47:52    4   doctor instructs the patients to improve their exercise and

01:47:57    5   diet?

01:47:57    6    A      I believe, and I think the label is explicitly clear

01:48:02    7   here, that if you think diet and exercise is all they need,

01:48:06    8   then you should not be prescribing Vascepa.

01:48:09    9                  So in your first example where the triglycerides are

01:48:11   10   550, and they have a terrible diet, I would not, and the label

01:48:15   11   would not advocate to put them on Vascepa because it is highly

01:48:19   12   likely that diet and exercise intervention alone will not

01:48:23   13   achieve the target.

01:48:25   14                  Now, if somebody has triglycerides of 2,000, and

01:48:28   15   their blood is turning white from fats, then I do not wait.

01:48:33   16   But I think that that could be perceived as an off-label use.

01:48:37   17                  Regardless, the vast majority of patients we see,

01:48:40   18   we're supposed to first address nutritional intake and

01:48:43   19   physical activity before receiving icosapent ethyl, and then,

01:48:47   20   if they don't get under 500, we then prescribe them the

01:48:52   21   therapy.

01:48:52   22                  That's also how the MARINE trial was done which I

01:48:55   23   testified to this morning on how we did the MARINE trial, how

01:48:59   24   the trial was performed by having a 6-to 9-week trial of diet

01:49:04   25   and exercise before prescribing therapy.
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01:49:07    1    Q    Okay.    Let's take another look at the language in the

01:49:10    2   second bullet.

01:49:12    3                 So would you -- your entire opinion here is based on

01:49:18    4   one term, the term "before," right?

01:49:20    5    A    No, my entire opinion is based on my experience,

01:49:24    6   treatment, and training.      The word "before" --

01:49:25    7    Q    No, no, hold on.      Just to be clear --

01:49:27    8    A    -- is contributory towards that.       My opinion is never

01:49:33    9   based on a single word.

01:49:33   10    Q    No, no, just --

01:49:34   11    A    I want to be clear for the court.

01:49:35   12    Q    Okay.    All right.   But your opinion with regard to what's

01:49:38   13   on-label and off-label in view of 2.1 -- bullet 2, turns on

01:49:43   14   the word before, right?

01:49:44   15    A    In this one scenario, yes.

01:49:47   16    Q    I mean, if that said "with," you would have a different

01:49:49   17   opinion, right?

01:49:49   18    A    I think the implication would be different, yes.

01:49:52   19    Q    And when 2.1 bullet two uses the term before, it doesn't

01:49:57   20   specify any time frame, right?

01:49:59   21    A    That's true.

01:50:00   22    Q    It doesn't say, doctors, make sure that the patients

01:50:05   23   actually improve their diet and exercise for 12 weeks, come

01:50:10   24   back, and then if it's clear that the causes are genetic, then

01:50:13   25   you may prescribe icosapent.      That's not what the label is
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01:50:18    1   saying, right?

01:50:19    2    A    It doesn't give a time period, that's correct.

01:50:21    3    Q    And, in fact, and I think you mentioned something like

01:50:23    4   this earlier, if the doctor told the patients I want you to --

01:50:28    5   here's a diet, I want you to follow it, here's exercise,

01:50:31    6   regimen I want you to follow it, here's a prescription, fill

01:50:34    7   it when you can get to a pharmacy, that would be following the

01:50:38    8   dosage and administration section 2.1, bullet 2, correct?

01:50:43    9    A    No.

01:50:43   10    Q    And why is that?

01:50:45   11    A    Another word in the label it says engage, so they should

01:50:51   12   engage in appropriate nutritional intake and physical

01:50:54   13   activity.    It doesn't say a doctor should advise that you go

01:50:58   14   on diet and exercise, and here's a prescription.         It says that

01:51:02   15   they should engage in appropriate nutritional intake and

01:51:06   16   physical activity before receiving icosapent ethyl.

01:51:09   17               I don't think you can change the meaning of that.        I

01:51:11   18   think doctors would read that and understand that you should

01:51:14   19   give them a trial.     It doesn't have to be exactly 12 weeks as

01:51:17   20   you outlined in your previous example, but you need to give

01:51:21   21   them a trial of diet and exercise, and if they fail that, then

01:51:25   22   they can receive icosapent ethyl if their triglycerides are

01:51:28   23   still above 500.

01:51:30   24    Q    Now, Dr. Budoff, the most common practice is for doctors

01:51:37   25   to prescribe icosapent as a first step for patients with
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01:51:43    1   triglycerides above 500, correct?

01:51:45    2    A    I don't know that.

01:51:46    3    Q    Okay.    Actually you do.   Let's go to DX 1554, paragraph

01:51:54    4   56.   Let's go first to the first page so we can identify the

01:52:01    5   document.

01:52:05    6                 Okay.   You recognize DX 1554 as your opening report?

01:52:10    7    A    Yes.

01:52:13    8    Q    Okay.    Now let's go to page 17, paragraph 56.

01:52:21    9    A    I'm sorry, what paragraph?

01:52:23   10    Q    Paragraph 56.

01:52:24   11    A    Okay.    It's not on the screen?

01:52:26   12    Q    It will be there in a second.

01:52:29   13    A    Sure.

01:52:32   14                     MR KLEIN:   This is the reply?    Do I have the

01:52:34   15   wrong document?

01:52:37   16                     No, this is right.

01:52:37   17   BY MR. KLEIN:

01:52:39   18    Q    Okay.    Here, in your opening report, you said,

01:52:43   19                    "For elevated lipids, therapy guidelines,

01:52:45   20         including ATP III, recommend diet and lifestyle

01:52:49   21         modification, and for patients with triglycerides of

01:52:54   22         500 milligrams per deciliter or higher, given the

01:52:57   23         serious risk of pancreatitis and a recognition that

01:53:01   24         lifestyle counseling alone is often insufficient for

01:53:05   25         these patients, physicians most commonly recommend a
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01:53:08    1         triglyceride-lowering medication, along with

01:53:10    2         lifestyle counseling, as the first step."

01:53:13    3                     Was that in your report, sir?

01:53:15    4    A    No, that's citing ATP III, that's correct.        That's 2002.

01:53:20    5   I don't believe that's an on-label use.

01:53:24    6    Q    Okay.    So you're saying this statement in your opening

01:53:27    7   report is inaccurate?

01:53:29    8    A    No, I'm not saying that it's inaccurate at all.         I'm

01:53:32    9   saying that it's -- I don't perceive it to be an on-label use

01:53:35   10   if you prescribe the drug at the same time as diet and

01:53:39   11   exercise and you don't have them engage in nutritional intake

01:53:45   12   and appropriate physical activity before receiving icosapent

01:53:49   13   ethyl.

01:53:49   14    Q    Okay.    Let's take a look at your reply report, and you

01:53:53   15   submitted a reply expert report after Dr. Sheinberg responded

01:53:58   16   to your report, right?

01:54:00   17    A    Yes.

01:54:00   18    Q    So this is after Dr. Sheinberg raised the 12-week

01:54:05   19   noninfringement defense, right?

01:54:06   20    A    Yes.

01:54:07   21    Q    Okay.    And you recognize DX 1556 is your reply report?

01:54:12   22    A    Yes.

01:54:12   23    Q    Okay.    Let's first take a look at paragraph 54.

01:54:37   24                 In paragraph 54 of your reply report you said, "I

01:55:19   25   disagree that clinicians would read the indications and usage
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01:55:23    1   section as encouraging clinicians to treat

01:55:28    2   hypertriglyceridemia by providing the patients with a

01:55:28    3   prescription for Vascepa or one of defendants' proposed ANDA

01:55:35    4   products but instruct the patient not to begin taking the

01:55:38    5   medication until after improving their diet and exercise

01:55:42    6   regimen over the course of 4 to 6 weeks."

01:55:44    7                 Right?   Is that something you said in your reply

01:55:46    8   report in response to Dr. Sheinberg's report?

01:55:49    9    A    Yes.

01:55:50   10    Q    Okay.    Let's also take a look at paragraph 57 of your

01:55:56   11   reply report.

01:56:02   12                 All right.   In paragraph 57, you start off by

01:56:15   13   talking about the treatment guidelines, and in the second

01:56:18   14   sentence you say,

01:56:19   15                    "The treatment guidelines therefore advise

01:56:21   16         that clinicians immediately treat severely

01:56:25   17         hypertriglyceridemic patients with triglyceride-

01:56:28   18         lowering pharmacotherapies."

01:56:31   19                     Right?   Is that what you said?

01:56:33   20    A    Yes.

01:56:34   21    Q    Immediately treat, right?

01:56:36   22    A    Yes.

01:56:36   23    Q    Okay.    And if we go to paragraph 209 of your reply

01:56:47   24   report, here you say that,

01:57:12   25                    "Statements in the label acknowledge that
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01:57:14    1         clinicians will generally recommend to their severely

01:57:18    2         hypertriglyceridemic patients that they improve their

01:57:21    3         diet or improve or begin an exercise regimen.

01:57:25    4         However, in cases where the risk of pancreatitis is

01:57:28    5         judged sufficiently immediate, pharmacotherapy will

01:57:32    6         begin immediately."

01:57:34    7                    This was in your reply report as well?

01:57:36    8    A    Yes, that's exactly the scenario I just gave you.         I said

01:57:40    9   if the triglyceride are superhigh --

01:57:42   10    Q    Sir, I -- Doctor, I just asked you whether that was in

01:57:45   11   your report.

01:57:45   12    A    Okay.    I was just trying to put it in context, but, yes.

01:57:49   13    Q    Okay.    And according to ATP III, if patients have

01:57:53   14   triglycerides above 500, they're at risk for pancreatitis,

01:57:58   15   correct?

01:57:58   16    A    Yes, they are at risk for pancreatitis.

01:58:01   17    Q    And putting aside all of your testimony with regard to

01:58:14   18   the dosage and administration section that we were talking

01:58:17   19   about, a clinician -- it would be consistent with the Vascepa

01:58:21   20   labeling, and thus defendants' labels, for a doctor to

01:58:25   21   prescribe icosapent ethyl for fewer than 12 weeks, correct?

01:58:29   22    A    Yes.

01:58:34   23                    MR. KLEIN:   Now, we were talking about the

01:58:46   24   various causes -- can you go back to the PowerPoint and

01:58:50   25   DDX 3.14.
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01:58:50    1

01:58:50    2   BY MR. KLEIN:

01:58:57    3    Q    We were talking about various causes of severe

01:58:57    4   hypertriglyceridemia, and we looked at the Vascepa.com

01:58:59    5   website.     Do you remember that?

01:59:00    6    A    Yes.

01:59:00    7    Q    Okay.    I want to now turn to the Miller article which you

01:59:05    8   talked about on direct.       Do you remember that?

01:59:07    9    A    Yes.

01:59:08   10                    MR. KLEIN:    Okay.   And for the record, I'm

01:59:11   11   referring to DX 1632, and I believe the same document PX 269

01:59:19   12   has already been admitted, but for the -- to avoid any

01:59:24   13   confusion we'll move to admit DX 1632.

01:59:28   14                    MR. M. KENNEDY:     No objection.

01:59:29   15                    THE COURT:    1632 is admitted.

01:59:29   16                           (Defendants' Exhibit 1632 received in
01:59:32                                 evidence.)
01:59:32   17   BY MR. KLEIN:

01:59:33   18    Q    And we're at 1632, page 11.      Do you remember talking

01:59:36   19   about this?

01:59:36   20    A    Yes.

01:59:37   21    Q    Okay.    And you understand -- do you understand that

01:59:41   22   Dr. Miller was actually Amarin's claim construction expert in

01:59:46   23   this case?

01:59:47   24    A    I'm not aware of that, but I'll take your word for it.

01:59:50   25    Q    Okay.    So looking at table 5, this lists causes of very
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01:59:56    1   high triglycerides that may be associated with pancreatitis,

02:00:00    2   right?

02:00:01    3    A      Yes.

02:00:02    4    Q      Okay.   And I highlighted a couple of these causes:

02:00:08    5   Pregnancy, especially in the third trimester.         Do you see

02:00:11    6   that?

02:00:11    7    A      Yes.

02:00:11    8    Q      Can we agree that pregnancy in the third trimester is not

02:00:16    9   a chronic condition?

02:00:17   10    A      That's correct.

02:00:18   11    Q      And certain drugs cause very high triglycerides, right?

02:00:21   12    A      Yes.

02:00:21   13    Q      And some of these drugs can be taken for less that 12

02:00:26   14   weeks, right?

02:00:27   15    A      Yes.

02:00:28   16    Q      For example, steroids?

02:00:30   17    A      Yes.

02:00:31   18    Q      Anything else?

02:00:31   19    A      Steroids are probably the best example on this list of a

02:00:37   20   drug that's often used for short term therapy, maybe

02:00:41   21   Interferon as well.

02:00:42   22    Q      And then diet, including alcohol, excess, we talked about

02:00:46   23   that, right?

02:00:46   24    A      Yes.

02:00:46   25    Q      And then a high saturated fat diet?
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02:00:49    1    A    Yes.

02:00:50    2    Q    And eating high saturated fat food is not a chronic

02:00:55    3   condition, right?

02:00:56    4    A    It often is in the United States, but -- yes, it's not.

02:01:01    5    Q    You would like to think that --

02:01:02    6    A    It doesn't have to be.

02:01:04    7    Q    If you tell people they'll die if they don't stop eating

02:01:08    8   MacDonald's, they'll listen to you?

02:01:10    9    A    Unfortunately not all the time, but, yes.

02:01:13   10    Q    Okay.   And diseases is up there too.      As we talked about

02:01:17   11   some diseases can cause severe hypertriglyceridemia if they're

02:01:21   12   not controlled, right?

02:01:22   13    A    That's correct.

02:01:23   14    Q    And triglycerides can fluctuate based on factors such as

02:01:28   15   diet and exercise, right?

02:01:30   16    A    Yes.

02:01:31   17    Q    And in fact a patient's triglyceride levels can vary

02:01:34   18   significantly based on lifestyle and medication changes,

02:01:38   19   right?

02:01:38   20    A    Yes.

02:01:39   21    Q    Continuing through this article, we're at DDX 3.15, and

02:01:46   22   we're on page 20 of DX 1632, this slide says a weight loss of

02:01:52   23   5 to 10 percent results in a 20 percent decrease in

02:01:56   24   triglycerides.    That's a true statement, right, sir?

02:02:00   25    A    Yes.
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02:02:01    1    Q      Okay.   Then moving to DX 1632, page 22, DDX 3.16, the

02:02:11    2   Miller reference says Mediterranean style diet versus a low

02:02:16    3   fat diet is more commonly associated with an approximately 10

02:02:21    4   to 15 percent lowering of triglycerides and a reduced

02:02:27    5   prevalence of hypertriglyceridemia, right?

02:02:29    6    A      Yes.

02:02:29    7    Q      That's true as well?

02:02:31    8    A      Yes.

02:02:31    9    Q      And if we go to DX 1632, pages 23 and 24, DDX 3.17,

02:02:42   10   Dr. Miller says,

02:02:43   11                    "Ingestion of one ounce per day would

02:02:46   12           correspond to a 5 to 10 percent higher triglyceride

02:02:51   13           concentration than found in nondrinkers."

02:02:54   14                     Is that correct?

02:02:55   15    A      That's an average, but, yes.

02:02:57   16    Q      Okay.   On page 24 of DX 1632, DDX 3.18, Dr. Miller says,

02:03:05   17                    ""Optimization of nutrition-related practices

02:03:08   18           can result in a marked triglyceride-lowering effect

02:03:11   19           that ranges between 20 and 50 percent," right?

02:03:14   20    A      Yes.

02:03:15   21    Q      And on page 27 of DX 1632, which is DDX 3.19, Dr. Miller

02:03:24   22   says,

02:03:24   23                    ""Reductions of 50 percent or more in

02:03:27   24           triglyceride levels may be attained through intensive

02:03:31   25           therapeutic lifestyle change."
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02:03:33    1                   Do you agree with that?

02:03:35    2    A    I have not seen that, but, yes, I agree.

02:03:36    3    Q    Okay.   But you understand that what Dr. Miller is saying

02:03:40    4   is, he's saying no drug therapy can get you this, right?            You

02:03:46    5   can get this result without drugs.

02:03:48    6    A    Yes.

02:03:48    7    Q    And so a patient who presents with triglyceride levels of

02:03:54    8   550, for example, could eventually reduce the triglyceride

02:03:59    9   levels down to 275, roughly, through intensive therapeutic

02:04:06   10   lifestyle changes alone.      Right?

02:04:09   11    A    If you took a terrible patient and made them a perfect

02:04:12   12   patient, yes.

02:04:13   13    Q    Okay.   But, I mean, that's going to take some time,

02:04:15   14   right?

02:04:15   15    A    But it's also not always the scenario.        In your scenario

02:04:20   16   to do all of these things, they have to be overweight,

02:04:23   17   nonexercising, drinking person who has a terrible diet to be

02:04:27   18   able to make all of those lifestyle changes, and then, in that

02:04:30   19   scenario, you go from very high to high.        But, yes, that is

02:04:34   20   possible.

02:04:35   21    Q    Okay.   And so the mere fact that a patient presents to

02:04:39   22   the doctor with triglycerides over 500 does not necessarily

02:04:43   23   mean the patient requires drug therapy, right?

02:04:47   24    A    Absolutely.

02:04:47   25    Q    Now, Doctor, half of your patients with severe
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02:05:03    1   hypertriglyceridemia have the condition due to poor lifestyle

02:05:08    2   choices, correct?

02:05:09    3    A    Let's say poor lifestyle choices contribute to the

02:05:12    4   condition.

02:05:13    5    Q    Okay.    Because -- and you say that because the patients

02:05:16    6   may be genetically predisposed to high triglycerides.

02:05:20    7    A    Yes.

02:05:20    8    Q    And, again, these lifestyle causes are not necessarily

02:05:26    9   chronic, right?

02:05:27   10    A    And I think to be accurate and consistent, I think we

02:05:30   11   said a third earlier, so I would like to stay with that number

02:05:33   12   if we could.

02:05:34   13                 So I don't want my -- my testimony to be changing

02:05:37   14   during this transcript.      We said a third of patients earlier.

02:05:41   15   I think we'll stick with that number if that's okay with you.

02:05:44   16    Q    Right.    We don't want your testimony to change.

02:05:47   17    A    Right.

02:05:47   18    Q    So you would say maybe half of your patients have poor

02:05:51   19   lifestyle that has pushed the patient's triglycerides the

02:05:54   20   wrong way, right?

02:05:55   21    A    Yeah, of the people I see, probably half of them are not

02:05:59   22   eating optimally when I see them, that's correct.

02:06:02   23    Q    And that's contributing to the very high triglyceride

02:06:06   24   level?

02:06:06   25    A    Yes.
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02:06:07    1    Q     And we talked -- you talked about binge drinking, right?

02:06:12    2    A     Yes.

02:06:14    3    Q     Binge drinking can cause spikes in some patients above

02:06:20    4   550.

02:06:20    5    A     Above 500, yes.

02:06:21    6    Q     I'm sorry, above 500.

02:06:23    7                  And to be clear, and I think you made this point,

02:06:25    8   you're not saying, and I think you used the example in the

02:06:28    9   deposition, you're not saying at Mardi Gras everyone walking

02:06:32   10   around is going to have very high triglycerides, right?

02:06:35   11    A     Very few will.

02:06:36   12    Q     Yeah, you're saying that there are patients that are

02:06:40   13   predisposed to high triglycerides, have never had very high

02:06:44   14   triglycerides, but they engage in binge drinking and their

02:06:47   15   triglycerides spike above 500, correct?

02:06:50   16    A     Yes.

02:06:51   17    Q     Okay.    And these types of patients can get their

02:06:59   18   triglyceride levels below 500 by cutting out the alcohol,

02:07:03   19   right?

02:07:03   20    A     If they're sufficiently close to 500, yes.

02:07:07   21    Q     And doctors know this, right?

02:07:10   22    A     Yes.

02:07:11   23    Q     And so a doctor -- I mean, so a patient who presents with

02:07:18   24   triglycerides let's say close to 600, and you identify at

02:07:24   25   least one contributing cause as alcohol, could potentially
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02:07:29    1   benefit from taking icosapent for a short time while the

02:07:34    2   patient goes off alcohol, and then could stop the treatment if

02:07:38    3   it turns out the patient is now below 500 after taking out the

02:07:42    4   alcohol, correct?

02:07:43    5    A    I think that's completely unknown, that hypothetical.           We

02:07:47    6   have no idea what the short term benefits of icosapent ethyl

02:07:51    7   are in terms of pancreatitis, and I think the label

02:07:55    8   specifically calls that out, that the effect on pancreatitis

02:07:59    9   is not known.

02:08:00   10    Q    Okay.    And so a doctor who sees a patient with

02:08:03   11   triglycerides above 500 due to binge drinking could tell the

02:08:07   12   patient stop drinking but also take Vascepa to help avoid

02:08:12   13   pancreatitis, right?

02:08:13   14    A    I doubt anybody would ever do that in practice, but that

02:08:17   15   is a hypothetical situation.

02:08:19   16    Q    And that hypothetical would be on-label, right?

02:08:21   17    A    No, it would be off-label because they're not engaging in

02:08:25   18   proper nutritional activity before initiating Vascepa therapy

02:08:32   19   unless you think that the words saying stop drinking means

02:08:36   20   that they stopped drinking.

02:08:37   21                 And I can tell you that the words stop smoking do

02:08:40   22   not imply that the patient has stopped smoking.         So they need

02:08:43   23   to engage, your label, engage in appropriate nutritional

02:08:48   24   activity before initiating icosapent ethyl.         I'm -- it's not

02:08:51   25   my terminology.     This is what you're putting forth.
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02:08:55    1    Q    Okay.   It would not be off-label if a patient who had

02:09:00    2   triglycerides above 500 because of binge drinking, for the

02:09:04    3   doctor to say, "Stop drinking, but also take Vascepa because

02:09:08    4   you have a risk of pancreatitis, and we want to get your

02:09:12    5   triglycerides down immediately," correct?

02:09:14    6    A    I think that's a probably a borderline off-label use, but

02:09:19    7   I would say it's appropriate to do that if their triglycerides

02:09:22    8   are very, very high and the risk of acute pancreatitis is

02:09:25    9   eminent.

02:09:26   10    Q    Doctor you were deposed in it case, right?

02:09:29   11    A    Yes.

02:09:30   12                   MR. KLEIN:    You should have a copy of your

02:09:31   13   deposition, but we'll play a video clip.        Mr. Gross, can you

02:09:35   14   play page 196, page 10 -- I'm sorry, page 196, lines 10 to 25.

02:09:43   15                           (Deposition video played.)

02:10:30   16   BY MR. KLEIN:

02:10:30   17    Q    Sir, was that your testimony?

02:10:31   18    A    Yes.

02:10:31   19    Q    Okay.   And can we agree that a patient with severe

02:10:39   20   hypertriglyceridemia does not necessarily require indefinite

02:10:43   21   drug therapy?

02:10:44   22    A    Yes.

02:10:45   23    Q    Okay.   And many patients with severe hypertriglyceridemia

02:10:49   24   don't require any drug therapy at all, right?

02:10:52   25    A    That's correct.
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02:10:53    1    Q    And that's in part because weight reduction and exercise

02:10:59    2   can reduce triglycerides in many patients, right?

02:11:03    3    A    In some patients, yes.

02:11:05    4    Q    Some patients.    Okay.

02:11:07    5                 Let's take another look at the indication.      We're on

02:11:10    6   DX 2256, and it's DDX 3.20.

02:11:15    7                 We talked about this a little bit before, but the

02:11:18    8   indication is for use as an adjunct to diet, right?

02:11:22    9    A    Yes.

02:11:23   10    Q    And adjunct in this context means in addition to diet?

02:11:27   11    A    Yes.

02:11:28   12    Q    And so it's pretty clear that FDA did not approve Vascepa

02:11:32   13   to replace diet, right?

02:11:34   14    A    Yes.

02:11:34   15    Q    And the label is telling doctors that diet is the primary

02:11:39   16   way to treat severe hypertriglyceridemia, right?

02:11:42   17    A    I think that's overstating the label.       Diet and Vascepa

02:11:46   18   reduces triglyceride levels.      I don't think it says diet alone

02:11:50   19   in the label, at least I'm not aware of diet alone being the

02:11:54   20   primary way to treat severe hypertriglyceridemia appearing

02:11:55   21   anywhere in the label.

02:11:56   22    Q    Doctor, I thought your testimony is that when a patient

02:11:59   23   presents, you're supposed to put them on a diet first.

02:12:02   24    A    Yes, but it doesn't usually work.

02:12:04   25    Q    Okay.
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02:12:05    1    A    So it's not predominant way of doing it.        It works in

02:12:10    2   20 percent of patients, and in 80 perfect of patients it

02:12:13    3   fails.   So the predominant way is to use drug therapy just to

02:12:17    4   go back to the your initial question.

02:12:19    5    Q    Right.   But if you look at the indication, the indication

02:12:22    6   is clearly telling doctors that they can use Vascepa as an

02:12:25    7   adjunct to diet according to the doctor's discretion, right?

02:12:30    8    A    Yes.

02:12:30    9    Q    And in your personal practice you have seen diet and

02:12:34   10   exercise alone without any drugs decrease triglyceride levels

02:12:38   11   by about 25 percent, right?

02:12:39   12    A    Yes.

02:12:40   13    Q    And you're familiar, you talked about the MARINE study on

02:12:45   14   direct, right?

02:12:45   15    A    Yes.

02:12:46   16    Q    Let's talk about the MARINE study, and this is DX 1694,

02:12:51   17   page 24, DDX 3.21.     This is already admitted.

02:12:56   18                In MARINE, patients were given diet and exercise for

02:13:01   19   a period of four to six weeks as a lead-in before the 12-week

02:13:07   20   study began, right?

02:13:09   21    A    Yes.

02:13:09   22    Q    And then, if we go to DDX 3.22 on the same page, there

02:13:20   23   was then a two- to three-week qualifying period, right?

02:13:23   24    A    Yes.

02:13:23   25    Q    And this was to make sure that the patients who were
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02:13:27    1   going to enter the 12-week MARINE study had severe

02:13:32    2   hypertriglyceridemia, right?

02:13:34    3    A    Yes.

02:13:34    4    Q    And had severe hypertriglyceridemia that was not

02:13:40    5   addressed by diet and exercise in the four- to six-week

02:13:40    6   lead-in, right?

02:13:40    7    A    Yes.

02:13:47    8    Q    And so in this scenario, in the MARINE study, Amarin

02:13:52    9   tried diet and exercise in a number of patients, and then a

02:13:56   10   number of those patients didn't qualify, right?

02:13:58   11    A    Right.

02:13:58   12    Q    And that's because diet and exercise worked for them,

02:14:02   13   correct?

02:14:02   14    A    Yes.    That's one reason.    There's other reasons why

02:14:05   15   people don't qualify, but, yes, that's the primary exclusion.

02:14:08   16    Q    Okay.    Fair enough.

02:14:09   17                 And then during these two to three weeks Amarin is

02:14:13   18   looking at the remaining population and saying these patients

02:14:17   19   qualify for the 12-week trial, right?

02:14:20   20    A    Yes.

02:14:20   21    Q    And then we're on DDX 3.23.      It's the same document,

02:14:30   22   page 27, I just changed the highlighting.

02:14:35   23                 Only patients with triglycerides above 500 after

02:14:38   24   this four to six-week lead-in and the two to three-week

02:14:42   25   qualifying period entered into the 12-week safety and efficacy
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02:14:46    1   MARINE trial, right?

02:14:48    2    A    Yes.

02:14:48    3    Q    And, in your view, Vascepa is indicated for those

02:14:53    4   patients who qualified for the MARINE study, right?

02:14:56    5    A    Yes.

02:14:56    6    Q    These are patients that went through some diet and

02:14:59    7   exercise and still didn't get their triglycerides below 500 in

02:15:03    8   that period of time, right?

02:15:04    9    A    Exactly.

02:15:05   10    Q    And you agree that Vascepa is indicated for those

02:15:08   11   patients who qualified for the MARINE trial, right?

02:15:11   12    A    Yes.

02:15:12   13    Q    And defendants' labels will be directed to this patient

02:15:15   14   population as well?

02:15:16   15    A    Yes.

02:15:17   16    Q    And all of the patients who qualified for the MARINE

02:15:22   17   study could benefit from icosapent treatment, right?

02:15:26   18    A    Potentially, yes.

02:15:29   19    Q    And your position is that all patients who qualified for

02:15:34   20   the 12-week MARINE study had severe hypertriglyceridemia,

02:15:38   21   right?

02:15:39   22    A    Yes, at baseline visit.

02:15:42   23    Q    Now, Doctor, some of the patients that qualified for the

02:15:46   24   MARINE study were put into a placebo group, right?

02:15:50   25    A    Yes.
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02:15:51    1    Q    Okay.    And all of the patients in the placebo group had

02:15:54    2   triglycerides above 500.

02:15:55    3    A    Yes.

02:15:56    4    Q    Okay.    And let me change documents.     This is DX 1701,

02:16:02    5   page 51.     This is from the medical review.     Do you remember

02:16:05    6   looking at that?

02:16:06    7    A    I've seen it.    I didn't review it in great detail, but,

02:16:10    8   yes, I've seen this document.

02:16:11    9    Q    You used this on your direct examination, right, the FDA

02:16:16   10   medical review?

02:16:17   11    A    I think I referenced one section of it, but, yes.

02:16:20   12    Q    Okay.    And for the record this is DDX 3.24.

02:16:24   13                 The subjects in the placebo group in MARINE were

02:16:28   14   instructed to maintain the diet and exercise regimen

02:16:31   15   throughout the entire 12-week period, right?

02:16:33   16    A    Yes.

02:16:34   17    Q    And those -- so those patients in the placebo group

02:16:39   18   didn't get any Vascepa.

02:16:41   19    A    That's correct.

02:16:42   20    Q    And after 12 weeks of continuing a diet and exercise

02:16:47   21   regimen, 21 percent of those subjects in the placebo group, 16

02:16:52   22   out of 75, were able to achieve and maintain triglyceride

02:16:56   23   levels below 500 milligrams per deciliter by the study

02:17:02   24   endpoint, correct?

02:17:03   25    A    Yes.
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02:17:03    1    Q    And that's the green bar on DDX 3.24, right?

02:17:08    2    A    Yes.

02:17:08    3    Q    And so according to MARINE, about 21 percent of patients

02:17:15    4   falling within the scope of defendants' indication can achieve

02:17:18    5   and maintain triglyceride levels below 500 with diet and

02:17:22    6   exercise alone, correct?

02:17:24    7    A    Yes.

02:17:24    8    Q    And these patients didn't need any Vascepa to get below

02:17:29    9   500, right?

02:17:30   10    A    That's correct.

02:17:31   11    Q    And these patients could benefit from a short course of

02:17:34   12   icosapent given that they qualified for the MARINE study, but

02:17:39   13   long-term they wouldn't require Vascepa to maintain levels

02:17:44   14   below 500, right?

02:17:46   15    A    How would they benefit?     I don't understand the question.

02:17:49   16    Q    Well, these are patients who, in the first four to

02:17:57   17   six weeks tried diet and exercise alone and it didn't work,

02:18:01   18   right?

02:18:01   19    A    Right.

02:18:05   20    Q    Okay.    And so if these patients in the placebo group were

02:18:09   21   given Vascepa immediately, their triglyceride levels would

02:18:14   22   drop more quickly, right?

02:18:15   23    A    Probably, yes.

02:18:17   24    Q    And by the time you get into the 12-week period, they

02:18:22   25   wouldn't even need Vascepa, according to MARINE, to maintain
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02:18:26    1   levels above 500, right?

02:18:28    2    A    You're talking about those 21 percent.

02:18:31    3    Q    Correct.

02:18:31    4    A    Yes.

02:18:32    5    Q    And consistent with MARINE, about 20 percent of your

02:18:38    6   patients with severe hypertriglyceridemia are able to reduce

02:18:42    7   their triglyceride levels below 500 with diet and exercise

02:18:47    8   alone, right?

02:18:48    9    A    Yes.

02:18:48   10    Q    And so about one-fifth or 20 percent of patients with

02:18:53   11   very high triglyceride levels don't necessarily need any drug

02:18:58   12   therapy to get their levels below 500, right?

02:19:01   13    A    That's correct.

02:19:03   14    Q    Now, even in those patients who don't necessarily need

02:19:07   15   Vascepa, you still sometimes prescribe Vascepa, right?

02:19:11   16    A    I would never prescribe a drug that I don't perceive they

02:19:15   17   need, no.

02:19:15   18    Q    Well, you -- well, let's come back to that.

02:19:26   19                Now, some of your patients who were able to reduce

02:19:39   20   triglycerides below 500 with diet and exercise alone say no

02:19:44   21   thanks when you suggest Vascepa, right?

02:19:46   22    A    Right.    They can't get it or they don't want to take it.

02:19:50   23   That's correct.

02:19:51   24    Q    And this happens with some frequency because you have a

02:19:54   25   lot of patients who don't like taking drugs unless they need
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02:19:58    1   to, right?

02:19:58    2    A    Yes.

02:19:58    3    Q    You practice in California so you may see that more often

02:20:02    4   than others.

02:20:02    5    A    Yes.

02:20:03    6    Q    Okay.    And the dosing regimen for Vascepa is four pills a

02:20:07    7   day twice a day.

02:20:08    8    A    Four pills a day total; two twice a day.

02:20:11    9    Q    That's what I meant.     I'm sorry.    Two pills in the

02:20:13   10   morning and two in the evening, right?

02:20:15   11    A    Yes.

02:20:16   12    Q    That's an inconvenient dosing regimen for many patients,

02:20:20   13   right?

02:20:21   14    A    Yes.

02:20:21   15    Q    And so you have patients who start on Vascepa therapy and

02:20:32   16   then stop.

02:20:32   17    A    Yes.

02:20:32   18    Q    About ten percent of your patients stop taking Vascepa

02:20:36   19   for various reasons, right?

02:20:38   20    A    Yes.

02:20:38   21    Q    And you agree that patients could follow the Vascepa

02:20:47   22   labeling and effectively treat patients with severe

02:20:51   23   hypertriglyceridemia for less than 12 weeks, right?

02:20:54   24    A    Can you say that again?     I'm sorry.

02:20:56   25    Q    Okay.    You agree that physicians could follow the Vascepa
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02:21:02    1   labeling and treat severely hypertriglyceridemic patients with

02:21:05    2   Vascepa 4 grams per day for fewer than 12 weeks and achieve an

02:21:10    3   effect, correct?

02:21:11    4    A    Yes.

02:21:12    5    Q    Okay.    In other words, Vascepa is suitable to reduce

02:21:15    6   triglyceride levels in patients suffering from severe

02:21:19    7   hypertriglyceridemia in less that 12 weeks, right?

02:21:22    8    A    Yes.

02:21:22    9    Q    And, in fact, some patients with severe

02:21:25   10   hypertriglyceridemia taking icosapent because they don't

02:21:28   11   need to -- let me stop and rephrase.

02:21:30   12                 Some patients with severe hypertriglyceridemia

02:21:34   13   stopped taking icosapent because they don't need to take the

02:21:38   14   drug long-term to keep triglycerides below 500, correct?

02:21:41   15    A    I think that's a minority, but, yes.

02:21:44   16    Q    Okay.    And after all, icosapent can significantly reduce

02:21:50   17   triglycerides in as few as four weeks, maybe even sooner,

02:21:55   18   right?

02:21:55   19    A    Yeah, I don't think anybody knows sooner, but we have

02:21:58   20   data at four weeks.

02:21:59   21    Q    Right.    The first data point was four weeks, it could be

02:22:03   22   sooner, we don't know, right?

02:22:04   23    A    Yeah, I don't think anybody knows that.

02:22:07   24    Q    And let's go to DX 3.26 which is DX 1694, page 214.           You

02:22:23   25   recognize this as the MARINE study?
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02:22:26    1    A    Yes.

02:22:26    2    Q    And MARINE reported the most significant reduction in

02:22:30    3   triglyceride levels at just four weeks, right?

02:22:33    4    A    Yes.

02:22:33    5    Q    And on the screen, just so, you know, everyone is

02:22:36    6   oriented, the baseline median triglyceride was about 680,

02:22:41    7   right?

02:22:41    8    A    Yes.

02:22:41    9    Q    And then by week four, the median triglyceride dropped to

02:22:47   10   471, right?

02:22:48   11    A    Yes.

02:22:48   12    Q    And so by week four, the median patient had a

02:22:52   13   triglyceride level below 500, right?

02:22:54   14    A    Yes.

02:22:58   15    Q    Let's go to the next document which is DX 1816, page 70,

02:23:02   16   and it's DDX 3.27.     I will represent to you that this is a

02:23:10   17   document that's already been admitted from Amarin to the FDA.

02:23:17   18                 And it says -- this portion of the document says,

02:23:20   19                    "Time course of effects:    In studies in which

02:23:23   20         serial measurements were performed and/or reported,

02:23:27   21         the maximum effect was seen at four to w 8 weeks,

02:23:31   22         after which time the reduction was maintained."

02:23:34   23                     Are you familiar with that?

02:23:36   24    A    Yes.

02:23:36   25    Q    Okay.    And that's an accurate statement, right?
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02:23:38    1    A    Yes.

02:23:39    2    Q    And so icosapent works well if a doctor wants a drug to

02:23:46    3   get triglyceride levels below 500 quickly to eliminate the

02:23:51    4   risk of pancreatitis, right?

02:23:54    5    A    To reduce the risk of pancreatitis, yes.

02:23:57    6    Q    Fair.    Fair point.

02:23:58    7                 Okay.   So if you assume a patient who has just

02:24:05    8   barely above 500, let's say 510, and the patient can reduce

02:24:10    9   their triglyceride level by 25 percent with diet and exercise

02:24:15   10   eventually, like the -- like the placebo patients in MARINE, a

02:24:20   11   doctor reasonably could prescribe icosapent for short-term use

02:24:24   12   to reduce the pancreatitis risk as soon as possible, right?

02:24:28   13    A    So -- yes, they could do that.

02:24:31   14    Q    And some of your patients start Vascepa after testing

02:24:36   15   above 500, and then think they don't need the drug anymore

02:24:40   16   once their levels drop below 500, right?

02:24:43   17    A    There are some patients who do that, yes.

02:24:46   18    Q    In fact, about 5 percent of your patients stopped taking

02:24:51   19   Vascepa after they see their triglycerides drop below 500,

02:24:57   20   right?

02:24:57   21    A    Yes.

02:24:58   22    Q    And this drop below 500 can happen in less than 12 weeks

02:25:03   23   on icosapent, right?

02:25:05   24    A    Theoretically, yes.     I don't measure it at less than

02:25:10   25   12 weeks, but, yes.
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02:25:11    1    Q    Okay.    And in your personal practice, some of your

02:25:19    2   patients do take -- strike that.

02:25:23    3                 In your -- in your practice, some of your patients

02:25:26    4   with very high triglycerides take Vascepa for less than

02:25:30    5   12 weeks, right?

02:25:31    6    A    Yes.

02:25:31    7    Q    And when they stop Vascepa, you don't feel that their

02:25:36    8   lives are being put at risk given the pancreatitis risk,

02:25:41    9   right?

02:25:41   10    A    The moment they stop?     No.

02:25:43   11    Q    Okay.    And about 5 percent of your patients with severe

02:25:48   12   hypertriglyceridemia take Vascepa for less than 12 weeks,

02:25:51   13   correct?

02:25:51   14    A    Yes, for various reasons.

02:25:54   15    Q    Now, we've touched on this earlier, but certain drugs can

02:26:02   16   cause triglyceride levels to spike, right?

02:26:05   17    A    Yes.

02:26:06   18    Q    And we talk about -- we talked about steroids or

02:26:11   19   corticosteroids as an example, right?

02:26:15   20    A    Yes.

02:26:15   21    Q    And I believe you said corticosteroids can be used short

02:26:19   22   term, right?

02:26:20   23    A    They most often are.

02:26:22   24    Q    Yeah, less than 12 weeks?

02:26:23   25    A    Yes.
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02:26:23    1    Q    Okay.   And a patient who needs a short-term

02:26:26    2   corticosteroid treatment could take Vascepa to counteract the

02:26:30    3   side effect of the triglyceride level spike if necessary to

02:26:33    4   address, right?

02:26:34    5    A    Again, a very unusual hypothetical, but I guess that's

02:26:41    6   theoretically possible.

02:26:43    7    Q    Now, let's go to DX 2256, page 7, which is DDX 3.28 and

02:26:54    8   you recognize this as the clinical study section of -- this is

02:26:59    9   Hikma's label, but the identical language is in DRL's label,

02:27:05   10   right?

02:27:05   11    A    Yes.

02:27:06   12    Q    And the clinical study section summarizes the study that

02:27:10   13   justified the FDA approved indication, right?

02:27:14   14    A    Yes.

02:27:14   15    Q    We know that it's a MARINE study, but the label doesn't

02:27:18   16   actually identify the study name, right?

02:27:20   17    A    Correct.

02:27:21   18    Q    And the clinical study section provides data beyond the

02:27:27   19   scope of the indication, right?

02:27:27   20    A    Yes.

02:27:27   21    Q    And some of the data may be relevant to a prescribing

02:27:31   22   physician, right?

02:27:32   23    A    Yes.

02:27:32   24    Q    But some of the data may be completely irrelevant to a

02:27:36   25   prescribing physician, right?
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02:27:38    1    A    Yes.

02:27:38    2    Q    In other words, some physicians will find some of the

02:27:41    3   clinical study information helpful, but others will find it

02:27:45    4   irrelevant to their practices, right?

02:27:47    5    A    Yes.

02:27:47    6    Q    And the clinical study section says the study supporting

02:27:53    7   the indication lasted 12 weeks.       We talked about earlier,

02:27:56    8   right?

02:27:56    9    A    Yes.

02:27:57   10    Q    The study certainly didn't last more than a year, right?

02:28:02   11    A    That's correct.

02:28:03   12    Q    The study ended at 12 weeks, right?

02:28:06   13    A    There was the -- the carry-on up to a year.

02:28:10   14    Q    For -- right, for some patients.

02:28:12   15    A    Yes.

02:28:12   16    Q    Okay.    And this section -- and we talked about this

02:28:16   17   earlier.     This section, the clinical study section, does not

02:28:20   18   specifically instruct doctors that in view of the 12-week

02:28:24   19   clinical study, doctors should go ahead and make sure they

02:28:28   20   give icosapent for at least 12 weeks, right?

02:28:33   21    A    Encourages them to use it for at least 12 weeks to see

02:28:37   22   what the effects will be, to see if they achieve the effects

02:28:41   23   in table 2.

02:28:41   24    Q    Okay.    You're talking about some kind of implied

02:28:44   25   encouragement, right?
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02:28:45    1    A    I don't want to get into legal terms.       I think it

02:28:49    2   encourages physicians to try to follow the clinical study to

02:28:53    3   see if it happens in their patients.

02:28:53    4    Q    And just to be clear, I wasn't asking you a legal

02:28:55    5   question.     The only time the term 12 weeks is used in

02:28:59    6   defendants' label is to describe the underlying clinical

02:29:02    7   trial, right?

02:29:03    8    A    Yes.

02:29:03    9    Q    In other words, defendants' labels don't otherwise

02:29:07   10   comment on the 12-week duration such as saying because these

02:29:12   11   effects were achieved in 12 weeks, make sure you give the drug

02:29:17   12   for at least 12 weeks.      There's nothing like that, right?

02:29:21   13    A    It doesn't say that explicitly, that's correct.

02:29:26   14    Q    Let's take a look at the patient information, DX 2256,

02:29:36   15   page 9, which is DDX 3.29.      You talked about this on direct,

02:29:41   16   right?

02:29:42   17    A    Yes.

02:29:42   18    Q    Okay.    And the second bullet says,

02:29:45   19                    "Do not change your dose or stop taking

02:29:50   20         icosapent ethyl without talking to your doctor,"

02:29:52   21         right?

02:29:52   22    A    Yep.

02:29:53   23    Q    This statement is it not instructing doctors and patients

02:29:57   24   so use icosapent for at least 12 weeks, right?

02:30:00   25    A    Correct.
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02:30:01    1    Q    In fact, this statement doesn't speak to whether the

02:30:04    2   label is encouraging any particular duration, right?

02:30:07    3    A    Right.   The statement just warns them if you're going to

02:30:11    4   stop it, talk to your doctor.

02:30:13    5    Q    Now, even if one of your patients does not necessarily

02:30:20    6   need icosapent long-term, you still often prescribe it

02:30:25    7   long-term, right?

02:30:26    8               Let me rephrase the question because now there are

02:30:29    9   two indications.

02:30:30   10               Even if your patient with severe

02:30:34   11   hypertriglyceridemia does not necessarily need icosapent long

02:30:39   12   term to address the severe hypertriglyceridemia, you still

02:30:42   13   prescribe the drug long-term, right?

02:30:44   14    A    My intent is, when I'm treating people with Vascepa for

02:30:48   15   severe hypertriglyceridemia, that they're going to need the

02:30:50   16   drug long-term, and my intent is to give it to them long-term.

02:30:54   17    Q    But you also give your patients Vascepa long-term for

02:30:58   18   reasons unrelated to severe hypertriglyceridemia, right?

02:31:03   19    A    Can you say that again?     I'm sorry.

02:31:06   20    Q    You prescribe Vascepa to your patients for reasons

02:31:10   21   unrelated to controlling severe hypertriglyceridemia.

02:31:13   22    A    You're talking about the other indication.

02:31:15   23    Q    Right.

02:31:16   24    A    I thought we weren't going it talk about the REDUCE-IT

02:31:19   25   indication.
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02:31:20    1    Q    Well, I'm not going it talk about the specific

02:31:23    2   indication, I'm talking about your practice.

02:31:24    3    A    Which addresses the second indication, yes.        I use it for

02:31:28    4   the REDUCE-IT indication.

02:31:29    5    Q    Okay.    And before the new indication was approved, you

02:31:32    6   often prescribed Vascepa for reasons unrelated to controlling

02:31:37    7   severe hypertriglyceridemia, right?

02:31:40    8    A    I used it for that same purpose, for the REDUCE-IT type

02:31:43    9   indication, for the REDUCE-IT study results, to try to emulate

02:31:47   10   that in my practice, yes.

02:31:49   11    Q    And you also used it because you're not satisfied when

02:31:52   12   your patients have high triglyceride levels.         You want it

02:31:56   13   lower, right?

02:31:56   14    A    So I would sometimes use it when they were close to 500

02:32:01   15   and not exactly 500, but that would probably be considered an

02:32:05   16   off-label use.

02:32:06   17    Q    Right.    And before the new indication was approved, you

02:32:09   18   often prescribed Vascepa for off-label uses, right?

02:32:13   19    A    Yes.

02:32:14   20    Q    And did you that because you thought that could help

02:32:17   21   address cardiovascular issues, right?

02:32:19   22    A    Because I knew the results of REDUCE-IT, the study, I was

02:32:24   23   an investigator, and I wanted to emulate that in my patients.

02:32:27   24                 So, yes, there was a window where before REDUCE-IT

02:32:30   25   indication came out, but after the REDUCE-IT trial came out,
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02:32:34    1   that I was informed that that's a really good idea to treat

02:32:37    2   those patients to reduce their cardiovascular risk, and I

02:32:41    3   started doing that, and the guidelines encouraged me, but the

02:32:45    4   FDA did not opine on that until December 2019.

02:32:48    5                 So there was a window where I was using it for

02:32:51    6   REDUCE-IT, but the indication was not yet in the label.

02:32:54    7    Q    Right.    And just to be clear, doctors are allowed to

02:32:58    8   prescribe drugs off-label, correct?

02:33:00    9    A    Yes.

02:33:00   10    Q    So I'm certainly not suggesting you're doing anything

02:33:04   11   wrong.   You understand that.

02:33:05   12    A    No, I just want to explain why my off-label use.

02:33:09   13    Q    Yeah.    And so you had patients who had -- who may have

02:33:12   14   presented with triglycerides at, say, 550, who you thought

02:33:18   15   maybe were overweight and weren't in shape and could probably

02:33:21   16   maintain levels below 500 without Vascepa, you told them

02:33:27   17   continue taking the drug because it might have additional

02:33:30   18   benefits, right?

02:33:31   19    A    Yeah.    Especially after the REDUCE-IT trial, yes.

02:33:34   20    Q    Okay.    And icosapent is fairly well tolerated, right?

02:33:38   21    A    Yes.

02:33:39   22    Q    So there's not too much of a downside if your patient is

02:33:44   23   tolerating the medication, and they don't necessarily need it

02:33:46   24   for severe hypertriglyceridemia, to tell them to continue the

02:33:50   25   medication because there may be cardiovascular benefits,
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02:33:54    1   right?

02:33:54    2    A    That's a given indication now as well, yes.

02:33:57    3    Q    Right.   And even -- you have -- even before the new

02:34:04    4   indication, you used Vascepa to treat triglyceride levels to

02:34:08    5   get them down as low as 135, right?

02:34:11    6    A    I never targeted 135, but some patients might have gotten

02:34:16    7   to 135.

02:34:17    8                135 is the entry criteria for the REDUCE-IT trial.

02:34:22    9   That's not a goal or target.      That was -- that just happened

02:34:25   10   to be a random number that was -- that was started at with the

02:34:28   11   study, but the targets are less than 150, not 135.

02:34:33   12    Q    I see.   But you routinely, before and now after the new

02:34:37   13   indication, have been prescribing Vascepa often to address

02:34:41   14   triglyceride levels that are not above 500 but are still too

02:34:45   15   high, fair?

02:34:46   16    A    Yes, the REDUCE-IT indication.

02:34:47   17    Q    And you understand that defendants' products will not be

02:34:50   18   indicated for cardiovascular effects, right?

02:34:53   19    A    Yes.

02:34:53   20    Q    And so even before the new Vascepa indication, about

02:34:57   21   85 percent of your prescriptions were off-label, right?

02:35:01   22    A    Again, I just explained why.      But, yes, that was the

02:35:04   23   window between the REDUCE-IT results being published and the

02:35:07   24   REDUCE-IT indication being changed by the FDA.         At that point

02:35:11   25   I was using it for the REDUCE-IT indication that was not yet
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02:35:15    1   part of the label.

02:35:16    2    Q    Okay.    And just to be more clear, that 85 percent of your

02:35:20    3   patients did not ever have triglycerides above 500, correct?

02:35:24    4    A    That -- right, correct.

02:35:26    5    Q    Okay.    And now that there's a new indication, do you

02:35:29    6   expect the percentage of prescriptions that would be off-label

02:35:36    7   to defendants' labels to be higher than 85 percent?

02:35:41    8    A    I think it would be very high.      I don't know if it will

02:35:44    9   be higher or lower than 85 percent.

02:35:51   10                     MR. KLEIN:   Mr. Gross, can you turn to PX 277.

02:35:51   11   BY MR. KLEIN:

02:36:04   12    Q    Let's start with the first page.       Do you remember this

02:36:06   13   exhibit from the Jacobson reference that you discussed on

02:36:09   14   direct examination?

02:36:10   15    A    Yes.

02:36:11   16    Q    Okay.    I just a couple questions about this.

02:36:14   17                 Let's go to page 26, and do you remember discussing

02:36:21   18   this section of the article on follow-up visits?

02:36:26   19    A    Yes.

02:36:26   20    Q    Okay.    And just to be clear, this article in the

02:36:30   21   discussion you were focusing on was talking about statins,

02:36:33   22   right?

02:36:34   23    A    This paragraph was talking about statins, yes.

02:36:36   24    Q    Right.    And if we back out of this and go the page

02:36:40   25   before, which is PX 277, page 25, that section that you were
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02:36:49    1   discussing is under a larger header -- heading called

02:36:53    2   Cholesterol Lowering Drug Therapies, right?

02:36:56    3    A    Yes.

02:36:57    4    Q    Not very high triglycerides, right?

02:37:00    5    A    Yes.

02:37:03    6                    MR. KLEIN:   All right.    Let's go back -- can you

02:37:06    7   go back to the PowerPoint.

02:37:06    8   BY MR. KLEIN:

02:37:11    9    Q    Let's go back to DDX 3.30.      This is again back to the

02:37:16   10   indication.    And now you're aware of certain asserted patent

02:37:22   11   claims, and you just discussed them on direct, that focused on

02:37:26   12   lipids other than triglycerides, right?

02:37:28   13    A    Yes.

02:37:29   14    Q    Now, defendants' labels will be indicated solely to

02:37:31   15   reduce triglycerides in the specific population, right?

02:37:36   16    A    Yes.

02:37:36   17    Q    And you understand that defendants' labels will not be

02:37:39   18   indicated to reduce any lipid parameter other than

02:37:43   19   triglycerides, right?

02:37:44   20    A    Correct.

02:37:45   21    Q    And so a doctor could follow the indication in

02:37:47   22   defendants' labels and prescribe their products, once they're

02:37:51   23   introduced, to reduce triglycerides and not focus on any other

02:37:56   24   lipid parameters, right?

02:37:57   25    A    They don't have to focus on other parameters, that's
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02:38:01    1   correct.

02:38:01    2    Q      Let's go to DDX 3.31, we're in DX 2256, pages seven to

02:38:13    3   eight.    This is table 2 of defendants' label.

02:38:16    4                   I assume this is familiar, right?

02:38:18    5    A      Yes.

02:38:19    6    Q      And there's a statement underneath the table that you

02:38:23    7   talked about on direct, right?

02:38:24    8    A      Yep.

02:38:24    9    Q      And that statement is reporting on observations

02:38:30   10   concerning the clinical trial that's being reported in table

02:38:34   11   2, right?

02:38:34   12    A      Yes.

02:38:35   13    Q      And these are not instructions on how to use icosapent,

02:38:40   14   right?

02:38:40   15    A      Correct.

02:38:41   16    Q      They're mere descriptions of the clinical study results.

02:38:46   17    A      No, they're to show you what to expect if you use the

02:38:49   18   drug.

02:38:49   19    Q      Okay.    And they're describing the clinical study results,

02:38:53   20   right?

02:38:53   21    A      Yes.

02:38:54   22    Q      Okay.    And, in your opinion, doctors will see the phrase

02:38:59   23   icosapent 4 grams per day, reduce median triglyceride, VLDL-C

02:39:06   24   and apo B levels from baseline relative to placebo and infer

02:39:13   25   an instruction that doctors can expect similar results in a
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02:39:16    1   majority of individual patients, right?

02:39:18    2    A    Yes.

02:39:18    3    Q    And that inference goes beyond the scope of the

02:39:23    4   indication, right?

02:39:24    5    A    Of the specific indication?      Yes.

02:39:30    6    Q    Yes.    And median data from a clinical trial may or may

02:39:34    7   not relate to an individual patient depending on, for example,

02:39:37    8   the specific patient population that was being tested, right?

02:39:41    9    A    Yes.

02:39:41   10    Q    And, for example, the information in the clinical study

02:39:48   11   section says that the median triglyceride level was 684,

02:39:52   12   right?

02:39:53   13    A    Yes.

02:39:54   14    Q    Okay.   And a doctor would understand that the effects

02:39:58   15   listed in table 2 may not be the same if the patient's

02:40:02   16   triglyceride levels were, for example, only 500, right?

02:40:05   17    A    As long as they're above 500, they should have these

02:40:09   18   general results.

02:40:10   19    Q    Okay.   Or a patient with 2,000, with triglycerides of

02:40:13   20   2,000, may or may not receive these -- obtaining those same

02:40:18   21   results, right?

02:40:18   22    A    I think patients in this trial with triglycerides above

02:40:21   23   750 did a little better.

02:40:28   24    Q    Now, the label, defendants' labels are not encouraging

02:40:32   25   doctors to use Vascepa to obtain effects unrelated to
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02:40:37    1   triglycerides, right?

02:40:38    2    A    I'm sorry, could you say that again?

02:40:41    3    Q    Let me rephrase.    Defendants' products are not indicated

02:40:44    4   to control LDL-C, right?

02:40:47    5    A    That's correct.

02:40:47    6    Q    Okay.   And you don't prescribe Vascepa to avoid raising

02:40:51    7   LDL-C, right?

02:40:52    8    A    No, that is one of the considerations of why I choose

02:40:55    9   Vascepa over other generics.

02:40:56   10    Q    Fair enough.    But your intent in prescribing icosapent is

02:41:00   11   to lower triglyceride levels, not to effect LDL-C levels,

02:41:05   12   right?

02:41:05   13    A    It's to lower triglyceride levels without raising LDL-C.

02:41:10   14    Q    Well, defendants' labels are not encouraging doctors to

02:41:15   15   use the drug because it controls LDL-C, right?

02:41:19   16    A    That's correct.

02:41:20   17    Q    Let's take another look at table 2 again, it's DX 2256,

02:41:26   18   pages 7 to 8, DDX 3.32, and I want to focus now on the LDL-C

02:41:35   19   results, do you see that?

02:41:36   20    A    Yes.

02:41:36   21    Q    Now, the doctor would understand from table 2 and the

02:41:40   22   statement below it that we looked at, that there was no LDL-C

02:41:44   23   increase for an average patient, right?

02:41:46   24    A    That's true.

02:41:47   25    Q    Okay.   And there are footnotes that denote the
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02:41:50    1   statistical significance, you talked about that, right?

02:41:53    2    A    Yes.

02:41:53    3    Q    And the LDL-C data does not reference either of the two

02:41:57    4   footnotes, right?

02:41:58    5    A    Correct.

02:41:58    6    Q    And so a doctor reading defendants' label would

02:42:02    7   understand that the LDL-C data in table 2 is not statistically

02:42:08    8   significant, right?

02:42:09    9    A    Correct.

02:42:10   10    Q    And there's a column marked Difference (95 Percent

02:42:14   11   Confidence Level), do you see that?

02:42:15   12    A    Yes.

02:42:16   13    Q    There are two numbers in the parenthesis for the LDL-C,

02:42:21   14   minus 13 and plus eight, right?

02:42:22   15    A    Yes.

02:42:23   16    Q    And the plus eight means that within the group

02:42:25   17   representing 95 percent of the patients in the study, LDL-C

02:42:30   18   increased as high as eight percent, right?

02:42:32   19    A    Yes.

02:42:32   20    Q    And that would be a clinically meaningful increase,

02:42:36   21   right?

02:42:36   22    A    Yes.

02:42:36   23    Q    And the doctor -- so the doctor reading defendants' label

02:42:39   24   would understand that some percentage of patients in this

02:42:43   25   study actually had an LDL-C increase, right?
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02:42:46    1    A    There will be some, yes.      There are outliers to any

02:42:50    2   effect.

02:42:50    3    Q    And based on this information in defendants' labels, a

02:42:55    4   doctor would understand that some patients taking icosapent

02:42:59    5   will actually experience a clinically significant LDL-C

02:43:03    6   increase, right?

02:43:04    7    A    That is possible, and that's why we repeat the lab values

02:43:08    8   at 12 weeks to see if anything has happened.

02:43:10    9    Q    Okay.    Let's go to the next slide which is DDX 3.33.

02:43:17   10   We're looking at DX 2256, page 8, which is Hikma's proposed

02:43:23   11   label, and DX 1578 which is the Lovaza label.         Both documents

02:43:28   12   are in evidence.

02:43:30   13                 You recognize these two documents, right?

02:43:31   14    A    Yes.

02:43:32   15    Q    And you talked about the Lovaza warning, right?

02:43:36   16    A    Yes.

02:43:37   17    Q    Okay.    And your opinion is that doctors will compare the

02:43:41   18   top snapshot from defendants' labels to the Lovaza warning

02:43:45   19   about LDL-C, right?

02:43:47   20    A    Yes.

02:43:49   21                     MR. KLEIN:   Okay.   Actually, it's the Lovaza

02:43:52   22   warning -- that's in evidence, right?

02:43:55   23                     Let me move just in case, the Lovaza label may

02:44:00   24   be a PX so let me move to admit DX 1578 just in case it's not

02:44:06   25   in evidence.
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02:44:07    1                    MR. M. KENNEDY:    No objection, Your Honor.

02:44:10    2                    THE COURT:   It hasn't been admitted.      DX 1578 is

02:44:14    3   admitted.

02:44:14    4                           (Defendants' Exhibit 1578 received in
02:44:15                                 evidence.)
02:44:15    5   BY MR. KLEIN:

02:44:16    6    Q    And so your opinion with regard to the LDL-C limitation

02:44:22    7   assumes that the doctor reading defendants' label would be

02:44:25    8   aware of this warning in the Lovaza label, right?

02:44:29    9    A    Yes.

02:44:30   10    Q    And it's your opinion that -- and your opinion assumes

02:44:34   11   that the doctor would compare the adverse reactions from the

02:44:38   12   Lovaza study to the -- Hikma's proposed label and the study in

02:44:46   13   Hikma's label, right?

02:44:48   14    A    Yes.

02:44:48   15    Q    Okay.   And this LDL-C statement in Hikma's label would

02:44:54   16   carry significance to a doctor only because and if the doctor

02:45:00   17   understood that Lovaza had this side effect, right?

02:45:03   18    A    Yes.

02:45:04   19    Q    Otherwise, it wouldn't mean much to the doctor to say

02:45:08   20   there was no LDL-C increase, right?

02:45:11   21    A    Correct.

02:45:13   22    Q    Defendants' labels never tell doctors to compare the

02:45:20   23   icosapent clinical trial to the Lovaza clinical trial, right?

02:45:24   24    A    Correct.

02:45:25   25    Q    And, in fact, defendants' labels don't refer to the
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02:45:28    1   Lovaza label at all, right?

02:45:30    2    A    Correct.

02:45:31    3    Q    Let's go to DDX 3.34 which is DX 2256, page 3.         This is

02:45:40    4   section 6.1 of Hikma's propose label.        You've seen this,

02:45:44    5   right?

02:45:44    6    A    Yes.

02:45:44    7    Q    And this section is called Clinical Trials Experience,

02:45:49    8   and it says,

02:45:49    9                    "Because clinical trials are conducted under

02:45:52   10         widely varying conditions, adverse reaction rates

02:45:57   11         observed in the clinical trials of a drug cannot be

02:46:01   12         directly compared to rates in the clinical trials of

02:46:05   13         another drug and may not reflect the rates observed

02:46:08   14         in practice," right?

02:46:10   15    A    Yes.

02:46:10   16    Q    In other words, defendants' labels is telling doctors and

02:46:15   17   warning them against comparing adverse reactions from two

02:46:19   18   clinical trials involving 2 different drugs, right?

02:46:23   19    A    Yes.

02:46:29   20    Q    So this warning section, 6.1 in defendants' labels, would

02:46:34   21   cover comparing the Vascepa LDL-C adverse reaction rates with

02:46:39   22   the Lovaza LDL-C adverse reaction rates which was obviously a

02:46:45   23   separate trial, right?

02:46:46   24    A    Well, the LDL rates are part of the primary study.

02:46:50   25   Adverse reactions are usually side effects like bleeding or
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02:46:54    1   joint pain or back pain or rash.       So these are a little bit

02:46:59    2   different.

02:46:59    3    Q    But a doctor would understand reading -- a doctor reading

02:47:03    4   defendants' labels would understand that two clinical trials

02:47:06    5   involving two different drugs are conducted under different

02:47:10    6   situations, and they may or may not be comparable, right?

02:47:15    7    A    Yes.

02:47:16    8    Q    And a doctor reading defendants' labels as a whole would

02:47:21    9   obviously see section 6.1, right?

02:47:23   10    A    Yes.

02:47:29   11    Q    Now, you -- on direct you talked about how some asserted

02:47:35   12   claims require reductions in apo B.       Do you remember that?

02:47:39   13    A    Yes.

02:47:39   14    Q    Let's take another look at Hikma's label DX 2256, page 8,

02:47:48   15   DDX 3.35.    And this -- you talked about this statement on

02:47:53   16   direct, "icosapent ethyl 4 grams per day reduced," and I'm

02:47:57   17   just going to focus on "apo B levels from baseline relative to

02:48:03   18   placebo."    Do you remember that?

02:48:04   19    A    Yes.

02:48:05   20    Q    Now, this statement would not necessarily affect

02:48:08   21   prescription decisions, right?

02:48:10   22    A    It could because apo B going down would lower

02:48:15   23   cardiovascular risk, and, again, that's an indication for

02:48:17   24   Vascepa.

02:48:17   25                I realize it's not in your label, but we already
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02:48:18    1   talked about people potentially using your product off-label

02:48:22    2   to get that benefit.     So I think is this the benefit

02:48:25    3   REDUCE-IT, is that Vascepa or icosapent ethyl lowers apo B,

02:48:29    4   therefore lowers cardiovascular risk.

02:48:32    5                 So I think this is a very important point that

02:48:34    6   doctors would use the drug for to achieve cardiovascular

02:48:38    7   benefit.

02:48:39    8    Q    Okay.    And those cardiovascular benefits would be beyond

02:48:43    9   the scope of defendants' labels, right?

02:48:45   10    A    Yes.

02:48:46   11    Q    Now, on direct you told the Court that you prescribed

02:48:51   12   Vascepa with the intent to reduce apo B; is that right?

02:48:56   13    A    Yes.

02:48:56   14    Q    But you don't focus on apo B in your practice, right?

02:49:03   15    A    I don't often measure it, no.

02:49:06   16    Q    You often don't even look at apo B, right?

02:49:11   17    A    If it's available, I look at it, but I don't send

02:49:15   18   patients to the lab for apo B measurements routinely.

02:49:15   19    Q    And so when you prescribed Vascepa, reducing apo B is not

02:49:21   20   an intended result with regard to treating severe

02:49:25   21   hypertriglyceridemia, right?

02:49:26   22    A    No, it's more for cardiovascular risk as I stated.

02:49:32   23    Q    And defendants' products are not indicated specifically

02:49:46   24   to reduce triglycerides by any particular amount, right?

02:49:49   25    A    That's correct.
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02:49:49    1    Q    And it would be consistent with the Vascepa labeling to

02:49:53    2   prescribe the drug to patients with severe

02:49:57    3   hypertriglyceridemia even if you only wanted to have a 5

02:50:02    4   percent reduction, right?

02:50:02    5    A    I don't think that would be the intent of the physician,

02:50:05    6   but if that occurred, that would still be an on-label use.

02:50:14    7    Q    Now, let's take a look at DDX 3.36, and this is DX 2256,

02:50:22    8   page 21.     Do you recognize this as claim 1 of the '728 Patent?

02:50:26    9    A    Yes.

02:50:27   10    Q    And I highlighted the limitation "who does not receive

02:50:31   11   concurrent lipid-altering therapy."       Do you see that?

02:50:34   12    A    Yes.

02:50:34   13    Q    And on direct you testified that a statin is an example

02:50:39   14   of a lipid-altering therapy, right?

02:50:42   15    A    Yes.

02:50:42   16    Q    Probably the most common example, right?

02:50:44   17    A    Yes.

02:50:45   18    Q    But there are other lipid-altering therapies, right?

02:50:49   19    A    Yes.

02:50:49   20    Q    For example, fibrates, niacin, right?

02:50:53   21    A    Yes.

02:50:53   22    Q    And also Zetia; is that right?

02:50:57   23    A    Yes.

02:50:58   24    Q    And the chemical name is Ezetimibe?

02:51:03   25    A    Yes.
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02:51:03    1    Q    And in your practice, your patients very commonly take

02:51:08    2   Vascepa with a statin, right?

02:51:10    3    A    Yes.

02:51:11    4    Q    And you don't read the Vascepa labeling as requiring

02:51:17    5   doctors and yourself to give the drug without a statin, right?

02:51:22    6    A    It's -- right.    You have the option as a physician to use

02:51:25    7   it with or without a statin.

02:51:28    8    Q    For example, you don't -- in your practice, you wouldn't

02:51:31    9   start Vascepa with no statin, wait for the triglycerides to

02:51:38   10   decline below 500, and then add a statin later, right?

02:51:42   11    A    I may.   I gave an example of that during my direct.

02:51:45   12    Q    Okay.    But that's not the common way you would use

02:51:48   13   Vascepa, right?

02:51:49   14    A    It's more commonly patients are already on a statin and

02:51:53   15   their triglycerides are above 500, so I might implement

02:51:57   16   Vascepa.

02:51:57   17    Q    And maintain the statin therapy, right?

02:52:01   18    A    Yes.

02:52:01   19    Q    And if we go to DDX 3.37, this is DX 2256, page 7, this

02:52:09   20   is the portion of defendants' label that says 25 percent of

02:52:14   21   patients were on concomitant statin therapy, right?

02:52:19   22    A    Yes.

02:52:19   23    Q    And this is just letting doctors know that 25 percent of

02:52:23   24   patients in the clinical study discussed in the labeling were

02:52:28   25   taking a statin, right?
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02:52:29    1    A    Yes.

02:52:29    2    Q    In other words, this sentence is just -- or this phrase

02:52:34    3   is just discussing the study protocol, right?

02:52:37    4    A    Yes.

02:52:38    5    Q    This sentence is not an instruction to doctors to make

02:52:42    6   sure they use a statin, right?

02:52:44    7    A    It's not a mandate to use a statin in this indication.

02:52:48    8    Q    And it's not mandating not to use a statin either.

02:52:51    9    A    Right.

02:52:51   10    Q    Okay.    And this statement doesn't say anything about

02:52:56   11   other lipid-altering therapies, right?

02:52:59   12    A    Correct.

02:52:59   13    Q    And so the statement is not requiring doctors and

02:53:10   14   patients to take icosapent without any concurrent

02:53:14   15   lipid-altering therapy, right?

02:53:16   16    A    It's not forcing them, right.      They can use it as

02:53:20   17   monotherapy, it's indicated as monotherapy, but it's not

02:53:24   18   mandated as monotherapy.

02:53:26   19    Q    And when you read this phrase, you inferred that

02:53:28   20   75 percent were not on a statin, right?

02:53:31   21    A    Yes.

02:53:32   22    Q    Okay.    But the labeling doesn't say anything about

02:53:35   23   whether this 75 percent of patients were taking a different

02:53:40   24   lipid-altering therapy, right?

02:53:42   25    A    Right.   We know most of them were not.
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02:53:46    1    Q    But you know from the MARINE study.

02:53:48    2    A    Well, that's what this is referring to, yes.

02:53:50    3    Q    No, but if a doctor were just reading the label, the

02:53:54    4   doctor couldn't tell whether those 75 percent of patients were

02:53:57    5   on a different lipid-altering therapy correct?

02:54:01    6    A    Right.

02:54:05    7    Q    And even if we just focus on statins, there's nothing in

02:54:09    8   the clinical trial section or the label as a whole suggesting

02:54:13    9   any preference for using icosapent with or without a statin,

02:54:17   10   right?

02:54:18   11    A    I think it encourages the option of either, but it

02:54:22   12   doesn't say you have to use it one way or the other for that

02:54:26   13   indication.

02:54:27   14    Q    And, in fact, a doctor would not even be able to infer a

02:54:32   15   preference with or without a statin from what's in the label,

02:54:36   16   right?

02:54:36   17    A    Well, I think, again, it's up to the clinical judgment of

02:54:39   18   the physician and the clinical scenario of patient, and that

02:54:44   19   is left to the doctor, the treating doctor, as we described

02:54:48   20   before.

02:54:48   21    Q    Right.   So the defendants' labeling leaves it entirely up

02:54:51   22   to the physician's discretion as to whether to add a

02:54:55   23   concurrent lipid-altering therapy to icosapent, correct?

02:55:01   24    A    Right.   If it's needed you add it, if it's not needed,

02:55:04   25   you don't have to add it.
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02:55:04    1    Q    All right.    Now --

02:55:11    2                    THE COURT:   Mr. Klein, are you transitioning --

02:55:14    3                    MR. KLEIN:   I am.

02:55:14    4                    THE COURT:   -- to another exhibit?

02:55:14    5                    I think it would make sense to take our

02:55:16    6   afternoon recess at this time.

02:55:18    7                    We'll take a 15-minute recess.

02:55:18    8                           (A recess was taken.)

03:16:52    9                    THE COURT:   Please be seated.

03:16:57   10                    Mr. Klein, are you ready?

03:16:59   11                    MR. KLEIN:   Thank you.

03:16:59   12   BY MR. KLEIN:

03:16:59   13    Q    Dr. Budoff, you're not a lawyer, right?

03:17:01   14    A    No.

03:17:02   15    Q    And you're not an expert in patent law, right?

03:17:06   16    A    No.

03:17:06   17    Q    And I noticed, for the large part, you avoided any type

03:17:10   18   of legal conclusions, right?

03:17:11   19    A    I tried.

03:17:15   20    Q    Okay.   You're certainly not offering any opinions as to

03:17:19   21   the legal standards for patent infringement, right?

03:17:21   22    A    Correct.

03:17:22   23    Q    And you're not testifying about whether any language in

03:17:24   24   defendants' proposed labeling actually meets specific legal

03:17:28   25   standards, correct?
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03:17:29    1    A    Correct.

03:17:29    2    Q    You weren't familiar with the legal standards for patent

03:17:34    3   infringement before this case, right?

03:17:36    4    A    No.

03:17:36    5    Q    And the legal standards for induced infringement can be a

03:17:42    6   bit confusing?     Did you find them confusing?

03:17:45    7    A    Yes.

03:17:46    8    Q    Okay.    You're not the only one.

03:17:52    9                 But do you understand that you might consider a

03:17:54   10   particular statement in the labeling to encourage

03:17:57   11   infringement, but the case law might require more specific

03:18:01   12   statements to induce, right?

03:18:03   13    A    Yes.

03:18:05   14    Q    And your understanding when preparing your reports was

03:18:11   15   that a product label induces infringement if the doctor

03:18:15   16   follows the label and ends up using the drug on-label for an

03:18:20   17   infringing use, right?

03:18:21   18    A    Yes.

03:18:22   19    Q    And on your direct, let's go to DDX 3.38, which is a copy

03:18:29   20   of PDX 2-10, you talked about the legal standards that you

03:18:35   21   applied, right?

03:18:36   22    A    Yes.

03:18:36   23    Q    And in the second bullet, you said,

03:18:42   24                    "Evidence that defendants' labels would

03:18:44   25         inevitably lead some clinicians to infringe
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03:18:48    1         establishes defendants' intent to induce

03:18:50    2         infringement," right?

03:18:51    3    A    Yes.

03:18:51    4    Q    And that came from the lawyers, presumably, right?

03:18:55    5    A    Yes.

03:18:56    6    Q    And -- but your view in preparing your reports was that

03:18:59    7   at least -- if at least some physicians will prescribe Vascepa

03:19:05    8   or its generic equivalent for severe hypertriglyceridemia to

03:19:09    9   lower triglycerides, that means the label inevitably induces

03:19:14   10   infringement, right?

03:19:15   11    A    Yes.

03:19:16   12    Q    And you understand that that phrase actually comes from

03:19:19   13   case law?

03:19:20   14    A    Yes.

03:19:20   15    Q    And you're not offering an opinion on whether that

03:19:25   16   particular phrase as construed by the courts has been

03:19:29   17   satisfied by the labels, right?

03:19:31   18    A    Leave that to the Court.

03:19:35   19    Q    Exactly.

03:19:36   20                Now, Dr. Budoff, you have a long consulting history

03:19:40   21   with Amarin outside the context of this case, right?

03:19:42   22    A    Yes.

03:19:43   23    Q    And, for example, Amarin has retained you as a Thought

03:19:47   24   Leader to discuss the Vascepa product?

03:19:48   25    A    Yes.
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03:19:49    1    Q    And you also served on Amarin's Speakers Bureau for

03:19:53    2   Vascepa, right?

03:19:53    3    A    Yes.

03:19:54    4    Q    Let's go to the next slide, which is DX 2003, and it's

03:20:02    5   DDX 1.39.     Did you see this document during opening

03:20:08    6   statements?

03:20:08    7    A    Yes.

03:20:09    8    Q    Is this a document you've seen before?

03:20:11    9    A    No.

03:20:14   10                    MR. KLEIN:   Okay.   I move into evidence DX 2003

03:20:17   11   as an Amarin document.

03:20:21   12                    MR. M. KENNEDY:    No objection, Your Honor.

03:20:22   13                    THE COURT:   2003 is admitted.

03:20:22   14                           (Defendants' Exhibit 2003 received in
03:20:28                                 evidence.)
03:20:28   15   BY MR. KLEIN:

03:20:28   16    Q    This -- you were on, and still are, actually, on Amarin's

03:20:32   17   Speakers Bureau, right?

03:20:33   18    A    Yes.

03:20:36   19    Q    Okay.    And this -- this document says, "Dear VITAL

03:20:43   20   Speakers."    Do you understand VITAL is an abbreviation for

03:20:47   21   advanced -- to Advance Interventions and Total Assessment of

03:20:51   22   lipids?

03:20:51   23    A    Yes.

03:20:52   24    Q    Do you know what that is?

03:20:53   25    A    That's just the name of their Speakers Bureau.
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03:20:57    1    Q    I see.    Okay.

03:20:59    2                 And that's -- the Dr. Matthew Budoff is you on this

03:21:01    3   page, right?

03:21:02    4    A    Yes.

03:21:02    5    Q    And you recognize Dr. Toth as well?

03:21:04    6    A    Yes.

03:21:05    7    Q    And you recognize Dr. Mason?

03:21:08    8    A    Yes.

03:21:08    9    Q    Do you understand he, along with yourself and Dr. Toth,

03:21:12   10   are all experts for Amarin in this case?

03:21:14   11    A    Yes.

03:21:16   12    Q    And if we go to DDX 3.40, there's a picture of Dr.

03:21:26   13   Miller, right?

03:21:26   14    A    Yes.

03:21:27   15    Q    Is that the doctor who wrote the publication we looked at

03:21:32   16   earlier?

03:21:33   17    A    Yes.

03:21:33   18    Q    Okay.    And you understand now that he was actually

03:21:35   19   retained as another Amarin expert earlier in the case?

03:21:38   20    A    You told me that, yes.

03:21:39   21    Q    Yeah.

03:21:40   22                 And you began consulting for Amarin about eight

03:21:43   23   years ago, in 2012?

03:21:46   24    A    Yeah.    I'd have -- I don't know exactly, but somewhere

03:21:49   25   around that time.
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03:21:50    1    Q    Okay.    And with regard to Amarin's Speakers Bureau, you

03:21:54    2   encourage clinicians to use Vascepa, right?

03:21:57    3    A    No, I try to educate them on the science and the

03:22:01    4   guidelines.    It's not my job, nor would I ever encourage them

03:22:05    5   to use a specific product outside of what would be appropriate

03:22:09    6   and best for the patient's care.

03:22:11    7    Q    Okay.    Understood.   But Amarin was paying you to go out

03:22:15    8   and speak to doctors about Vascepa, right?

03:22:17    9    A    Yes.    I get paid by a lot of different groups to give

03:22:22   10   lectures.     It's on my own time.    I have to travel.    So I do

03:22:26   11   get compensated when I have to lecture most of the time.

03:22:30   12    Q    You served as an Amarin speaker for Vascepa about a 100

03:22:34   13   times; is that right?

03:22:35   14    A    I wouldn't know exactly, but it's possible over the seven

03:22:39   15   years.

03:22:40   16    Q    You estimate maybe 100 in your deposition.        Does that

03:22:45   17   sound right?

03:22:45   18    A    Yeah.

03:22:45   19    Q    And I think you've said this earlier, you're still a

03:22:49   20   speaker for Vascepa today, right?

03:22:50   21    A    Yes.

03:22:51   22    Q    And as an Amarin Thought Leader, you gave Amarin advice

03:22:55   23   on how to help market Vascepa to physicians, right?

03:22:58   24    A    Not generally.    I usually give them advice on what

03:23:02   25   science to do or what next study to do.
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03:23:05    1                   I've met with them about the EVAPORATE trial and

03:23:08    2   tried to encourage them to do other studies.         I'm not a

03:23:12    3   marketing expert, so I don't give them marketing advice.

03:23:14    4    Q      You gave Amarin general advice or direction on what

03:23:17    5   things about Amarin's clinical study may resonate with

03:23:21    6   clinicians or what things should be emphasized or

03:23:25    7   de-emphasized; is this right?

03:23:26    8    A      Yes.

03:23:26    9    Q      And you also consulted with Amarin on the REDUCE-IT

03:23:29   10   trial?    You talked about that, right?

03:23:31   11    A      Yeah.    I wasn't directly involved in the REDUCE-IT trial,

03:23:34   12   outside of being a principal investigator.        I wasn't on the

03:23:37   13   steering committee or anything.       So, I wasn't really involved

03:23:40   14   in that other than recruiting some patients locally at my own

03:23:44   15   site.

03:23:45   16    Q      Okay.    And just to be clear, REDUCE-IT focused on a

03:23:45   17   different patient population than the patient population we're

03:23:50   18   talking about in defendants' labels, right?

03:23:50   19    A      Yes.

03:23:50   20    Q      And you also sent proposals to Amarin with regard to the

03:23:55   21   EVAPORATE trial, right?

03:23:57   22    A      Yes.

03:23:57   23    Q      And since 2016, about half of your income comes from

03:24:05   24   pharmaceutical companies, including Amarin, right?

03:24:09   25    A      All lectures combined, but, yes.
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03:24:12    1    Q    And about 10 percent of your income comes from Amarin,

03:24:15    2   right?

03:24:15    3    A    Yeah.

03:24:17    4    Q    And you also testified for Amarin at the FDA Advisory

03:24:21    5   Committee meeting held last November for the new REDUCE-IT

03:24:25    6   indication, right?

03:24:26    7    A    I was just a public speaker.      That was on my own behalf.

03:24:30    8                     MR. KLEIN:   Okay.   Let's go to DX 2246, pages 1

03:24:36    9   and 62, and it's DDX 3.41.      This is Amarin's supplemental NDA

03:24:44   10   financial disclosure.

03:24:49   11                     We'll move this into evidence.

03:24:51   12                     MR. M. KENNEDY:   No objection, Your Honor.

03:24:52   13                     THE COURT:   2246 is admitted.

03:24:52   14                            (Defendants' Exhibit 2246 received in
03:24:55                                  evidence.)
03:24:55   15   BY MR. KLEIN:

03:24:56   16    Q    I don't know, have you seen Amarin's financial disclosure

03:24:59   17   with regard to its supplemental NDA?

03:25:02   18    A    No.

03:25:02   19    Q    Okay.    I'll represent to you that that's what this is.

03:25:05   20                 You know what the financial disclosure is, right?

03:25:07   21    A    Yes.

03:25:08   22    Q    And Amarin had to make financial disclosures to the FDA

03:25:13   23   for you and other investigators, right?

03:25:16   24    A    Yes.

03:25:17   25    Q    Okay.    And Amarin submitted this document on March -- in
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03:25:23    1   March 2019, right?     You see that at the bottom?

03:25:26    2    A    Yes.

03:25:27    3    Q    Okay.   If we turn to Section 3, it's DX 2246, page 3,

03:25:34    4   DDX 3.42, the document -- you see the title, Clinical

03:25:40    5   Investigators With Disclosable Interests?

03:25:43    6    A    Yes.

03:25:44    7    Q    And the document explains that,

03:25:45    8                   "Clinical investigators with disclosable

03:25:47    9         financial interests including a significant equity

03:25:52   10         interest in the sponsor of the covered study as

03:25:55   11         defined in" the regulations "and/or significant

03:25:59   12         payments of other sorts (SPOOS)," S-P-O-O-S, "as

03:26:04   13         defined" in the regulations, "are provided in Table

03:26:08   14         1.   Details of their disclosed financial interests

03:26:11   15         and arrangements are included in Table 2."

03:26:14   16                   Do you see that?

03:26:15   17    A    Yes.

03:26:16   18    Q    All right.    Now, let's go to the next slide DX 2246,

03:26:22   19   pages 3 to 4.    This is DDX 3.43.     You see this is Table 1?

03:26:30   20    A    Yes.

03:26:30   21    Q    And can you see that you are one of the doctors who was

03:26:35   22   disclosed by Amarin?

03:26:37   23    A    Yes.

03:26:37   24    Q    And if my count's right, there were 12 in total.

03:26:41   25    A    Okay.
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03:26:41    1    Q    All right.    Now, turning to the next page, DX 2246,

03:26:46    2   page 7, this is DDX 3.44, Table 2 lists the details of the

03:26:54    3   disclosed financial interests and arrangements for the 12

03:26:57    4   people we just looked at.      Do you understand that?

03:26:59    5    A    Yes.

03:27:00    6    Q    Okay.    And, again, this -- you are the Matthew Budoff on

03:27:04    7   the left there?

03:27:05    8    A    Yes.

03:27:06    9    Q    And Table 2 lists SPOOS, which was defined earlier as

03:27:13   10   Significant Payments of Other Source -- Sorts, for you of

03:27:18   11   close to $1.3 million.      Do you see that?

03:27:20   12    A    Yes.

03:27:21   13    Q    And then the table breaks this down.       Do you see that?

03:27:24   14    A    Yes.

03:27:25   15    Q    And so Amarin has provided you with a research grant of

03:27:30   16   $900,000 related to the EVAPORATE study, right?

03:27:34   17    A    That goes to my institution, not to me, but, yes.

03:27:37   18    Q    And just so you know, my next question was, to be fair,

03:27:39   19   you didn't receive the money personally.

03:27:41   20    A    Right.

03:27:42   21    Q    Okay.    But it does help a study that you proposed to

03:27:45   22   Amarin, right?

03:27:46   23    A    Yes.

03:27:46   24    Q    And you're the principal investigator for that study.

03:27:50   25    A    Yes.
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03:27:50    1    Q    And your name will be associated with the results of the

03:27:54    2   study if it's successful, right?

03:27:56    3    A    It already is.    I've been publishing on that trial.

03:27:59    4    Q    We go to the next slide, it's the same page, different

03:28:02    5   highlighting, DDX 3.45, you received a higher research grant

03:28:08    6   than any of the other 11 individuals listed in the table,

03:28:11    7   right?

03:28:12    8    A    Yes.

03:28:12    9    Q    Now, if we go to the next slide, which is DDX 3.46,

03:28:20   10   again, it's the same slide, I just changed the highlighting.

03:28:25   11   If we take out the $900,000 grant, the rest of the

03:28:31   12   $1.3 million was paid by Amarin to you personally, right?

03:28:35   13    A    No.    The honorarium and consulting fees goes to me

03:28:40   14   personally.    A lot of the compensation might go to my

03:28:44   15   institution.    For example, I do educational programs at my

03:28:47   16   institution, and they support that.       That money would go to

03:28:52   17   the institution and not to me.

03:28:53   18    Q    Okay.    But it's your institution, correct?

03:28:57   19    A    No, I don't own it.     It's named the Lundquist Institute.

03:29:01   20   I'm one of 1,000 investigators there, and the money that goes

03:29:07   21   to the institute supports all of our services there; research,

03:29:11   22   pharmacies, the statistics, a lot of different things.

03:29:15   23    Q    Okay.

03:29:16   24    A    It doesn't benefit me personally in any way.

03:29:19   25    Q    Well, it benefits you personally indirectly to the extent
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03:29:24    1   it's benefitting an institution to which you belong, correct?

03:29:27    2    A    Well, yes, but they just received a $70 million grant to

03:29:31    3   name the institution, so my contribution of a total of 300,000

03:29:35    4   is probably not very significant, and that money doesn't go to

03:29:39    5   me as well.

03:29:40    6                 So I would say that I'm definitely responsible for

03:29:42    7   receiving the consulting fees of 33,000 and the honorarium of

03:29:47    8   27,000.   I don't know what education of $42 represents, but

03:29:51    9   let's -- I'll take credit for that as well, maybe I received

03:29:55   10   that payment.

03:29:55   11    Q    Okay.    Over the years, for your consulting work,

03:30:00   12   unrelated to this case, you would guess you have received

03:30:07   13   probably $300,000, or something over, spanning the last eight

03:30:10   14   years, right?

03:30:11   15    A    No, nowhere near that number.

03:30:13   16    Q    Okay.

03:30:14   17    A    That would be listed here if that were the case.

03:30:17   18                     MR. KLEIN:   Mr. Gross, can you play the 272 --

03:30:20   19   page 272 of his deposition, line 24, to 273, line 6.

03:30:51   20                            (Deposition video played.)

03:30:52   21   BY MR. KLEIN:

03:30:53   22    Q    Doctor, was that your testimony?

03:30:54   23    A    Yes, but that includes money that goes to my institution,

03:30:57   24   not to me personally.

03:30:58   25    Q    The question -- okay.
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03:30:59    1    A    I apologize.      I didn't understand your question.

03:31:02    2                Yes.    It says right here, 302,000.     I think that

03:31:05    3   number is probably very accurate.

03:31:08    4                       MR KLEIN:    No further questions.

03:31:12    5                       MR. M. KENNEDY:     Your Honor, I do have a little

03:31:14    6   bit of redirect.

03:31:22    7                       Your Honor, may I proceed?

03:31:24    8                       THE COURT:   Yes.

03:31:25    9                             REDIRECT EXAMINATION

03:31:25   10   BY MR. KENNEDY:

03:31:25   11    Q    So, Dr. Budoff, I'm going to jump around a few topics you

03:31:30   12   covered with Mr. Klein just now.

03:31:31   13                Mr. Klein asked you about whether Vascepa was

03:31:34   14   suitable to reduce triglycerides in severely

03:31:37   15   hypertriglyceridemic patients in less than 12 weeks.

03:31:42   16                Do you remember that discussion?

03:31:43   17    A    Yes.

03:31:43   18    Q    And you do you remember the related discussion with

03:31:45   19   Mr. Klein about whether triglyceride levels are reduced in

03:31:50   20   less than 12 weeks?       Do you remember that testimony?

03:31:53   21    A    Yes.

03:31:53   22    Q    Now, once a severely hypertriglyceridemic patient's

03:31:57   23   triglyceride levels have been reduced, is therapy complete?

03:32:01   24    A    No.

03:32:02   25    Q    Why not?
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03:32:03    1    A    Well, again, if you stop the therapy, in most cases it

03:32:08    2   will go back up.     We've seen that in the MARINE trial.       We see

03:32:12    3   that in clinical practice, that in a vast majority of patients

03:32:16    4   triglycerides will not say below 500 without additional

03:32:20    5   medical therapy.

03:32:21    6    Q    What is the therapeutic goal for a patient with severe

03:32:25    7   hypertriglyceridemia?

03:32:26    8    A    The goals and the guidelines are to reduce and maintain

03:32:30    9   their triglycerides below 500 milligrams per deciliter.

03:32:33   10    Q    Now, for a severely hypertriglyceridemic patient who

03:32:38   11   doesn't have what we've been calling one of the reversible

03:32:40   12   causes of severe hypertriglyceridemia, how do you maintain a

03:32:43   13   reduction in triglyceride levels?

03:32:45   14    A    So in almost all cases I continue the therapy long-term,

03:32:49   15   as I've described this morning and this afternoon.

03:32:52   16    Q    With your typical patients who have very high

03:32:56   17   triglycerides or severe hypertriglyceridemia, would you know

03:32:59   18   if they had reduced their triglycerides below 500 in fewer

03:33:03   19   than 12 weeks?

03:33:04   20    A    No.   I don't usually bring them in for lab testing at a

03:33:09   21   shorter interval.

03:33:10   22    Q    Do you know of any clinicians who do, as a habit?

03:33:13   23    A    No.   I think the vast majority, if not all physicians

03:33:17   24   that I'm aware of, their practice patterns revolve around what

03:33:21   25   we would call a typical practice, and a typical practice would
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03:33:24    1   be to repeat the results at three months, to bring them back

03:33:27    2   at three months for a follow-up visit.

03:33:29    3    Q    Now, Mr. Klein also asked you on cross about whether your

03:33:32    4   patients ever take Vascepa for less than 12 weeks.

03:33:37    5                 Do you remember that testimony?

03:33:37    6    A    Yes.

03:33:38    7    Q    And I think you said that some of your patients do take

03:33:40    8   Vascepa for less than 12 weeks.       Do you remember that?

03:33:42    9    A    Yes.

03:33:43   10    Q    Now, have you ever prescribed Vascepa to a patient with

03:33:47   11   severe hypertriglyceridemia for fewer than 12 weeks?

03:33:51   12    A    No.    The shortest prescription I've ever written would be

03:33:54   13   a one month prescription with three refills.         So that would be

03:33:58   14   four months, at a minimum, to get them to the three-month

03:34:02   15   follow-up, where I can reassess their lipids.

03:34:05   16    Q    So I think you alluded to some reasons why one of your

03:34:08   17   patients might, nonetheless, take Vascepa for fewer than 12

03:34:12   18   weeks.   Can you explain what those reasons are.

03:34:14   19    A    Yeah.    So most commonly they go to the pharmacy, and the

03:34:17   20   price is too high, and they say, "I can't afford it," and so

03:34:20   21   they don't want to take it, and they call me and they say,

03:34:24   22   "Can I take something else?"

03:34:25   23                 Second most commonly would be side effects.

03:34:28   24   Patients perceive side effects, even though Vascepa I consider

03:34:33   25   generally safe.     I would say that Vascepa is -- has some side
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03:34:40    1   effects and some issues with tolerability.        So some people

03:34:45    2   would say, "Oh, I feel joint aches," or, "I'm getting some

03:34:49    3   other problem.    I'm going to stop the therapy before 12

03:34:49    4   weeks."

03:34:52    5    Q    Now, you had a discussion with Mr. Klein about whether

03:34:55    6   there are patients with very high triglycerides who can have

03:34:59    7   their condition addressed solely with diet and lifestyle.

03:35:03    8                Do you remember that discussion?

03:35:04    9    A    Yes.

03:35:05   10                    MR. M. KENNEDY:    Mr. Brooks, can we have PX 989.

03:35:08   11   This is ATP III guidelines we a looked at earlier today.

03:35:13   12                    COMPUTER TECHNICIAN:    Madam clerk, can you

03:35:15   13   switch me?

03:35:21   14                    MR. M. KENNEDY:    And, Mr. Brooks, if you'd go to

03:35:23   15   page 195 of the document and blowup the left-hand column.

03:35:23   16   BY MR. M. KENNEDY:

03:35:28   17    Q    So, Dr. Budoff, do you recognize this passage?

03:35:31   18    A    Yes.

03:35:31   19    Q    I think we discussed portions of this earlier today.

03:35:34   20    A    Yes.

03:35:35   21    Q    I would like to direct you a few lines down, and the

03:35:38   22   heading of this passage is Very High Triglycerides.          What is

03:35:41   23   your understanding of why this passage is headed that way?

03:35:45   24    A    This is the part of the document that addresses severe

03:35:51   25   hypertriglyceridemia.
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03:35:52    1                    MR. M. KENNEDY:    So, Mr. Brooks, I would like to

03:35:54    2   go about ten lines down and highlight the sentences beginning

03:35:58    3   with "weight reduction and increased physical activity," and

03:36:01    4   go through the word "pancreatitis," about five lines down.

03:36:01    5   BY MR. M. KENNEDY:

03:36:08    6    Q    And, Dr. Budoff, if you could review this passage and let

03:36:12    7   me know what, if anything, does this passage tell you about

03:36:15    8   the clinical needs of patients with severe

03:36:18    9   hypertriglyceridemia?

03:36:20   10    A    Well, it's just saying that after lifestyle modifications

03:36:24   11   are emphasized, triglyceride-lowering drugs are usually

03:36:28   12   required.    So, it just tells you that most patients -- as we

03:36:33   13   discussed this afternoon, most patients fail diet and exercise

03:36:37   14   as a primary treatment strategy.

03:36:40   15    Q    And what if a patient succeeds with diet and lifestyle

03:36:45   16   changes?

03:36:45   17    A    Well, if they were successful, then they would not be

03:36:48   18   indicated to start Vascepa, and I would just continue

03:36:51   19   lifestyle changes, as least for the MARINE indication purposes

03:36:54   20   of discussion.

03:36:56   21    Q    So you also had some discussion with Mr. Klein about

03:36:59   22   LDL-C.   Do you remember that testimony?

03:37:01   23    A    Yes.

03:37:01   24    Q    What would a clinician in your field know about LDL-C,

03:37:07   25   just whether it's good or bad, what its function is?
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03:37:11    1    A    I would hope that every person who is practicing in the

03:37:18    2   field of lipids understands that LDL cholesterol is bad.

03:37:22    3    Q    And they would understand that, all things being equal,

03:37:25    4   it would be better to have low LDL-C rather than high LDL-C?

03:37:32    5    A    Yes.

03:37:32    6    Q    Is this knowledge that clinicians in your field would

03:37:34    7   have in their minds when reviewing the Vascepa labeling and

03:37:36    8   particularly the clinical data?

03:37:38    9    A    Yes.

03:37:38   10    Q    Is this background knowledge -- would that affect your

03:37:42   11   treatment decisions for patients with severe

03:37:46   12   hypertriglyceridemia?

03:37:46   13    A    That would really be the only reason, short of the

03:37:50   14   REDUCE-IT indication, to use Vascepa preferentially over the

03:37:54   15   less expensive fibrates or Lovaza which has a generic

03:37:59   16   alternative.

03:37:59   17                So, we go through great steps to get patients on

03:38:02   18   Vascepa right now.     I have to often call the insurance

03:38:06   19   company.     I have to convince them that my patient meets the

03:38:09   20   criteria.    I have to then sometimes get a formal prior

03:38:13   21   authorization approved.

03:38:14   22                So I go through steps.    The patient has to pay extra

03:38:17   23   money at the pharmacy, all of that.       The primary reason is not

03:38:21   24   because it's the best triglyceride-lowering drug, but because

03:38:26   25   it's the best drug at not -- that lowering triglycerides will
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03:38:29    1   not affect that LDL cholesterol.

03:38:33    2                So, I think that becomes paramount in the

03:38:36    3   clinician's decision to use Vascepa over generic alternatives.

03:38:37    4    Q    So just to be clear, these considerations that you just

03:38:40    5   mentioned, do they affect your decision about which medication

03:38:43    6   to prescribe with patients with severe hypertriglyceridemia?

03:38:47    7    A    Absolutely.

03:38:48    8    Q    So Mr. Klein asked you some questions about the clinical

03:38:52    9   effects experienced by patients who take Vascepa, and

03:38:56   10   particularly whether some patients may not achieve the

03:38:59   11   clinical effects touted in the clinical trial section of the

03:39:05   12   label.   Do you remember that testimony?

03:39:06   13    A    Yes.

03:39:06   14    Q    Now, when you administer Vascepa to a patient by writing

03:39:09   15   a prescription, and a patient with severe

03:39:13   16   hypertriglyceridemia, what clinical effects do you expect to

03:39:16   17   achieve at the moment you write that prescription?

03:39:18   18    A    So my intent is that they will follow the general results

03:39:22   19   of the MARINE trial, that they will get a triglyceride

03:39:24   20   reduction of about a third, that their LDL cholesterol will

03:39:28   21   not go up, that their apo B will go down.

03:39:32   22                Obviously there are patient-to-patient differences.

03:39:35   23   That's why I have to retest them at 12 weeks to see what

03:39:38   24   really happened in my patient.

03:39:40   25    Q    So what percentage of your patients end up achieving the
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03:39:44    1   effects touted in Table 2 of the labeling, that is, severely

03:39:49    2   hypertriglyceridemic patients to whom you prescribe Vascepa

03:39:54    3   according to the labeling?

03:39:55    4    A    Yeah.    So we know it's about three-quarters of patients

03:39:58    5   will achieve that general result, and there will be some

03:40:01    6   people on the outsides of that, the extremes.

03:40:04    7    Q    I think you called them outliers in your discussion with

03:40:06    8   Mr. Klein?

03:40:07    9    A    Yes.

03:40:08   10    Q    So at the moment you write the prescription to a patent

03:40:13   11   with very high triglycerides, do you have any way of knowing

03:40:15   12   whether that patient is going to be an outlier?

03:40:18   13    A    No.

03:40:18   14    Q    So, I would like to ask you couple questions about apo B.

03:40:24   15                 So am I -- is treating very high triglycerides with

03:40:28   16   Vascepa in order to reduce triglycerides and lower apo B, is

03:40:32   17   that on-label?

03:40:35   18    A    Yes.

03:40:36   19    Q    Is that part of your prescribing practice to patients

03:40:40   20   with very high triglycerides?

03:40:42   21    A    Yes.

03:40:42   22    Q    And, finally, I would like to go to a document that

03:40:49   23   Mr. Klein used with you, it's your reply expert report, and

03:40:52   24   this is PX 177.

03:40:58   25                     MR. M. KENNEDY:   And, Mr. Brooks, if you could
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03:41:00    1   turn to page 23 of this document.

03:41:00    2   BY MR. M. KENNEDY:

03:41:03    3    Q    Now, Mr. Klein showed you paragraph 54 of your expert

03:41:07    4   report, and 57, but I would like to show you a couple

03:41:12    5   surrounding paragraphs that he didn't show you, and starting

03:41:15    6   with paragraph 53.

03:41:18    7                   MR. M. KENNEDY:     And, Mr. Brooks, can you blow

03:41:19    8   that up, please.     And maybe put 53 along with 54, if you're

03:41:24    9   able to do that.

03:41:24   10   BY MR. M. KENNEDY:

03:41:31   11    Q    Now, Dr. Budoff, again, Mr. Klein showed you 54.         He

03:41:35   12   didn't show you 53.     Could you just review 53 and then tell us

03:41:39   13   what was the context in which you were giving the opinions

03:41:43   14   that Mr. Klein showed you in 54?

03:41:46   15    A    (Witness reviews document.)

03:41:54   16               Yeah.   So this is suggesting that even though

03:41:58   17   Dr. Sheinberg has given them the medication, that he's

03:42:02   18   instructed them to wait six weeks before filling the

03:42:05   19   prescription and then coming back at 12 weeks.         Therefore,

03:42:08   20   when they return, they've only received six weeks of therapy

03:42:12   21   and not 12 weeks of therapy.

03:42:14   22    Q    Do you agree with Dr. Sheinberg's theory as stated in

03:42:18   23   paragraph 53?

03:42:19   24    A    This has, to my knowledge, never been practiced this way,

03:42:23   25   and this would not be how any physician that I've ever
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03:42:26    1   encountered would prescribe medication.

03:42:29    2                  We give them the prescription and say start this

03:42:32    3   medicine.      And if we don't want them to start the medicine, we

03:42:36    4   wouldn't give them the prescription.

03:42:38    5                  I don't give them a prescription and say put in your

03:42:42    6   calendar for six weeks from now to go to the pharmacy and fill

03:42:43    7   this.    That would not work in clinical practice, and it's not

03:42:46    8   recommended approach to treatment.

03:42:47    9    Q      Now, at the time you wrote this reply expert report, you

03:42:50   10   gave a number of reasons why you disagree with Dr. Sheinberg;

03:42:53   11   is that right?

03:42:53   12    A      Yes.

03:42:54   13    Q      And Mr. Klein did show you a couple of those reasons in

03:42:57   14   paragraphs 54 and 57; is that right?

03:42:59   15    A      Yes.

03:43:00   16    Q      Now, he didn't show you paragraph 55, which Mr. Brooks

03:43:04   17   has kindly put on the screen.         And I'll read it into the

03:43:07   18   record.

03:43:08   19                     "To begin with, the Prescribing Information

03:43:10   20           counsels that the drug should be given to patients

03:43:13   21           for whom efforts to reduce their triglycerides below

03:43:18   22           500 milligrams per deciliter, using only diet and

03:43:20   23           lifestyle modifications, have been unsuccessful."

03:43:25   24                      Do you see that?

03:43:26   25    A      Yes.
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03:43:26    1    Q    Now, you reference the Prescribing Information.         Are

03:43:29    2   there particular portions of the Prescribing Information that

03:43:32    3   counsel that drug should only be given to patients who can't

03:43:36    4   reduce their triglycerides below 500 without -- through just

03:43:40    5   diet and lifestyle?

03:43:42    6    A    Yes.

03:43:42    7    Q    Which portions do you have in mind?

03:43:45    8    A    Well, we talked about Section 2, the dosing and

03:43:48    9   administration.     I think that explicitly states that you

03:43:52   10   should use diet and lifestyle.       The patient should engage in

03:43:55   11   diet and lifestyle before using therapy, and then, obviously,

03:43:58   12   if they're still not at goal, you would put them on therapy.

03:44:02   13                Also, the Section 14, the clinical trial section, we

03:44:06   14   know and we reviewed that this afternoon as well, the MARINE

03:44:10   15   trial was done with that six- to nine-week washout period

03:44:14   16   where they documented that after diet and lifestyle failed, if

03:44:18   17   their triglycerides were still above 500, were then they

03:44:23   18   enrolled in the study.

03:44:24   19    Q    Now, people who are able to reduce their triglycerides

03:44:28   20   below 500 with diet and lifestyle, is Vascepa indicated for

03:44:32   21   those patients?

03:44:33   22    A    Well, now it is.    The REDUCE-IT indication may play a

03:44:37   23   role depending on their underlying cardiovascular risk.             But

03:44:41   24   for severe hypertriglyceridemia, the MARINE indication, it

03:44:44   25   would not be indicated.
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03:44:48    1                    MR. M. KENNEDY:    Your Honor, I have no further

03:44:50    2   questions.

03:44:50    3                    THE COURT:   Mr. Klein?

03:44:51    4                    MR KLEIN:    No further questions.

03:44:52    5                    THE COURT:   All right.    Thank you, Dr. Budoff.

03:44:54    6   You may step down.

03:44:54    7                    THE WITNESS:   Thank you very much.

03:44:56    8                    MR. SIPES:   Your Honor, Christopher Sipes for

03:45:03    9   Amarin.   With that, plaintiffs close their opening case.

03:45:07   10                    MR KLEIN:    Your Honor, Ms. Fundakowski is going

03:45:11   11   to address the fact that plaintiffs have closed their case,

03:45:14   12   and Ms. Fundakowski will make a motion.

03:45:32   13                    MS. FUNDAKOWSKI:    Claire Fundakowski on behalf

03:45:36   14   of the defendants Hikma.

03:45:38   15                    Your Honor, we understand that this is a bench

03:45:41   16   trial, but if Your Honor is so inclined, defendants would like

03:45:45   17   to move for a judgment on partial findings under Rule 52(c).

03:45:49   18                    Plaintiff's sole infringement theory is that

03:45:52   19   defendants --

03:45:52   20                    THE COURT:   Now, you need -- I don't know if

03:45:53   21   you're reading from something.       You need to slow down if you

03:45:57   22   are reading because, otherwise, the court reporter will remind

03:46:00   23   you to slow down.     I also want to take some notes, so you need

03:46:03   24   to indulge me.

03:46:06   25                    MS. FUNDAKOWSKI:    Thank you, Your Honor.
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03:46:07    1                   Plaintiff's sole infringement theory is that

03:46:09    2   defendants' proposed labels will actively induce doctors to

03:46:12    3   infringe the claims.     To prevail, plaintiff's must show by

03:46:16    4   preponderance of the evidence that defendants have the

03:46:19    5   specific intent, based on the contents of their proposed

03:46:23    6   labels, to encourage physicians to prescribe defendants' ANDA

03:46:29    7   products in an infringing manner.       Plaintiffs have failed to

03:46:33    8   meet this burden.

03:46:34    9                   Among other limitations, each of the asserted

03:46:37   10   claims requires at least 12 weeks of treatment.         As recognized

03:46:42   11   in the Court's summary judgment order and confirmed by today's

03:46:47   12   testimony, defendants' proposed labels do not explicitly tell

03:46:51   13   doctors they should prescribe the drug for at least 12 weeks.

03:46:57   14                   Plaintiffs therefore argue that the Court should

03:46:59   15   infer that defendants induce infringement because defendants'

03:47:03   16   proposed labels instruct doctors to treat severe

03:47:08   17   hypertriglyceridemia as an adjunct to diet.

03:47:12   18                   Plaintiffs' evidence fails to show that

03:47:15   19   defendants' proposed labels induce physicians to prescribe

03:47:23   20   icosapent for at least 12 weeks.

03:47:25   21                   Under Grunenthal, 919 F.3d 1333 at 1339, even if

03:47:31   22   the indicated use includes the patented use, there is no

03:47:34   23   inducement if the proposed labels do not specifically

03:47:38   24   encourage the patented use.

03:47:40   25                   The rationale for the Federal Circuit's
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03:47:43    1   Grunenthal decision is rooted in plaintiff's burden to prove

03:47:47    2   that defendants possessed specific intent to induce

03:47:50    3   infringement.

03:47:51    4                   Because the plaintiff in that case could not

03:47:53    5   show that the indicated use was coextensive with or required

03:48:00    6   the patented use, the Court could not infer that defendants

03:48:04    7   had a specific intent to induce infringement.

03:48:08    8                   The Federal Circuit reached this conclusion in

03:48:12    9   Grunenthal even though plaintiff presented evidence that, I

03:48:14   10   quote, "most of the uses of their proposed ANDA products would

03:48:19   11   be directed to," end quote, the claimed use.         And that was at

03:48:24   12   1340.

03:48:25   13                   Here, for the same reason, plaintiffs have

03:48:28   14   failed to show that defendants' proposed labels will induce

03:48:32   15   prescribers to treat patients for at least 12 weeks.          The

03:48:35   16   undisputed evidence that defendant proposed -- show that the

03:48:41   17   defendants' proposed labels are indicated for conditions that

03:48:44   18   do not require treatment --

03:48:45   19                   THE COURT:    Where is the undisputed evidence?

03:48:48   20                   MS. FUNDAKOWSI:     I believe we heard Dr. Budoff

03:48:51   21   testify today that severe hypertriglyceridemia has, I quote,

03:48:54   22   reversible causes, which according to Dr. Budoff would, I

03:48:58   23   quote, not be considered a chronic condition.

03:49:02   24                   Dr. Budoff agreed with plaintiffs' invalidity

03:49:05   25   expert, Dr. Toth, that severe hypertriglyceridemia, I quote,
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03:49:10    1   can be acute -- an acute phenomenon.

03:49:15    2                    Dr. Budoff testified that weight loss of 5

03:49:19    3   percent to 10 percent can result in a 20 percent decrease in

03:49:23    4   triglycerides.    He testified that it is possible to see

03:49:27    5   reductions in triglycerides of up to 50 percent without any

03:49:32    6   medication.

03:49:35    7                    And even in the MARINE study, in the patient

03:49:38    8   population that received four to six weeks of diet and

03:49:43    9   exercise, they were unable to reduce their triglycerides.

03:49:47   10   Dr. Budoff testified, and as shown in DX 1701-51, that about

03:49:56   11   21 percent of patients falling within the scope of defendants'

03:50:00   12   proposed indication can reduce and maintain their

03:50:04   13   triglycerides down to below 500 milligrams per deciliter with

03:50:08   14   diet and exercise alone, or, in other words, without the need

03:50:13   15   for continued drug treatment for at least 12 weeks.

03:50:17   16                    Plaintiffs' evidence therefore fails to show

03:50:20   17   that the Court can infer that defendants' proposed labels

03:50:24   18   induce doctors to prescribe icosapent for a period of at least

03:50:29   19   12 weeks.

03:50:31   20                    Plaintiffs argue that specific intent to induce

03:50:34   21   infringement can be inferred because, according to plaintiffs,

03:50:39   22   defendants' proposed labels would inevitably lead some

03:50:44   23   physicians to prescribe icosapent for at least 12 weeks, but

03:50:48   24   plaintiff's misstate the legal standard.

03:50:50   25                    The Federal Circuit has never held that
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03:50:52    1   inducement can be inferred if only some physicians will

03:50:56    2   eventually infringe.     Rather, the law merely holds that an

03:51:02    3   instruction to infringe need not be directed to all physicians

03:51:05    4   in order for there to be inducement.

03:51:08    5                   This case law does not apply here because there

03:51:11    6   is no such instruction inducing infringement.         For example, in

03:51:17    7   Eli Lilly, 845 F.3d 1357 at 1369, the Court found that

03:51:24    8   repeated instructions and warnings throughout defendants'

03:51:27    9   proposed labeling demonstrated specific intent to induce

03:51:31   10   infringement.

03:51:33   11                   As explained at 1368, the Court explained that

03:51:37   12   the instructions teach an infringing use such that we are

03:51:41   13   willing to infer from those instructions an infirmative intent

03:51:46   14   to infringe the patent.

03:51:47   15                   The Federal Circuit there did not require

03:51:51   16   evidence that all physicians would follow those repeated

03:51:53   17   instructions and warnings, but in light of the unambiguous,

03:51:57   18   repeated instructions and warnings, the Court explained at

03:52:00   19   1369 that it was sufficient that those instructions, I quote,

03:52:04   20   would inevitably lead some physicians to infringe.

03:52:09   21                   Likewise in Vanda, 887 F.3d 1117 at 1131, the

03:52:16   22   court found that there was a recommendation to perform the

03:52:28   23   claimed genotyping test.      The label did not require all

03:52:35   24   physicians to perform the genotyping test, so it was again

03:52:40   25   sufficient that defendants' labels would inevitably lead some
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03:52:44    1   physicians to infringe.

03:52:46    2                   Here defendants' proposed labels do not contain

03:52:49    3   an explicit instruction that defendants' products should be

03:52:53    4   administered for at least 12 weeks.        As in Grunenthal,

03:52:57    5   defendants' proposed labels likewise do not implicitly require

03:53:01    6   a 12-week treatment.

03:53:03    7                   Plaintiffs have thus failed to meet their burden

03:53:05    8   to show induced infringement, and defendants respectfully

03:53:09    9   request judgment in their favor.

03:53:11   10                   THE COURT:    Thank you.

03:53:13   11                   MS. FUNDAKOWSI:     Thank you, Your Honor.

03:53:16   12                   THE COURT:    Mr. Sipes, will you be responding?

03:53:19   13                   MR. SIPES:    If the Court would like, I can

03:53:21   14   respond, Your Honor.

03:53:21   15                   THE COURT:    Well, I would like some response.

03:53:24   16                   MR. SIPES:    That was my question.     I wasn't

03:53:25   17   asking to choose.     I wanted to make sure the Court did not

03:53:28   18   just want to just take it under submission.

03:53:30   19                   THE COURT:    I'm going to give you a ruling, so I

03:53:32   20   want a response.

03:53:33   21                   MR. SIPES:    Okay.

03:53:33   22                   I understand them to be moving principally on

03:53:36   23   the 12-week limitation, so I will respond on that.

03:53:40   24                   The issue here is one of whether or not the

03:53:42   25   labeling induces administration of the drug for at least
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03:53:45    1   12 weeks.    First, let me go through the evidence that shows

03:53:48    2   that it does, and then I will address the legal standard

03:53:51    3   question.

03:53:51    4                   Dr. Steve Ketchum testified about FDA's review

03:53:56    5   and negotiation over the labeling, and pointed to a number of

03:53:59    6   documents both public that would help explain to physicians

03:54:03    7   what the scope of the approval was, and otherwise that showed

03:54:06    8   that the indication for which the drug was approved, treatment

03:54:10    9   of severe hypertriglyceridemia, is chronic, and that treatment

03:54:13   10   is to reduce and maintain triglyceride levels below 500 which

03:54:20   11   requires treatment more than 12 weeks.

03:54:22   12                   And, in fact, then Dr. Budoff went on and

03:54:24   13   explained how physicians understand the labeling, and that the

03:54:28   14   labeling is understood to require clinicians to maintain

03:54:31   15   triglyceride levels in these patients under 500, and that as a

03:54:35   16   chronic condition that requires indefinite treatment.          He went

03:54:39   17   through all the other elements of the claims as well and

03:54:42   18   showed that they were met too.

03:54:44   19                   There's no question that the labeling is

03:54:46   20   instructing physicians that the drug may be used to treat the

03:54:50   21   chronic condition of severe hypertriglyceridemia, to maintain

03:54:56   22   triglycerides below 500, and that that will go on for 12 or

03:54:59   23   more weeks.

03:54:59   24                   In fact, Dr. Budoff went on and said that the

03:55:03   25   dosage and administration section instructs doctors rule out
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03:55:07    1   the reversible causes.      So it in fact specifically directs

03:55:11    2   physicians towards chronic patients, towards 12 or more weeks

03:55:15    3   treatment.

03:55:16    4                   In terms of the case law, for example, in

03:55:18    5   Astrazeneca v. Apotex, 633 F.3d 1042, Federal Circuit 2010,

03:55:24    6   the Federal Circuit addressed a case in which the (inaudible)

03:55:28    7   had actually carved out an indication for once daily

03:55:31    8   administration that the claim was directed to, their labeling

03:55:34    9   instructed for twice daily administration, but also included

03:55:38   10   titration language, that physicians should seek to use the

03:55:42   11   lowest possible dose, and Federal Circuit found there that

03:55:46   12   that would inevitably lead some physicians to treat once a

03:55:51   13   day, that that was sufficient for induced infringement.

03:55:52   14                   That case was actually endorsed by the Vanda v.

03:55:54   15   West-Ward case, 887 F.3d 1117, Federal Circuit 2018, which

03:56:01   16   rejected the line of argument, I believe, that the defendants

03:56:03   17   are making now, that we need to show that all physicians would

03:56:06   18   be led.

03:56:07   19                   In this case, we have clear instructions in the

03:56:09   20   labeling to rule out reversible causes.        We have clear

03:56:13   21   instructions to treat patients for a chronic condition.             We

03:56:17   22   have descriptions of the clinical study section, which shows

03:56:22   23   as well that the drug is safe and effective for 12 or more

03:56:26   24   weeks.    There was no instructions to treat any shorter period

03:56:29   25   of time.
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03:56:29    1                   And, we have accompanying FDA review documents

03:56:32    2   available to the public that would further inform physicians

03:56:36    3   as to the meaning of the labeling the defendants are

03:56:38    4   proposing, and we think that more than meets the standard for

03:56:42    5   induced infringement in this case.

03:56:44    6                   Thank you, Your Honor.

03:56:45    7                   THE COURT:    Thank you.

03:56:46    8                   MR. SIPES:    If there are no questions.

03:56:48    9                   THE COURT:    Any rebuttal?

03:56:50   10                   MS. FUNDAKOWSI:     If I may, Your Honor.

03:57:06   11                   Your Honor, I would like to make two points.

03:57:12   12   Claire Fundakowski again.

03:57:13   13                   We believe Grunenthal, 919 F.3d 1333 at 1340, is

03:57:20   14   completely on point here.      Mr. Sipes mentioned a case, I

03:57:25   15   believe it was the Astrazeneca v. Apotex case, in which the

03:57:31   16   dosage and administration section included express

03:57:35   17   instructions for patients to titrate down the medication.

03:57:39   18                   Grunenthal distinguished that case explaining --

03:57:43   19   and, again, this is at 1340 -- that Astrazeneca is in apposite

03:57:51   20   to our facts.    There was specific intent that could be

03:57:55   21   inferred, I quote, because the defendant proceeded with a plan

03:57:58   22   to distribute the generic drug knowing that its label imposed

03:58:03   23   infringement problems.

03:58:04   24                   In addition, the instructions in the Dosage and

03:58:08   25   Administration Section of the label would inevitably lead some
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03:58:12    1   consumers to practice the claimed method of once daily dosing

03:58:16    2   by encouraging users to taper downward to the lower -- lowest

03:58:18    3   effective dose.

03:58:20    4                   The language in that Court's decision that "some

03:58:25    5   users" would be led to infringe is because not all physicians

03:58:29    6   would be required to use the lowest effective dose.          Not all

03:58:34    7   physicians would be required to taper down to that dose.            But

03:58:37    8   there was an express instruction in that case, and that --

03:58:42    9   such an instruction is absent here.

03:58:44   10                   I would also like to point out Mr. Sipes

03:58:49   11   referenced the FDA forms that mention chronic use.         But as

03:58:56   12   noted -- just a moment, please -- as noted in Horizon, 940

03:59:08   13   F.3d 680 at 702, knowing of the possibility of infringement

03:59:16   14   will not suffice.

03:59:18   15                   Of course, Vascepa can be used long-term.           It

03:59:22   16   can also be used short-term.      The label is indifferent to the

03:59:28   17   length of treatment and leaves it entirely up to physician

03:59:32   18   discretion.    This does not show active intent to induce

03:59:37   19   infringement and therefore defendants believe judgment should

03:59:41   20   be granted in their favor.

03:59:43   21                   That's all, Your Honor.

03:59:44   22                   THE COURT:    Thank you.

03:59:46   23                   I want to take some time to formulate my ruling.

03:59:51   24   I want to continue with the defendants' rebuttal portion.

03:59:58   25                   Are you ready to proceed?
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04:00:00    1                    MR. REIG-PLESSIS:    Yes, Your Honor.

04:00:08    2                    Your Honor, my name is Eimeric Reig, I'm counsel

04:00:10    3   for the defendants here, and as defendants' first witness, we

04:00:15    4   call Dr. Jonathan Sheinberg.

04:00:20    5                    THE COURT:    Thank you.

04:00:22    6                    THE CLERK:    Would counsel like to please have

04:00:24    7   someone come up and retrieve these exhibit binders?

04:00:28    8                    MR. REIG-PLESSIS:    And we would also ask

04:00:30    9   permission to approach.       We have some witness binders, as

04:00:33   10   well, for Dr. Sheinberg.

04:00:35   11                    THE COURT:    Yes.
04:00:35
04:00:35   12                     JONATHAN I. SHEINBERG, M.D.,
04:00:35                called as a witness on behalf of the Defendants,
04:00:36   13                  was sworn and testified as follows:
04:00:36
04:00:58   14                    THE CLERK:    Please be seated.

04:01:01   15                    Please state for the record your full name and

04:01:07   16   spell your last name.

04:01:08   17                    THE WITNESS:    Jonathan Sheinberg,

04:01:11   18   S-h-e-i-n-b-e-r-g.     Jonathan, J-o-n-a-t-h-a-n.

04:01:38   19                    MR. REIG-PLESSIS:    Good afternoon,

04:01:39   20   Dr. Sheinberg.

04:01:40   21                    THE WITNESS:    Good afternoon.

04:01:38   22                            DIRECT EXAMINATION

04:01:38   23   BY MR. REIG-PLESSIS:

04:01:41   24    Q    Where are you currently employed?

04:01:43   25    A    I'm currently employed in Austin, Texas, for Baylor Scott
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04:01:47    1   & White Cardiology.

04:01:48    2    Q      And what is your current position at Baylor Scott & White

04:01:53    3   Cardiology?

04:01:54    4    A      I am a senior staff cardiologist.     I am an invasive

04:01:57    5   cardiologist with an interest in preventive cardiology as

04:02:01    6   well.

04:02:01    7    Q      Did the defendants retain you to testify as an expert in

04:02:04    8   this case?

04:02:04    9    A      Yes, they have.

04:02:05   10    Q      Now, apart from this case, do you have any affiliation

04:02:09   11   with the defendants?

04:02:09   12    A      I do not.

04:02:10   13    Q      And you mentioned that you are a general cardiologist

04:02:16   14   with an interest in preventive cardiology.        Could you just

04:02:19   15   explain what preventive cardiology is.

04:02:21   16    A      Yes, sir.   So I have general cardiology experience, in

04:02:25   17   other words, I practice the full gamut of cardiology from

04:02:29   18   initial evaluation of a patient with intent to prevent that

04:02:32   19   patient from developing coronary disease, taking a patient who

04:02:39   20   already has developed coronary disease and preventing that

04:02:41   21   patient from having a secondary event.

04:02:43   22                I also treat general cardiology patients.

04:02:44   23                I'm also proficient in the catheterization

04:02:47   24   laboratory in which we perform invasive procedures to evaluate

04:02:50   25   problems.
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04:02:57    1                   THE COURT:    Also, would you make sure you speak

04:02:59    2   into the microphone.      I want to make sure everyone is able to

04:03:00    3   hear you.    Thank you.

04:03:00    4                   THE WITNESS:    Yes, ma'am.

04:03:01    5   BY MR. REIG-PLESSIS:

04:03:02    6    Q    So turning first to DDX 4.1, there is a snapshot on the

04:03:06    7   screen of DX 2225, page 1, which is in your binder as well.

04:03:12    8               Could you identify this document, please.

04:03:14    9    A    Yes, this is my CV.

04:03:16   10    Q    Does your CV accurately summarize your educational

04:03:19   11   background, work experience, and research?

04:03:21   12    A    Yes, it does.

04:03:23   13                   MR. REIG-PLESSIS:     And, Your Honor, we would

04:03:24   14   move into evidence DX 2225.

04:03:28   15                   MS. KEANE:    No objection, Your Honor.

04:03:30   16                   THE COURT:    2225 is admitted.

04:03:30   17                             (Defendants' Exhibit 2225 received in
04:03:32                                   evidence.)
04:03:32   18   BY MR. REIG-PLESSIS:

04:03:33   19    Q    So turning to DDX 4.2, there's another snapshot on the

04:03:39   20   screen of the same exhibit DX 2225.

04:03:42   21               Could you summarize your educational background for

04:03:44   22   the Court, please.

04:03:45   23    A    Yes, I can.    I graduated with a bachelor's degree from

04:03:48   24   Washington and Lee University.       I attended Georgetown

04:03:48   25   University School of Medicine where I received my medical
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04:03:48    1   degree.

04:03:50    2               At that time I entered active duty with the United

04:03:50    3   States Air Force and did my internship at Georgetown and

04:04:01    4   Fairfax Hospital and my residency at Keesler Air Force Base in

04:04:01    5   internal medicine, that's in Biloxi, Mississippi.

04:04:08    6               After completion of my internal medicine residency,

04:04:12    7   I went to Wilford Hall Air Force Base -- I'm sorry -- Wilford

04:04:16    8   Hall Medical Center at Lackland Air Force Base, Texas, to

04:04:20    9   finish my fellowship in cardiovascular disease.

04:04:23   10               After completing that, I continued to serve in the

04:04:26   11   Air Force for an additional four years with a combat

04:04:30   12   deployment overseas before settling in Austin, Texas, in 2004,

04:04:35   13   which is where I am living now.

04:04:36   14    Q    Do you have any board certifications currently?

04:04:39   15    A    I'm Board Certified in cardiovascular disease.

04:04:42   16    Q    And how long have you been a cardiologist?

04:04:43   17    A    This is my 20th year.

04:04:49   18    Q    How many patients do you see per month, approximately, in

04:04:52   19   your cardiology practice?

04:04:53   20    A    I see roughly a 100 patients or more per month -- I'm

04:04:57   21   sorry, per week, which averages about 400 or so, plus or

04:05:01   22   minus, per month.

04:05:02   23    Q    Do you treat patients with elevated triglycerides?

04:05:05   24    A    Every day.

04:05:06   25    Q    Do you treat patients with triglyceride levels above 500?
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04:05:10    1    A    Yes, I do.

04:05:11    2    Q    How often?

04:05:12    3    A    Relatively frequently, on the order of approximately 20

04:05:18    4   to 30 per month.

04:05:19    5    Q    Have you prescribed Vascepa before?

04:05:21    6    A    Yes, I have.

04:05:22    7    Q    And have you taught courses relating to cardiology?

04:05:27    8    A    Yes, I have.    I have been an instructor and a professor

04:05:31    9   of medicine both at the University Uniform Health Science

04:05:36   10   Center in Bethesda, Maryland, as well as Wright State

04:05:42   11   University in Dayton, Ohio.

04:05:42   12                    COURT REPORTER:    Slow down, please.

04:05:43   13                    THE WITNESS:   Sorry.   So the Uniform Services

04:05:45   14   University in Bethesda, Maryland, as a Clinical Professor, as

04:05:50   15   well as an Assistant Professor at Wright State University in

04:05:53   16   Dayton, Ohio.    I'm currently an Assistant Professor of

04:05:58   17   Medicine at the University of Texas Medical Branch in

04:06:02   18   Galveston.

04:06:03   19   BY MR. REIG-PLESSIS:

04:06:03   20    Q    And do you conduct any other activities related to

04:06:06   21   cardiology?

04:06:07   22    A    Yes, I do.    As the first page of my CV pointed out, not

04:06:12   23   only am I a cardiologist, but I'm also one of the few

04:06:16   24   physicians in the United States who is a sworn police officer.

04:06:19   25                I serve in that capacity, not only as an officer,
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04:06:23    1   but I work within the Department of Justice to develop and

04:06:28    2   create wellness programs which we institute throughout the

04:06:31    3   United States and Canada to keep police officers and other

04:06:35    4   first responders healthy as well.

04:06:38    5    Q    Now, do you have any publications on your CV?

04:06:41    6    A    I do not.

04:06:42    7    Q    And why not?

04:06:43    8    A    I am a practicing, busy, what we like to refer to as,

04:06:48    9   quote, in the trenches, cardiologist.        With a very busy

04:06:52   10   clinical practice, there's really no time left to devote to

04:06:57   11   research.

04:06:57   12               In fact, we often in -- those of us who practice in

04:07:02   13   busy, clinical practices often say that we are penalized if we

04:07:07   14   spend time doing research because at that time we are not

04:07:10   15   actively seeing patients and we are not generating volume

04:07:15   16   through the clinic.

04:07:16   17               So I do not have any research publications in that

04:07:19   18   regard.

04:07:20   19    Q    Now, we've heard some testimony already today about

04:07:23   20   approved drug labels.     Are those labels generally directed to

04:07:27   21   researchers or to clinicians?

04:07:29   22    A    They're directed towards clinicians.

04:07:32   23    Q    And are you a clinician?

04:07:34   24    A    Yes, sir, I am.

04:07:36   25                     MR. REIG-PLESSIS:   Defendants now tender
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04:07:37    1   Dr. Sheinberg as an expert in the field of cardiology.

04:07:41    2                   MS. KEANE:    No objection, Your Honor.

04:07:41    3   MR. REIG-PLESSIS:

04:07:43    4    Q    Dr. Sheinberg, do you have slides --

04:07:44    5                   THE COURT:    Is this just a general field of

04:07:47    6   cardiology?

04:07:47    7                   MR. REIG-PLESSIS:     Yes, Your Honor.

04:07:48    8                   THE COURT:    Is that the motion?

04:07:49    9                   You have to wait for me to rule.       So, is that

04:07:52   10   the motion?

04:07:52   11                   MR. REIG-PLESSIS:     Yes, Your Honor, in the

04:07:53   12   general field of cardiology.

04:07:55   13                   THE COURT:    There's no objection, so the request

04:07:57   14   is granted.

04:07:57   15   BY MR. REIG-PLESSIS:

04:07:58   16    Q    Dr. Sheinberg, do you have slides to assist the Court

04:08:01   17   with your testimony today?

04:08:02   18    A    Yes, I do.

04:08:03   19    Q    And are the documents cited in those slides documents you

04:08:06   20   relied on in forming your opinions?

04:08:08   21    A    Yes, they are.

04:08:09   22    Q    So turning now to DDX 4.3, could you summarize the

04:08:17   23   opinions you'll be presenting in your testimony today.

04:08:19   24    A    Yes, I will.

04:08:20   25               I will -- it will be my opinion this afternoon that
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04:08:26    1   severe hypertriglyceridemia is not necessarily a chronic

04:08:29    2   condition which requires indefinite drug treatment, and I also

04:08:33    3   will opine that severe hypertriglyceridemia can be treated

04:08:37    4   with a short course of drug therapy followed by diet and

04:08:41    5   exercise to maintain the triglyceride reductions that we

04:08:44    6   have seen.

04:08:45    7    Q    And, Doctor, are you offering those opinions today in the

04:08:49    8   context of the indicated use for Vascepa and defendants'

04:08:52    9   products to treat, quote, severe hypertriglyceridemia?

04:08:56   10    A    Yes, I am.

04:08:58   11    Q    So turning to DDX 4.4, do you also have specific opinions

04:09:03   12   on defendants' product labels?

04:09:05   13    A    Yes, I do.    It is the opinion that I will share today

04:09:09   14   that defendants' labels do not encourage, recommend, promote,

04:09:13   15   or require administration -- administering their product for

04:09:16   16   any duration, let alone at least 12 weeks, to achieve specific

04:09:20   17   effect on the lipids, including a minimum percent reduction in

04:09:25   18   triglycerides, to avoid an increase in LDL, and to cause a

04:09:31   19   reduction of apolipoprotein B levels.

04:09:33   20                I will also show this can be done without concurrent

04:09:37   21   lipid-altering therapy.

04:09:39   22    Q    Turning to DDX 4.5, in forming your opinions did you

04:09:43   23   analyze the claims that are asserted by Amarin in this case

04:09:46   24   against the defendants?

04:09:47   25    A    Yes, I have.    '929 patent claims 1 and 5; '728 patent
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04:09:54    1   claims 1 and 16; '715 patent claim 14; '677 patent claims 1

04:10:03    2   and 8; '652 patent claim 1; and '560 patent claims 4 and 17.

04:10:13    3    Q    And are you familiar with those claims which are in the

04:10:17    4   patents that are in your binder?

04:10:18    5    A    Yes, I am.

04:10:21    6    Q    Turning to DDX 4.6, which limitations of the asserted

04:10:25    7   claims did you specifically analyze?

04:10:28    8    A    In regarding the at least 12 weeks duration of drug

04:10:31    9   treatment limitation, that is in all 10 asserted claims.

04:10:34   10               In regards to the specific effects on lipid levels

04:10:38   11   limitation, which includes the minimum triglyceride

04:10:41   12   reductions;

04:10:42   13               The no increase in LDL; and

04:10:45   14               The reduction in apolipoprotein B that is seen in

04:10:49   15   nine claims which are all asserted claims except '929 patent

04:10:53   16   claim 1; and

04:10:54   17               The limitation of no concurrent lipid-altering

04:10:57   18   therapy, which we will discuss, which includes statins, but

04:11:01   19   not limited to that drug class is in three claims;

04:11:04   20               '728 patent claims 1 and 16; as well as '715 patent

04:11:09   21   claim 14.

04:11:10   22    Q    And are you addressing any other limitations of the

04:11:13   23   claims in your testimony besides the limitations described in

04:11:17   24   DDX 4.6?

04:11:19   25    A    No, sir, I am not.
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04:11:21    1    Q     So turning to DDX 4.7, there is a snapshot from DX 1500,

04:11:27    2   which I understand is on the admitted exhibits list, could you

04:11:30    3   point out the three categories of limitations that you

04:11:34    4   analyzed in an exemplary asserted claim.

04:11:37    5    A     Yes.   In this example, which is '728 patent claim, you

04:11:41    6   can see that it does have all three of the limitations.

04:11:45    7   Starting with the yellow highlighted section number 1 for a

04:11:49    8   12-week duration, as you can see it describes that acid or

04:11:55    9   esters for a period of 12 weeks.

04:11:57   10                 In regards to the specific lipid effects, the

04:11:59   11   example here which is seen in nine claims, to effect a

04:12:02   12   reduction in triglycerides without substantially increasing

04:12:06   13   LDL.

04:12:07   14                 And the third example, which is highlighted in

04:12:09   15   orange, is seen under the section after 1500 milligrams per

04:12:15   16   deciliter, talking about individuals who do not receive

04:12:18   17   concurrent lipid-altering therapy as this is one of the claims

04:12:22   18   that has all three components associated with it.

04:12:25   19    Q     So turning now to DDX 4.8, there are snapshots on the

04:12:30   20   screen of the Court's claim construction order, and the

04:12:32   21   parties' stipulation on agreed upon constructions which are

04:12:36   22   ECF numbers 135 and 83.      Did you apply the constructions in

04:12:41   23   these documents in forming your opinions in this case?

04:12:43   24    A     Yes, I have.

04:12:47   25    Q     So turning to DDX 4.9, what are the topics you intend to
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04:12:52    1   address in your testimony?

04:12:53    2    A    There will be two specific topics.       The first I will give

04:12:56    3   background regarding the concept of severe

04:12:59    4   hypertriglyceridemia, and we will -- I will also talk about

04:13:03    5   how Vascepa is used, and then we will discuss the

04:13:06    6   noninfringing analysis that I performed.

04:13:11    7    Q    So turning to DDX 4.10, there is a snapshot on the screen

04:13:16    8   of DX 1876, page 99.     We understand this exhibit has also been

04:13:23    9   admitted.    Could you identify this document.

04:13:25   10    A    Yes, I can.    This is the National Cholesterol Education

04:13:30   11   Program, the NCEP expert panel on detection, evaluation, and

04:13:35   12   treatment of high blood cholesterol levels in adults,

04:13:39   13   otherwise known as the Adult Treatment Panel, or ATP III final

04:13:45   14   report.   It was published in circulation in 2002.

04:13:47   15                And, as this document goes on to describe in the

04:13:49   16   highlighted area below, it states that if triglycerides are

04:13:53   17   very high, which is greater than or equal to 500 milligrams

04:13:58   18   per deciliter, attention turns first to the prevention of

04:14:01   19   acute pancreatitis.

04:14:03   20    Q    And what is severe hypertriglyceridemia or very high

04:14:07   21   triglycerides?

04:14:09   22    A    In terms of the definition here, greater than

04:14:13   23   500 milligrams per deciliter, is that the --

04:14:15   24    Q    Yes.   Just in general what is it?

04:14:17   25    A    It's a situation in which hyper means too many.
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04:14:23    1   Triglyceridemia means triglycerides in the blood, and so it's

04:14:27    2   too many triglycerides in the blood.

04:14:29    3    Q    Now, is severe hypertriglyceridemia a discrete disease?

04:14:35    4    A    It is not actually a discrete disease.        It is more of a

04:14:39    5   downstream consequence of multiple potential etiologies or

04:14:44    6   causes.

04:14:45    7    Q    Why does severe hypertriglyceridemia require treatment?

04:14:49    8    A    Because if it is not treated, we know it can cause two

04:14:52    9   different issues, the first which is described here as

04:14:55   10   pancreatitis.    Pancreatitis, which has already been described

04:14:59   11   as a very painful, horrible condition in which the pancreas

04:15:04   12   becomes inflamed and essentially begins to digest itself.

04:15:09   13               Not only is it painful, but it carries with it a

04:15:12   14   rather high mortality rate.      In other words, it can cause

04:15:15   15   death in a relatively frequent amount of people who suffer

04:15:15   16   from it.

04:15:19   17               And we also know that there is an association with

04:15:20   18   elevated triglycerides in cardiovascular risk.

04:15:23   19    Q    Now, if a patient is at risk for pancreatitis, do you

04:15:27   20   delay treating that patient with triglyceride-lowering drugs?

04:15:30   21    A    Absolutely not.    If I have a patient that is at risk for

04:15:34   22   this potential life-threatening complication, we treat that

04:15:38   23   person aggressively from day one.

04:15:40   24    Q    Do you necessarily treat patients differently depending

04:15:45   25   on whether their triglycerides are above or below 500?
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04:15:49    1    A    There is no magic thing that happens at 500.        If I have

04:15:54    2   someone who has triglycerides of 400, someone who has

04:15:59    3   triglycerides of 550 or 600, I will look at that person

04:16:02    4   relatively equivalently and treat those people aggressively to

04:16:07    5   prevent the sequelae or the consequences that those

04:16:11    6   triglycerides would potentially result in.

04:16:14    7    Q    So turning to DDX 4.11, there is a snapshot on the screen

04:16:19    8   of DX 1982, page 2 which is already in evidence.         Could you

04:16:23    9   identify this document.

04:16:25   10    A    Yes, I can.

04:16:26   11               This is the website for Vascepa, and the website

04:16:32   12   goes on to describe what are the causes for

04:16:36   13   hypertriglyceridemia, and it lists five specific issues.            The

04:16:40   14   first two are highlighted in yellow here.

04:16:43   15               Oftentimes, as the testimony has shown throughout

04:16:47   16   the day, these two things run hand-in-hand, but according to

04:16:50   17   the website here it quotes, "Here are some ways that

04:16:54   18   triglyceride levels may become very high."

04:16:56   19               The first is diet and lack of exercise.       This

04:17:01   20   combination of poor diet and a sedentary lifestyle is the

04:17:06   21   cause of most of what we see.       I would imagine that's why they

04:17:10   22   are the two items that are listed first.        And after practicing

04:17:13   23   for 20 years with 25,000 patients in my population that I see,

04:17:17   24   it is no question in my mind that these are the primary causes

04:17:21   25   of hypertriglyceridemia.
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04:17:24    1               Under the diet section, it says what you eat and

04:17:27    2   drink, especially alcohol and processed carbohydrates.           Quite

04:17:34    3   frankly, the concept, at least where I practice in Texas,

04:17:38    4   sugared sodas should be listed on that list because it is a

04:17:41    5   considerable problem that we see.       We also know that our

04:17:44    6   patients are likely not getting the exercise that they need.

04:17:48    7               Besides diet and exercise, we see certain medical

04:17:52    8   conditions which can cause hypertriglyceridemia such as

04:17:56    9   diabetes.

04:17:56   10               And I would go on to also say, in regards to

04:17:59   11   diabetes, most of the diabetes that we treat in cardiology is

04:18:04   12   Type II diabetes, it's diabetes that results from what we call

04:18:08   13   insulin resistance which is a diabetes not from a genetic,

04:18:13   14   discrete problem in which the pancreas doesn't produce enough

04:18:18   15   insulin, it's from a metabolic problem which is basically a

04:18:22   16   diet and exercise issue.

04:18:24   17               The fourth thing on the list are specific drugs,

04:18:27   18   which includes hormones and certain blood pressure

04:18:31   19   medications.

04:18:31   20               And the last thing on this list, it says genetics,

04:18:35   21   and that's a rather broad term, which if I may define it a

04:18:40   22   little bit at this moment.

04:18:41   23               There are two -- we can think of the genetic issue

04:18:44   24   as basically two different discrete issues.         There is a

04:18:48   25   definitive, genetic abnormality in a very small minority of
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04:18:54    1   our patients that are missing the genetic ability, or missing

04:18:57    2   the ability to code for certain enzymes or proteins, which,

04:19:01    3   for example, cause triglycerides to be broken out of certain

04:19:05    4   cholesterol particles.

04:19:07    5               For example, there's an enzyme called lipoprotein

04:19:11    6   lipase, and if there is an individual who does not have that

04:19:14    7   enzyme, that individual will have severely elevated

04:19:17    8   triglycerides which are what we call refractory or very

04:19:22    9   difficult to treat.

04:19:24   10               There are other genetic abnormalities.       They've

04:19:27   11   already been mentioned here this morning and this afternoon.

04:19:30   12   But, 98 or more of our patients -- 98 percent or more of our

04:19:34   13   patients do not have those discrete genetic abnormalities.

04:19:39   14               What they may have is what we like to call a genetic

04:19:44   15   predisposition.     In medicine we understand that there are

04:19:46   16   genetic predispositions for everything, for how tall people

04:19:48   17   are, for how people respond to certain diets and exercise.

04:19:52   18               We all know people who -- the layman's term is they

04:19:58   19   look at a pizza and they gain weight.        We know people who are

04:20:01   20   able to eat very little and still not achieve optimal body

04:20:06   21   mass, and the other side of the spectrum is true as well.           We

04:20:11   22   know people who can eat everything on their plate and they

04:20:14   23   never gain weight.

04:20:15   24               We have genetic proclivities that influence how we

04:20:19   25   respond to everything in our lives, and there are people who
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04:20:22    1   have a genetic proclivity to have elevated triglycerides

04:20:26    2   without having the specific genetic abnormality which relates

04:20:30    3   in exceedingly elevated triglyceride levels.

04:20:33    4    Q      So can a patient be genetically predisposed to

04:20:38    5   hypertriglyceridemia that is not severe?

04:20:40    6    A      Absolutely.

04:20:41    7    Q      Now, apart from those listed on Amarin's website, are

04:20:45    8   there other cases of severe hypertriglyceridemia?

04:20:47    9    A      There are.    Under medical conditions we have -- we see

04:20:51   10   renal failure.       We see people who smoke have an increased

04:20:54   11   risk.    We know in pregnancy, especially in the last trimester,

04:20:58   12   women can have hypertriglyceridemia which sometimes becomes

04:21:03   13   severe.

04:21:04   14                So there are certainly other things that this list

04:21:05   15   is exclusive of.

04:21:07   16    Q      Are there short-term causes of severe

04:21:09   17   hypertriglyceridemia?

04:21:10   18    A      Absolutely.    We know it for a fact that when people

04:21:15   19   overindulge in certain diets, a diet which is very high in

04:21:21   20   simple sugars or alcohol, and potentially reduce their

04:21:25   21   activity -- the best example of this I can think of is you

04:21:28   22   take someone who goes on a cruise, who is potentially

04:21:32   23   genetically predisposed to have elevated triglycerides.

04:21:37   24   They're on the cruise for the week.       They are eating at the

04:21:39   25   buffet, having as many desserts as they want, they're not
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04:21:42    1   exercising.    They're consuming considerable amounts of

04:21:46    2   alcohol.

04:21:46    3               That individual, who is genetically predisposed for

04:21:50    4   an elevation of triglycerides, even severe elevation of

04:21:53    5   triglycerides, after that cruise there's a very good chance

04:21:57    6   that individual will be over 500.

04:21:59    7               So there are acute conditions.      You remove those

04:22:01    8   acute insults, you take the person off the cruise, they go

04:22:05    9   back on their lifestyle, and that situation of

04:22:10   10   hypertriglyceridemia can potentially resolve.         So there are

04:22:13   11   certainly other acute reasons.

04:22:15   12    Q    Now, does Amarin's website indicate anywhere that the use

04:22:19   13   of Vascepa is limited to patients with genetic abnormalities

04:22:24   14   causing severe hypertriglyceridemia?

04:22:26   15    A    No, sir, it does not.

04:22:27   16    Q    And what are the typical triglyceride levels of patients

04:22:30   17   with those types of genetic abnormalities?

04:22:34   18    A    The genetic abnormalities that I mentioned, the ones that

04:22:38   19   have already been mentioned earlier in testimony, are

04:22:39   20   typically well over 1000 to 2000.

04:22:43   21               Again, there's a considerable variability, but those

04:22:47   22   people who have discrete genetic conditions typically have

04:22:52   23   triglycerides which are multiples of 500.

04:22:54   24    Q    So generally, in the triglyceride range of 500 to 1000,

04:22:58   25   does that include patients with genetic abnormalities usually?
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04:23:03    1    A    It can, but usually it does not.       As we get higher, up to

04:23:08    2   that 1000 level range, the genetic abnormality will become

04:23:13    3   more prevalent.

04:23:15    4               But when we talk between 500, as we get higher in

04:23:17    5   that range, there are still plenty of people who will have

04:23:21    6   severe hypertriglyceridemia which is not from a discrete

04:23:24    7   genetic abnormality.

04:23:26    8    Q    And when you say "plenty of people," can you estimate

04:23:29    9   what percent of patients would have it?

04:23:32   10    A    Ninety-seven plus percent, 98 percent.

04:23:35   11    Q    And just to be clear, that's 98 percent without a genetic

04:23:35   12   abnormality?

04:23:37   13    A    The discrete -- excuse me.      The discrete genetic

04:23:39   14   abnormalities really occur in potentially 2 percent of the

04:23:44   15   population that we see.

04:23:47   16    Q    So turning now to DDX 4.12, there's a snapshot on the

04:23:54   17   screen of DX 1953, page 29.      Could you identify this document.

04:23:58   18    A    Yes, I can.    This is Amarin's validity contentions.

04:24:02   19               This document goes on to say that -- in the first

04:24:06   20   paragraph here,

04:24:09   21                  "Persons of ordinary skill in the art also

04:24:13   22         understood that both diet and exercise level could

04:24:17   23         have significant impacts on triglyceride levels.

04:24:20   24         Heavy consumption of carbohydrates, certain kinds of

04:24:25   25         fats and/or alcohol was understood to lead to
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04:24:27    1         increased triglyceride levels."

04:24:30    2                    The document further goes on to say in the

04:24:33    3   second paragraph,

04:24:34    4                   "In contrast, it was understood that regular

04:24:36    5         exercise could offset the triglyceride effects of

04:24:40    6         some dietary factors and decreased triglyceride

04:24:43    7         levels.   Accordingly, the lack of exercise and/or

04:24:47    8         sedentary lifestyle are known to correlate with

04:24:50    9         higher triglyceride levels."

04:24:52   10    Q    Do you agree with these statements in Amarin's validity

04:24:56   11   contentions in this case?

04:24:57   12    A    Absolutely.    This is what I would consider the absolute,

04:25:00   13   primary reason many of our patients suffer from

04:25:06   14   hypertriglyceridemia.

04:25:07   15                    MR. REIG-PLESSIS:    And, Your Honor, we would

04:25:07   16   move the admission of DX 1953.

04:25:10   17                    MS. KEANE:   Your Honor, plaintiffs object to the

04:25:13   18   admission --

04:25:14   19                    THE COURT:   Would you make sure you speak into

04:25:15   20   the microphone.

04:25:16   21                    MS. KEANE:   Yes, Your Honor.

04:25:16   22                   Plaintiff's object to the admission of DX 1953.

04:25:22   23   These are Amarin's preliminary validity contentions.          It is a

04:25:27   24   document containing attorney argument.        It is not evidence of

04:25:31   25   fact, and it, therefore, is not appropriate admissible
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04:25:35    1   evidence.

04:25:35    2                    We are aware of there is case law --

04:25:39    3                    THE COURT:   Isn't it already part of the record?

04:25:42    4                    MS. KEANE:   They have not been admitted, Your

04:25:43    5   Honor.

04:25:43    6                    THE COURT:   Well, wasn't it a record in terms of

04:25:47    7   it being filed with the Court on the docket?

04:25:49    8                    MS. KEANE:   No, Your Honor.    It was not filed,

04:25:50    9   it was just exchanged amongst the parties.        It's a preliminary

04:25:55   10   statement --

04:25:55   11                    THE COURT:   Oh, I see.

04:25:56   12                    MS. KEANE:   -- of positions of counsel.

04:25:57   13                    THE COURT:   I'm sorry to interrupt.     But, you

04:25:59   14   were saying --

04:26:00   15                    MS. KEANE:   Yes.   We believe there's a case from

04:26:03   16   the District of Hawaii that's directly on point, that

04:26:07   17   preliminary contentions, one, are not evidence of fact, and,

04:26:09   18   two, they are not party admission either.        And the cite for

04:26:14   19   that is 2015 WL 1117993, and the title is Kowalski v. Anova

04:26:39   20   Food.

04:26:39   21                    THE COURT:   What's your response?

04:26:39   22                    MR. REIG-PLESSIS:    Well, Your Honor, a couple

04:26:41   23   responses.    I think we're a little puzzled by the objections

04:26:44   24   since these are Amarin's own statements and contentions in

04:26:48   25   this very case.     We submit that they would be at least party
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04:26:51    1   admissions under Federal Rule of Evidence 801(d)(2).

04:26:55    2                   We're aware of the Kowalski case which

04:26:58    3   plaintiffs have cited to us.      It's an unpublished case from

04:27:02    4   the District of Hawaii which was not applying this court's

04:27:05    5   patent rules.

04:27:06    6                   Obviously these contentions were served under

04:27:07    7   this court's patent rules on defendants.        It is far too late

04:27:09    8   for plaintiffs to amend the contentions.        These statements

04:27:12    9   were never amended.

04:27:14   10                   We tried to avoid having to move these into

04:27:17   11   evidence by simply adding Amarin's own statements of fact

04:27:20   12   verbatim, a stipulated fact into the Pretrial Order.          Amarin

04:27:24   13   refused.    It seems they are backing away from these statements

04:27:28   14   that, again, were their own contentions of fact.

04:27:31   15                   Now, you know, we're not arguing they're bound

04:27:34   16   by these contentions as judicial admissions, we would just say

04:27:38   17   that they are at least evidentiary admissions that should come

04:27:39   18   in and FRE 801.

04:27:41   19                   I should just add there are also cases going the

04:27:44   20   other way.    We cited one such case from the Eastern District

04:27:47   21   of Texas which hears almost -- many, many patent cases, and

04:27:53   22   that found the other way.

04:27:55   23                   THE COURT:    Well, regardless of how other

04:27:56   24   district courts have ruled, I overrule the objection.          I find

04:28:01   25   that because the validity contentions were exchanged as part
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04:28:05    1   of the Court's Local Rule, the party that offered the

04:28:07    2   contentions are bound by their contentions and now cannot try

04:28:11    3   to seek to exclude them, therefore, the objection is

04:28:15    4   overruled.

04:28:15    5                    Exhibit 1953 is admitted.

04:28:15    6                           (Defendants' Exhibit 953 received in
04:28:19                                 evidence.)
04:28:19    7                    MR. REIG-PLESSIS: Thank you, Your Honor.

04:28:22    8   BY MR. REIG-PLESSIS:

04:28:22    9    Q    So turning now to DDX 4.13, there's a snapshot on the

04:28:27   10   screen of DX 1957, page 6.      Could you identify this document,

04:28:31   11   please.

04:28:31   12    A    Yes, I can.    This is an excerpt from the Karalis paper, A

04:28:36   13   Review of Clinical Practice Guidelines For the Management of

04:28:40   14   Hypertriglyceridemia.     It was published in Advanced

04:28:43   15   Therapeutics in 2017 out of the University of Pennsylvania.

04:28:47   16                Dr. Karalis goes on to describe in this paper,

04:28:49   17                   "The cornerstone for the treatment of

04:28:53   18         hypertriglyceridemia is lifestyle intervention with

04:28:55   19         diet and exercise."

04:28:56   20                    He goes on further to describe,

04:28:59   21                    "However, pharmacologic therapy to lower

04:29:02   22         triglycerides may be considered based on an

04:29:05   23         individual's cardiovascular risk and how high the

04:29:09   24         level of triglycerides are."

04:29:11   25    Q    So based on Karalis, is pharmacologic therapy to lower
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04:29:18    1   triglycerides in patients with severe -- excuse me -- with

04:29:21    2   hypertriglyceridemia always required?

04:29:22    3    A    No, they are not always required.

04:29:24    4                   MR. REIG-PLESSIS:     And, Your Honor, we would

04:29:26    5   move into evidence DX 1957.

04:29:29    6                   MS. KEANE:    No objection.

04:29:33    7                   THE COURT:    I'm sorry.    I didn't hear.    Did you

04:29:35    8   say no objection?

04:29:35    9                   MS. KEANE:    No objection.

04:29:36   10                   THE COURT:    DX 1957 is admitted.

04:29:36   11                          (Defendants' Exhibit 1957 received in
04:29:41                                evidence.)
04:29:41   12                   MR. REIG-PLESSIS: Thank you, Your Honor.

04:29:43   13   BY MR. REIG-PLESSIS:

04:29:43   14    Q    So turning to DDX 4.14, Dr. Sheinberg, were you in the

04:29:48   15   courtroom were Mr. Klein presented the testimony on the screen

04:29:51   16   from Dr. Budoff during opening statements?

04:29:51   17    A    Yes, I was.

04:29:52   18    Q    And were you in the courtroom when Dr. Budoff confirmed

04:29:56   19   this testimony during his examination?

04:29:58   20    A    Yes, I was.

04:29:59   21    Q    And how does Dr. Budoff's clinical -- excuse me.         How

04:30:03   22   does Dr. Budoff's testimony on DDX 4.14 compare with your own

04:30:08   23   clinical experience?

04:30:10   24    A    Let me first describe what Dr. Budoff is saying here.

04:30:14   25   His -- the question was,
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04:30:16    1                   "And so is it consistent with your experience

04:30:19    2         that roughly one-fifth of patients with severe

04:30:24    3         hypertriglyceridemia are able to reduce their

04:30:27    4         triglyceride levels below 500 through diet and

04:30:30    5         exercise alone?"

04:30:31    6                   To which Dr. Budoff replies yes.

04:30:34    7                    And to answer your question after reading that,

04:30:36    8   it is consistent, however, my experience is even more so.

04:30:39    9   Dr. Budoff will say one-fifth of his patients, my experience

04:30:44   10   is it's more closely with -- closer to 70 percent to

04:30:49   11   75 percent of my patients can reduce their triglycerides below

04:30:54   12   500 through diet and exercise alone.

04:30:59   13    Q    And why do you believe your experience differs from

04:31:03   14   Dr. Budoff's?

04:31:04   15    A    I can simply tell you that in my practice I see -- there

04:31:09   16   may be several reasons.      Number one, we're in different parts

04:31:12   17   of the country so I can only comment on what the dietary

04:31:17   18   makeup for the local central Texas patient population is,

04:31:22   19   which, unfortunately, Texas has a significantly high rate of

04:31:26   20   obesity which is one of the highest in the country.

04:31:30   21               Also, the type of patients that I see, I am in a

04:31:33   22   primary setting.     In other words, I have -- most of my

04:31:37   23   patients are referred to me by either word-of-mouth, they come

04:31:42   24   in directly, or they come from a primary care physician.            I do

04:31:47   25   not have secondary, tertiary referrals.
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04:31:52    1               In other words, I don't work at a large center which

04:31:55    2   specializes or is known to be a research center that would

04:31:58    3   receive more difficult cases.

04:32:00    4               So I think the combination of my initial patient

04:32:03    5   population -- and, again, I cannot speculate on Dr. Budoff's

04:32:07    6   population or how his practice runs, but I do see quite a bit

04:32:12    7   of individual referrals, patients who do not go through other

04:32:17    8   individuals who are treating their lipids before they come to

04:32:21    9   me.

04:32:21   10    Q    And is the indicated use of Vascepa to treat severe

04:32:25   11   hypertriglyceridemia limited to patients for secondary or

04:32:30   12   tertiary referrals?

04:32:31   13    A    It is not.

04:32:32   14    Q    So turning now to DDX 4.15.      There's a snapshot on the

04:32:39   15   screen of DX 1960, page 38.      Could you identify this document,

04:32:43   16   please.

04:32:43   17    A    Yes, I can.    This is an excerpt from a textbook on

04:32:48   18   dyslipidemia by Pete Kwiterovich.       It is written out of Johns

04:32:54   19   Hopkins, and the chapter 7 which I am quoting here is

04:32:56   20   Disorders of Hypertriglyceridemia, written by Dr. Michael

04:33:02   21   Miller.

04:33:02   22               It goes on to say that, "in addition to" -- and this

04:33:05   23   abbreviation of HFCS stands for high fructose corn syrup --

04:33:11   24                  "A diet high in carbohydrates may lead to an

04:33:17   25         elevation of triglycerides."
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04:33:17    1                   It goes on further towards the bottom and it

04:33:20    2         says, "Regardless of macronutrient intake," which

04:33:23    3         means whether it's protein or fat or carbohydrate,

04:33:28    4         "the most potent manner for reducing triglycerides is

04:33:32    5         through weight reduction,"

04:33:33    6   which is absolutely consistent with what I see in my clinical

04:33:37    7   practice daily.

04:33:38    8    Q    And do you understand from the testimony earlier today

04:33:40    9   that Michael A. Miller was Amarin's claim construction expert

04:33:45   10   in this case?

04:33:46   11    A    Yes, I do.

04:33:47   12    Q    So turning now to DDX 4.16, there's a snapshot on the

04:33:53   13   screen of DX 1957, page 10.

04:33:57   14               Now, once a patient starts a triglyceride lowering

04:34:00   15   drug, can it be discontinued?

04:34:02   16    A    Yes, it can.

04:34:04   17    Q    And could you explain.

04:34:06   18    A    Yes, I can.    This is an excerpt from that Karalis article

04:34:10   19   that we discussed.     The excerpt says,

04:34:12   20                   "If the triglyceride levels fall to normal or

04:34:15   21         borderline level with lifestyle changes and a

04:34:18   22         combination of lipid-lowering therapy, consideration

04:34:21   23         may be given to discontinuing the nonstatin

04:34:24   24         triglyceride-lowering medication."

04:34:29   25                    And then if you look at the bottom of the slide,
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04:34:31    1   there's a simple graphic which represents the initiation of an

04:34:36    2   individual's visit with a physician in which a short course of

04:34:40    3   drug therapy is initiated, along with a lifestyle

04:34:44    4   modification, which again is a diet, reconstruct -- diet

04:34:47    5   construction and an exercise prescription.

04:34:51    6                    That is continued for a brief amount of time,

04:34:53    7   and then the drug can be discontinued when the triglycerides

04:34:57    8   are less than 500 milligrams per deciliter, and we can

04:35:01    9   maintain that with diet and exercise alone.

04:35:04   10    Q      And is the treatment depicted on DDX 4.16 a medically

04:35:11   11   reasonable way to treat a patient with a triglyceride-lowering

04:35:18   12   drug?

04:35:18   13    A      Absolutely.

04:35:19   14    Q      So turning to DDX 4.17, I'll represent to you that this

04:35:23   15   is a snapshot from Amarin's trial brief in this matter which

04:35:27   16   was filed as ECF number 327, at pages 12 and 13, and could you

04:35:35   17   just let us know whether you agree with the statements in this

04:35:37   18   paragraph?

04:35:38   19    A      So in order to give you that answer, I actually have to

04:35:41   20   dissect this paragraph a little bit.        That's a little bit more

04:35:44   21   complicated than just answering yes or no because certain

04:35:48   22   things I do agree with, and other things I would like to make

04:35:51   23   a clarification because I do not agree with.

04:35:53   24                It goes on to say that,

04:35:55   25                   "Severe hypertriglyceridemia is
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04:35:57    1           life-threatening because it puts patients at acute

04:36:01    2           risk of pancreatitis."

04:36:02    3                    I think there's no question.     We all agree on

04:36:05    4   that.

04:36:05    5                    It goes on to say,

04:36:06    6                   "It is chronic because it is typically caused

04:36:08    7           by genetic factors."

04:36:10    8                    Well, if we take that portion of this document

04:36:13    9   here, I would argue that it is not chronic and that it is not

04:36:18   10   typically caused by genetic factors.        I think my testimony so

04:36:23   11   far has really been evident that the chronicity of this is not

04:36:27   12   something that is definitive.       We -- and I've given examples

04:36:32   13   of individuals who can have acute elevations of triglycerides.

04:36:35   14                    When we talk about genetic factors, again, I

04:36:38   15   like to make sure that we delineate the two different types of

04:36:42   16   genetic factors that we're talking about, the absolute

04:36:45   17   discrete genetic abnormality, which is a very small percentage

04:36:50   18   of our patients, versus a genetic predisposition or

04:36:54   19   predilection to develop a problem.

04:36:57   20                    So to say that it is chronic, which is typically

04:37:00   21   caused by genetic factors, I do not believe the way it's

04:37:03   22   written here is correct.

04:37:05   23                    It goes on to say that this cannot be cured

04:37:07   24   through medication, and, again, that sentence or that

04:37:10   25   statement here, we will agree that this type of problem can't
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04:37:15    1   be -- there's no cure.

04:37:17    2                   It's a treatment, not a cure, which is very

04:37:21    3   different than someone who has a pneumonia.         In that case, we

04:37:25    4   give medication to cure a pneumonia.        Here, we use a

04:37:29    5   treatment.

04:37:29    6                   The problem is the treatment is not necessarily

04:37:32    7   through medication.     The treatment, and like I've testified,

04:37:34    8   is really lifestyle limiting.

04:37:37    9                   So, for example -- it's a silly example, but if

04:37:41   10   you have a rowboat that has a hole in it that is filling with

04:37:44   11   water and you keep scooping out the water, you aren't going to

04:37:48   12   get anywhere.    You have to fix the underlying problem.        You

04:37:51   13   have to patch that hole.

04:37:53   14                   In that example, patching the hole is fixing the

04:37:57   15   underlying lifestyle problem.       Unless you fix that problem,

04:38:01   16   you can bail water all day long, and you're never going to

04:38:05   17   have this problem fixed.

04:38:06   18                   The document goes on further to say,

04:38:10   19                   "If triglyceride-lowering medications are

04:38:12   20         ceased, the severely hypertriglyceridemic patient

04:38:16   21         will have triglyceride levels which will typically

04:38:19   22         rise again to dangerous premedication levels."

04:38:22   23                    And, again, to go back to the example that I

04:38:24   24   said earlier, it's not if the medications are ceased but if

04:38:29   25   the lifestyle modifications are not sustained and prolonged.
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04:38:33    1   This is also manifested in individual patients who yo-yo on

04:38:37    2   their weight.

04:38:38    3                   We take someone who has what we call metabolic

04:38:42    4   syndrome, they're overweight, they're sedentary, they're

04:38:48    5   diabetic or pre-diabetic, we get those individuals well

04:38:50    6   treated, we get them on a diet and exercise program, they lose

04:38:54    7   weight, they are no longer diabetic or pre-diabetic, their

04:38:54    8   blood pressure issues resolve.

04:38:58    9                   If they maintain that, they're great.        If they

04:39:00   10   don't, they gain their weight back, they go right back to the

04:39:05   11   same risks they had.

04:39:06   12                   In this case, if they don't maintain the dietary

04:39:09   13   and lifestyle changes that were prescribed, their

04:39:12   14   triglycerides will, again, typically rise to the dangerous

04:39:16   15   levels.   But I would argue that it's not the medication that's

04:39:19   16   doing it, it's the lifestyle.

04:39:21   17                   This document further goes on to say,

04:39:24   18                   "To prevent triglyceride levels from

04:39:27   19         returning to dangerous pretreatment levels, standard

04:39:32   20         medical practice is to administer triglyceride-

04:39:34   21         lowering medications to severely hypertriglyceridemic

04:39:37   22         patients chronically, not on a short-term,

04:39:40   23         intermittent basis."

04:39:42   24                    And, again, throughout this example I've laid

04:39:45   25   out several scenarios in which the triglyceride medicine does
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04:39:49    1   not need to be given chronically.       It can be given on a

04:39:52    2   short-term basis, and it can be given on an intermittent

04:39:55    3   basis.

04:39:55    4                   To go back to the example that I just mentioned,

04:39:57    5   if I have an individual who was able to effect a good diet and

04:40:04    6   exercise shift, they turn the leaf over, they're exercising,

04:40:08    7   they're not smoking, they're not consuming carbohydrate-rich

04:40:13    8   and sugar-rich foods, that person will have a reduction in

04:40:17    9   their triglycerides.

04:40:17   10                   If that person goes back to their previous

04:40:20   11   lifestyle, their triglycerides will rise.        They may now have a

04:40:24   12   need, again, for hypertriglyceride-lowering medicines.          They

04:40:30   13   may also have a need again for anti-hypertensive medicines or

04:40:34   14   diabetic medicine.

04:40:36   15                   So all these medicines can be used on a

04:40:39   16   short-term, intermittent basis.

04:40:42   17    Q    Now, do you also have slides on how Vascepa is prescribed

04:40:45   18   in clinical practice?

04:40:47   19    A    Yes, sir, I do.

04:40:48   20    Q    How often do you personally prescribe Vascepa?

04:40:51   21    A    I prescribed Vascepa probably 15 to 20 times per month.

04:40:55   22    Q    Are there similar products that you use more often than

04:40:59   23   Vascepa?

04:40:59   24    A    Yes, there are.    I use the -- I use generic version of

04:41:04   25   Lovaza, and I often use over-the-counter fish oil products as
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04:41:10    1   well.    There are some over-the-counter products that contain

04:41:13    2   DHA, DPA, and EPA, and some that just contain EPA.         So, I use

04:41:20    3   a very similar products on a daily basis in my practice.

04:41:25    4    Q      So turning now to DDX 4.19, there's a snapshot on the

04:41:29    5   screen of DX 2248, page 2, and this exhibit is already in

04:41:32    6   evidence.

04:41:33    7                When you do use Vascepa, Dr. Sheinberg, what are

04:41:37    8   your main reasons for prescribing it?

04:41:40    9    A      So I will start -- there are several reasons, and let me

04:41:43   10   start with the indications that are listed here from the

04:41:46   11   package insert.

04:41:48   12                The first indication, which throughout the last two

04:41:50   13   days of testimony we've come to know as the REDUCE-IT

04:41:54   14   indication, which is the indication to reduce the risk of

04:41:57   15   heart attack, stroke, revascularization, which is bypass and

04:42:02   16   stint, and unstable angina, really chest pain requiring

04:42:05   17   hospitalization in the set population which are individuals

04:42:09   18   who have cardiovascular disease or individuals who have

04:42:13   19   diabetes and two more risk factors.

04:42:15   20                The second indication is an adjunct diet, which is

04:42:20   21   what we've described here as the previous indication, which is

04:42:23   22   to reduce -- or the MARINE indication, which is to reduce

04:42:27   23   triglyceride levels in adults with triglycerides over 500.

04:42:31   24                But I will also point out there are other reasons

04:42:34   25   which Vascepa is used in my practice, one of which is those of
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04:42:38    1   us who use what we call advanced lipid testing, which is lipid

04:42:42    2   testing or cholesterol testing which doesn't just focus on the

04:42:46    3   amount of cholesterol, we actually focus on the quality of

04:42:50    4   cholesterol.

04:42:51    5               So, for example, LDL, which is bad cholesterol,

04:42:54    6   occurs in many different sizes.       We know these products have

04:42:58    7   an improvement in cholesterol quality.

04:43:02    8               We also know these products, which is icosapent

04:43:05    9   ethyl, has an improvement in inflammation, and we now

04:43:08   10   understand that when someone has a heart attack, it is

04:43:11   11   actually resulting from an inflammatory change within that

04:43:16   12   artery.

04:43:16   13               So our understanding of the pathogenesis of heart

04:43:20   14   disease is based on our understanding of the inflammatory

04:43:23   15   changes within the artery.      Icosapent ethyl effectively

04:43:28   16   reduces those inflammatory changes which may or may not lead

04:43:32   17   to the benefits that we see here, that's been speculated over

04:43:36   18   and over again.

04:43:38   19               So the reality is there are multiple reasons to use

04:43:41   20   this medication.

04:43:42   21    Q    Now, just focusing on the two on-label uses of Vascepa,

04:43:47   22   does the REDUCE-IT indication, as the parties have been

04:43:51   23   referring to it, have anything to do with the original MARINE

04:43:54   24   indication?

04:43:54   25    A    They are completely separate indications which affect
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04:43:58    1   completely different patient populations.

04:44:01    2                I can tell you in my practice of over 400 and some

04:44:06    3   odd patients per month, and, like I said earlier, a patient

04:44:10    4   base of over 25,000 patients, I have rather -- maybe 10, 5 to

04:44:17    5   10 percent of my patients that will have hypertriglyceridemia

04:44:23    6   to the effect of greater than 500 milligrams per deciliter.

04:44:24    7                But I will have 70 some odd percent of my patient

04:44:28    8   population which is characterized for the indication for

04:44:32    9   REDUCE-IT.    So, they do affect very different patient

04:44:35   10   populations.

04:44:36   11    Q    Now, do the defendants' labels in this case include both

04:44:39   12   of the indications that are on the Vascepa label?

04:44:42   13    A    No, they do not.    The defendants' label is consisted only

04:44:46   14   with what we have been categorizing as the MARINE indication,

04:44:50   15   which is the adjunct to diet to reduce triglyceride levels in

04:44:53   16   patients with severe hypertriglyceridemia.

04:44:56   17    Q    And when you prescribe Vascepa for the MARINE indication,

04:44:59   18   do you prescribe it together with diet and exercise?

04:45:02   19    A    Absolutely.

04:45:04   20    Q    And do you generally prescribe Vascepa long-term?

04:45:08   21    A    Generally, I do.

04:45:10   22    Q    And why is that?

04:45:12   23    A    Even though the testimony to follow will show it, and I

04:45:18   24   can tell you in my clinical practice we can see reductions in

04:45:22   25   triglycerides rather rapidly for the effects that I mentioned
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04:45:26    1   previously, which are the reduction of cardiovascular problems

04:45:30    2   which is described above, the improvement in cholesterol

04:45:35    3   quality and particle size and density, and in the

04:45:38    4   anti-inflammatory properties.

04:45:41    5                If I'm able to get someone on this medication

04:45:43    6   long-term, I would like to use it long term.         But the minority

04:45:47    7   of that is to reduce triglycerides in patients over

04:45:51    8   500 milligrams per deciliter.

04:45:53    9    Q    So is the reason that you keep patients on Vascepa

04:45:55   10   long-term to keep their triglycerides below 500 as required by

04:45:59   11   the MARINE indication?

04:46:00   12    A    Absolutely not.

04:46:01   13    Q    So turning now to DDX 4.20, could you provide an example

04:46:07   14   of how you're able to use Vascepa with a typical patient.

04:46:11   15    A    Yes.    This is a slide I put together as an illustrative

04:46:16   16   example.     So what it describes here as a first patient visit

04:46:20   17   after undergoing a lipid evaluation.

04:46:24   18                This individual has a triglycerides of

04:46:26   19   550 milligrams per deciliter.       At the time of the visit, the

04:46:30   20   patient would undergo history, physical exam, other courses

04:46:35   21   of -- or other etiologies that would potentially be

04:46:39   22   contributing to hypertriglyceridemia would be discussed,

04:46:43   23   whether this patient is a smoker, if they're taking medication

04:46:46   24   that could potentially cause this, if they have diabetes, and

04:46:50   25   if they have hypothyroidism.      These would be potentially
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04:46:55    1   addressed at that time.

04:46:56    2                The patient would also be given a specific

04:46:59    3   nutritional plan and a specific exercise plan, either by

04:47:03    4   myself, or I would bring in an exercise physiologist and a

04:47:08    5   nutritionist who I have in my office.

04:47:10    6                And at the same time, that patient will be given

04:47:13    7   Vascepa or icosapent ethyl specifically because the

04:47:16    8   consequences of pancreatitis are so severe that I want to

04:47:21    9   address those risks absolutely as aggressively and as

04:47:26   10   thoroughly as I possibly can relatively immediately.

04:47:30   11                After the patient leaves the office, I will have he

04:47:34   12   or she return within a two- to four-month time period.          I will

04:47:38   13   have a second set of labs drawn prior to the visit.

04:47:42   14                In this case the triglycerides have dropped to 300.

04:47:46   15   I'd like to point out the medication and the lifestyle

04:47:50   16   modification has successfully treated the severe

04:47:56   17   hypertriglyceridemic component.       Even though this individual

04:47:58   18   is not yet at goal, where I want them, they are no longer in

04:48:02   19   the severe hypertriglyceridemic range, and at that point, a

04:48:06   20   decision is made.

04:48:08   21                More often than not, I will admit I do continue the

04:48:12   22   Vascepa.    It has long-term risk reduction.      It has those

04:48:15   23   tremendous benefits on advanced lipidology and advanced lipid

04:48:21   24   testing, and it has a discrete, definitive, anti-inflammatory

04:48:24   25   component.
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04:48:25    1                But, there's a decent proportion of patients at that

04:48:27    2   time that I will discontinue the medication for various

04:48:30    3   reasons, and I will continue to instruct them -- in fact, it

04:48:34    4   is absolutely vital that they continue to make their diet and

04:48:39    5   exercise changes.

04:48:40    6                Most of the benefit we see in diet and exercise

04:48:43    7   changes do not occur in two to four months, it occurs over a

04:48:47    8   year.    So we will continue to see that individual in the

04:48:49    9   clinic, we will continue to measure parameters, but there are

04:48:53   10   people who I will definitively stop this medication for and

04:48:58   11   continue aggressive lifestyle risk reduction.

04:49:01   12    Q      Are there lifestyle interventions that can start

04:49:04   13   benefitting a patient before 12 weeks?

04:49:06   14    A      Absolutely.   So we can see discontinuation of smoking,

04:49:10   15   discontinuation of high-sugared beverages, and, again, the

04:49:15   16   reference we keep referring to is alcohol.        But, again, where

04:49:18   17   I practice is Dr. Peppers, it's Big Gulps of 64 ounces of a

04:49:27   18   sugared soda, it is gummy bears.

04:49:30   19                So we can make those differences rather quickly by

04:49:34   20   convincing the individuals to change their habits.

04:49:36   21    Q      Now, have you reviewed any data on how quickly Vascepa

04:49:40   22   can reduce triglycerides below 500?

04:49:43   23    A      Yes, sir, I have.

04:49:43   24    Q      So turning to DDX 4.21.   There's snapshot on the screen

04:49:47   25   of DX 1694, page 214, and this is one of the exhibits on the
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04:49:54    1   joint admitted list.     Could you identify this document for the

04:49:57    2   record.

04:49:57    3    A    Yes, I can.    This is a clinical study report from the

04:50:02    4   MARINE study, and to take you through what we're looking at

04:50:06    5   here, it's the study of icosapent ethyl, and this is a summary

04:50:11    6   of the triglycerides in milligrams per deciliter.         Circled is

04:50:16    7   week four, which is the fifth visit of the patient.

04:50:19    8               You look at the baseline initial evaluation, the

04:50:23    9   average -- I'm sorry, the median triglyceride level at

04:50:26   10   baseline was 679.5 milligrams per deciliter.

04:50:31   11               If you go down to the week four value, the median

04:50:35   12   has dropped to 471 milligrams per deciliter, and, again, that

04:50:42   13   third drop occurred by week four.

04:50:46   14    Q    So according to Amarin's MARINE study, how long does it

04:50:51   15   take for Vascepa to lower triglycerides below 500?

04:50:55   16    A    Four weeks, and I tell you this is also congruent with

04:50:59   17   what I see in my clinical practice.

04:51:01   18    Q    So turning now to DDX 4.22, there's snapshot on the

04:51:05   19   screen DX 1701, page 68, which is also on the joint list of

04:51:10   20   admitted exhibits.

04:51:13   21               We've heard some testimony about this document, but

04:51:15   22   could you explain what you're showing on this slide for the

04:51:18   23   record?

04:51:19   24    A    This is the FDA medical review for Vascepa from the

04:51:27   25   Center For Drug Evaluation and Research by the FDA.
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04:51:27    1               This is a -- the paragraph below goes on to say that

04:51:31    2   the open extension MARINE, which was data up to 40 weeks, was

04:51:36    3   submitted as part of the 120-day update.

04:51:39    4               There is no figure described, but it describes that

04:51:41    5   the maximum triglyceride-lowering effect of 4 grams of Vascepa

04:51:46    6   occurred by week four, and the effects were maintained

04:51:49    7   throughout the study, and, again, this is what we see in the

04:51:54    8   clinical practice world.

04:51:57    9    Q    So turning to DDX 4.23.     There's another snapshot of

04:52:02   10   DX 1701, page 41.

04:52:04   11               Did you hear Dr. Budoff's testimony earlier about

04:52:08   12   the sentence "patients with very high triglycerides have a

04:52:12   13   strong genetic component to their decease," and it goes on?

04:52:15   14    A    Yes, I did.

04:52:17   15    Q    What does it mean for severe hypertriglyceridemia to have

04:52:20   16   a strong genetic component?

04:52:22   17    A    Again, this is a -- it's a reiteration of what I

04:52:26   18   mentioned little bit earlier, and, that is, there needs to be

04:52:29   19   a definitive delineation here between a genetic abnormality

04:52:35   20   which results in a specific genetic issue and which an

04:52:39   21   individual has no other way around.

04:52:43   22               So, for example, if I have an individual who lacks

04:52:47   23   the gene for liposomal protein lipase, lipoprotein lipase, and

04:52:53   24   they have that genetic deficiency, that is a true genetic

04:52:53   25   abnormality.
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04:52:58    1               But even as Dr. Budoff said there are people who

04:53:00    2   don't express think genetic abnormalities completely.          There

04:53:05    3   are people who have genetic predispositions or genetic

04:53:06    4   proclivities to have things.

04:53:09    5               So patients with very high triglycerides levels

04:53:12    6   likely have a genetic component in some way to have

04:53:16    7   elevated -- elevated lipid issues whether it's triglycerides

04:53:20    8   or whatnot.

04:53:21    9               But it doesn't mean that their genetic differences

04:53:26   10   that we see within the patients make them unable to respond to

04:53:32   11   other interventions such as discontinuation of smoking,

04:53:35   12   engagement in proper exercise -- proper exercise regimens and

04:53:41   13   appropriate diet.

04:53:42   14    Q    So are genetics the only component contributing to

04:53:47   15   patient severe hypertriglyceridemia?

04:53:49   16    A    Absolutely not.    Let me take this one step further and

04:53:53   17   definitively argue.

04:53:55   18               If I have a patient who's genetically predisposed to

04:54:01   19   be heavy, it may take us a little bit more dietary coaching or

04:54:06   20   a little bit more exercise prescription to get that person

04:54:10   21   where they need to be, but it doesn't mean it can't be done.

04:54:13   22   In fact, we do every single day.

04:54:19   23    Q    So does everyone with a genetic predisposition for severe

04:54:33   24   hypertriglyceridemia require drug treatment?

04:54:35   25    A    No, they do not.
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04:54:36    1    Q    So turning now to DDX 4.24, there's another snapshot of

04:54:42    2   DX 1701, page 41, which is still on the screen, and before I

04:54:47    3   get to the slide, what is your goal for triglycerides in terms

04:54:51    4   of the patients you treat?

04:54:54    5    A    Ultimately I like to try to shoot for a triglyceride

04:54:57    6   level which is less than 150 milligrams per deciliter.

04:55:01    7    Q    And are those normal triglycerides?

04:55:03    8    A    That would be considered normal.

04:55:05    9    Q    At what point does the FDA consider therapy with Vascepa

04:55:09   10   successful?

04:55:10   11    A    They consider therapy successful in this population if

04:55:14   12   the triglycerides are lowered to less than 500 milligrams per

04:55:18   13   deciliter.

04:55:19   14    Q    And does it take 12 weeks to achieve that success for

04:55:22   15   purposes of the indicated use?

04:55:24   16    A    It does not.

04:55:25   17    Q    Now, does Vascepa successfully reduce triglycerides in

04:55:29   18   all patients?

04:55:30   19    A    It does not.

04:55:32   20    Q    So turning to DDX 4.25, there's snapshot on the screen of

04:55:38   21   DX 1694, page 12, which we reviewed earlier.

04:55:44   22                According to the MARINE study report, are there

04:55:47   23   patients on Vascepa who do not experience triglyceride

04:55:49   24   reductions?

04:55:50   25    A    Yes, that is correct.     To look at this document, this is
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04:55:53    1   an excerpt from the Amarin MARINE study, the Clinical Study

04:55:58    2   Report.

04:55:59    3               What we're look at here which is highlighted is the

04:56:01    4   percentage change from baseline to the 12-week evaluation.

04:56:05    5   It's the endpoint in fasting triglycerides, and you can see at

04:56:08    6   the bottom which highlighted, percent change from baseline,

04:56:12    7   the median is 26.6 percent.

04:56:15    8               But if you look at what is described at Q1 and Q3,

04:56:19    9   Q1 is the median in the first half of the group receiving this

04:56:26   10   medication, the Q3 designation is the median of the second

04:56:31   11   half of the group receiving this medication.

04:56:33   12               And you can see the median of that second half

04:56:39   13   absolutely had a 0.0 percent change which means there are some

04:56:43   14   people in this evaluation who actually had an increase in

04:56:46   15   triglycerides, up to 25 percent of those people based on what

04:56:50   16   we see here.

04:56:52   17    Q    Does the MARINE Clinical Study Report also include data

04:56:56   18   on LDL-C and apo B levels?

04:57:00   19    A    Yes, it does.

04:57:00   20    Q    So turning to DDX 4.26, there's a snapshot on the screen

04:57:05   21   now DX 1694, page 268.      According to the MARINE study

04:57:15   22   report -- I'm sorry.

04:57:17   23               Are there patients taking Vascepa who's LDL-C

04:57:20   24   increases according to the Clinical Study Report?

04:57:23   25    A    Yes, this is the same type of data we just looked at on
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04:57:26    1   the previous analysis.      This is percent change in LDL from

04:57:30    2   baseline to week 12.

04:57:32    3               And you can see, although there was median reduction

04:57:35    4   of 4.5 percent, if you look at Q3, which is the median of the

04:57:39    5   second half of the data group, there was an increase in LDL-C

04:57:44    6   of 17.2, which means, again, that's the median, so there's a

04:57:50    7   group of people in this evaluation who had an LDL increase

04:57:54    8   above 17.2 percent.

04:57:55    9    Q    And turning now to DDX 4.27, there's snapshot on the

04:58:00   10   screen of DX 1694, page 239.      Are there patients taking

04:58:06   11   Vascepa whose apo B is not reduced?

04:58:09   12    A    Yes, that is correct.     Again, same document.     It's laid

04:58:12   13   out in the same way.     This time we're looking apolipoprotein

04:58:17   14   B.

04:58:17   15               Their percent change from baseline, the median was a

04:58:20   16   reduction of 3.8 percent.      But, again, if you look at that Q3

04:58:26   17   evaluation highlighted in yellow, you can see in that second

04:58:29   18   half of the group that there was an actual 3.8 percent rise in

04:58:33   19   apolipoprotein B which again indicates that are certain

04:58:38   20   individuals, up to 25 percent, who had a rise which was even

04:58:41   21   higher than 3.8 percent.

04:58:43   22    Q    So turning to DDX 4.28, there are snapshots on the screen

04:58:47   23   of DX 2248, DX 2256, and DX 2266.       Could you identify these

04:58:55   24   documents for the record.

04:58:56   25    A    These are the package inserts or the labels for Vascepa
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04:59:00    1   for Hikma's icosapent ethyl and Dr. Reddy's Laboratories'

04:59:06    2   icosapent ethyl.

04:59:06    3                   MR. REIG-PLESSIS:     And I believe DX 2248 and

04:59:10    4   2256 are already admitted, but we would move into evidence

04:59:14    5   DX 2266, which is the DRL label.

04:59:18    6                   MS. KEANE:    No objection, Your Honor.

04:59:20    7                   THE COURT:    2248 is admitted.

04:59:25    8                   MR. REIG-PLESSIS:     And, I'm sorry, it was 2266.

04:59:27    9   I believe 2248 --

04:59:28   10                   THE COURT:    I'm sorry -- I looked at the first

04:59:30   11   one, 2248, 2256, 2266 are the three that are laid side by

04:59:35   12   side?

04:59:35   13                   MR. REIG-PLESSIS:     Correct, Your Honor.     I

04:59:36   14   believe the first two --

04:59:38   15                   THE COURT:    I thought all of them were admitted

04:59:40   16   already.    All the labels are in, aren't they?

04:59:42   17                   THE CLERK:    One was not, two was, 2266, Your

04:59:46   18   Honor.

04:59:46   19                   THE COURT:    The DRL label is not -- well, if it

04:59:49   20   hasn't been, it will be admitted.

04:59:49   21                          (Defendants' Exhibit 2266 received in
04:59:52                                evidence.)
04:59:52   22                   MR. REIG-PLESSIS: Thank you, Your Honor.

04:59:53   23                   I believe perhaps the PX version was previously

04:59:55   24   admitted, so we're moving into evidence just the 2266 DX

05:00:01   25   version.
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05:00:02    1                   THE COURT:    Thank you.

05:00:02    2                   MR. REIG-PLESSIS:     Thank you.

05:00:03    3   BY MR. REIG-PLESSIS:

05:00:03    4    Q    Dr. Sheinberg, are any differences between these three

05:00:07    5   labels, the Vascepa label, the Hikma label, and the DRL label,

05:00:13    6   material to any of your opinions relating to infringement of

05:00:18    7   the asserted claims?

05:00:18    8    A    There is no difference.

05:00:19    9                   THE COURT:    I'm sorry, what was the answer?

05:00:19   10                   THE WITNESS:    I'm sorry, would you ask the

05:00:21   11   question again?     I want to make sure I answer it properly.

05:00:21   12                   MR. REIG-PLESSIS:     Sure.

05:00:21   13   BY MR. REIG-PLESSIS:

05:00:23   14    Q    Are there any material differences between the Vascepa

05:00:26   15   label, the Hikma label, and the DRL label, and when I mean

05:00:31   16   material, I mean differences that are material to your

05:00:34   17   noninfringement opinions.

05:00:34   18    A    There's no difference, no material difference.

05:00:36   19    Q    Are any differences between the Vascepa product and

05:00:39   20   defendants' generic products material to your opinions?

05:00:42   21    A    No.

05:00:44   22    Q    So let's move on to your noninfringement opinions.            What

05:00:49   23   topics do you tend to address in your analysis?

05:00:52   24    A    Well, now that we've finished the background, my

05:00:56   25   noninfringement analysis will effectively cover three
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05:00:59    1   different topics, the 12 weeks duration topic, the lipid

05:01:02    2   effects topic, and the no concurrent lipid-altering therapy

05:01:06    3   topic.

05:01:08    4    Q    What is the legal standard that you applied in analyzing

05:01:11    5   defendants' labels?

05:01:12    6    A    The legal standard that I used is, quote,

05:01:15    7                  "In order to induce infringement, the label

05:01:18    8         must encourage, recommend, or promote infringement.

05:01:22    9         Merely describing an infringing mode is not the same

05:01:26   10         as recommending, encouraging, or promoting an

05:01:29   11         infringing use, or suggesting that an infringing use

05:01:32   12         should be performed."

05:01:33   13    Q    Now, just to be clear, Dr. Sheinberg, are you a lawyer?

05:01:36   14    A    No, I am not.

05:01:37   15    Q    Are you offering any legal opinions?

05:01:39   16    A    No, sir, I am not.

05:01:40   17    Q    Are you offering any opinions on FDA regulatory issues?

05:01:44   18    A    No, sir, I am not.

05:01:46   19    Q    Are you offering opinions from the perspective of a

05:01:49   20   physician?

05:01:49   21    A    Yes, I am.

05:01:50   22    Q    Now, as a physician, what parts of a drug label do you

05:01:54   23   generally expect to provide instructions on the duration of

05:01:59   24   treatment for a drug?

05:01:59   25    A    Typically the areas that provide instruction are the
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05:02:04    1   indication and usage and the dosage and administration

05:02:07    2   sections of the package insert.

05:02:09    3    Q    So turning to DDX 4.31, there's snapshot on the screen

05:02:14    4   from DX 2256, pages 1 and 2.      What are you showing on this

05:02:18    5   slide?

05:02:18    6    A    This is the indication and usage section of the package

05:02:22    7   insert of defendants' label, and it goes on to describe

05:02:25    8   icosapent ethyl as indicated as an adjunct to diet to reduce

05:02:30    9   triglyceride levels in patients with severe

05:02:33   10   hypertriglyceridemia.

05:02:33   11    Q    Now, to a physician, does the term severe

05:02:37   12   hypertriglyceridemia in the indication imply that indefinite

05:02:40   13   drug treatment is required?

05:02:41   14    A    Absolutely not.

05:02:43   15    Q    Is the indication for defendants' products limited to

05:02:47   16   patients with a genetic abnormality?

05:02:50   17    A    It is not limited to any patient of any type.

05:02:53   18    Q    So are the indicated uses for defendants' products

05:02:57   19   limited to chronic use?

05:02:59   20    A    No, they are not.

05:03:00   21    Q    And according to the indication, are defendants' products

05:03:03   22   a primary treatment for severe hypertriglyceridemia?

05:03:05   23    A    They are not.    They're adjunctive therapy which means

05:03:09   24   they need to be used in combination with diet.

05:03:14   25    Q    So does the indications and usage section encourage
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05:03:17    1   recommend or promote administering defendants' products for at

05:03:20    2   least 12 weeks?

05:03:21    3    A    No, it does not.

05:03:22    4    Q    Now, turning to DDX 4.32, were you in the courtroom when

05:03:27    5   Mr. Klein presented the testimony on this demonstrative from

05:03:31    6   Dr. Budoff during opening statements?

05:03:32    7    A    Yes, I was.

05:03:33    8    Q    And were you in the courtroom when Dr. Budoff confirmed

05:03:36    9   that testimony?

05:03:37   10    A    Yes, I was.

05:03:38   11    Q    And is your opinion consistent with Dr. Budoff's

05:03:41   12   testimony on this point?

05:03:42   13    A    Yes, and to describe it, Dr. Budoff was asked and do you

05:03:46   14   agree it would still be consistent with the Vascepa labeling

05:03:49   15   for a doctor to prescribe Vascepa for fewer than 12 weeks, to

05:03:54   16   which Dr. Budoff replied yes.

05:03:58   17    Q    Turning now to DDX 4.33.      There's snapshot on the screen

05:04:02   18   of DX 2256, page 2.     What are you showing on this slide?

05:04:07   19    A    This is the dosage and administration section of the

05:04:10   20   package insert of defendants' drug, and under section 2.1 it

05:04:16   21   really goes on to describe what we've been talking about which

05:04:19   22   is obviously prior to initiation of icosapent ethyl assess

05:04:24   23   lipid levels which it's obvious, identify other causes which

05:04:28   24   we have talked about, and manage as appropriate, which I

05:04:32   25   testified earlier that would include treatment of those other
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05:04:37    1   issues concomitantly with the use of lifestyle therapy and

05:04:43    2   medication.

05:04:43    3                It goes on as second bullet to say patients should

05:04:47    4   engage in appropriate nutritional intake and physical activity

05:04:50    5   before receiving icosapent ethyl which should continue during

05:04:54    6   treatment with icosapent ethyl.

05:04:55    7    Q    Does the instruction to identify and manage other cases

05:05:00    8   imply that medication should be delayed until those causes are

05:05:05    9   addressed?

05:05:05   10    A    Absolutely not.    It's giving me sort of a direction that

05:05:09   11   we need to fix underlying causes as appropriate, but it does

05:05:12   12   not state that that should be done specifically prior.

05:05:17   13                And I would argue specifically against doing that

05:05:19   14   because we understand the severe consequences in morbidity and

05:05:25   15   mortality for pancreatitis, that we want to treat that as

05:05:28   16   aggressively as we possibly can.

05:05:30   17    Q    So focusing now on the second bullet under section 2.1,

05:05:35   18   does the statement to engage in nutritional intake and

05:05:39   19   physical activity before receiving icosapent ethyl mean that a

05:05:42   20   patient should wait for diet and exercise to take effect

05:05:45   21   before icosapent is administered?

05:05:47   22    A    It's my interpretation of this that that is not the case.

05:05:50   23   Again, ultimately, a goal for the prescribing physician is to

05:05:56   24   make sure we keep our patients healthy and out of the

05:05:59   25   hospital.    In order to do so in this case, we have to keep
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05:06:03    1   those people from developing pancreatitis.

05:06:07    2                So in terms of engaging in appropriate nutritional

05:06:10    3   intake and physical activity, it does not specifically

05:06:13    4   describe how long that should be, what it should be, and

05:06:16    5   that's really up to the discretion of the prescribing

05:06:19    6   physician.

05:06:20    7                I interpret this unequivocally to mean I have to

05:06:23    8   make the appropriate nutritional and physical activity

05:06:26    9   assessment and recommendations and then, in the same visit,

05:06:33   10   prescribe the medication.

05:06:34   11                For example, if I have an individual who is a

05:06:38   12   smoker, and I tell that individual after sitting with them and

05:06:41   13   counseling them and showing them the risks, and I said to that

05:06:44   14   individual, "I need you to stop smoking," and they say, "Okay,

05:06:48   15   Doc, I understand, I'm going to stop smoking," well, that was

05:06:52   16   a successful intervention right there.        He immediately is

05:06:55   17   engaged in appropriate smoking cessation.

05:06:58   18                The same thing holds true with alcohol consumption,

05:07:01   19   or the example that I've been using this afternoon was the

05:07:03   20   Dr. Pepper, and this is Texas where I grew up so Dr. Peppers

05:07:06   21   are the thing out there, but it could be substituted for

05:07:09   22   anything else.

05:07:09   23                But I can tell an individual, you know what, those

05:07:12   24   Big Gulps of Dr. Pepper that you're drinking every day, it's

05:07:15   25   not helping, in fact, that's causing your problem.         The
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05:07:18    1   patient can turn around say, "Okay, I understand, I'm done

05:07:21    2   with Dr. Peppers."     Well, we just -- that patient just engaged

05:07:25    3   in appropriate nutritional effect.

05:07:30    4               Same thing goes physical with activity.       It's

05:07:32    5   January 1st, the gyms are filled with people who, on

05:07:35    6   January 1st, are starting a physical activity program.           They

05:07:41    7   may join a gym, they've engaged in physical activity.

05:07:44    8               So it's really at the discretion and interpretation

05:07:47    9   of the physician and how this sentence is actively utilized.

05:07:51   10    Q    In your practice, do you delay administering drug therapy

05:07:55   11   when a patient presents with severe hypertriglyceridemia?

05:07:58   12    A    I don't.   I can't.    In fact, I would argue along those

05:08:02   13   lines that if I have a patient that comes to my office with

05:08:06   14   severe hypertriglyceridemia, and I don't treat it aggressively

05:08:10   15   to the best of my ability, and that individual leaves my

05:08:13   16   office just to come back in four to six weeks for

05:08:17   17   reassessment, and they develop acute pancreatitis within those

05:08:22   18   four to six weeks, I feel that I have violated the standard of

05:08:26   19   care, that my colleagues would look at that and say why didn't

05:08:29   20   you treat this person when he was in your office.

05:08:31   21               Because the consequences are so severe, every

05:08:34   22   possible avenue of therapy needs to be addressed immediately

05:08:38   23   at that first visit.

05:08:39   24    Q    So, in your opinion, is it an off-label use of Vascepa to

05:08:43   25   start Vascepa and diet and exercise at the same time?
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05:08:47    1    A    It is not.

05:08:50    2    Q    So turning now to DDX 4.34, were you in the courtroom

05:08:54    3   when Mr. Klein presented this deposition testimony from

05:08:58    4   Dr. Budoff during opening statements?

05:08:59    5    A    Yes, I was.

05:09:00    6    Q    And were you in the courtroom when Dr. Budoff confirmed

05:09:04    7   this testimony?

05:09:05    8    A    Yes, I was.

05:09:06    9    Q    Is your opinion consistent with Dr. Budoff's testimony on

05:09:10   10   this point?

05:09:10   11    A    Yes.    And, actually, again, let me read it into the

05:09:14   12   record.

05:09:14   13                Dr. Budoff was asked,

05:09:16   14                   "The dosage and administration section in the

05:09:18   15         Vascepa label leaves it entirely up to the

05:09:21   16         physician's discretion to determine the duration of

05:09:24   17         treatment.    Do you agree?"

05:09:26   18                    To which Dr. Budoff replied yes.

05:09:28   19                    And, again, that is my understanding, and I do

05:09:31   20   agree that it is entirely up to the physician's discretion.

05:09:35   21    Q    And just to turn back to DDX 4.33 for a moment, does the

05:09:40   22   reference to engaging in appropriate nutritional intake

05:09:46   23   require the patient to eat specific foods, or would it also

05:09:51   24   include restraining from eating certain foods?

05:09:54   25    A    It really is a combination of both, and it has to be
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05:09:58    1   addressed on a specific individual level, which takes into

05:10:01    2   consideration where that person is in terms of their

05:10:05    3   lifestyle, if there's any predisposing ethnic issues which

05:10:09    4   would predispose that individual to eat in certain different

05:10:12    5   food groups, if that person is a vegetarian, if they have

05:10:16    6   other dietary restrictions.

05:10:19    7               So it does not describe in any way, shape, or form

05:10:21    8   what that nutritional intake change should be here.          It simply

05:10:26    9   tells me it needs to be what is described as, quote,

05:10:28   10   appropriate, unquote.

05:10:29   11    Q    So in your example would ceasing to consume Big Gulps of

05:10:35   12   Dr. Pepper be engaging in appropriate nutritional intake or be

05:10:39   13   one component of that?

05:10:41   14    A    Absolutely.

05:10:41   15    Q    Now, have you compared defendants' labels to labels for

05:10:50   16   other drugs that actually specify duration of treatment?

05:10:52   17    A    Yes, I have.

05:10:53   18    Q    So turning first to DDX 4.35, there's a snapshot on the

05:11:01   19   screen of DX 1984, page 2.      Could you identify this document.

05:11:05   20    A    Yes, I can.    This is the Lamisil label.      Lamisil is an

05:11:10   21   antifungal tablet which we use for fingernail and toenail

05:11:15   22   infections, fungal infections.

05:11:17   23                   MR. REIG-PLESSIS:     And defendants would move in

05:11:19   24   the admission DX 1984.

05:11:21   25                   MS. KEANE:    No objection, your Honor.
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05:11:22    1                   THE COURT:    DX 1984 is admitted.

05:11:22    2                           (Defendants' Exhibit 1984 received in
05:11:22                                 evidence.)
05:11:22    3   BY MR. REIG-PLESSIS:

05:11:26    4    Q    How does the dosage and administration section of the

05:11:26    5   Lamisil label compare to the same section in defendants'

05:11:31    6   labels?

05:11:31    7    A    It's discretely different.

05:11:34    8               The Lamisil label goes on to specifically prescribe

05:11:37    9   a duration of therapy which is in complete contradistinction

05:11:41   10   to what is seen in the defendants' label, for example, for

05:11:43   11   fingernail onychomycosis which is a fingernail infection.

05:11:50   12               It specifically directs me to have the individual

05:11:53   13   use one tablet once daily for six weeks.        For toenail

05:11:53   14   infections, it specifically instructs me to have an individual

05:12:03   15   take one tablet once daily for 12 weeks.

05:12:03   16    Q    Have you ever prescribe Lamisil?

05:12:05   17    A    Yes, I have.

05:12:06   18    Q    So turning to DDX 4.36, there is a snapshot on the screen

05:12:11   19   of DX 1679 at page 5.     Could you identify this document,

05:12:16   20   please.

05:12:17   21    A    Yes, this is the dosage and administration section for

05:12:20   22   the package insert of what's called Lovenox which is

05:12:20   23   enoxaparin.    It's an injectable low molecular heparin or an

05:12:20   24   injectable blood thinner.

05:12:29   25               In this case, they're describing the use of this
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05:12:31    1   drug in the treatment of deep venous -- deep vein thrombosis

05:12:36    2   which is a clot with or without pulmonary embolism which is a

05:12:40    3   clot in the lungs.

05:12:41    4               The label goes on to specifically describe and

05:12:41    5   instruct the physician to initiate Warfarin which is Coumadin,

05:12:50    6   it's an oral blood thinner, when appropriate, and then

05:12:52    7   continue Lovenox for a minimum of five days and until a

05:12:57    8   therapeutic anticoagulant effect has been reach on the

05:13:03    9   Coumadin.

05:13:03   10               So, again, in complete contradistinction to

05:13:03   11   defendants' label, this label instructs a providing physician

05:13:08   12   to use this medication for a minimum duration of time that's

05:13:12   13   specifically spelled out.

05:13:13   14                   MR. REIG-PLESSIS:     Defendants' move the

05:13:15   15   admission DX 1679.

05:13:16   16                   THE COURT:    Isn't there already the Lovenox

05:13:20   17   label admitted earlier?

05:13:21   18                   MR. REIG-PLESSIS:     Your Honor --

05:13:22   19                   THE COURT:    Regardless, is there objection?

05:13:23   20                   MS. KEANE:    No objection.

05:13:24   21                   THE COURT:    All right.    DX 1679 is admitted.

05:13:24   22                          (Defendants' Exhibit 1679 received in
05:13:28                                evidence.)
05:13:28   23                   MR. REIG-PLESSIS: Thank you, your Honor.

05:13:28   24                   And I believe some of the PX exhibits and DX

05:13:31   25   exhibits refer to the same documents because these
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05:13:33    1   demonstratives were prepared before we knew what they would

05:13:37    2   admit.

05:13:37    3                     THE COURT:   All right.   I remember Dr. Budoff

05:13:40    4   testifying as to the Lovenox label I think.

05:13:44    5                     MR. REIG-PLESSIS:   Thank you, your Honor.

05:13:44    6   BY MR. REIG-PLESSIS:

05:13:44    7    Q    Turning now to DDX 4.37, there's snapshot on the screen

05:13:49    8   of DX 2256, page 7.     What are you showing on this slide?

05:13:53    9    A    This is the clinical study section of the defendants'

05:13:56   10   package insert or label in the clinical study section which is

05:14:01   11   described in 14.2 severe hypertriglyceridemia.

05:14:05   12               There's a reference to what we've described today as

05:14:08   13   the MARINE study, and I have highlighted here,

05:14:11   14                  "Patients whose baseline triglyceride levels

05:14:14   15         were between 500 and 2,000 were enrolled in the study

05:14:17   16         which went on for 12 weeks in duration."

05:14:19   17    Q    So does the clinical study section describe the use of

05:14:23   18   EPA for 12 weeks?

05:14:25   19    A    It describes the use of EPA in this study for 12 weeks.

05:14:29   20    Q    In your practice as a physician, do you look to the

05:14:32   21   clinical study section of a drug label for instructions on how

05:14:37   22   long to administer that drug?

05:14:39   23    A    I do not.    I look at the clinical studies section so I

05:14:42   24   can understand the rationale for using this.

05:14:45   25               It's simply -- what is described here is a simply a
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05:14:48    1   discussion and a synopsis of what was seen in the reference

05:14:52    2   trial.

05:14:54    3    Q      To a physician, does the statement that the clinical

05:14:57    4   trial lasted 12 weeks indicate that patients need to be

05:15:00    5   treated for at least 12 weeks to reduce their triglycerides

05:15:03    6   below 500?

05:15:04    7    A      Absolutely not.   It does not describe that or encourage

05:15:08    8   that.    It simply describes what was found in the study.

05:15:11    9                You can go further on to say, you know, if you look

05:15:15   10   at the MARINE study, most of the individuals in the MARINE

05:15:18   11   study were 53-year-old white males which doesn't correspond to

05:15:23   12   the majority of my patient population anyway.         So it's hard to

05:15:26   13   extrapolate.

05:15:28   14                The only thing this description tells me is what was

05:15:31   15   done in the MARINE trial.

05:15:32   16    Q      So does the clinical study section encourage, recommend,

05:15:37   17   or promote administering defendants' products for at least 12

05:15:38   18   weeks?

05:15:38   19    A      No, sir, it does not.

05:15:40   20    Q      So turning now to DDX 4.38, there are snapshots on the

05:15:45   21   screen again of DX 2256, but now at pages 3 and 5.         Are there

05:15:50   22   any other references to a 12-week duration in defendants' drug

05:15:54   23   labels?

05:15:55   24    A      Yes, there are.

05:15:56   25                In section 6, which is the adverse reaction section,
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05:16:01    1   they describe two randomized, double-blind, placebo-controlled

05:16:06    2   trials in patients with triglycerides between 200 and 2,000

05:16:10    3   who were treated for 12 weeks, and it describes the adverse

05:16:13    4   reactions that occur.

05:16:15    5               And in the second section, which is the clinical

05:16:19    6   pharmacology section under the pharmacodynamic subheading, it

05:16:24    7   describes a 12-week dose-ranging study in patients with severe

05:16:29    8   hypertriglyceridemia, and it describes it that it reduced the

05:16:31    9   triglycerides from baseline to placebo.

05:16:34   10    Q    And, in your opinion, do these descriptions of a 12-week

05:16:38   11   duration encourage, recommend, or promote administering

05:16:41   12   defendants' products for at least 12 weeks?

05:16:43   13    A    Again, absolutely not.     This 12-week reference simply

05:16:47   14   describes in the first case two randomized studies that were

05:16:51   15   done looking at adverse reactions, and, in the second section,

05:16:56   16   it describes a dose-ranging study to show that there was

05:16:58   17   reduction in triglycerides relative to placebo.

05:17:00   18               But, again, these 12-week durations simply describe

05:17:05   19   what was seen in these limited studies, it does not in any way

05:17:09   20   indicate to me that that is how long I need to treat my

05:17:12   21   patients for.

05:17:13   22    Q    So turning now to DDX 4.39, there's a snapshot on the

05:17:21   23   screen of DX 2256, page 9, and it's a snapshot from the

05:17:26   24   patient information section of defendants' labels.

05:17:29   25               Do you see the statement, "Do not change your dose
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05:17:31    1   or stop taking icosapent ethyl without talking to your

05:17:34    2   doctor"?

05:17:34    3    A    Yes, I do.

05:17:35    4    Q    In your opinion, does that statement encourage,

05:17:37    5   recommend, or promote administering defendants' products for

05:17:41    6   at least 12 weeks?

05:17:42    7    A    It does not.    It simply instructs the patients to take

05:17:45    8   the medication that has been prescribed in the way it's been

05:17:48    9   given to you.    Do not alter the medication without discussing

05:17:51   10   it with your own physician.

05:17:53   11    Q    When a patient talks to his or her doctor, could the

05:17:57   12   doctor tell the patient to take the drug for less than

05:18:00   13   12 weeks?

05:18:01   14    A    Absolutely.    I receive at least a dozen phone calls a day

05:18:06   15   from patients, most of which are medication issues that need

05:18:10   16   to be resolved.

05:18:11   17               Often times after talking to the patient, I will

05:18:14   18   agree to stop that patient's medication well below the 12-week

05:18:19   19   limit or 12-week prescription.

05:18:22   20    Q    And you may have testified to this before, but after

05:18:24   21   prescribing a drug like Vascepa to a patient, how long do you

05:18:28   22   usually wait before seeing that patient again?

05:18:31   23    A    Anywhere between two and four months would be very

05:18:34   24   reasonable in my practice.

05:18:36   25    Q    So do you sometimes see patients again before 12 weeks?
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05:18:40    1    A    Very frequently.

05:18:41    2    Q    And have you told patients that it's okay to stop

05:18:42    3   Vascepa?

05:18:42    4    A    I have.

05:18:43    5    Q    And what are some of the reasons why a patient may want

05:18:45    6   to stop Vascepa?

05:18:46    7    A    Well, if I have someone who has had a very successful

05:18:50    8   change in lifestyle, in other words, they're adhering to the

05:18:55    9   exercise prescription and nutritional recommendations that

05:18:57   10   we've made, we will stop the Vascepa because at this point,

05:19:00   11   they no longer need it.

05:19:02   12                There are also other reasons.     Individuals can't

05:19:04   13   afford it.    Some individuals have side effects.       My experience

05:19:08   14   with this medication has been mostly GI or gastrointestinal

05:19:13   15   side effects.    There are people who are eager to get off all

05:19:17   16   medications.    So it is not infrequent that we stop medications

05:19:21   17   for these patients.

05:19:22   18    Q    Is the size or number of pills a contributing factor in

05:19:27   19   patients' decisions?

05:19:28   20    A    Without question.     This is a difficult medicine to take

05:19:31   21   because it's a large number of pills, it's four pills.          If

05:19:35   22   you've never seen these pills, patients joke and say they're

05:19:39   23   horse capsules, they're very large capsules, and there's a lot

05:19:42   24   of people that cannot swallow these capsules and simply

05:19:47   25   because of that reason want to stop their medication.
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05:19:49    1    Q     Now, on the screen is DDX 4.40 with another highlighted

05:19:53    2   snapshot of the same page, DX 2256, page 9.

05:19:57    3               Does the patient information section suggest any

05:20:00    4   other treatments for reducing triglycerides?

05:20:02    5    A     Yes, it does.   It says, "Your doctor may start you on a

05:20:05    6   diet."   It specifies what potential type of diet that would

05:20:09    7   be, and it specifically says "stay on this diet while taking

05:20:12    8   this medication."

05:20:13    9    Q     So turning now to DDX 4.41, there's a snapshot on the

05:20:24   10   screen of DX 2256, page 10.

05:20:27   11               If a physician decides to administer defendants'

05:20:30   12   products long-term, is that necessarily for the indicated

05:20:33   13   MARINE use of treating patients with triglycerides of at least

05:20:37   14   500?

05:20:38   15    A     It's not.   I testified earlier during this testimony that

05:20:41   16   oftentimes we use this -- most often we use this medication

05:20:46   17   for other reasons than the MARINE data, and in the patient

05:20:50   18   information section it specifically tells the patients that we

05:20:53   19   would potentially do that.

05:20:54   20               It describes a situation in which medicines are

05:20:57   21   sometimes prescribed for purposes other than those listed in

05:21:01   22   the patient information leaflet.

05:21:02   23               Now, as a prescribing physician I like to think we

05:21:05   24   would talk to the patient and explain the reasons why, but

05:21:09   25   this gives us full latitude in which in order to do so.
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05:21:13    1    Q    So taking defendants labels as a whole, do the labels

05:21:16    2   encourage, recommend, or promote administering defendants' for

05:21:16    3   at least 12 weeks?

05:21:20    4    A    I'm sorry, can you repeat that one more time so I make

05:21:23    5   sure I answer the question properly?

05:21:23    6    Q    Sure.   Taking defendants' labels as a whole, do the

05:21:26    7   labels encourage, recommend, of promote administering

05:21:30    8   defendants' products for at least 12 weeks?

05:21:32    9    A    No, they do not.

05:21:33   10    Q    Do they express any preference for short-term versus

05:21:36   11   long-term use?

05:21:37   12    A    The labels are completely silent in this regard, and

05:21:41   13   therefore and it is left up the discretion of the prescribing

05:21:45   14   physician.

05:21:46   15    Q    What is the next set of claim limitations that you

05:21:48   16   analyzed?

05:21:48   17                    THE COURT:   Mr. Reig, how much longer do you

05:21:52   18   have for Dr. Sheinberg's direct examination?

05:21:56   19                    MR. REIG-PLESSIS:    Probably 15 more slides.

05:21:58   20   We've covered obviously the 12 weeks duration, but there are

05:22:02   21   two other categories of limitations.

05:22:05   22                    THE COURT:   I'm trying to assess whether it

05:22:07   23   makes sense to recess the testimony portion for today.

05:22:11   24                    If you had about five minutes or so, I would let

05:22:14   25   you continue and then have plaintiffs start with the
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05:22:18    1   cross-examination in the morning, but if you think you have

05:22:20    2   longer than five to ten minutes, I would probably pause and

05:22:23    3   recess for the day.

05:22:24    4                   MR. REIG-PLESSIS:     I would estimate that we have

05:22:26    5   probably little more than that, so a recess might make sense,

05:22:31    6   Your Honor.

05:22:31    7                   THE COURT:    We'll at least pause the testimony

05:22:33    8   portion for today.     I want to have enough time to give you my

05:22:37    9   ruling on the Rule 52 motion earlier.        So, at this time, let's

05:22:41   10   do that.

05:22:42   11                   I'm going to ask Dr. Sheinberg to step down from

05:22:47   12   the witness stand.

05:22:47   13                   THE WITNESS:    Yes, your Honor.

05:22:47   14                   THE COURT:    And then we'll resume with your

05:22:49   15   testimony in the morning.      I understand you have patients to

05:22:52   16   see, but, unfortunately, you have to return tomorrow.

05:22:55   17                   THE WITNESS:    That's okay.

05:22:56   18                   MR. REIG-PLESSIS:     Thank you, Your Honor.

05:22:57   19                   THE COURT:    All right.    I will try to speak

05:23:18   20   slowly lest I get an instruction to slow down.

05:23:21   21                   Here's my ruling on the Rule 52 motion.

05:23:25   22                   Defendants asked for judgment under Rule 52(c)

05:23:29   23   as to plaintiff's induced infringement claim based on the

05:23:34   24   claim limitation presented in all of the asserted claims that

05:23:37   25   is requiring the administration of EPA for at least 12 weeks.
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05:23:43    1                   However, I will not enter judgment in

05:23:46    2   defendants' favor at this time because I find that plaintiffs

05:23:50    3   present sufficient evidence to satisfy the preponderance of

05:23:53    4   the evidence standard as to the 12-week limitation.

05:23:56    5                   The question of whether defendants may be held

05:24:00    6   liable for inducing infringement turns on whether defendants

05:24:04    7   have, and I quote from the Grunenthal decision, this is at 919

05:24:10    8   F.3d 1333 at 1339, it's a Federal Circuit 2019 decision, and,

05:24:16    9   that is, defendants have -- the issue turns on whether

05:24:20   10   defendants have specific intent based on the contents of their

05:24:24   11   proposed labels to encourage physicians to use their proposed

05:24:29   12   ANDA products in a way that infringes the asserted claims.

05:24:32   13                   In other words, I have to find -- I have to ask

05:24:36   14   whether the label, and I quote, encourages, recommends, or

05:24:39   15   promotes infringement.      These are the terms that counsel have

05:24:42   16   used extensively throughout the examination and

05:24:45   17   cross-examination, and the PIN cite for that is the same, it's

05:24:48   18   at 1339.

05:24:49   19                   And because the asserted claims are method

05:24:53   20   claims, I quote again, the pertinent question is whether the

05:24:56   21   proposed label instructs users to perform the patent method,

05:25:00   22   and the pin cite is the same at 1339.

05:25:02   23                   Defendants' primary argue that their proposed

05:25:06   24   labels cannot be read to encourage, recommend, or promote

05:25:09   25   infringement of the 12-week limitation.        However, Dr. Budoff
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05:25:13    1   testified that reading the label as a whole, physicians would

05:25:16    2   be encourage to prescribe Vascepa or one of defendants' ANDA

05:25:22    3   drugs, the labels that are materially the same, for at least

05:25:25    4   12 weeks.

05:25:26    5                   He testified that this is because a clinician

05:25:29    6   working in the field would know that STG, severe

05:25:39    7   hypertriglyceridemia, is largely a genetic problem requiring

05:25:43    8   long-term therapy.

05:25:45    9                   Moreover, on cross-examination, Dr. Budoff

05:25:50   10   testified that STG is almost invariably a chronic condition.

05:25:56   11   He also testified to his own treatment practices describing

05:26:01   12   that he almost always prescribes Vascepa for more than

05:26:05   13   12 weeks and checks in with his patients about every three

05:26:09   14   months to monitor their lipid levels over the long term.

05:26:14   15                   He also points to portions of the labeling

05:26:15   16   supporting his testimony that the proposed labels encourage

05:26:18   17   infringement of the 12-week limitation.

05:26:20   18                   He specifically pointed to section 2.1 of the

05:26:23   19   labeling, and I'll refer to PX 1186, as I say, the labels are

05:26:28   20   the same, that is the December 2019 Amarin's label for

05:26:34   21   Vascepa.

05:26:35   22                   He points to section 2.1 regarding what a doctor

05:26:40   23   needs do before initiating therapy with Vascepa.         He testified

05:26:45   24   that this section of the labeling supports his testimony that

05:26:48   25   drug therapy using Vascepa is intended to be long-term.             He
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05:26:52    1   emphasized how the labeling tells doctors to first identify

05:26:56    2   other causes of STG and manage them as appropriate before

05:27:00    3   initiating therapy.

05:27:02    4                   Therefore, a doctor would not begin Vascepa

05:27:06    5   therapy if the doctor can identify and remediate those other

05:27:09    6   causes such as diabetes.

05:27:11    7                   Second, he testified that the labeling instructs

05:27:13    8   doctors to encourage patients to change their diet and get

05:27:17    9   more exercise before Initiating drug therapy.         So he read the

05:27:22   10   labeling to require elimination of acute causes before

05:27:25   11   initiating Vascepa.

05:27:26   12                   In other words, Dr. Budoff testified that the

05:27:29   13   only people left after removing the groups of people suffering

05:27:33   14   from acute causes of STG are people who have the genetic

05:27:38   15   disorder causing their elevated STG levels, and that is a

05:27:43   16   lifetime problem so doctors would initiate long-term therapy

05:27:47   17   for this chronic condition.

05:27:49   18                   Now, defendants point to excerpts from

05:27:52   19   Dr. Budoff's testimony to argue that STG is not a chronic

05:27:56   20   condition, and on cross-examination Dr. Budoff acknowledged

05:28:00   21   that binge drinking, for example, can cause a spike in the TG

05:28:04   22   levels to over 500 milligrams per deciliter in patients who

05:28:10   23   are predisposed to high TG levels, and these patients can get

05:28:15   24   their TG levels back below 500 by cutting out alcohol if their

05:28:19   25   TG levels were sufficiently close to 500.
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05:28:23    1                   But he also explained that people who eat too

05:28:26    2   much or drink too much without an underlying medical issue

05:28:29    3   would not have STG, and, again, he explained that the label

05:28:33    4   instructs physicians to eliminate these acute cases first.

05:28:37    5                   For those reasons I find that plaintiffs have at

05:28:39    6   least met their initial burden such that defendants are not

05:28:42    7   entitled to judgment of noninfringement on plaintiff's induced

05:28:47    8   infringement theory at this time, and the Rule 52(c) motion is

05:28:51    9   denied.

05:28:52   10                   All right.    With that we'll resume in the

05:28:54   11   morning at 8:30.

05:28:55   12                   THE CLERK:    Your Honor, may I ask clarification

05:28:58   13   please?   I have not filed the minutes of yesterday yet because

05:29:01   14   of a question of a chart that may be produced by counsel with

05:29:06   15   regard to Mr. Klein's cross-examination.        Should I go ahead

05:29:12   16   and submit my minutes as they are written?

05:29:15   17                   THE COURT:    Why don't you submit the minutes,

05:29:18   18   and the chart that will be created, counsel can file that on

05:29:23   19   the docket.

05:29:28   20                   There is -- I probably should resolve the

05:29:34   21   evidentiary issue raised at the end of yesterday about the 25

05:29:38   22   additional exhibits.     I don't know if counsel -- Mr. Rounds,

05:29:42   23   if you have identified which expert or which documents will be

05:29:49   24   used with which expert because I don't know if they'll up

05:29:53   25   tomorrow.
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05:29:53    1                   MR. ROUNDS:    Yes, we did that last night, your

05:29:56    2   Honor, and, no, they're not up tomorrow.

05:29:57    3                   THE COURT:    Will they be up Friday?

05:29:59    4                   MR. ROUNDS:    No, not as far as I know.

05:30:01    5                   THE COURT:    Well, I've looked at the exhibits,

05:30:03    6   and my preliminary reaction is I don't think that it supports

05:30:08    7   the -- while I realize that there are -- well, let me describe

05:30:13    8   what the exhibits are.      Give me one moment.

05:30:33    9                   So there were 25 exhibits and they're various

05:30:38   10   categories and they are exhibits that were produced by Amarin.

05:30:41   11   I think they're about 136 pages, although there were a few

05:30:47   12   blank pages.    They include the drafting labeling for the EPA

05:30:55   13   capsules, there's an article by an Amarin employee about the

05:31:00   14   MARINE and the ANCHOR studies, 1099 tax forms for a company,

05:31:08   15   some e-mail exchanges, the CV of Edward A. Fisher, I assume

05:31:15   16   he's one the witnesses.

05:31:16   17                   My point is, while I agree with Amarin that

05:31:22   18   deadlines are there for a reason, they're -- they're there to

05:31:26   19   ensure fair play and that there's no ambushing of any of the

05:31:30   20   attorneys or counsel at trial -- or the witnesses at trial, so

05:31:35   21   I expect -- and I'm very rule-oriented person.         I expect

05:31:39   22   counsel to follow the rules.

05:31:41   23                   But I do understand that given the voluminous

05:31:44   24   nature of the exhibits in this case, and the complexities of

05:31:47   25   the testimony of the witnesses, that -- such that I will
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05:31:52    1   accept the explanation for the delay in identifying these

05:31:57    2   additional exhibits.

05:31:58    3                   And because of the volume, because of the fact

05:32:01    4   that they were documents produced by Amarin, I don't -- I'm

05:32:06    5   not persuaded by the argument that there's prejudice to Amarin

05:32:09    6   if I don't exclude the additional exhibits, and that's the

05:32:13    7   main reason why I'm going to permit the exhibits to be

05:32:16    8   offered.    Whether or not individually they will be admitted at

05:32:20    9   trial is a different issue, but I'm not going to exclude them

05:32:23   10   for their late disclosure.

05:32:25   11                   Therefore the motion that was filed orally

05:32:27   12   yesterday to exclude the additional 25 exhibits is denied.

05:32:32   13                   I expect going forward that counsel will comply

05:32:35   14   with the rules.     I know that you're updating your exhibit

05:32:37   15   lists constantly, and I understand that there's fluctuations

05:32:40   16   during the trial.     Peggie has probably already reminded you

05:32:43   17   that when you do that, you need to give me the updated

05:32:45   18   exhibits and the updated exhibit list.

05:32:48   19                   Okay.   With that we'll resume in the morning.

05:32:50   20                   (The evening recess was taken.)

           21                                    -o0o-

           22

           23                I certify that the foregoing is a correct
                            transcript from the record of proceedings in the
           24               above-entitled matter.

           25               /s/ Kathryn M. French
                           ___________________________________ 1/25/2020
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 1              Kathyrn M. French, CCR #392, RPR              Date

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